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                                          Nos. 23-2882, 23-2886, 23-3146


                                  UNITED STATES COURT OF APPEALS
                                      FOR THE NINTH CIRCUIT

                              CENTER FOR BIOLOGICAL DIVERSITY, et al.,
                                       P/aim'v-A2)2')€//€es/ P/4int v-Appe//anti,
                                                          and
                                ALLIANCE FOR THE WILD ROCKIES, et al.,
                                             P/ainz'v-Az')pe//e€s/P/WW v,
                                                           v.
                                 UNITED STATES FOREST SERVICE, et al.,
                               D wa'anLv-Appe//anz€v/Dej%wa'anz's/ D¢j%na'aw's-Appe//ees,

                                                          and
                                       KOOTENAI TRIBE OF IDAHO,
                                Im'ewet1or-D¢j%t1a'at1t/Itztetwnor-Dej%na'4w'-Appe//am'/
                                            Intervenor D¢j%tz¢z'anz'-Appe//ee.


                    Appeal from the United States District Court for the District of Montana
                                  No. 9:22-cv-114 (Hon. Donald W. Molloy)

                                      JOINT EXCERPTS OF RECORD
                                            VOLUME 9 OF 10

             Of Counsel:                                    TODD KIM
                                                             Axxixt4ntA#om9 Genes/
             ELISE FOSTER
             Aftofwey                                       THEKLA HANSEN-YOUNG
             U.S. Dep't of Agriculture                      HAYLEY A. CARPENTER
                                                            ERIKA A. FURLONG
             KATHRYN L. WILLIAMS-SHUCI{                     ]OHN p. TUSTIN
             SARAH E. MCLAIN                                ]ACOB D. ECKER
             AZ2'ow1Q/s                                     Attoweys
             U.S. Dep't of the Interior                     Environment and Natural Resources Division
                                                            U.S. Department of justice
                                                            Post Office Box 7415
                                                            Washington, D.C. 20044
                                                            (202) 305-0466
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                                                        jacob.ecker@usdoj .gov

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                                                        ]ulie A. Weis
                                                        HAGLUND KELLEY LLP

                                                        Kris A. McLean
                                                        Tyson A. McLean
                                                        Kris A. McLean Law Firm

                                                        At0oweyffor D¢j%na'atzt-Intewenor-Appe//ant Kootenai
                                                        Tribe of lda/90
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             CABINET-YAAK GRIZZLY BEAR
            RECOVERY AREA 2019 RESEARCH
          AND MONITORING PROGRESS REPORT




                                     PREPARED BY
              WAYNE F. KASWORM, THOMAS G. RADANDT, JUSTIN E. TEISBERG, TYLER
               VENT, ALEX WELANDER, MICHAEL PROCTOR, HILARY COOLEY, AND
                               JENNIFER FORTIN-NOREUS
                                         2020

                           UNITED STATES FISH AND WILDLIFE SERVICE
                        GRIZZLY BEAR RECOVERY COORDINATOR'S OFFICE
                         UNIVERSITY OF MONTANA, MAIN HALL ROOM 309
                                     MlssouLA, MONTANA 59812
                                             (406) 243-4903


                                                    1


                                                  9-ER-2016
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            produced from this data would appear to be applicable to the entire population of native bears in
            the absence of population augmentation. We have no data to suggest that mortality or
            reproductive rates are different between the Yaak River and the Cabinet Mountains. The
            Cabinet Mountains portion of the population was estimated to be <15 in 1988 (Kasworm and
            Manley 1988) and subsequent lack of identification of resident bears through genetic techniques
            would suggest the population was possibly 5-10. Population augmentation has added 22 bears
            into this population since 1990 and a mark recapture population estimate from 2012 indicated
            the population was 22-24 individuals (Kendall et al. 2016). These data indicate the Cabinet
            Mountains population has increased by 2-4 times since 1988, but this increase is largely a
            product of the augmentation effort with reproduction from that segment.
                     The estimated finite rate of increase (iv) for 1983-2019 using Booter software with the
            unpaired litter size and birth interval data option was 1.009 (95% Cl=0.931-1 .073, Table 15).
            Finite rate of change over the same period was an annual 0.9% (Caughley 1977). Subadult
            female survival and adult female survival accounted for most of the uncertainty in x, with
            reproductive rate, yearling survival, cub survival, and age at first parturition contributing much
            smaller amounts. The sample sizes available to calculate population trend are small and
            yielded wide confidence intervals around our estimate of trend (i.e., 7~). The probability that the
            population was stable or increasing was 60%. Utilizing the entire survival and reproductive data
            set from 1983-2019 is partially the product of small sample sizes but also produces the effect of
            smoothing the data over time and results in a more conservative estimate of population trend.
                     Finite rates of increase calculated for the period 1983-1998 (7» = 1.067) suggested an
            increasing population (Wakkinen and Kasworm 2004). Lack of mortality in specific sex-age
            classes limited calculations for many time periods other than those shown here (Fig. 12).
            Annual survival rates for adult and subadult females were 0.948 and 0.901 respectively, during
            1983-1998, and then declined to 0.926 and 0.740 for the period of 1983-2006, respectively.
            Cumulative lambda calculations reached the lowest point in 2006 (Fig. 12). Human-caused
            mortality has accounted for much of this decline in annual survival rates and population trend.
            During 2019, adult female survival and subadult female survival had increased to 0.940 and
            0.847 respectively and resulted in an improving population trend estimate since 2006.
            Improving survival by reducing human-caused mortality is crucial for recovery of this population
            (Proctor et al. 2004).


            Table 15. Booter unpaired method estimated annual survival rates, age at first parturition, reproductive
            rates, and population trend of native grizzly bears in the Cabinet-Yaak recovery zone, 1983-2019.
              Parameter                         Sample size         Estimate (95% CI)     SE            Variance (%)a
              Adult female SlJTVlV3lb (So)       16 / 48.5°         0.940 (0,856-1 .0)   0.036               33.4
              Subadult female survival*' (SS)    20 / 25.6°        0.847 (0.692-0965)    0.072               51.0
              Yearling SUl'VlV3lb (Sv)           33 / 1632°         0.885 (0,723-1 .0)   0.076                2.9
              Cub SUWlV3lb (sod                    44/44           0.591 (0,455-0.727)   0.074                6.2
              Age first parturition (a)              14               6.3 (5.9-6.6)      0.188               0.5
              Maximum age (w)                      Fixed                    27
               Unpaired Reproductive rate (m)e              12/24/27'           0.360 (0.291-0.467)             0.045                    6.1
               Unpaired Lambda Of)                    5000 bootstrap runs       1.009 (0.931-1 .073)            0.037
            a Percent of lambda explained by each parameter
            bBooter survival calculation which may differ from Kaplan-Meier estimates in Table 13.
            "individuals / bear-years
            "Cub survival based on counts of individuals alive and dead
            eNumber of female cubs produced/year/adult female. Sex ratio assumed to be 1:1.
            'Sample size for individual reproductive adult females / sample size for birth interval / sample size for litter size from Table 14.




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            Population Estimate
                   During 2012, USGS used mark-recapture techniques to estimate the CYE grizzly bear
            population at 48-50 (95% Cl = 44-62) (Kendall et al. 2016). Using the midpoint of this estimate
            (49), the calculated rate of increase (0.9%), results in a gain of 3 bears through 2019 to a
            population of 52. The augmentation program added 8 bears since 2012 but two of those are
            known dead. Based on this information, a population estimate of 55-60 bears would seem
            reasonable.



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             Figure 12. Point estimate and 95% confidence intervals for cumulative annual calculation of population
             rate of change for native grizzly bears in the Cabinet-yaak recovery area, 1983-2019. Each entry
             represents the annual rate of change from 1983 to that date.


            Capture and Marking
                   Five grizzly bears were captured within the Cabinet and Yaak study area (1 adult
            female, 2 adult males, and 2 subadult males) during 2019. Four grizzly bears (1 female and 3
            males) were captured for research monitoring and one male was captured for management
            purposes. Ninety-five individual grizzly bears have been captured 144 times as part of this
            monitoring program since 1983 (Tables 16 and 17). One-hundred twenty captures occurred for
            research purposes and 24 captures occurred for management purposes.

            Cabinet Mountains
                    Research trapping was conducted in the Cabinet Mountains portion of the CYE from
            1983-87. Three adult grizzly bears were captured during this effort (1 female and 2 males). No
            trapping occurred from 1988-1994 as effort was directed toward the Yaak River. In 1995 an
            effort was initiated to recapture relocated bears in order to determine success of the population
            augmentation program and capture any native bears in the Cabinet Mountains. During 1983-
            2019, 7,667 research trap-nights were expended to capture 13 known individual grizzly bears
            and 317 individual black bears (Table 16 and 17, Fig. 13). Rates of capture by individual were 1
                                                                                            40



                                                                                 9-ER-2018
                                                                                                                                                                                  FS-005972
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                                                     Kootenai Tribe of Idaho
                                                                        p.o. Box 1269
                                                                       100 Circle Drive
                                                                    Bonners Ferry, ID 83805
                                                                      Ph# (208) 267-3519
                        I 1 II                                        Fax (208) 267-2960

                         li I
                08 October 2021

                Ms. Stephenne S. Harding                            Mr. Matt Lee-Ashley
                Senior Director for Lands                           Chief of Staff
                White House Council Oil Environmental Quality       Council on Environmental Quality
                Executive Office of the President                   Executive Office of the President
                Stephenne.S.Harding@ceq.eop.gov                     Matthew.G.Lee-Ashlev@ceq.eop.gov

                       Re: Black Ram Project: Klunaxa Territory, Kootenai National Forest

                Dear Senior Director Harding and Chief of Staff Lee-Ashley'

                Kootenai (Ktunw<a) Tribe elders pass down the history of the beginning of time, which tells that
                the Klimaxa people were created by Quilxka Nupika, the Supreme Being, and placed on earth to
                keep the Creator-Spirills Covenant - to guard and keep the land forever. The Kootenai have
                never lost sight of their original purpose as guardians of the land.

                The Kootenai Tribe and the United States Forest Service enjoy an exceptionally close working
                relationship and collaborate often on issues of common concern to protect the National Forest
                System lands within Ktunaxa Territory. which includes the Idaho Panhandle and Kootenai
                National Forests. Management of the National Forests within the Territory is important to fulfill
                our Covenant with the Creator.

                The Black Ram Project ("Project") is located in Ktunaxa Territory and includes traditional use
                areas. sacred sites. and areas where Kootenai citizens exercise Treaty-reserved hunting. fishing
                and gathering rights. The area is critical to the culture and religion of the Kootenai Tribe and
                greater Ktunaxa Nation.

                Forest management over the last century through fire suppression policies. overharvest and other
                policies has led to Forests in poor health, including the Project area. The Kootenai Tribal Council
                heeds the words ofits elders, who say the lbrests in the Territoiy do not look like they are
                supposed to look based on Ktunaxa oral histories, and the forests do not support the Territory
                and the Ktunaxa in the manner they should. The Covenant must be honored to make the forests
                healthy once again.




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              Black Ram Project
              Page 2

              The Kootenai 'l'ribe, the Three Rivers Ranger District and the Kootenai National Forest have
              been in continuous government-to-govemment consultation since before scoping on the Prqiect.
              The Tribe agreed and continues to agree with the Project's purpose and need, which are
              consistent with the Tribe's mandates under the Covenant.

              The Tribe provided extensive and critical comments to the District and Forest during scoping and
              early iterations of the environmental assessment. The Tribe, District and Forest worked together
              to address the Tribe's concerns. The recent biological opinion issued by the U.S. Fish and
              Wildlife Service also contains a number o1` mitigation measures that improve the Project.

              Based on the extensive government-to~government discussions. Ktunaxa traditional knowledge
              and western science from our l`~'isl1 and Wildlife Department and the Forest Service, the Tribe
              fully supports the Project and asks that the White House and Council on Environmental Quality
              allow the Project to move forward. Doing so will not only allow the Forest Service to ful5ll its
              federal responsibilities, it will allow the Tribe to continue to fulfill its Covenant and its
              collaborative work toward restoring fOrest health in the Territory.

              The Tribe is aware certain individuals and nongovernmental organizations have lobbied you and
              the Council on Environmental Quality to terminate the Project. Wc cannot express enough our
              Irustration that one of the tactics they have used as pan of their lobbying is to claim the Forest
              Service has not consulted with Indigenous Nations. Those individuals and nongovernmental
              organizations do not represent Indigenous Nations and should not speak on behalf of Indigenous
              Nations. Shame on them for attempting to do so.

              The Tribe appreciates your listening to the message of this letter. We would be very happy to
              meet government-to-government with your agency on this important Project. Please contact
              Attorney General William Barquin at wbarq_uin_@kootenai.org to arrange such a meeting.

               Sincerely yours

                          l\ W          4
               Jennildzr Plvrter
               Chairperson

               cc:     The Hon. Shelly Bryant, Chairwoman. Confederated Salish & Kootenai Tribes
                       (constituent government of the Ktunaxa Nation)
                       Mr. Vernon Finley, Director, Kootenai Culture Committee, CSKT




                                                         9-ER-2020
                                                                                                                   FS-032835
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            August 7, 2019

            Chad Benson, Forest Supervisor,
            Ranger Kirsten Kaiser
            Three Rivers Ranger District,
            12858 US Highway 2
            Troy, Montana 59935.


            RE: Black Ram Project EA


            Dear Supervisor Benson and Ranger Kaiser,


            Please accept these comments from me on behalf of the Alliance for the Wild Rockies and
            Native Ecosystems Council.

            The Alliance for the Wild Rockies and Native Ecosystems Council (collectively "Alliance")
            submit the following comments to guide the development of the environmental analysis for
            the proposal. The Forest Service must complete a full environmental impact statement
            (EIS) for this Project because the scope of the Project will likely have a significant individ-
            ual and cumulative impact on the environment. Alliance has reviewed the statutory and
            regulatory requirements governing National Forest Management projects, as well as the
            relevant case law, and compiled a check-list of issues that must be included in the EIS for
            the Project in order for the Forest Service's analysis to comply with the law. Following the
            list of necessary elements, Alliance has also included a general narrative discussion on pos-
            sible impacts of the Project, with accompanying citations to the relevant scientific litera-
            ture. These references should be disclosed and discussed in the EIS for the Project.

            I. NECESSARY ELEMENTS FOR PROJECT EIS or that need to be answered in an EA:

                   Disclose all Kootenai National Forest Plan requirements for logging/ burning pro-
                   jects and explain how the Project complies with them;



                   Disclose the acreages of past, current, and reasonably foreseeable logging, grazing,
                   and road-building activities within the Project area;




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                                                                                                              FS-034673
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                 Solicit and disclose comments from the Montana Department of Fish, Wildlife, and
                 Parks regarding the impact of the Project on wildlife habitat;



                 Solicit and disclose comments from the Montana Department of Environmental
                 Quality regarding the impact of the Project on water quality;



                 Disclose the biological assessment for the candidate, threatened, or endangered spe-
                 cies with potential and/or actual habitat in the Project area;



                 Disclose the biological evaluation for the sensitive and management indicator species
                 with potential and/or actual habitat in the Project area;



                 Disclose the snag densities in the Project area, and the method used to determine
                 those densities ;



                 Disclose the current, during-project, and post-project road densities in the Project
                 area;



                 Disclose the Kootenai National Forest's record of compliance with state
                 best management practices regarding stream sedimentation from ground-disturbing
                 management activities ;



                 Disclose the Kootenai National Forest's record of compliance with its monitoring re-
                 quirements as set forth in its Forest Plan;



                 Disclose the Kootenai National Forest's record of compliance with the additional
                 monitoring requirements set forth in previous DN/FONSIs and RODs on the Koote-
                 nai National Forest;




                                                     9-ER-2022
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                 Disclose the results of the field surveys for threatened, endangered, sensitive, and
                 rare plants in each of the proposed units;



                 Disclose the level of current noxious weed infestations in the Project area and the
                 cause of those infestations ;



                 Disclose the impact of the Project on noxious weed infestations and native plant
                 communities;



                 Disclose the amount of detrimental soil disturbance that currently exists in each
                 proposed unit from previous logging and grazing activities ;



                 Disclose the expected amount of detrimental soil disturbance in each unit after
                 ground disturbance and prior to any proposed mitigation/remediation;



                 Disclose the expected amount of detrimental soil disturbance in each unit after pro-
                 posed mitigation/remediation;



                 Disclose the analytical data that supports proposed soil mitigation/remediation
                 measures ;



                 Disclose the timeline for implementation;



                 Disclose the funding source for non-commercial activities proposed;



                 Disclose the current level of old growth forest in each third order drainage in the
                 Project
                 area;




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                 Disclose the method used to quantify old growth forest acreages and its rate of error
                 based upon field review of its predictions ;



                 Disclose the historic levels of mature and old growth forest in the Project area;



                 Disclose the level of mature and old growth forest necessary to sustain viable popu-
                 lations
                 of dependent wildlife species in the area;



                 Disclose the amount of mature and old growth forest that will remain after
                 implementation;



                 Disclose the amount of current habitat for old growth and mature forest dependent
                 species in the Project area;



           AA. Disclose the amount of habitat for old growth and mature forest dependent species
           that will remain after Project implementation;


           BB. Disclose the method used to model old growth and mature forest dependent wildlife
           habitat acreages and its rate of error based upon field review of its predictions;

           CC. Disclose the amount of big game (moose and elk) hiding cover, winter range, and secu-
           rity currently available in the area;


           DD. Disclose the amount of big game (moose and elk) hiding cover, winter range, and secu-
           rity during Project implementation;


           EE. Disclose the amount of big game (moose and elk) hiding cover, winter range, and secu-
           rity after implementation;




                                                    9-ER-2024
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           FF. Disclose the method used to determine big game hiding cover, winter range, and secu-
           rity, and its rate of error as determined by field review ;


           GG. Disclose and address the concerns expressed by the ID Team in the draft Five-Year
           Review of the Forest Plan regarding the failure to monitor population trends of MIS, the
           inadequacy of the Forest Plan old growth standard, and the failure to compile data to es-
           tablish a reliable inventory of sensitive species on the Forest;


           HH. Disclose the actions being taken to reduce fuels on private lands adjacent to the Pro-
           ject area and how those activities/or lack thereof will impact the efficacy of the activities
           proposed for this Project;


           II. Disclose the efficacy of the proposed activities at reducing wildfire risk and severity in
           the Project area in the future, including a two-year, five-year, ten-year, and 20-year projec-
           tion;

           JJ. Disclose when and how the Kootenai National Forest made the decision to suppress nat-
           ural wildfire in the Project area and replace natural fire with logging and prescribed burn-
           ing;


           KK. Disclose the cumulative impacts on the Forest-wide level of the Beaverhead- Deerlodge
           National Forest's policy decision to replace natural fire with logging and prescribed burn-
           ing;


           LL. Disclose how Project complies with the Roadless Rule;


           MM. Disclose the impact of climate change on the efficacy of the proposed treatments;

           NN. Disclose the impact of the proposed project on the carbon storage potential of the area;


           OO. Disclose the baseline condition, and expected sedimentation during and after activities,
           for all streams in the area;




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                                                                                                            FS-034677
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           Disclose maps of the area that show the following elements :
           Past, current, and reasonably foreseeable logging units in the Project area;
           Past, current, and reasonably foreseeable grazing allotments in the Project area; Density of
           human residences within 1.5 miles from the Project unit boundaries; Hiding cover in the
           Project area according to the Forest Plan definition;
           Old growth forest in the Project area;
           Big game security areas;
           Moose winter range;

           SOIL PRODUCTIVITY

           The Kootenai National Forest (KNF) adopted the Region 1 Soil Quality Standards, FSM
           2500-99-1 (SQS), to assure compliance with the Forest Plan and NFMA. The SQS limit the
           areal extent of detrimental soil disturbance within logging units to no more than 15%.

           Soil Quality Standards "provide benchmark values that indicate when changes in soil
           properties and soil conditions would result in significant change or impairment of soil qual-
           ity based on available research and Regional experience" (Forest Service Manual 2500, Re-
           gion 1 Supplement 2500-99-1, Chapter 2550 - Soil Management, Section 2554.1).

           The intent of the Regional Soil Quality Standards is that the FS must, in each case, con-
           sider the cumulative effects of both past and proposed soil disturbances to assure the de-
           sired soil conditions are met. This includes impacts from activities that include logging,
           firewood gathering, livestock grazing, and motorized recreation impacts.

           Please disclose percent detrimental disturbance estimates provided by watershed. What is
           the relevance of the areal extent of management-induced soil damage over such a geo-
           graphic area?

           Alexander and Poff (1985) reviewed literature and found that the amount of soil damage
           varies even with the same logging system, depending on many factors. For example, as
           much as 10% to 40% of a logged area can be disturbed by skyline logging. They state:




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           There are many more data on ground disturbance in logging, but these are enough to indi-
           cate the wide diversity of results obtained with different equipment operators, and logging
           techniques in timber stands of different composition in different types of terrain with dif-
           ferent soils. Added to all these variables are different methods of investigating and report-
           ing disturbance.

           The Sheep Creek Salvage FEIS (USDA Forest Service, 2005a) states at p. 173:

           Noxious weed presence may lead to physical and biological changes in soil. Organic matter
           distribution and nutrient flux may change dramatically with noxious weed invasion. Spot-
           ted knapweed (Centaurea biebersteinii D.C.) impacts phosphorus levels at sites (Le.]eune
           and Seastedt, 2001) and can hinder growth of other species with allelopathic mechanism.
           Specific to spotted knapweed, these traits can ultimately limit native species' ability to com-
           pete and can have direct impacts on species diversity (Tyser and Key 1988, Ridenour and
           Callaway 2001).

           Please disclose how the productivity of the land and soils been affected in the project area
           and forest wide due to noxious weed infestations, and how that situation is expected to
           change in the coming years and decades.

           From Grier et al., (1989):
           The potential productivity of a site can be raised or lowered by management activities caus-
           ing a permanent or long-term increase or decrease in the availability of nutrients essential
           for plant growth. (P. 27.)

           ...Any time organic matter is removed from a site, a net loss of nutrients from that site also
           occurs. In timber harvesting or thinning, nutrient losses tend to be proportional to the vol-
           ume removed. (P. 27.)

           ...Slash burning is a common site preparation method that can affect soil chemical proper-
           ties tremendously. A great deal of controversy is often associated with using fire because of




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           the wide variety of effects, some of which are definitely detrimental to site quality and some
           of which are beneficial. (P. 30.)

           The KNF has never attempted to put in place a scientifically sound definition of "soil
           productivity" that can be measured and compared to baseline conditions. Harvey et al.,
           1994 state:

           The ...descriptions of microbial structures and processes suggest that they are likely to pro-
           vide highly critical conduits for the input and movement of materials within soil and be-
           tween the soil and the plant. Nitrogen and carbon have been mentioned and are probably
           the most important. Although the movement and cycling of many others are mediated by
           microbes, sulfur phosphorus, and iron compounds are important examples.

           The relation between forest soil microbes and N is striking. Virtually all N in eastside forest
           ecosystems is biologically fixed by microbes... Most forests, particularly in the inland West,
           are likely to be limited at some time during their development by supplies of plant-availa-
           ble N. Thus, to manage forest growth, we must manage the microbes that add most of the N
           and that make N available for subsequent plant uptake.

           (Internal citations omitted.)

           The proposal to log in areas of low soil productivity due to impacts of wildland fires and
           past logging activities flies in the face of NFMA's requirements to assure regeneration, sus-
           tained yield, and maintain soil productivity. Sec. 6. of the National Forest Management Act
           states:

           (g) As soon as practicable, but not later than two years after enactment of this subsection,
           the Secretary shall in accordance with the procedures set forth in section 553 of title 5,
           United States Code, promulgate regulations, under the principles of the Multiple-Use, Sus-
           tained-Yield Act of 1960, that set out the process for the development and revision of the
           land management plans, and the guidelines and standards prescribed by this subsection.
           The regulations shall include, but not be limited to-




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           (3) specifying guidelines for land management plans developed to achieve the goals of the
           Program which-

           (E) insure that timber will be harvested from National Forest System lands only where-

           (i) soil, slope, or other watershed conditions will not be irreversibly damaged;

           NFMA regulations at 36 C.F.R. § 219.27 (Management requirements) state: (a) Resource
           protection. All management prescriptions shall--

           (1) Conserve soil and water resources and not allow significant or permanent impairment
           of the productivity of the land;
           (b) Vegetative manipulation. Management prescriptions that involve vegetative manipula-
           tion of tree cover for any purpose shall--

           (5) Avoid permanent impairment of site productivity and ensure conservation of soil and
           water resources ;

           The scoping comments note that the project calls for 7.6 miles of new roads. Previous road-
           less inventories, both RARE II and during preparation of the Beaverhead Forest Plan and
           revised Forest Plan, omitted unloaded areas adjacent to the IRAS. Please include maps
           showing the location of unloaded areas-the boundaries of these areas. With the contro-
           versy-both social and scientific-surrounding the roadless issue, the failure to disclose
           with a map in an EIS all inventoried and uninventoried roadless lands makes no sense and
           constitutes a violation of NEPA.

           What is a scientifically sound forest-wide standard for the KNF to insure the viability of
           the black-backed woodpecker? How much black-backed woodpecker habitat is currently
           available in the KNF, how is it distributed, and how much will be available after this latest
           timber sale?

           ECONOMICS

           NFMA and the Forest and Rangeland Renewable Resources Planning Act (RPA) require
           management of national forest system lands in a manner that maximizes long term net
           public benefits based on the best available science. Please comply with the monitoring re-
           quirements of the Forest Plan or NFMA. Please include a complete cost benefit analysis for
           the project.




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           Please consult with the Montana State Historic Preservation Office to ensure the project


           complies with the National Historic Preservation Act.

           CANADA LYNX VIABILITY

           On page 325 of the EA, it discusses "Correlates of Canada Lynx Reproductive Success in

           Northwestern Montana" by Megan K. Kosterman.


           And "Understanding and predicting habitat for wildlife conservation: the case of Canada

           lynx at the range periphery" by HOLBROOK et al that confirms Kosterman's findings.


           The EA claims that it is hard to compare the EA to the Losterman and Holbrook but it

           does not say if the action alternatives are complying with Kosterman and Holbrook which

           are the best available science. Do the action alternative comply with Kosterman and

           Holbrook's recommendations"


           Kosterman. Holbrook and the Forest Service all base their lynx analysis on V map. They

           can be compared and we contend the project is not following the best available science,

           Kosterman and Holbrook.




           Kosterman finds that 50% of lynx habitat must be mature undisturbed forest for it to be

           optimal lynx habitat where lynx can have reproductive success and no more than 15% of

           lynx habitat should be young clearcuts, i.e. trees under 4 inched dbh. This contradicts the

           agency's assumption in the Lynx Amendment that 30% of lynx habitat can be clearcut, and

           that no specific amount of mature forest needs to be conserved.


           Kosterman also finds that lynx do not use clearcuts in the winter which is the time when

           they are at most risk of starvation.




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           It is now the best available science out there that describes lynx habitat in the Northern

           Rockies related to lynx viability and recovery. Kosterman's study demonstrates that the

           Lynx Amendment standards are not adequate for lynx viability and recovery, as previously

           assumed by the Forest Service.


           Since this is now the best available science we are hereby formally requesting that the For-

           est Service write a supplemental EIS for the Northern Rockies Lynx Management Direc-

           tion and reinitiate consultation with the FWS for the Lynx Amendment to publicly disclose

           and address the findings of this study, and to allow for further public comment on this im-

           portant issue of lynx recovery.

           1) USFS needs to take a hard look at impacts to lynx under NEPA, apply the lynx conser-
           vation measures and standards of the NRLMD, and consult on lynx via section 7 of the
           ESA b/c the best available science -- including recent tracking surveys conducted by WTU -
           - confirm lynx's presence and use of the area;


           (3) USFS has failed to survey for lynx as required by the Biological Opinion on the North-
           ern Rockies Lynx Management Direction (NRLMD).

           In order to meet the requirements of the FS/USFWS Conservation Agreement, the FS
           agreed to insure that all project activities are consistent with the Lynx Conservation As-
           sessment and Strategy (LCAS).

           LCAS requirements include:

           Project planning-standards.
           1. Within each LAU, map lynx habitat. Identify potential denning habitat and foraging
           habitat (primarily snowshoe hare habitat, but also habitat for important alternate prey
           such as red squirrels), and topographic features that may be important for lynx movement
           (major ridge systems, prominent saddles, and riparian corridors). Also identify non-forest
           vegetation (meadows), shrub-grassland communities, etc.) adjacent to and intermixed with
           forested lynx habitat that may provide habitat for alternate lynx prey species.

           2. Within a LAU, maintain denning habitat in patches generally larger than 5 acres, com-
           prising at least 10 percent of lynx habitat. Where less than 10 percent denning habitat is




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           currently present within a LAU, defer any management actions that would delay develop-
           ment of denning habitat structure.

           3. Maintain habitat connectivity within and between LAUs.

           Programmatic planning-standards.

           1. Conservation measures will generally apply only to lynx habitat on federal lands within
           LAUs

           2. Lynx habitat will be mapped using criteria specific to each geographic area to identify
           appropriate vegetation and environmental conditions. Primary vegetation includes those
           types necessary to support lynx reproduction and survival. It is recognized that other vege-
           tation types that are intermixed with the primary vegetation will be used by lynx, but are
           considered to contribute to lynx habitat only where associated with the primary vegetation.
           Refer to glossary and description for each geographic area.

           3. To facilitate project planning, delineate LAUs. To allow for assessment of the potential
           effects on an individual lynx, LAUs should be at least the size of area used by a resident
           lynx and contain sufficient year-round habitat.
           4. To be effective for the intended purposes of planning and monitoring, LAU boundaries
           will not be adjusted for individual projects, but must remain constant.
           5. Prepare a broad-scale assessment of landscape patterns that compares historical and
           current ecological processes and vegetation patterns, such as age-class distributions and
           patch size characteristics. In the absence of guidance developed from such an assessment,
           limit disturbance within each as follows: if more than 30 percent of lynx habitat within an
           LAU is currently in unsuitable condition, no further reduction of suitable conditions shall
           occur as a result o vegetation management activities by federal agencies.

           Project planning-standards.
           1. Management actions (e.g., timber sales, salvage sales) shall not change more than 15 per-
           cent of lynx habitat within a LAU to an unsuitable condition within a 10- year period.

           Programmatic planning-standards.
           1. Identify key linkage areas that may be important in providing landscape connectivity
           within and between geographic areas, across all ownerships.




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           2. Develop and implement a plan to protect key linkage areas on federal lands from activi-
           ties that would create barriers to movement. Barriers could result from an accumulation of
           incremental projects, as opposed to any one project.


           Please demonstrate that project activities are consistent with above and all other applicable
           programmatic and project requirements.

           The U.S. Court of Appeals for the Ninth Circuit hold that "[o]nce an agency is aware that
           an endangered species may be present in the area of its proposed action, the ESA requires
           it to prepare a biological assessment ...." Thomas v. Peterson, 753 F. 2d 754, 763 (9thCir.
           1985). If the biological assessment concludes that the proposed action "may affect" but will
           "not adversely affect" a threatened or endangered species, the action agency must consult
           informally with the appropriate expert agency. 50 C.F.R. §§ 402.14 (b)(1), 402.12(k)(1).

           Canada lynx are listed under the ESA.

           Canada lynx may be present in the project area and the proposed project may affect lynx
           by temporarily increasing road density, removing vegetative cover, and engaging in mecha-
           nized activities that could displace lynx.

           Please complete a biological assessment for lynx and formally consult with USFWS regard-
           ing the project's potential impacts on lynx.

           Grizzly Bears

           In May, the United Nations released a report finding that the current rate of species extinction "is
           already at least tens to hundreds of times higher than it has averaged over the past 10 million
           years."1 The mountain caribou in the lower 48 states went extinct just a few months ago. Like
           the Cabinet-Yaak grizzly bear, the mountain caribou lived primarily on National Forest land, had
           a population of less than 50 individuals, and was threatened by logging and roads.

           Alliance reiterates this point here because the agencies issued similar assurances regarding the
           mountain caribou that they now issue for the Cabinet-Yaak grizzly bear. For example, in litiga-
           tion to protect the mountain caribou in this Court, the agencies represented that they would "meet
           caribou needs" by using the best available science and applying forest plan protections, and not




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           approving logging projects unless they concluded that the project was "net likely to adversely
           affect" the mountain caribou. Jayne V. Sherman, 706 F.3d 994, 1001 (9th Cir.20l3)(quoting
           FWS Biological Opinion).

           In Jayne, these statements were accepted as adequate protections for the mountain caribou. Now
           the mountain caribou is extinct. It is not too late to avoid the same fate for the Cabinet-Yaak
           grizzly bear. As members of Congress stated when

           lhttps://www.ipbes.net/sites/default/files/down10ads/spm_unedited_advance_f or_post-
           ing_htn.pdf

           they passed the ESA: "The agencies of Government can no longer plead that they can do nothing
           about [the grizzly bear]. They can, and they must. The law is clear." Tennessee Valley Auth. V.
           Hill, 437 U.S. 153, 184 (1978) (quoting Congressional Record).

           The preservation of endangered species takes "priority over the 'primary missions' of federal
           agencies." Accordingly, courts must "afford[] endangered species the highest of priorities," and
           act with "institutionalized caution" when reviewing ESA cases. Cottonwood Envtl. Law Ctr. v.
           USFS, 789 F.3d 1075, 1091 (9th Cir.2015). This Court holds that the "fundamental principle [of
           institutionalized caution] remains intact and will continue to guide district courts when con-
           fronted with requests for injunctive relief in ESA cases." Id. Although the district court did not
           apply this fundamental principle in this case, this Court may now remedy that error by issuing a
           temporary injunction pending appeal to preserve the status quo until a final decision is issued on
           the merits .

           Page 23 of the EA states:

           Measures implemented beginning in the 1990s for protection of the threatened grizzly bear

           have decreased the amount of road available for motorized public travel and management ac-

           tivities, while increasing security for grizzly bears as well as other wildlife species. The crea-

           tion of grizzly bear core security areas has resulted in roughly 66percent of the NFS lands on

           the District being unavailable to motorized travel during the active bear year.




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           The Access Amendment is the product of years of public interest litigation on behalf of the im-
           periled Cabinet-Yaak grizzly bear. The well-established scientific consensus is that roads pose
           the most imminent risk to this grizzly population. Ninety percent of this population' s Recovery
           Zone habitat islocated on public National Forest lands. Thus, the federal government has the
           power to limit road density for grizzly bear protection on the vast majority of its habitat and
           thereby prevent the extinction of this grizzly population. Ostensibly, this is the purpose of the
           Access Amendment.

           However, since the Access Amendment was approved in 2011, the U.S. Forest Service has pre-
           pared multiple years of monitoring reports regarding its implementation of road closures in griz-
           zly habitat. These monitoring reports establish that these road closures are routinely violated and
           therefore ineffective: members of the public regularly ignore signs, drive around gates or earthen
           berms, remove obstructions such as boulders or logs, or simply create their own new motorized
           routes.

           Although these monitoring reports are only required for the Recovery Zone, there are incidental
           observations in these reports regarding closure violations found in grizzly habitat outside of the
           Recovery Zone, in the government-designated "Bears Outside Recovery Zone" or "BORZ" ar-
           eas.




           In 2017, Alliance hired its own investigators to determine whether there were road closure viola-
           tions in these areas.

           Due to time and funding constraints, this initial investigation was limited in scope to the Tobacco
           and Clark Fork "Bears Outside Recovery Zone" areas. As a result of one visit to each required
           closure device in these two areas, the investigatorsdiscovered numerous failed closure devices,
           roads that were categorized as closed but were open upon inspection, and illegal user-created




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           roads that were simply unaccounted for in the Forest Service road databases. Thus, the independ-
           ent investigation confirms the fact that these road closures are routinely violated both inside and
           outside the Recovery Zone.

           The recurring problem of road closure failures undermines the foundation of the Access Amend-
           ment management regime, which relies on these road closures to achieve certain densities of
           open and total roads both inside and outside the Recovery Zone. The agencies must address this
           problem and its impacts in an updated ESA consultation for the Access Amendment. The agen-
           cies must also address this problem and its impact in an updated ESA consultation and in the
           Black Ram project and is another reason that an EIS should be written for the Black Ram Pro-
           ject.

           The majority of the Cabinet-Yaak Grizzly Bear Ecosystem - 90% - is National Forest land, man-
           aged by the Forest Service. 64 Fed. Reg. 26725, 26728 (May 17,1999). In terms of all of the hu-
           man uses that affect grizzly bears, "[r]oads probablypose the most imminent threat to grizzly
           habitat today []. The management of roads is one of the most powerful tools available to balance
           the needs of people with the needs of bears." Accordingly, the U.S. Fish & Wildlife Service
           (FWS) states: "It is strongly recommended that road management be given the highest priority
           within all recovery zones." Roads pose a threat to grizzly bears because roads provide humans
           with access into grizzly bear habitat, which leads to direct bear mortality from accidental shoot-
           ings and intentional poachings.

           Human access also leads to indirect bear mortality by creating circumstances in which bears be-
           come habituated to human food and are later killed by wildlife managers. Human access also re-
           sults in indirect mortality by displacing grizzly bears from good habitat into areas that provide
           sub-optimal habitat conditions.

           Displacement may have long term effects: "Females who have learned to avoid roads may also
           teach their cubs to avoid roads. In this way, learned avoidance behavior can persist for several
           generations of bears before they again utilize habitatassociated with closed roads." Both open
           and closed roadsdisplace grizzly bears: "grizzlies avoided readed areas even where existing




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           roads were officially closed to public use []. Females with cubs remained primarily in high,
           rocky, marginal habitat far from reads. Avoidance behavior by bears of illegal vehicular traffic,
           foot traffic, and/or authorized use behind road closures may account for the lack of use of areas
           near roads by female grizzly bears in this area.

           This research demonstrated that a significant portion of the habitat in the study area apparently
           remained unused by female grizzlies for several years. Since adult females are the most im-
           portant segment of the population, this lack of use of both open-roaded and closed-roaded areas
           is significant to the population." In addition to having a significant impact on female grizzly
           bears, displacement may also negatively impact the survival rates of grizzly cubs: "survivorship
           of the offspring of females that lived in unloaded, high elevation habitat was lower than that rec-
           orded in other study areas in the [Northern Continental Divide Ecosystem] .

           The majority of this mortality was due to natural factors related to the dangers of living in steep,
           rocky habitats. This is important in that the effects of road avoidance may result not only in
           higher mortality along roads and in avoidance of and lack of use of the resources along roads, but
           in the survival of young when their mothers are forced to live in less favorable areas away from
           roads."

           Current peer-reviewed science still finds that roads have the most significant impact on grizzly
           bear survival: "[o]f all the covariates we examined, the amount of secure habitat and the density
           of roads in insecure habitat on public lands had thegreatest effect on grizzly bear survival."

           In 1999, FWS found that the Cabinet-Yaak grizzly population was "in danger of extinction" due
           in part to the habitat alteration and human intrusion related to the cumulative impacts of timber
           harvest and its associated road construction. 64 Fed. Reg. 26732. Today, twenty years later, the
           Cabinet-Yaak grizzly population is still facing the same threats and still warranted for uplisting
           from "threatened" to"endangered." All. for the Wild Rockies V. Zinke, 265 F.Supp.3d 1161,
           1182 (D. Mont. 2017).




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           Roads, even if nominally "temporary," can still have long-lasting generational displacement ef-
           fects on grizzly bears because females teach their cubs to avoid these areas .

           These roads can therefore result in direct mortality, indirect mortality, and reduced cub survival.
           When applied to an extremely small, endangered2 population of fewer than 50 individuals that is
           already experiencing high mortality rates, failing recovery targets, and hovering at less than half
           the numbers needed for viability, these harms are amplified and create a great cause for concern
           for Alliance's members. Neither the "imminent harm" posed by roads nor the dire status of this
           population are acknowledged by the agencies.

           It is misleading to state that this population is merely "threatened." The District of Montana va-
           cated FWS's rule finding that endangered status was not warranted and "reinstate[d] the FWS's
           November 2013 warranted but precluded finding." All. for the Wild Rockies v. Zinke, 265 F.
           Supp. 3d 1161, 1181 (D. Mont. 2017). Thus, the population is currently warranted for listing as
           an endangered species, but it is still on the waiting list.

           Page 303 of the EA states: On NFS lands, the objectives of land management within grizzly

           bear habitat "are to maintain and enhance habitat and to minimize potential for grizzly-hu-

           man conflicts" (Interagency Grizzly Bear Committee Taskforce, Mealey, U.S. Department of

           Interior, U.S. National park Service, & U.S. Bureau of land Management, 1986). Nearly all of

           BMU 14, over 99 percent, is classified as MS-1. The Garver BMU is about 86 percent MS-1

           and 14 percent MS-3. The MS-3 portion reflects human settlement and occupation in and

           around the community of Yaak.


           The project will not maintaining and enhancing grizzly habitat and will increase the potential for
           grizzly-human conflicts in violation of NFMA, NEPA, the APA and the ESA.

           Page 305 of the EA states: In general, gated roads opened for project use would return to the

           existing condition following completion of activities.


           The Forest does not have a good track record of keeping closed roads closed. Please see the at-
           tached pictures of ineffective road closures in the Black Ram Project Area.




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           The Forest Service does not disclose the road mileage behind these ineffective closures, there-
           fore it is unclear how many miles of additional open and total roads must be added to the existing
           condition calculations as a result of these ineffective closures .

           In a recent Ninth Circuit Opinion, the court found that the Forest Service had failed to establish
           whether similar "undetermined" roads of unknown origin caused an increase above the Tobacco
           BORZ baseline:

           The error cannot be treated as harmless in light of the ambiguity in the record as to whether the
           "undetermined" roads at issue were, in fact, included in the Access Amendments baseline calcu-
           lotion .


           There are at least three problems with the EA's record of mount of reads. First, because "unde-
           termined" is a sub-category of "unauthorized" roads, it is possible that the particular undeter-
           mined roads at issue in this case were created-without authorization from the Forest Service-
           in the interim between the measurement of the Access Amendments baseline and the Forest Ser-
           vice's survey of existing roads for the Project.

           All. for the Wild Rockies V. Savage, 897 F.3d 1025, 1036, n.18 (9th Cir. 2018). In light of these
           circumstances that (1) road closures/barriers are regularly breached but the Forest Service con-
           ducts no systematic monitoring to determine how many miles of illegal road use are occurring
           behind barriers each year, and (2) the Forest Service simply ignores illegal "undetermined" roads
           and does not include them in its calculations for open or total roads in the annual monitoring re-
           ports, the open and total road numbers in the monitoring reports are not accurately reflecting the
           conditions on the ground. It is therefore reasonable to assume that the baselines in the project
           area regularly exceeded because the reported conditions hover at or near the baseline.

           Chronic recurring road closure breaches cannot reasonably be construed as "temporary," and il-
           legal road use does not fall within the scope of Access Amendment "temporary" roads.

           The Forest Service and FWS have acknowledge that road closure breaches (and resulting illegal
           road use) are not addressed in the Access Amendment. Nonetheless, the agencies argue that all




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           road closure breaches regardless of whether they are chronically recurring and regardless of how
           long they last on the landscape must be construed as "temporary" road increases. Onto this prem-
           ise, the agencies then bootstrap an additional argument that because certain specific types of tem-
           porary roads were addressed in the Access Amendment, that discussion must also apply to "tem-
           porary" road increases from illegal road use.

           First, it is not reasonable to construe recurring illegal road use as "temporary" road density in-
           creases. The monitoring reports indicate that public users may repeatedly breach the same clo-
           sure year after year. See, e.g., AR42:000059-62 (noting that boulders placed in 2015 have been
           removed and unauthorized users are

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           again circumventing gate on Road 2236). Moreover, the Forest Service may take years to act on
           known violations. See, e.g., AR42:000061 ("The Clatter Creek gate (268) was included on the
           2015 gate repair contract but after the bids came in the Clatter Creek gate was dropped due to re-
           pair costs for all gate repairs exceeding available funding. In BY20l6 the gate remained dam-
           aged and ineffective."), see also AR43:000081-82 (note 2)(during planning for the Hanna Flats
           logging project, the Forest Service found illegal motorized use on 15.7 miles of road that were
           not included in the baseline but the agency postponed remedial action until implementation of
           the logging project, in the 2018 monitoring report, the agency concedes it has still not yet elimi-
           nated this illegal use), see also AR232:000767 (finding that four barriers did not effectively pre-
           vent motorized use but deferring any action to fix the problems).

           Thus, while the Forest Service insists that all breaches are temporary, those same breaches may
           be recurring or may have lasted for many years prior to discovery and remedial action, resulting
           in a chronic situation. The situation with the BORZ is a good illustration of this problem S alt-
           hough the Forest Service insists that it fixes all breaches as soon as possible, nonetheless at least
           four out of seven BORZ areas chronically fail to meet both the open and total road baseline con-
           ditions from the Access Amendment, as shown above in the table in Section B.




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           Second, even assuming that illegal road use could be construed as "temporary," it still does not
           have the same effect as lawful temporary road use. A breach of a closure device that results in
           public motorized use in effect results in an open road. The Access Amendment severely restricts
           temporary increases in open roads: "immediately following completion of all mechanized har-
           vest and post- harvest slash activities requiring use of the road, to allow motorized public use
           during the bear summer season prior to the fall bear hunt (i.e., June 16 - August 31) for activities
           such as personal firewood collection. This public access would only be provided in cases where
           the mechanized harvest and/or post-harvest slash activities occurred during the same active bear
                59
           year.

           Thus, temporary increases in open reads are limited to a June 16-August 31 window, and may
           only occur in the same year in which logging activities have already occurred and used that par-
           ticular road, presumably because grizzlies would have already been displaced from those areas .
           In contrast, illegal motorized use behind road closure breaches is not limited to a June 16-August
           31 window, and is not limited to a single year entry on a road along and on which logging activi-
           ties have already been occurring.

           Moreover, illegal road use would also constitute an increase in total roads. However, temporary
           increases in total roads are only permitted if the roads are "effectively" gated to prevent public
           use during a project, (2) after project use, the roads are treated so as to "effectively prevent[] mo-
           torized access" and require no motorized access for maintenance for at least 10 years, and (3)
           upon project completion, the area is "returned to or below the baseline levels contained in Table
           16" of the Access Amendment ROD. Obviously a road that has illegal road use is not "effec-
           tively" gated to prevent public use.

           Thus, illegal road use does not comply with the restrictions set for lawful increases in temporary
           roads neither open nor closed in the Access Amendment and therefore cannot possibly have the
           same effects. It is simply implausible that unlimited illegal road use occurring at any time in any




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           location would have the same effect on grizzly bears as Access Amendment temporary reads that
           are significantly restricted in both timing and location. Indeed, illegal road use is illegal precisely
           because the Forest Service has already closed these specific roads to protect grizzly bears. If ille-
           gal motorized use occurs on these roads that were closed to protect grizzly bears, it may displace
           grizzly bears from areas that they would otherwise not be displaced from.

           Although the EA states that the Cabinet-Yaak Ecosystem had an estimated population of 55-60
           individuals in 2017, 2017 DNA sampling identified only 44 individual bears. l Specifically, the
           recent sampling identified 20 females and 24 males, with 23 bears in the Cabinets and 21 bears
           in the Yaak portion of the ecosystem. 2 This means the Yaak portion of the ecosystem may have
           as few as 21 bears, with perhaps approximately half of those bears being female bears. Citing
           the same report, the EA notes that the two Bear Management Unites ("BMUs") impacted by the
           project-BMU 14 (Northwest Peak) and BMU 15 (Garver)-likely contain a minimum of six
           individuals. Taking the EA's data at face value, this means that if there are a minimum of six in-
           dividuals in the impacted BMUs out of an estimated population of 55-60 bears, then at least ten
           percent of the grizzly bear population in the Cabinet-Yaak Ecosytsem may be negatively

           impacted by this project. Recognizing that the grizzly bear population in the Yaak portion of the
           ecosystem is likely much smaller than the estimated population for the entire ecosystem, we are
           likely looking at a much larger percentage of the population being seriously impacted during the
           life of this project.

           The life-span of this intensive logging and burning project is up to 10 years. EA at 211, 266, 277.
           During this time, roads will be constructed and reconstructed, heavy machinery will be used fer
           road work and to cut and remove trees, helicopters will be used to ignite prescribed fires, and
           road use and human presence will increase considerably - all of which threatens to negatively
           impact and displace grizzly bears. Moreover, the EA estimates that suitable hiding cover, im-
           portant for grizzly bears, may not return for another 15 years after completion of the project. See
           EA at 297, 310. Thus, this project is likely to harm this small grizzly bear population long after
           the life of the project, for a total of up to 25 years.




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           Despite the serious impacts to grizzly bears, the Forest Service failed to demonstrate compliance
           with Forest Plan standards relevant to grizzly bears, and failed to adequately analyze the direct,
           indirect, and cumulative impacts to grizzly bears.




           1 The EA cites "W.F. Kasworm et al., 2018" for its information on the population estimate and
           population trends for

           the Cabinet-Yaak Ecosystem bears. However, the only 2018 Kasworm publication in the litera-
           ture cited is the Selkirk Mountains grizzly bear recovery area report, which dines not appear to
           contain this important information.

           2 See "Selkirk/Cabinet-Yaak (SCY) Subcommittee of the Interagency Grizzly Bear Committee
           (IGBC)," May 9, 2019 meeting notes, at igbconline.org/wp-content/up-
           loads/2019/06/20190509_SCYMeetingMinutes.pdf (last visited 8-2-2019).

           I. The Action Alternatives Do Not Comply with the Kootenai National Forest Plan

           The Forest Service must comply with National Forest Management Act ("NFMA") and its im-
           plementing regulations. NFMA requires the Forest Service to ensure that site-specific manage-
           ment projects are consistent with the applicable forest plan. 16 U.S.C. § l604(i). Thus, the Forest
           Service must ensure that all aspects of the proposed action comply with the Kootenai Panhandle
           National Forests Land Management Plan.

           The Grizzly Bear Access Amendment set standards fer open motorized route density
           ("OMRD"), total motorized route density ("TMRD"), and retention of core grizzly bear habitat
           within the Cabinet-Yaak and Selkirk Recovery Zones bear management units. This Amendment
           is incorporated as a standard (FW-STD-WL-02) in the Kootenai National Forest Plan at Appen-
           dix B. The Access Amendment adopted the following standards for the Northwest Peak and
           Garver BMUs:

           Northwest Peak BMU (BMU 14) :




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           1. OMRD of greater than 1 mile per square mile en no more than 31 percent of the BMU,

           2. TMRD of greater than 2 miles per square mile on no mere than 26 percent of the BMU,

           3. Grizzly core area habitat comprising at least 55 percent of the BMU.

           Garver BMU (BMU 15):

           1. OMRD of greater than 1 mile per square mile en no more than 33 percent of the BMU,

           2. TMRD of greater than 2 miles per square mile on no mere than 26 percent of the BMU,

           3. Grizzly core area habitat comprising at least 55 percent of the BMU. 3

           3 United States Forest Service, Kootenai National Forest Land Management Plan (2015 Revi-
           sion) (hereinafter, "Forest Plan") App. B, Table 25, at 147.




           The EA states that currently, the Forest Service is in compliance with the Access Amendment
           standards. EA at 298, Table 84, but see EA at 308, Table 88 (showing the existing TMRD in
           BMU 15 as being 27 percent, and thus above the 26 percent limit). This is assuming that the
           road closures are effective, which they are not. Please demonstrate that the road closures are ef-
           fective.

           The EA reveals that during the life of the project-up to ten years-the Forest Service will not
           be in compliance with TMRD limitations in the Garver BMU. EA at 308, Table 88 (showing
           TMRD under both action alternatives would be 32 percent during the project). The Forest Ser-
           vice tries to justify its noncompliance with the Access Amendment standard by stating that the
           increase in TMRD percentage will just be "temporary" and the TMRD percentage would meet
           the standards again "upon completion." EA at 307-308. However, the Forest Service cannot
           point to anything in the Forest Plan that allows for even temporary noncompliance of Forest Plan
           standards. And here, we may be talking about noncompliance for up to ten years.




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           The Forest Service's failure to comply with the Access Amendment TMRD standards during
           project implementation directly violates NFMA.

           Recognizing that this violation would be a problem, the Forest Service then tries to explain away
           its predicted numbers by noting that its own numbers don't take into account routes that would
           be barbered with in-kind replacement for core and therefore these numbers are not a real reflec-

           tion of what will happen on the ground. EA at 308-308. While the Forest Service avers that the
           actual values for TMRD would be less than displayed in its own analysis, the agency falls short
           of ever stating that the project will not violate the TMRD limitations during project implementa-
           tion, even if these maximum values are never reached. Thus, its explanation is unsatisfactory to
           demonstrate compliance with this mandatory standard.

           Dr. David Mattson wrote the following section for our comments.

           The assessment of prospective effects of the Black Ram Project on grizzly bears in the Environ-
           mental Assessment (EA) is premised on several critical assumptions. First, status of the Cabinet-
           Yaak grizzly bear population is assumed to have improved since 2012. Second, and related, the
           EA assumes that some erosion of security for grizzly bears is therefore permissible, conditioned
           on a related assumption that security and road access standards employed by the Kootenai Na-
           tional Forest (NF) are sufficient for recovery of grizzly bears in this ecosystem. Third, the EA
           assumes that abundance of huckleberries are demographically limiting for grizzly bears in this
           region. And, fourth, the EA further assumes that Project treatments will substantially enhance
           abundance of huckleberries to an extent sufficient to offset any losses of habitat security.

           All of these assumptions are unwarranted and, as a result, the conclusions reached in the EA
           about Project effects on grizzly bears are likewise unwarranted. More problematic yet, all of the
           conclusions of relevance to grizzly bears likely under-estimate negative impacts and over-esti-
           mate prospective benefits. Briefly:

                  The weight of available evidence does not support concluding that population status has
                  improved. For one, the methods used to estimate trend and current population size are be-
                  set with a host of problems. For another, the information able to be distilled from demo-
                  graphic data suggests that any improvement has stalled since 2014.




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                 Variations in population size and trajectory between 1999 and 2010 are more likely at-
                 tributable to variations in abundance of natural foods-berries in particular-that affect
                 exposure of bears to humans rather than to any increased mitigations. During years of
                 scant berries, bears likely forage more widely and more often end up in conflict situations
                 or exposed to malicious killing.



                 The population of grizzly bears in the Yaak/Yahk is far smaller than even the smallest
                 size posited to be viable by any researcher. Related, the population remains acutely vul-
                 nerable to even the smallest increases in bear mortality that are predictably more likely to
                 occur with any increase in road access and associated human activity.




           1

                 Malicious and other unjustified killing by humans remains the dominant cause of death
                 for grizzly bears in the Cabinet-Yaak Ecosystem. These kinds of killings are predictably
                 associated with roads. As a result, levels of road access need to be substantially reduced
                 and related levels of habitat security substantially increased rather than the opposite, as is
                 being proposed for the Black Ram Project.



                 Road density and habitat security standards used by the Kootenai NF are patently defi-
                 cient, partly because they are based on research that conflates behavioral phenomena
                 such as avoidance and displacement with demographic phenomena, notably survival. The
                 scale is wrong as well, given that exposure to mortality hazards logically accrues over



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                 years as a consequence of cumulative annual movements of bears vis-a-vis hazardous en-
                 virons. As a corollary, the fact that standards on the Kootenai NF are mere lax than stand-
                 ards on the Flathead NF is self- evidently nonsensical given that grizzly bears in the Cab-
                 inet-Yaak Ecosystem remain in a much more precarious status compared to grizzly bears
                 in the Northern Continental Divide Ecosystem.



                 There is little or ne evidence that food abundance is a significantly limiting factor for
                 grizzly bears in the Cabinet-Yaak Ecosystem-especially as manifest in reproduction. On
                 the other hand, there is ample evidence that human-caused mortality had governed and
                 continues to govern the fate of this population, with food effects manifest primarily in the
                 extent to which grizzly bears are exposed to human-related hazards during years when
                 berries are in shorter supply.


                 There is essentially no prospect of any increased berry production attributable to Project
                 treatments offsetting increases in hazards associated with increased human access and ac-
                 tivity. Moreover, enhancement of huckleberry production is more likely to occur as a re-
                 sult of wildfire rather than as a result of timber harvest. Given that the Davis fire recently
                 burned substantial acreages in habitat conducive to huckleberry production, any need for
                 ostensible berry- enhancing treatments has already been met naturally-and in an area
                 that is likely to be more secure from humans.


                 Compounding prospective problems with the Black Ram Project, proposed activities are
                 concentrated in an area that is vital for facilitating movement of grizzly bears west-east
                 between core habitats. Project activities will diminish rather than enhance security needed
                 not only to facilitate transit of bears, but also increase odds that exposed bears will sur-
                 vive.
                 In short, the Black Ram Project promises to harm grizzly bears in the Cabinet-Yaak Eco-
                 system. In what follows, I elaborate on most of the points outlined above, and substanti-
                 ate my conclusion.


           2

           A. Weight of Evidence Does Not Support Concluding that Status of the Cabinet-Yaak Pop-
           ulation has Improved Since 2012




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           A.1. The 2.1% Per Annum Growth Rate for the Cabinet-Yaak Population is Not Justified
           or Applicable

           Use of a 2. 1 % per annum growth rate to project total size of the Cabinet-Yaak population from
           the Kendall et al. (2016) 2012 point estimate, as was done by Kasworm et al (2018), is not defen-
           sible. Such use is, moreover, guaranteed to produce spurious results that cannot legitimately be
           used to reach conclusions of management relevance. There are several unambiguous reasons.

           A.I.a. The growth rate is not representative of the total population

           First, the estimated 2. 1% per annum growth rate only applies to an unknown fraction of the total
           Cabinet-Yaak grizzly bear population. Vital rates used to estimate this growth rate were based
           solely on "native" or "natural" research-trapped bears, and expressly excluded bears captured be-
           cause of conflicts or part of the augmentation program (Kasworm et al. 2018: 10). The growth
           rate, moreover, applies almost exclusively to the Yaak portion of the population given that 95%
           of the data used to estimate survival rates and 85% of the data used to estimate reproductive rates
           came from this subpopulation (ibid: 36)-protestations by the authors notwithstanding (ibid: 36).
           On top of this, the 2. 1% per annum rate was estimated only for the female portion of this high-
           grade (ibid: 10), which is of consequence even though female survival is disproportionately im-
           portant in determining growth rate, as such.

           In other words, the 2. 1 % per annum growth rate can only be legitimately applied to females re-
           siding in the Yaak subpopulation that were not trapped and marked as a result of conflicts nor
           part of the augmentation program. Put another way, management-trapped bears, augmentation
           bears, and males would need to be represented in a modeling framework if any estimated popula-
           tion growth rate were to be prima facie representative of the total population. Moreover, if the
           fates of all such bears were to be considered, estimated population growth rate would almost cer-
           tainly be lower given that survival rates of males, augmentation bears, and management bears are
           substantially less than survival rates of the females used to estimate the 2. 1% per annum growth
           rate (ibid: 33-35).

           If a growth rate were to be used to project a total population estimate, comparable to the Kendall
           et al. 2012 point estimate of 49 bears (95% CI = 44-62), then such a growth rate would need to
           represent birth and death rates of the total population, and apply specifically to the period of in-
           terest (e.g., 2012-2017) rather than a longer period of time that masks the relevant trajectory (see
           my point below).

           A.I.b. The growth rate does not represent 2012-20]7




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           The 2.1% per annum growth rate used by Kasworm et al to project 2017 population size was cal-
           culated using data that span 1983-2017 and so, therefore, axiomatically represent a generalized
           growth rate for Yaak females during this lengthy 35-year period. Put another way, the 2. 1% per
           annum growth is not an estimate of growth for the period 2012-2017. For it to be so, the rate
           would have necessarily been estimated only using data from the approximate 2012-2017 period.

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           More to the point, estimates of growth for the Yaak female population are increasing back-
           weighted by inclusion of data that are, on average, increasingly old. Figure l (herein) shows the
           approximate average age of data used to calculate vital rates with the passage of time (from ibid:
           Table 17, 40-42). Notice that average age has increased from around 6-7 years in 1998 to nearer
           15 years in 2017. In other words, with the progression of time estimates of population growth for
           the female segment of the Yaak population have become increasingly irrelevant to judging cur-
           rent population trajectory.

           The Government retort to these contentions would probably be that the data from such a short
           period of time would be so sparse as to preclude a usefully accurate estimate. That is almost cer-
           tainly the case, and a commentary in its own right on the profound limitations imposed by intrin-
           sically small sample sizes. Nonetheless, this does not negate the point that the 2. 1% per annum
           growth rate for 1983-2017 is spurious when applied to the 2012-2017 period. As Figure 11
           clearly suggests (ibid: 37), population growth rate has almost certainly varied over time, albeit in
           largely indeterminate ways (see my following point).

           Figure 1. Trend in mean age of data used to calculate vital rates of Cabinet-Yaak grizzly bears
           with passage of years from 1998 to 2017. Mean age has more than doubled, with trend towards
           increased aging accelerating since deployment of a conflict management specialist in the ecosys-
           tem. Increasing age renders estimated vital rates increasingly irrelevant to current conditions.

           A.].e. Uncertainty of the growth rate as currently (or even ideally) calculated debars use

           Small sample sizes impose very real constraints on the precision and accuracy of all demo-
           graphic rates being used by Cabinet-Yaak researchers and managers. These constraints follow
           ineluctably from the small size of the Cabinet-Yaak grizzly bear population, which is a non-ne-
           gotiable feature of this ecosystem.




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           As a practical upshot, all of the population growth rates calculated to date have uncertainty inter-
           vals (e.g., 95% confidence intervals) that not only substantially overlap zero (i.e., no growth) but
           also, over time, each other. More specifically, despite purporting to show trend in cumulative
           growth rate over time, the confidence intervals shown in Figure 10 (ibid: 37) all overlap-most
           almost completely (see also Figure 2A herein). Because of this, there is little or no basis for con-
           cluding that growth rate has varied with time. Likewise, taking a precautionary approach, there
           is little or no justifiable basis for concluding that growth rate is currently positive, despite state-
           ments in Kasworm el al. such as "The probability that the population was stable or increasing
           was 73%" (ibid: 36), especially in light of the fact that the point estimate of 2. 1% per annum is a
           cumulative rate spanning 1983-2016 with little or no known relationship to current rate of popu-
           lation increase or decline.

           Moreover, when the totality of point estimates and uncertainty is taken into consideration fer the
           period 1998-2017, there is a cumulative 62% probability that the population was declining dur-
           ing these 19 years, consistent with the 2017 estimate of population size for Yaak females still be-
           ing around 52% less than the estimate of population size for 1998 (Figure 2A and 2B herein).




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           The implications of uncertainty are thrown into relief by examining the specifics of projecting
           population size forward in time from 1983 to 2017 using the 1.021 (95% CI = 0.949-1.087)
           growth rate, noting up front that uncertainty in annual growth rate magnifies exponentially over
           time when manifest in population size. For example, after back-casting to obtain a plausible 1983
           population starting point, deterministic projections of population size using the upper and lower
           confidence intervals of growth allow for a current population (2017) of anywhere between 3 and
           256. Stochastic projections, e.g., using the software RISKMAN, generate a similar and not par-
           ticularly useful range of 4 to 154 individuals .

           The point here is that the raw cumulative uncertainty is huge, especially when dealing with a
           time period as long as 1983-2017. It is also important to note that this exercise takes the 1.021
           estimate of lambda at face value, which, as per my previous points, is unwarranted.

           Related to this last point, the current basis for modeling population growth rate using Booter
           (ibid: 10- 11) is egregiously simplistic given the self-evident structural complexity of grizzly
           bear population demography in the Cabinet-Yaak Ecosystem. For any estimate of growth rate to
           be realistic, explanatory, relevant, and accurate, all of the main structure needs to be accommo-
           dated. More specifically, a relevant demographic model would ideally include source-sink struc-
           tures accounting for management- trapped versus research-trapped bears, bears in the Yaak area
           versus the Cabinet Mountains, augmentation bears versus in situ bears-in addition to account-
           ing for the male segment as well as inter-annual variation attributable to variation in key food re-
           sources (see later). The model described in Kasworm et al. does none of this.

           Again, the probable retort would be that sample sizes are too small to support estimating the
           many rates required for such a model. But that is, indeed, the point. And no amount of hand-
           waving or protest will make it otherwise nor redeem the deficiencies in current estimates of de-
           mographic rates. The uncertainty is real and unavoidable, and should be acknowledged in man-
           agement decision-making.

           5

           A.2. Even taking estimated growth rate at face value, current population status is problem-
           atic

           Even taking the population growth rate estimated by Kasworm et al. at face value, the most de-
           fensible conclusions would be, first, that status of the population has worsened during 2014-2017
           compared to 2006-2013, and, second, that numbers are still substantially less than the presumed
           peak reached around 1998. These conclusions are based on trend in population growth rate over
           time (as per ibid: 37), and trend in population size estimated by projections using year-specific




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           cumulative population growth rates (e.g., projecting population size for 1998 using the 1983-
           1998 growth rate estimate, and then doing the same for each successive year, with 1983 the start-
           ing year throughout) .

           Figure 2 (herein) shows seminal results. In Figure 2A I've identified three periods typified by
           trends in population growth: rapid decline of 2% per annum during 1998-2006, coincident with
           the berry famine (see below), a nearly as rapid l.l% rate of improvement during 2006-2014, fol-
           lowed by stalling in the rate of improvement to around 0.2% per annum since 2014-an 82% de-
           cline in rate of change- coincident with population growth rate finally reaching positive terri-
           tory. Importantly, this refers to the per annum rate of deterioration or improvement in population
           trajectory, which is perhaps the most relevant information to be gleaned from the estimates of
           population growth rate presented by Kasworm et al.

           Finally, Figure 2B (herein) shows trend in estimated size of the Yaak female population, both as
           a central tendency (dark green line) as well as bounding uncertainty (light green band, based on
           projections using the upper and lower confidence intervals for each cumulative estimate of
           growth rate). Parenthetically, I transformed the values to a natural log scale in Figure 2B to visu-
           ally emphasize trends given that the bounds of uncertainty explode with projections increasingly
           farther forward in time. The take-away point is that, according to these values, population size
           peaked during 1998, reached a nadir during the height of the berry famine in 2006, increased
           through 2014, and then stalled during 2015-2017 at a size that was still around 52% less than
           peak numbers reached during 1998.

           The key points here are that improvement in status of the female segment of the Yaak population
           stalled beginning in 2014 at numbers that were still approximately 52% less than the peak
           reached during 1998. Having said this, both of these conclusions remain severely compromised
           by the intrinsic uncertainties, lack of relevance, and bias of methods used by Kasworm et al.

           A.3. Conclusion

           The upshot of all this is that there is no legitimate basis fer estimating current population size
           (e.g., 55- 60) by applying a biased 1983-2017 growth rate-based on high-graded data represent-
           ing only a fraction of the population-to a point population estimate made during 2012. Moreo-
           ver, even taken at face value, the current cumulative population growth rate shows stalled im-
           provement in population status and a population still substantially less than peak numbers
           reached during 1998.




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           The best that can be perhaps be invoked is a contrast between the presumed minimum estimate
           of 35 bears during 2014-2017 (ibid: 27) and the 2012 estimate of 49 (44-62) bears reported by
           Kendall et al.

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           (2016). The estimate of 35 for 2014-2016 is self-evidently less than the lower bound of the 2012
           confidence interval, mere consistent with a static or even declining population than with an in-
           creasing one. Of greater relevance to the draft EIS, this general conclusion also holds for com-
           parisons specific to the Cabinet population (a current minimum of 13 bears compared to lower
           confidence intervals of around 20 reported by Kendall et al. for 2012) .

           Figure 2. Trend in estimated population growth rate (A) and related estimated total population
           size (B) for Cabinet-Yaal< grizzly bears, with the notable proviso that both sets of estimates are
           based almost wholly on data obtained from female grizzly bears in the Yaak population. Dark
           green dots or lines denote central tendencies, large green bands bounds of uncertainty. The hori-
           zontal dark red line in (A) denotes no growth, with any values above leading to increase and any
           values below leading to decline. The red line in (B) corresponds with estimated population size
           in 1998. In (A) I also show the cumulative weight of evidence for population declines versus in-
           creases for 1998-2017 along with average annual rates of change in lambda during three periods
           characterized by non-stationary shifts in dynamics. The numbers at right in (B) correspond to the
           range in estimated population size given uncertainties in growth rate (3-256), as well as the devi-
           ance in current estimated population size from the 1998 benchmark.




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           7

           B. Comparison of Pooled Survival Rates in Kasworm et al. (2018) is Not Legitimate

           As ancillary support for the proposition that size of the Cabinet-Yaak population has increased
           between 1999-2006 and 2007-2017, Kasworm et al state that "Grizzly bear survival of all sex
           and age classes decreased from 0.899 during 1983-1998 to 0.792 during 1999-2006 and then
           rose to 0.934" (ibid: 34), and then summarize these same numbers in Table 13 (ibid: 34).

           Most of the problems and associated bias noted above applies to this comparison. Note, first, that
           the 95% confidence intervals reported in Table 13 for pooled estimates from all three time peri-
           ods overlap, which precludes confidently concluding there is any difference in mean rates. More-
           over, note the restriction to "native" bears, which excludes any consideration of conflict-trapped
           or augmentation bears, which were very much a component of the 2012 point estimate of popula-
           tion size.

           The other problematic aspect of this comparison is that data from all bear sex and age-classes
           were pooled, without any apparent attempt to determine whether this collapse of data preserves
           representation of the population at large. Are males over- or under-represented'?...likewise
           subadults versus adults? Some sort of weighting scheme reflective of current or even stable pop-
           ulation structure could provide some remedy, but without compensating for other biases.

           The other interesting aspect of this data-pooling is the extent to which it is at odds with other re-
           sults and commentary in Kasworm et al. More specifically, this aggregation of data ignores the
           disproportionate importance of subadult females to population dynamics. This importance is evi-
           dent in the near 85% variance in estimated population trend attributed to survival of subadult and
           adult female bears in Booter calculations (but with 60% attributable to subadult female survival,
           Table 15, ibid: 37), as well as the different contextual emphasis placed by the authors on female
           survival on Pages 32 ("...it is important to consider the rate of female mortality") and 37.

           The implication of all this is that the comparison of survival rates estimated from pooled data
           presented by Kasworm et al on Pages 33 and 34 does not mitigate the many fatal problems with
           their estimates of population growth rate.

           C. Comparison of Annual Average Deaths in Kasworm et al. (2018) is Uninformative

           Kasworm et al. (2018) present information on grizzly bear deaths in the Cabinet-Yaak Ecosys-
           tem in terms of numerous contrasts and adjustments presumably designed to be of relevance to
           various management deliberations. On pages 15-16 a running average of annual mortalities is re-
           lated to recovery criteria, on pages 16-18 a full list of deaths with ancillary details is provided,




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           and on pages 31- 33 mortality is summarized in multiple ways presumably relative to different
           management considerations. Throughout, the parsing, categories, and nomenclature are confus-
           ing, obfuscated, and confounded. As a result, I needed to reconstruct much of the analysis of
           mortalities presented by

           8

           Kaswerm from the raw data on pages 16-18. The contrast among time periods presented in Table
           11 (ibid: 33) was a particular focus.

           C.1. Table 11 in Kasworm et al. (2018) is a Tangled Mess

           The totals in the column farthest right in Table 11 of Kasworm et al. (2018) include all mortali-
           ties- human-caused, natural, within 16-km of the Recovery Area boundary, in the US as well as
           Canada-plus the estimated unrecorded human-caused mortalities. For some inexplicable rea-
           son, and unlike in the NCDE and GYE, natural mortalities and mortalities of unknown cause
           were not accounted for in estimations of unrecorded mortalities.

           The upshot is that the row totals in Table 11 represent a mishmash of natural, human-caused, and
           estimated unrecorded human-caused mortalities, without any straight-forward connection to
           judging overall population status. In fact, the inattention and even outright dismissal in this con-
           text of natural mortality as a factor in judging population status is mystifying given that a dead
           bear, for whatever reasons, matters in assessing the toll taken by mortality.

           C.2. Comparison of 'rates' between 1999-2006 and 2007-2017 is Uninformative

           By contrast, the comparison of annually-averaged human-caused mortality between 1999-2006
           and 2007-2017 on Page 32 of Kasworm et al. only considers human-caused mortality, but with-
           out including any of the estimated unrecorded human-caused mortality included in Table ll-
           and without any cogent explanation. The confusion implicit to this inexplicable parsing is com-
           pounded by use of the term 'rate' in reference to an annual average, in context of 'rate' being
           used elsewhere in reference to survival and reproductive rates referenced to fates of individual
           bears. On top of this, a typo was made in reference to the 2007-2017 'rate,' which should be 2.2,
           not 2.1. This error amplified the potential for confusion arising from comparing '2.1' with '2.25 '
           and calling the first value an increase over the second.

           Reducing this chaos to something comprehensible: the annually averaged number of known and
           probable human-caused deaths during 1999-2006 was 2. 13. Using all currently available data,
           for 2007- 2018 the average was 2.08. When the estimate of unreported human-caused deaths is
           included, the average for 1999-2006 was 2.75 (95% CI 1.6-3.9). For 2007-2018 it was 3.2 (95%




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           CI 2.2-4.2). Considering total known-probable mortality plus estimated unreported human-
           caused mortality-but without any correction for unreported natural deaths-the annual averages
           fer 1999-2006 and 2007-2018 were virtually identical: 3.9 and 3.8.

           The important point is, here again, that rote statistical uncertainty debars any conclusion about
           increase, stasis, Cr decrease in numbers of human-caused deaths. The confidence intervals of an-
           nual averages overlap substantially, which is not surprising given the small sample of years and
           dead bears. This statistical uncertainty is amplified by uncertainty attached to detecting any bear
           death other than that of an actively radio-monitored animal. Considering only human-caused
           deaths, this certainly holds for poached bears, deaths 'under investigation,' and deaths from un-
           known (but human-related) causes. A back-of-the-envelope calculation suggests that such deaths
           need to be increased by around 70 to 120% in year-end tallies.

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           In the face of such irrefutable uncertainty, Kasworm et al resort to focusing on and then empha-
           sizing female mortality, which reduces the absolute values of calculated averages even further.
           When an estimate of unreported human-caused female mortalities is added to known mortalities
           (using the long- term proportion of F:M deaths=0.4), the result is an annual average of 1.75 (95%
           CI 0.83-2.67) female deaths for 1999-2006 and 0.80 (95% CI 0.34-1.54) female deaths for 2007-
           2018. All of the reported differences in mean values are so far within the range of statistical un-
           certainty as to render these comparisons a bit absurd.

           C.3. Conclusion

           Again, researchers and managers in this ecosystem might argue that small samples prevent any
           degree of certainty about conclusions, but this does not obviate the obligation to acknowledge
           uncertainty. Nor does it eliminate the practical consequences of small sample sizes and the com-
           promising effects of chance processes-highlighted recently by a jump in recorded deaths from l
           in 2017 to 3 in 2018, a tripling in just one year. More certainly, it recommends humility and pre-
           caution in the face of such statistical ambiguities.

           But all of this still leaves open the question of why natural mortalities as well as mortalities that
           cannot be definitively ascribed to human causes are not accounted for in as sessing population
           status. This question is especially relevant given that Kasworm et al comment in several places
           on the extent to which variation in abundance of key natural foods likely drives population dy-
           namics, often through the 'natural' death of dependent young (see below). Or, even, why, when
           considering only human-caused mortality, adjustments to account for unrecorded deaths were not
           included. This is all a bit mystifying as well as prima facie unjustified.




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           D. Status of the Cabinet-Yaak Population Remains Highly Precarious

           The current vulnerability of the Cabinet-Yaak population can be illustrated through a simple ex-
           ercise, even without accounting for spatial structure of the Cabinet and Yaak subpopulations. I
           input vital rates into a commonly-used risk management program named RISKMAN (currently
           being proposed for management of grizzly bear mortality in the NCDE). Using the stochastic
           function, I was able to reconstruct the c. 2.1% growth rate reported by Kasworm et al (2018) for
           1983-2017. More specifically, the cumulative geometric mean growth rate (lambda) varied from
           a maximum of 1.035 to a minimum of 1.008. Accounting for variation in vital rates, the median
           ending population size at year 34 was 43, although the upper and lower 95% percentiles of simu-
           lated trajectories produced ending populations as small as 4 and as large as 154.

           I then simulated what would have happened if just one additional female died each year. In this
           scenario, the geometric cumulative mean growth rate dropped from 0.952 (already much less
           than l) to an astounding 0.202 at year 34 of the simulation (Figure 3 herein). Median total popu-
           lation size had reached 0 by year 23, with an upper 95th percentile of only II animals at the end
           of simulations. Results were not much improved when an additional l female was lost only once
           every 2 or 3 years. This is not

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           presented as any definitive modeling result, but rather illustrative of how little the margin of er-
           ror is, and how vulnerable this population is to even the smallest increased increments of mortal-
           ity (e.g., Kendall et al. 2016). This point is especially germane given that one adult female was
           killed by humans each of the last two years, during 2018 and 2019. And this does not account for
           adult females that died and were not documented.

           Figure 3. Results of RISKMAN projections for the Cabinet-Yaak population using vital rates re-
           ported by Kasworm et al. (2018), but introducing the death of an additional female grizzly bear
           once every 2 years. The thick green line represents the median trend of projections, the dusky
           green band above and below the variability of projections.

           E. Weight of Available Evidence Emphasizes the Continued Importance of Malicious Kill-
           ing

           The extent to which poaching, malicious killing, or other suspect circumstances are associated
           with human-caused deaths is also instructive regarding the overall effectiveness of conflict miti-
           gation efforts during 1999-2017 to offset the problematic effects of road-access and poaching.
           By its nature, malicious killing/poaching is a criminal act undertaken by criminals. Such behav-




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           for is rooted in attitudes and outlooks that are notoriously unresponsive to education and 'eut-
           reach'. The phenomenon is about willful malfeasance. As such, limitations on road access cou-
           pled with improved law enforcement and successful prosecutions are logically the most appropri-
           ate redress-not, for example, conflict mitigation by a specialist who is not tasked primarily with
           law enforcement.

           Before pursuing this any farther, some clarification of obfuscations in the dead bear database is
           needed. During 1999-2017 a number of deaths were ascribed to 'Undetermined' human causes,
           'Poaching' or listed as 'Under investigation'. The first and last categories are not explicit, but
           nonetheless strongly suggestive. Certainly, 'Under investigation' suggests that the death occurred
           under suspicious circumstances warranting investigation-with a strong likelihood of either
           poaching or other
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           unwarranted lethal action by the involved people. Such suspicions are rarely definitively re-
           solved. 'Undetermined' is also more suggestive of malfeasance rather than innocence on the part




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           of the involved people. Given the alternatives, such deaths are more defensibly allocated to
           causes more resistant than not to mitigation.

           With all of this as context, there were a total of 7 known-probable deaths during 1999-2006 at-
           tributed to either poaching or undetermined causes, representing 58% of total human-caused
           deaths. During 2007-2018 there were a total of 13 deaths either under investigation or ascribed to
           poaching, representing a nearly identical 59% of the total known-probable human-caused deaths.
           These are major fractions in their own right, but leave estimated numbers of unreported deaths
           unaccounted for. As Kasworm et al make clear (ibid: 33), their estimate of 'unreported' deaths
           did not apply to bears that were radio-collared or removed by managers, which leaves this unre-
           ported estimate levied almost entirely against malicious or otherwise suspect causes. When these
           unreported estimates are added to the known-probable toll taken by poaching, unknown causes,
           or suspicious circumstances, the percentage increases to around 70% during 1999-2006 and ap-
           proximately 77% during 2007-2016.

           Taken together, these figures support concluding that (1) malicious or otherwise suspect causes
           account for a large portion-if not majority-of grizzly bear deaths in the Cabinet-Yaak Ecosys-
           tem, (2) the fraction and even total numbers of deaths attributable to such causes did not decrease
           from 1999-2006 to 2007-2018, and (3) that aggressive limitations to road access by the USFS are
           needed, especially in areas with concentrations of productive habitat (Proctor et al. 2015, 2017).

           F. Access Management is Critical to Limiting Malicious & Other Unjustified Killing

           The consensus of relevant research is unambiguous about the link between road access and griz-
           zly bear mortality. The more access, the more dead bears there are, with disproportionate con-
           centrations near roads (Brannon et al. 1988, Benn & Herrero 2002, Nielsen et al. 2004, Wak-
           kinen & Kasworm 2004, Boulanger & Stenhouse 2014, McLellan 2015, Proctor et al. 2017,
           2018). Dead bears tend to be concentrated within 100 to 500 m of roads, averaging around 300 m
           (i 195 m) among studies where distance was noted.

           Unfortunately, there is a common conflation of the extent to which radio-marked grizzly bears
           spatially avoid roads with the Geospatial configuration of mortality risk and, even more im-
           portant, decrements in survival and population growth. These parameters are not synonymous.
           Even though a bear might underuse habitats within a certain distance of roads, this does not
           translate into a l:l correlation with exposure to risk of human-related mortality during a bear' s
           lifetime. Conflation of avoidance with mortality risk has led to the unstated as sumption that the
           former can be used to set standards for the latter. Such is the case for road density and habitat se-
           curity standards set by the Kootenai National Forest based on the results of Wakkinen &
           Kasworm (1997).




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           Taking 300 m as a ballpark figure, road densities of roughly 0.6 km/km2 translate into areas re-
           mote from where human-caused mortality is concentrated that amount to only 84 ha (208 acres),
           which is trivially

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           small for a grizzly bear. This sort of Geospatial buffer still means that grizzly bears are frequently
           exposed to hazards of human-caused death to the predictable extent that they must and will move
           from one presumably secure area to another-even assuming that these bears exhibit "average"
           avoidance of human features such as roads. In other words, the level of buffering from human-
           caused mortality offered by road density and related security standards invoked in the Black Ram
           EA is guaranteed to be inadequate.

           The inadequacy and inappropriateness of road density and security standards used by the Keete-
           nai National Forest in application to the Black Ram Project are highlighted in contrast to stand-
           ards applied in the Northern Continental Divide Ecosystem (NCDE), as well as in contrast to tra-
           jectories of populations in the NCDE and Greater Yellowstone Ecosystem. The populations of
           already relatively numerous grizzly bears in the NCDE and GYE have increased substantially
           since the early l990s to 2000s, in contrast to in the Cabinet-Yaak where precariously few bears
           have fared poorly (see my Points A-D, herein). Tellingly, Wilderness Areas and Inventoried
           Roadless Areas where road access is not allowed comprise around 56% of the NCDE and GYE.
           In the Cabinet-Yaak Ecosystem this figure is less than half as much, nearer 21%. This difference
           alone can explain much of the corresponding difference in fates of grizzly bear populations.

           Despite these telling differences in fates and trajectories of grizzly bear populations, the road
           density and habitat security standards applied by the Kootenai National Forest are more lax, not
           less, than those applied on the Flathead National Forest. On the Kootenai, areas allowed with > l
           mile/mile2 of roads are 1.7-times greater, areas with >2 miles/mile2 of roads are 1.4-times
           greater, and extents of secure habitat nearly 20% less compared to what is ostensibly allowed on
           the Flathead NF. These disparities are perverse and not able to be explained on the basis of dif-
           ferences in the extent of movements by grizzly bears. If anything, bears range more widely in the
           Cabinet-Yaak Ecosystem compared to the NCDE (Kasworm et al. 2018).

           As a bottom line, existing and proposed access management in the Black Ram Project Areas has
           jeopardized and will continue to jeopardize grizzly bears .

           G. More Grizzly Bear Deaths Are Occurring On USFS Jurisdictions Now Compared to
           During 1999-2006




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           The argument for more aggressive management to prevent human-caused grizzly bear mortality
           en USFS jurisdictions is given greater weight by differences in locations of bear deaths between
           1999-2006 and 2007-2018. Data from Kasworm et al. (2018) and Kasworm (2018)show an in-
           crease in the proportion of grizzly bear deaths on USFS lands from 25% (95% CI = 0.5-49.5%)
           during 1999-2006 to 56.5% (36.3-76.8%) during 2007-2018. Although sample sizes are small,
           confidence intervals large, and overlap of the intervals non-trivial (17%), these results do not
           support concluding that hazards for grizzly bears have remained constant or declined on USFS
           lands. Rather, by weight of evidence, the better supported conclusion is that hazards have in-
           creased and, because of that, imperatives to control

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           mortality on public lands have likewise increased, including on lands part of the proposed Black
           Ram Project. As per my point F, above, the most efficacious means available to the USFS for ad-
           dressing this imperative is through providing increased rather than diminished habitat security,
           axiomatically through reducing road access in the Project area.

           H. The Proposed Black Ram Project is Inconsistent with the Best Available Science

           Although I could invoke a large corpus of relevant science that has been neglected in the Black
           Ram EA, I focus here to one piece of research-Proctor et al. (2017). This paper is highly rele-
           vant to judging the trade-off between proposed forest treatments and habitat security for griz-
           zlies, especially vis-a-vis any prospective increase in huckleberry production and hazards associ-
           ated with road access. Some relevant recommendations from Proctor et al. (2017) include:

                  That 25% of the landscape, particularly portions with important huckleberry fields, have
                  no roads »



                  That 60% of the landscape be >500 m from an open road in patches >5-10 km2 and those
                  secure habitat patches encompass higher quality habitats .



                  That some portion (roughly 25%) of the landscape not have any roads.



                  That areas be mapped where wildfires will not be extinguished unless conditions are too
                  risky
                  fer private property.




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                  Some of the more germane quotes from Proctor et al. (2017) include:
                  "While managing the landscape for huckleberry forage is sometimes a medium to long
                  term option, managing for mortality risk through road density has potential to be imple-
                  mented over shorter time scales."
                  "We found that 74% of huckleberry patches were not in cut blocks."
                  "We also found that planted cut blocks were less likely to have huckleberry patches .
                  Slash burning didn't increase the probability of a cut block yielding a huckleberry
                  patch-it was reduced. Fires (not slash bums) were ~3x more likely to yield a huckle-
                  berry patch than a cut block."
                  The results of Proctor et al. (2017) are consistent with other research showing that natu-
                  rally-occurring shrub-fields are positively selected by grizzly bears, presumably to con-
                  sume berries (Waller & Mace 1997, McLellan & Hovey 2001, Apps et al. 2004), whereas
                  recently harvested (<40-years) stands tend to be avoided, partly because of associated hu-
                  man activity (Apps et al. 2004). Parenthetically, descriptions of habitat use given by
                  Kasworm et al. (2018: 48-50) are of limited applicability simply because the analysis did
                  not consider use in relation to availability.
                  Given all of these considerations, the Davis Fire has almost certainly yielded as many
                  benefits as might be needed for grizzly bears insofar as enhancements of habitats for
                  huckleberry production. No further



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           forest treatments are likely needed, even of the sort recommended by Proctor et al. (2017). More
           certainly, any (if any) gains in enhanced huckleberry habitats will almost certainly be negated by
           maintenance of existing road access, much less any of the local increases proposed under terms
           of the Black Ram Project.

           I. Activities of the Black Ram Project Are Problematic in a Larger Geospatial Context

           The Black Ram EA failed to evaluate the impacts of proposed activities on grizzly bears in a
           larger Geospatial context. Mattson & Merrill (2004) and Proctor et al. (2015) are perhaps most
           relevant to such an evaluation. The former research mapped existing core habitat as well as
           higher-probability source habitats in the Cabinet-Yaak Ecosystem (shades of green, Fig. 4A),
           whereas the latter mapped core habitat (green) along with prospective corridors (yellow, Fig.
           4B). Importantly, Proctor et al. (2015) modeled habitat at a finer grain that approximated daily
           movements, whereas Mattson & Merrill (2004) modeled habitat at the scale of grizzly bear life
           ranges, which is more relevant to judging overall odds of survival reckoned over a span of years .




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           As has been repeatedly emphasized by researchers in the Transboundary region, connectivity is
           essential to long-term prospects for recovery (Proctor et al. 2012, 2015, 2018, Kasworm et al.
           2018). And, as also emphasized by these authors, connectivity is inextricably rooted in habitat
           security. However, Figure 4 highlights a fundamental problem for grizzly bears residing in the
           Yaak/Yahk region: core habitat to the west is comparatively isolated from core habitat to the east
           by a zone that is less secure. Ideally, aggressive restoration efforts would be undertaken in this
           problematic area to reestablish free exchange of bears likely to survive the transit. Logically, this
           restoration would emphasize road closure and permanent decommission (as per my points F and
           H). Instead, the Black Ram Project proposes to not only maintain an extensive road infrastructure
           in this potential west-east connector, but more egregiously ramp up human activities, with the
           prospect of both displacing bears and also exposing bears venturing into the Project Area to even
           greater risk of mortality.

           The results of Mattson & Merrill (2004) and Proctor et al. (2015) allow for the identification of
           proposed Project Activities that are especially problematic and should be cancelled altogether if
           there is serious intent of meaningfully recovering grizzly bears in the Yaak/Yahk region. As a
           priority, regeneration and intermediate harvests planned for Units 77-83 should be eliminated
           from the Project, as should activities proposed for Blocks 1-17, 66-76, and 84. Ideally, activities
           in Blocks 18-44 would also be removed from the proposal to promote reestablishment of west-
           east connectivity in an area with broadly the greatest potential.

           Adding weight to this recommendation, the under-construction Pacific Northwest Trail is located
           such that it will amplify the impacts of proposed activities in the Black Ram Project (Fig. 4). Par-
           enthetically, this consideration highlights the additional fact that the Black Ram EA did not con-
           sider the prospective cumulative impacts of all on-going, proposed, and foreseeable human activ-
           ities-including increases in

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           human activity along the Pacific Northwest Trial and foreseeable activities associated with the
           proposed Rock Creek and Montanore Mines .

           Figure 4. Maps of (A) potential core and source habitat and (B) cores and corridors for grizzly
           bears (green and yellow, respectively) in the Yaak region. The boundary of the Black Ram Pro-
           jectArea is shown in burgundy juxtaposed with the Paci]9c Northwest Trail in yellow. Units pro-
           posedfor regeneration and intermediate harvest in areas that promise maximum impacts to cur-
           rently relative secure habitat are shown in red. Units that promise harm in habitats important to
           connectivity are shown in orange. The remainder of proposed harvest units are shown in white.




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           J. Impacts of Black Ram will be Synergistically Amplified by the Pacific Northwest Trail

           The Pacific Northwest Trail (PNT), currently under construction, will prospectively introduce an
           additional 100-150 people into the heart of previously secure habitat in the Yaak region each
           year, with almost all of that increase during July-September, the critical hyperphagic period for
           grizzly bears. Importantly, the PNT creates a linear disturbance that is contiguous with and ex-
           tending beyond disturbances proposed during the Black Ram Project (Fig. 5). This attenuation of
           distrubances insures that there will be minimal areas free of human impacts anywhere in the
           Black Ram Project Area. An ample corpus of relevant research unambiguously shows that hikers
           using a trail such as the PNT will displace grizzly bears, with impacts predictably greatest on re-
           productive females (Mattson 20l9a). Moreover, these impacts will almost certainly be greater in
           and near the lineated high-elevation habitats in the Yaak (Mattson 20l9a), with displaced bears
           having few places to go that will not also be impacted by human activities associated with the
           Black Ram Project.

           Figure 5. Location of the Black Ram Project and associated intermediate and regeneration nar-
           vest treatments (in red) juxtaposed with the Pacific Northwest Trail (in yellow) and nign-eleva-
           tion open habitats (in green).

           Impacts from the PNT highlight the patent failure of the Black Ram EA to assess the cumulative
           effects of other current, foreseeable, and proposed human activities. Moreover, with the Cabinet-
           Yaak Recovery Area as a logical unit of analysis, any assessment of cumulative effects needs to
           account for other on- going and planned human activities associated with forest treatments and
           harvest in this Ecosystem, as well as foreseeable impacts associated with the proposed Rock
           Creek and Montanore Mines, as well as on-going and foreseeable impacts associated with the
           human transportation infrastructure (e.g., railways and associated highways that already frag-
           ment grizzly bear distribution in this Ecosystem, Mattson et al. [20l9b]), all with the potential to
           amplify impacts arising from the Black Ram Project.




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           K. A Devil's Bargain Will Not Rescue This Small Population

           K.1. The Yaak Population is Not Viable and Remains Acutely Vulnerable to Increased
           Mortality

           The Cabinet-Yaak grizzly bear population is smaller than the smallest census population size
           ever posited as being viable. The Yaak/Yahk subpopulation has limited connectivity with grizzly
           bear populations elsewhere, and the Cabinet Mountains subpopulation is more isolated yet (Apps
           et al. 2016, Kendall et al. 2016, Proctor et al. 2012, 2015). Such isolation is well-known to mag-
           nify risk. The degree of this risk is evident in the fact that fates of populations as small of that of
           the Cabinet-Yaak grizzlies can be dictated solely by chance variation in birth and death rates,
           known as demographic variation. Yet demographic variation is a relatively minor stressor com-
           pared to environmental variation, catastrophes, negative deterministic trends, and loss of genetic
           diversity-all of which are documented or potential factors in the Cabinet-Yaak. The contempo-
           rary consensus of researchers is that populations of large mammals such as grizzly bears need to




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           consist of thousands of animals to withstand all of these stochastic and deterministic threats over
           meaningful periods of time.

           More to the point, as I emphasize in Point D, above, the Yaak and Cabinet grizzly bear popula-
           tions remain acutely vulnerable to even small changes in levels of mortality. Under such circum-
           stances, a precautionary approach to managing spatial hazards and habitat security is not only ad-
           visable, but mandatory. Unfortunately, there is no evidence of caution or even meaningful recog-
           nition of threats to the Yaak population in the Black Ram EA.

           K.2. Variation in Population Trajectory Has Likely Been Driven by Exposure to Humans

           As a hypothetical, it is worth taking claims regarding an improvement in status of the Cabinet-
           Yaak grizzly bear population between 1999-2006 and 2007-2018 at face value. Again, the em-
           phasis here is on the hypothetical given all of the compromising or even fatal flaws in analyses
           and conclusions reported in Kasworm et al. More specifically, if an improvement did occur, what
           was (were) the likely driver(s)'?

           Causation is notoriously hard to establish with any reliability or confidence. Nonetheless, even
           taking comments in Kasworm et al (again) at face value, one can establish how these authors as-
           cribed causation based on the balance of their comments. The relevant quotes include:

           "The increase in total known mortality beginning in 1999 may be linked to poor food production
           during 1998-2004 (Fig. 9). Huckleberry production during these years was about half the long
           term average...Poor nutrition may not allow females to produce cubs in the following year and
           cause females to travel further for food, exposing young to greater risk of mortality from con-
           flicts with humans, predators, or accidental deaths." (emphasized in Figure 10, ibid: 32, see Fig.
           6, herein).

           "Some of this decrease [in survival] in the 1999-2006 period could be attributed to an increase in
           natural mortality probably related to poor berry production during 1998-2004. Mortalities on pri-
           vate lands within the U.S. increased during this period, suggesting that bears were searching
           more widely for foods to replace the low berry crop." (ibid: 34).

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           In reference to a probable increase in size of the Cabinet Mountains subpopulation from around
           < 15 (possibly 5-10) in 1988 to around 22-24 in 2012: "These data indicate the Cabinet Moun-
           tains population has increased 2-4 times since 1988, but this increase is largely a product of the
           augmentation effort with reproduction from that segment." (ibid: 36).




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           Figure 6. Trends in size of nuekleberry crops (A) and in numbers of known and probable grizzly
           bear deaths (B) in the Cabinet-Yaak Ecosystem. Annual data are shown as dots and 3-year mov-
           ing averages as solid lines. The negative relations between berry crop size and numbers of
           deaths is clearly evident, largely driven by related variation in exposure to humans.

           On balance, Kasworm et al ascribe more weight to variation in natural feeds and the augmenta-
           tion program than to any mitigation measures as drivers of decline fer the Cabinet-Yaak grizzly
           bear population during 1999-2006 and the subsequent presumed improvement in status during
           2007-2017. This conclusion is consistent with that reached by McLellan (2015) from research in
           the nearby North Fork of the Flathead River and by McCall et al. (2013) from the Purcell Moun-
           tains showing a major influence of huckleberry fruit crops on demography of the local grizzly
           and black bear populations.

           Importantly, though, Kasworm et al clearly associate the increase of deaths on during 1999-2006
           and subsequent decline during 2007-2016 to bears foraging more widely-including into conflict
           situations- during times of dearth in late-season fruit crops. In other words, variation in popula-
           tion trajectory as a result of variation in size of huckleberry crops is not linked to changes in fe-
           male reproductive success, but rather to effects on exposure of bears to humans .




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           K.3. Any Prospective Increase in Huckleberries Will Not Offset Impaired Habitat Security

           The consensus of available research is unequivocal about survival of especially female grizzly
           bears being more important than any likely increase in reproductive rates, in this case prospec-
           tively from enhanced berry production (Eberhardt et al. 1994, Hovey & McLellan 1996, Garsh-
           elis et al. 2005, Harris et al. 2006, Mace et al. 2012), especially if huckleberry patches are not
           meaningfully secured from human access and protected from human harvest (Proctor et al. 2017,
           see also https://news.gov.bc.ca/releases/2019FLNR0186-001439). And, moreover, reiterating my
           points under H, above, harvest treatments as part of Black Ram will not likely provide substan-
           tial increases in huckleberry production, especially relative to the benefits already imparted by




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           the Davis fire. Rather than planning more timber harvest, the Forest Service would provide more
           certain benefits for grizzly bears by prescribing a more widespread natural fire regime combined
           with aggressive closure and retirement of roads in portions of the Black Ram Project Area high-
           lighted in Figure 4.

           L. Conclusion

           Reiterating my conclusion in the Introduction to these comments, the Black Ram Project as de-
           scribed in the EA promises to hann grizzly bears in the Cabinet-Yaak Ecosystem, with bears oc-
           cupying the transboundary region of the Yaak bearing the brunt of hann. In contrast to the cur-
           rent proposed actions entailing widespread timber harvest and maintenance and even construc-
           tion of supporting roads, the Forest Service could unequivocally benefit grizzly bears in this area
           by instead emphasizing the promotion of natural fire regimes and closure and retirement of
           roads.

           Please contact me at davidjmattson@gmail.com or 406-222-4702 if you have any questions. My
           somewhat dated resume is attached, current only up through my retirement shortly after 201 l.

           David Mattson, PhD

           M. References

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                                                        9-ER-2071
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                                                        9-ER-2073
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             1.   Will the Forest Service be considering binding legal standards for noxious weeds in its
                  Land Management Plan?

             2.   Has the State Historic Preservation Office signed off that this project complies with the
                  Historic Preservation Act? The project is involution of the National Historic Preservation
                  Act if this is not done.

             5.   How effective has the Forest Service been at stopping (i.e. preventing) new weed infesta-
                  tions from starting during logging and road building operations?



             6.   Is it true that new roads and mechanical treatments are the main cause of new noxious
                  weed infestations?



             7.   Why will restoration be better than what is there now?



             8.   Is it true that noxious weeds are one of the top threats to biodiversity on public lands?




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            9.   How can the Forest Service be complying with NFMA' s requirement to maintain biodi-
                 versity if it has no legal standards that address noxious weeds?



            10. Please show that there is not an undue unnecessary degradation to the landscape.



            11. Please provide all data and maps that describe where, when and how field examinations
                related to landscape health assessments occurred. Please include tabulated results of
                write-ups that summarize the conditions and include the members and list the qualifica-
                tions of the interdisciplinary team and which completed the assessment.



            12. Which data sets were used to characterize the landscape and prioritize land health assess-
                 ments?



            13. What process was used to prioritize the landscape and determine if an area should be as-
                 sessed or not?



            14. Were "walk-through" examinations completed across the landscape of the project to iden-
                tify the cumulative impacts and characterize sites and current condition as well as dis-
                turbance - provide supporting records that prove this activity occurred on all assessments.
                If walk-throughs were not done please explain as why?



            15. Were walk through examinations completed the landscape of uplands to identify and
                characterize sites and current conditions and disturbances and if not please explain why?



            16. Please include all copies of photos taken for land health assessments, proper function and
                condition of riparian areas and all other riparian assessements, e.g. green line surveys.




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             17. Please provide copies of riparian monitoring data, associated photos and upland trend
                  data.



           21. How will the decreased elk security and thermal cover affect wolverines and have you for-
           mally consulted with the FWS on the effects of this project on wolverines? The wolverine was
           recently determined to be warranted for listing under the ESA. 75 Fed.

           Reg.78030 (Dec. 14, 2010). It is currently a candidate species, proposed for listing.. The USFWS
           found that "[s]ources of human disturbance to wolverines include ... road corridors, and extrac-
           tive industry such as logging ...." . The BLM must go through ESA formal consultation for the
           wolverine for this project.

           Please prepare a Biological Assessment and formally consult with the USFWS as required by
           law .

           THE AGENCIES MUST COMPLETE A BIOLOGICAL ASSESSMENT, BIOLOGICAL
           OPINION, INCIDENTAL TAKE STATEMENT, AND MANAGEMENT DIRECTION
           AMENDMENT FOR THE
           RMP FOR THE WOLVERINE.

           The agencies do not have in place any forest plan biological assessment, biological opinion, inci-
           dental take statement, and management direction amendment for wolverines.

           THE AGENCIES MUST CONDUCT ESA CONSULTATION FOR THE
           WOLVERINE.
           Wolverines may be present in the Project area. The Forest Service concedes that the Project
           "may affect" wolverines. The agencies' failure to conduct ESA consultation for a species that
           may be present and may be affected by the Project violates the ESA. Wolverines are currently
           warranted for listing under the ESA. As the agencies are well aware, the scheduled, court ordered
           listing date for the wolverine is this year. In fact, FWS has recently filed the a document in fed-
           eral court committing to a listing date for the wolverine. Accordingly, the wolverine will be
           listed under the ESA before the final decision is made to authorize and implement this Project,
           and long before any project activities commence. Regardless, even candidate species must be in-
           cluded in a biological assessment.


           Page 345 of the EA states:

           North American Wolverine The analysis for the North American Wolverine is consistent with

           the Programmatic Biological Assessment for North American Wolverine (McGowan, 2014)




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           and available in the project file. The project activities include those analyzed within the pro-
           grammatic biological assessment. The biological assessment determined the included actions
           will not jeopardize the continued existence of the distinct population segment of the North
           American wolverine. Project activities may cause temporary behavioral impacts, but not to the
           extent that any life history requirements would be adversely impacted. The U.S. Fish and
           Wildlife Service concurred with this assessment (McGowan, 2014 in project file ). This species
           will not be discussed further.


           The above analysis is not adequate. Did the Forest Service survey for wolverines in the project
           area. The Forest Service's failure to ensure the viability of management indicator, sensitive, snag
           associated, and old growth associated wildlife species violates NFMA and NEPA.

           Fish and wildlife habitat shall be managed to maintain viable populations of existing native and
           desired non-native vertebrate species in the planning area. For planning purposes, a viable popu-
           lation shall be regarded as one which has the estimated numbers and distribution of reproductive
           individuals to insure its continued existence is well distributed in the planning area. In order to
           insure that viable populations will be maintained, habitat must be provided to support, at least, a
           minimum number of reproductive individuals and that habitat must be well distributed so that
           those individuals can interact with others in the planning area. Ruggierio et al 2000,

           Wolverines generally scavenge for ungulates along valley bottoms and forage and den in remote,
           high-elevation areas (Hornocker and Hash 1981, Morgan and Copeland 1998). Thus if mangers
           wished to provide habitat for wolverines, they could pay particular attention in the planning pro-
           cess to ungulates winter range and other aspects of habitat quality for ungulates to provide a con-
           sistent supply of carcasses for wolverine to scavenge. In addition, wolverines generally avoid ar-
           eas of human activity. To limit the threat of human-caused disturbance or mortality, managers
           could restrict access to portions of the landscape where wolverines are most likely to occur.

           In order to meet this viability mandate, the 1982 NFMA planning regulations require that the
           Forest Service select "management indicator species" whose "population changes are believed to
           indicate the effects of management activities." 36 C.F.R. § 219.19 (1) (2000). 253.

           The 1982 NFMA planning regulations require the Forest Service to monitor the population
           trends of these species and to state and evaluate land management alternatives




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           "in terms of beth amount and quality of habitat and of animal population trends of the manage-
           ment indicator species." 36 C.F.R. § 219.19 (2),(6) (2000).

           The wolverine was recently determined to be warranted for listing under the ESA. 75 Fed.
           Reg.78030 (Dec. 14, 2010). It is currently a candidate species, waiting for work to be completed
           on ether species before it is officially listed. The USFWS found that "[s]ources of human dis-
           turbance to wolverines include ... road corridors, and extractive industry such as logging ...."
           .The Forest Service admits that the wolverine and/or its habitat are present within the project area
           and would be impacted by the project. The Forest Service must go through ESA consultation for
           the wolverine for this project.

           Please disclose the impact of climate change on the efficacy of the proposed treatments.

           Please disclose the impact of the proposed project on the carbon storage potential of the area.

           Page 420 of the EA states: A recent report issued by several organizations and Federal agen-
           cies summarized the general condition of birds across the US (The North American Bird Con-
           servation Initiative, 2016). It painted a picture of declines in multiple species across a variety
           of habitats. Climate change was one of the contributing factors to these declines and is likely
           to continue impacting birds into the future.

           Page 101 of the EA states: The pattern of successional stages across the landscape is diverse
           and resilient to fire, insects, disease, climate change, and increasing human uses (2015 Forest
           Plan pp. 17-18).



           The District Court of Montana ruled in Case 4: 17-cv-00030-BMM that the Federal government
           did have to evaluate the climate change impacts of the federal government coal program. Please
           find the order attached.

           In March 2019, U.S. District Judge Rudolph Contreras in Washington, D.C., ruled that when the
           U.S. Bureau of Land Management (BLM) auctions public lands for oil and gas leasing, officials
           must consider emissions from past, present and foreseeable future oil and gas leases nationwide.
           The case was brought by WildEarth Guardians and Physicians for Social Responsibility.

           In March of 2018 the Federal District Court of Montana found the Miles City (Montana) and
           Buffalo (Wyoming) Field Office's Resource Management Plans unlawfully overlooked climate
           impacts of coal mining and oil and gas drilling. The case was brought by Western Organization
           of Resource Councils, Montana Environmental Information Center, Powder River Basin Re-
           source Council, Northern Plains Resource Council, the Sierra Club, and the Natural Resources
           Defense Council.




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           The project is in violation of NEPA, NFMA, the APA, the ESA for not examining the impacts of
           the project on climate change. The project will eliminate much of the forest in the project area.
           Forests absorb carbon. The project will destroy soils in the project area. Soils are carbon sinks .

           The lack of detailed scientific discussions in the EA concerning climate change is far more trou-
           bling than the document's failures on other topics, because the consequences of unchecked cli-
           mate change will be disastrous for food production, sea level rise, and water supplies, resulting in
           complete turmoil for all human societies. This is an issue as serious a nuclear annihilation (alt-
           hough at least with the latter we're not already pressing the button) .

           The EA provided a pittance of information on climate change effects on project area vegetation.
           The EA provides no analysis as to the veracity of the project's Purpose and Need, the project's
           objectives, goals, or desired conditions. The FS has the responsibility to inform the public that
           climate change is and will be bringing forest change. For the Galton project, this did not happen,
           in violation of NEPA.

           The EA fails to consider that the effects of climate change on the project area, including that the
           "desired" vegetation conditions will likely not be achievable or sustainable. The EA fails to pro-
           vide any credible analysis as to how realistic and achievable its desired conditions are in the con-
           text of a rapidly changing climate, along an unpredictable but changing trajectory.

           The Forest Plan does not provide meaningful direction on climate change. Nor does the EA
           acknowledge pertinent and highly relevant best available science on climate change. This project
           is in violation of NEPA. Please consider amending the Forest Plan to provide meaningful direc-
           tion on climate change.

           The EA does not analyze or disclose the body of science that implicates logging activities as a
           contributor to reduced carbon stocks in forests and increases in greenhouse gas emissions. The
           EA fails to provide estimates of the total amount of carbon dioxide (CO2) or other greenhouse

           gas emissions caused by FS management actions and policies-forest-wide, regionally, or na-
           tionally. Agency policymakers seem comfortable maintaining a position that they need not take
           any leadership on this issue, and obfuscate via this EA to justify their failures .

           The best scientific information strongly suggests that management that involves removal of trees
           and other biomass increases atmospheric CO2. Unsurprisingly the EA doesn't state that simple

           fact.




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           The EA fails to present any modeling of forest stands under different management scenarios. The
           FS should model the carbon flux over time for its proposed stand management scenarios and for
           the various types of vegetation cover found on the GNF.

           The EA also ignores CON and other greenhouse gas emissions from other common human


           activities related to forest management and recreational uses. These include emissions as sociated
           with machines used for logging and associated activities, vehicle use for administrative actions,
           and recreational motor vehicles. The FS is simply ignoring the climate impacts of these manage-
           ment and other authorized activities.

           The Committee of Scientists, 1999 recognize the importance of forests for their contribution to
           global climate regulation. Also, the 2012 Planning Rule recognizes, in its definition of Ecosys-
           tem services, the "Benefits people obtain from ecosystems, including: (2) Regulating services,
           such as long term storage of carbon, climate regulation..."


           The NFMA requires in the face of increasing climate risk, growing impacts of wildfire and insect

           activity, plus scientific research findings, the FS must disclose the significant trend in post-fire

           regeneration failure. The forest has already experienced considerable difficulty restocking on ar-

           eas that have been subjected to prescribed fire, clear-cut logging, post- fire salvage logging and
                                                    59
           other even-aged management "systems.


           NFMA (1982) regulation 36CFR 219.27(C)(3) implements the NFMA statute, which requires

           restocking in five years .


           Can the Kootenai National Forest "insure that timber will be harvested from the National Forest

           system lands only where...there is assurance that such lands can be restocked within five years

           of harvest?" (NFMA§6(8)(3)(E)(ii))~


           The project goals and expectations are not consistent with NFMA's "adequate restocking" re-

           quirement. Scientific research can no longer be ignored.




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           "At dry sites across our study region, seasonal to annual climate conditions over the past 20

           years have crossed these thresholds, such that conditions have become increasingly unsuitable

           for regeneration. High #re severity and low seed availability further reduced the probability of

           posture regeneration. Together, our results demonstrate that climate change combined with

           high severity]9re is leading to increasingly fewer opportunities for seedlings to establish after

           wild]9res and may lead to ecosystem transitions in low-elevation ponderosa pine and Douglas-]9r

           forests across the western United States. " Wildfires and climate change push 10w-elevation for-

           ests across a critical climate threshold for tree regeneration, PNAS (2018), Kimberley T. Davis,

           et al. (Please, find attached)




           Where is the reference to restocking? Monitoring data and analysis? If monitoring has been done

           there is no disclosure documenting the scope and probability of post-fire regeneration failures in

           the project area. NFMA requires documentation and analysis that accurately estimates climate

           risks driving regeneration failure and deforestation all characteristic of a less "resilient" forest.


           The Forest Plan is based on assumptions largely drawn from our past that no longer hold true.

           These assumptions, made decades ago, must be challenged, and amended, where overwhelming

           evidence demonstrates a change of course is critical. It is time to take a step back, assess the pre-

           sent and future and make the necessary adjustments, all in full public disclosure to the Congress

           and the American people. Many acres of (conifers) In many areas, conifers haven't shown "resil-

           fence" enough to spring back from disturbance. Regeneration is already a big problem. (Empha-

           sis added).




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           Both RPA and NFMA mandate long-range planning which impose numerous limitations on

           commodity production, including grazing, timber harvesting practices and the amount of timber

           sold annually. These long-range plans are based on assumptions, which are based on data, expert

           opinion, public participation and other factors that all, well almost all, view from a historical per-

           spective. Assumptions that drove forest planning guidance decades ago, when climate risk was

           not known as it is today, are obsolete today.


           Present and future climate risk realities demand new assumptions and new guidance.


           A proper reexamination of the as sumptions relating to resilience and sustainability contained in

           the Forest Plan is necessary. Scientific research supporting cur comments focus on important

           data and analysis. A full discussion and disclosure of the following is required: l) trends in wild-

           fires, insect activity and tree mortality, 2) past regeneration success/failure in the project area,

           and 3) climate-risk science - some of which is cited below. Our comments, and supporting scien-

           tific research clearly "demonstrates connection between prior specific written comments on the
                                                                                              59
           particular proposed project or activity and the content of the objection . .   a




           Disclose the impact of climate change on the efficacy of the proposed treatments,"


           Hayward, 1994 essentially calls into question the entire manipulate and control regime, as repre-

           sented in the EA. The managed portion of the Kootenai National Forest has been fundamentally

           changed, as has the climate, so the Forest Service must analyze how much land has been funda-

           mentally changed forest wide compared to historic conditions, and disclose such information to
                                                                                                   as
           the public in the context of an EIS by completing the Forest Plan Revision process.




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           PLEASE TAKE A HARD LOOK AT HOW CLIMATE CHANGE AFFECTS AND IS AF-

           FECTED BY THIS PROJECT IN VIOLATION OF NEPA, NFMA, THE FOREST PAN AND

           THE APA.


           Published scientific reports indicate that climate change will be exacerbated by logging, and that

           climate change will lead to increased wildfire severity (including drier and warmer conditions

           that may render obsolete the proposed effects of the Project). The former indicates that the Black

           Ram Project may have a significant adverse effect on the environment, and the latter undermines

           the central underlying purpose of the Project. Therefore, the Forest Service must candidly dis-

           close, consider, and fully discuss the published scientific papers discussing climate change in

           these two contexts. At least the Forest Service should discuss the following studies:"


           Depr0, Brooks M., Brian C. Murray, Ralph J. Aug, and Alyssa Shanks. 2008.


           Public land, timber harvests, and climate mitigation: quantifying carbon sequestration potential

           on U.S. public timberlands. Forest Ecology and Management 255: 1122-1134.


           Harmon, Mark E. 2001. Carbon sequestration in forests: addressing the scale question. Journal of

           Forestry 99:4: 24-29.


           Harmon, Mark E, William K. Ferrell, and Jerry F. Franklin. 1990. Effects of carbon storage of

           conversion of old-growth forest to young forests. Science 247: 4943: 699-702


           Harmon, Mark E, and Barbara Marks. 2002. Effects of silvicultural practices on carbon stores in

           Douglas-fir - western hemlock forests in the Pacific Northwest, USA: results from a simulation

           model. Canadian Journal of Forest Research 32: 863-877.




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           Hermann, Peter S., Mark Harmon, Suzanne Remillard, and Erica A.H. Smithwick.2005. What the

           soil reveals: potential total ecosystem C stores of the Pacific Northwest region, USA. Forest

           Ecology and Management 220: 270-283.


           McKenzie, Donald, Ze'ev Gedalof, David L. Peterson, and Philip Mote. 2004. Climatic change,

           wildfire, and conservation. Conservation Biology 18:4: 890 -902.


           Please considers the long-term cumulative impacts of the KNF's industrial logging on climate

           change.


           This important consideration could lead land managers and policy makers to the conclusion that

           National Forest lands are more valuable to the national and global community as carbon sinks

           than as commercial tree farms.


           The Forest Service must analyze all of the cumulative the impacts of the Black Ram project in an

           EIS.


           The project is in violation of NEPA, NFMA, the Forest Plan and the APA.


           Sec. 6. of the National Forest Management Act states:


           (g) As soon as practicable,    the Secretary shall      promulgate regulations, under the principles

           of the Multiple-Use, Sustained-Yield Act of 1960 .


           The regulations shall include, but not be limited to-




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           (3) specifying guidelines for land management plans developed to achieve the goals of the Pro-

           gram which-


           (E) insure that timber will be harvested from National Forest System lands only where-


           (i) soil, slope, or other watershed conditions will not be irreversibly damaged,


           NFMA regulations at 36 C.F.R. § 219.27 (Management requirements) state:


           (a) Resource protection. All management prescriptions shall-


           (1) Conserve soil and water resources and not allow significant or permanent impairment of the

           productivity of the land,


           (b) Vegetative manipulation. Management prescriptions that involve vegetative manipulation of

           tree cover for any purpose shall--


           (5) Avoid permanent impairment of site productivity and ensure conservation of soil and water

           resources,


           The project-level, and programmatic-level (Forest Plan) fail to publicly disclose the current and

           future impacts of climate risk to our national forests. NEPA requires cumulative effects analysis

           at the programmatic level, and at the project-level. The failure to assess and disclose all risks as-

           sociated with vegetative-manipulation (slash and bum) units in the project area in the proper cli-

           mate-risk context/scenario violates the NFMA, NEPA and the APA.


           In the face of increasing climate risk, growing impacts of wildfire and insect activity, plus scien-

           tific research findings, NEPA analysis and disclosure must address the well-documented trend in




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           post-fire regeneration failure. The pre ect has already experienced difficulty restocking on areas

           that burned in the 1988 wildfire. NFMA (1982) regulation 36 CFR 2l9.27(c)(3) implements the

           NFMA statute, which requires adequate restocking in five years.


           Given the forest' s poor history of restocking success and its failure to employ the best available

           science, the adequacy of the site-specific and programmatic NEPA/NFMA process begs for fur-

           the analysis and disclosure of the reality of worsening climate conditions which threaten - di-

           rectly and cumulatively - to tum forest into non-forested vegetation, or worse. The desired future

           condition described in the Purpose and Need, or in the Forest Plan is not deforestation.


           The Forest Plan is based on assumptions largely drawn from our past. These assumptions must
           be challenged, and amended, where overwhelming evidence demonstrates a change of course is
           critically important. It is time to take a step back, assess the future and make the necessary ad-
           justments, all in full public disclosure to the Congress and the American people.

           The EA fails to acknowledge the likelihood that "...high seedling and sapling mortality rates due
           to water stress, competing vegetation, and repeat fires that burn young stands," which will likely
           lead to a dramatic increase in non-forest land acres. Many acres of (conifers) trees already fail to
           regenerate. (Emphasis added). A map of these areas is required. In many areas, conifers ha-
           ven't shown "resilience" enough to spring back from disturbance.



           Please not only analyze forest-wide impacts, but the regional, national and global scope of ex-
           pected environmental changes. Based on scientific research, the existing and projected irretriev-
           able losses must be estimated. Impacts caused by gathering climate risk (heat, drought, wind)
           and its symptoms, including wildfire, insect activity, and regeneration failure and mature tree
           mortality must be analyzed cumulatively.

           The selected scientific research presented above is only a sampling of the growing body of evi-
           dence that supports the need to disclose the consequences of the proposed action in a proper con-
           text - a hotter forest environment, with more frequent drought cycles. This evidence brings into
           question the Purpose and Need for the project. It also requires the FS to reconsider the assump-
           tions, goals and expected desired future condition expressed in the existing Forest Plan. Plan ex-
           pectations must be amended at the programmatic level before proceeding with proposed project-
           level action(s). According to best available science, implementing the project will most likely
           accomplish the opposite of the desired future condition. We can adjust as we monitor and find




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           out more. However, to willfully ignore what we do know and fail to disclose it to the public is a
           serious breach of public trust and an unconscionable act. Climate risk is upon us. A viable alter-
           native to the proposal is not only reasonable and prudent, but it is the right thing to do.

           Global wanning and its consequences may also be effectively irreversible which implicates cer-
           tain legal consequences under NEPA and NEMA and ESA (e.g., 40 CFR § 1502.16, 16 USC
           §l604(g), 36 CFR §219.12, ESA Section 7, 50 CFR §§402.9, 402.14). All net carbon emissions
           from logging represent "irretrievable and irreversible commitments of resources."

           The EA states on page 102:

           Fire exclusion since the 1920s has disrupted annual occurrence, spatial extent, and cumula-
           tive area burned by wildfires. As a result, there nas been an increase in surface fuel loads, tree
           densities, and ladder fuels (Halofsky et al., 2018). Additionally, it has created landscapes with
           large contiguous patches of dense stands with high surface and canopy fuel accumulations (R.
           E. Keane et al., 2002) as well as a decline in the representation of early seral tree species.
           Large wildfires in more recent years have helped to re-establish some of the large-expanses of
           regeneration and snag patches in areas.


           Page 23 of the EA states :


           The policy-driven suppression of wildlandfire has contributed to a vegetative pattern in the
           forest different from conditions that were present prior to fire suppression. Fuels that would
           have been consumed by numerous non-letnal or mixed-letnalfires have accumulated and re-
           mained on site. Fire exclusion nas also allowed trees with low fire resistance to become more
           prevalent on sites where they would have had lower representation than tree species adapted to
           fire over the millennia.It can be assumed that had the smaller, naturally occurring, fires in the
           Project Area not been suppressed, fire would have played a more active role in the ecological
           process across the landscape.




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            The paragraph above is not a reflection of the best available science. Please see the attached pa-
            per by Dr. William Baker titled:

            "Are High-Severity Fires Burning at Much Higher Rates

            Recently than Historically in Dry-Forest Landscapes of the

            Western USA?"

            Dr. Baker writes: "Programs to generally reduce fire

            severity in dry forests are not supported and have

            significant adverse ecological impacts, including reducing

            habitat for native species dependent on early-successional burned patches and decreasing
            landscape heterogeneity that confers resilience to climatic change.   "


            Dr. Baker concluded: "Dry forests were historically

            renewed, and will continue to be renewed, by sudden,

            dramatic, high-intensity fires after centuries of stability and lower-intensity fires.9)

            Please explain why the EA is in violation of NEPA and is not following the best available sci-
            ence on wildfires.

            Page 1-2 of the EA states:

            Purpose and Need for the Proposal

            The focus of the Black Ram project is to manage the forest stands in the Project Area to main-

            tain or improve their resilience to disturbances such as drought, insect and diseases outbreaks,

            and wildfires. Based on field review of the area and the 2015 Forest Plan by the District's re-

            source specialists, the following purpose and need for treatment has been identified to help

            move the landscape toward the desired condition:


            Black RamEnvironmental Assessment2 'Promote resilient vegetation conditions by managing

           for landscape-level vegetation patterns, structure, patch size, fuel loading, and species compo-

            sition. ¢Promote early seral tree species including western larch, ponderosa pine, and western

            white pine¢Maintain or improve old growth character within existing old growth¢Encourage




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           fire's ecological function on the landscape Improve resilience and resistance to insects, dis-
           ease and fre¢Design size of treatments to be consistent with the patch size and pattern of the
           respective biophysical setting¢Diversmy successional stages°Maintain or improve watershed
           conditions in order to provide water quantity, water quality, stream channel conditions, and
           native aquatic species habitat that support ecological functions and beneficial uses.¢Aquatic
           Resource - Reduce sediment delivery to aquatic systems by implementing Best Management

           Practices (BMP) on Forest Service Roads Olmproving and stabilize road/stream crossings and
           improve drainage distribution on Project Area roads.°Improve big game winter range condi-
           tions and promote forage opportunities. ¢Maintain or increase the forage component offor-
           ested stands in the Project Area, including an increase of seedling/sapling age class and early
           seral species, through timber harvest and prescribed fire; Improve vigor, extent, and long-
           term productivity of huckleberry and other native plants to increase forage availability.°Main-
           tain and improve the recreation opportunities in the Project Area. ¢Maintain public access to
           national forest land ¢Create new recreational opportunities 'Reduce the potential for high in-
           tensity wildfire while promoting desirable fire behavior characteristics and fuel conditions in
           the Wildland Urban Interface and other areas with values at risk. 'Provide forest products that
           contribute to the sustainable supply of timber products from National Forest System Lands.
           Baker writes: "Programs to generally reduce fire
           severity in dry forests are not supported and have significant adverse ecological impacts, in-
           cluding reducing nabitatfor native species dependent on early-successional burned patcnes
           and decreasing landscape heterogeneity that confers resilience to climatic change.  "
           Please explain why the Black Rim Project will have different results that what William Baker
           found. Baker has found that what you are proposing will not maintain or improve the forest resil-
           ience to disturbances such as drought, insect and diseases outbreaks, and wildfires .

            In "Fire Ecology in Rocky Mountain Landscapes" by William Baker, Dr. Baker writes on page
            435, " ...a prescribed fire regime that is too frequent can reduce species diversity (Laughlin
            and Grace 2006) and favor invasive species (M.A. Moritz and Odion 2004). Fire that is en-
            tirely low severity in ecosystems that historically experience some high-severity fire may not
           favor germination ofjire-dependent species (M.A. Moritiz and Odion 2004) or provide habitat
            key animals (Smucker, Hutto, and Steele 2005)." Baker continues on page 436: "Fire rotations
            equal the average mean fire interval across a landscape and are appropriate intervals at which
            individual points or the whole landscape is burned. Composite fire intervals underestimate




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            mean fire interval and fire rotation (chap 5) and should not be used as prescribed burning in-
            tervals as this would lead to too much fire and would likely lead to adversely affect biological
            diversity (Laughlin and Grace 2006)."



             Thank you for your time.

             Sincerely yours,

             Mike Garrity

             Executive Director

             Alliance for the Wild Rockies

             P.O. BOX 505

             Helena, MT 59624

             406 586-4421

             And for

            Sara Johnson

             Native Ecosystems Council

             P.O. Box 125


             Willow Creek, MT 59760

             and for

            Steve Kelly
            Montana Ecosystems Defense Council

             P.O. BOX 4641
             Bozeman, MT 59772




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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF MONTANA
                                        GREAT FALLS DIVISION



               CITIZENS FOR CLEAN ENERGY, et al.,
                  and
               THE NORTHERN CHEYENNE TRIBE,                             CV-17-30-GF-BMM
                        Plaintiffs,

                  v.

               U.S. DEPARTMENT OF THE INTERIOR, et al.,
                                                                               ORDER
                         Federal Defendants,
                  and
               STATE OF WYOMING, et al.,
                         Defendant-Intervenors.

               STATE OF CALIFORNIA, et al.,                             CV-17-42-GF-BMM
                                                                         (Consolidated case)
                        Plaintiffs,

                  v.


               U.S. DEPARTMENT OF THE INTERIOR, et al.,
                         Federal Defendants,
                  and
               STATE OF WYOMING, et al.,
                         Defendant-Intervenors.




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                                           INTRODUCTION

                 The Court held a hearing on December 13, 2018, on cross-motions for

           summary judgment filed in this consolidated action brought by the Center for

           Biological Diversity, Citizens for Clean Energy, Defenders of Wildlife,

           EcoCheyene, Montana Environmental Information Center, Sierra Club, the

           Northern Cheyenne Tribe, and WildEarth Guardians (collectively "Organizational

           Plaintiffs"), State of California, State of Washington, and the State of New Mexico

           (collectively "State Plaintiffs"), and by Defendants Secretary of Interior Ryan

           Zinke, the U.S. Department of Interior, the U.S. Bureau of Land Management

           (collectively "Federal Defendants"),the State of Wyoming, the State of Montana

           (collectively "State Defendants"), and the National Mining Association

           (collectively "Defendants"). For ease of reference the Court will use the generic

           terms Plaintiffs and Defendants unless an issue requires the Court to identify a

           specific party.

             A. PRQCEDURAL HISTORY

                 Plaintiffs filed their Complaint in CV-17-30-GF-BMM on March 29, 2017.

           (Doc. 1.) The Court granted the State of Wyoming's Motion to Intervene (Doc. 25)

           on May 30, 2017. (Doc. 30.) The Court granted the parties Joint Motion to

           Consolidate Cases (Doc. 33) on June 2, 2017. (Doc. 34.) The Court granted National

           Mining Association's Motion to Intervene (Doc. 37) on July 10, 2017. (Doc. 41.)

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           The Court granted the State of Montana's Motion to Intervene (Doc. 39) on July 10,

           2017. (Doc. 42.)

                 State Plaintiffs filed their Motion for Summary Judgment on July 27, 2018.

           (Doc. 115.) Organizational Plaintiffs filed their Motion for Summary Judgment on

           July 27, 2018. (Doc. 117.) Federal Defendants filed their Cross Motion for

           Summary Judgment on September 7, 2018. (Doc. 123.) State Defendants filed their

           Cross Motion for Summary Judgment on September 19, 2018. (Doc. 125.)

           National Mining Association filed its Cross Motion for Summary Judgment on

           September 18, 2018. (Doc. 127.)

              B. FACTUAL BACKGROUND

                 The United States Government owns an approximately 570-million-acre

           coal mineral estate. (Doc. 118 at 12.) The Bureau of Land Management ("BLM")

           administers federal coal leases on the Government's estate. (Doc. 118 at 12.) The

           BLM possess broad discretion to lease public land for coal mining. (Doc. 118 at

           12.) The BLM remains constrained, however, by the Federal Lands Policy and

           Management Act ("FLMPA") and the Mineral Leasing Act of 1920 ("MLA") (as

           amended by the Federal Coal Leasing Amendment Act). (Doc. 118 at 13.)

                 BLM currently manages 306 active federal coal leases in ten states. (Doc.

           118 at 13.) The BLM managed leases account for an estimated 7.4 billion tons of

           recoverable coal. (Doc. 118 at 13.) Over forty percent of the coal produced in the


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           United States comes from federal land. AR-00004. Over eighty-five percent of coal

           production on federal land in the United States occurs in the Powder River Basin

           shared by Montana and Wyoming. Id. BLM possessed forty-four pending lease

           and lease-modification applications in February of 2017. (Doc. 118 at 14.) BLM

           last commenced a comprehensive environmental review for the federal coal

           program in 1979. (Doc. 118 at 14.)

                     1. Secretarial Order 3338

                 Former Secretary of the Interior Sally Jewell issued Secretarial Order 3338

           (hereafter "the Jewell Order") on January 15, 2016. (Doc. 118 at 16.) The Jewell

           Order directed BLM to prepare a programmatic environment impact statement

           ("PEIS") that addressed at a minimum the following issues:

                 (a) how, when, and where to lease coal, (b) fair return to the American
                 public for federal coal, (c) the climate change impacts of the federal coal
                 program, and how best to protect the public lands from climate change
                 impacts, (d) the externalities related to federal coal production, including
                 environmental and social impacts, (e) whether lease decision should
                 consider whether the coal would be for export, and (f) the degree to which
                 federal coal fulfills the energy needs of the United States.

           (Doc. 118 at 17.) the Jewell Order imposed a moratorium on new coal leasing until

           completion of the PEIS. (Doc. 118 at 16.)

                    2. Secretarial Order 3348

                 President Trump issued an executive order on March 28, 2017, commanding

           Secretary of the Interior Ryan Zinke to "take all steps necessary and appropriate to

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           amend or withdraw" the Jewell Order. (Doc. 118 at 20.) Secretary Zinke

           subsequently issued Secretarial Order 3348 (hereafter "the Zinke Order") on

           March 29, 2017. AR-00001-2 The Zinke Order determined that "the public interest

           is not served by halting the Federal coal program for an extended time[.]" Id. The

           Zinke Order further reasoned that Federal Defendant's consideration of potential

           improvements to the coal leasing program did not require a PEIS. Id. The Zinke

           Order lifted the moratorium and directed BLM to "process coal lease applications

           and modifications expeditiously in accordance with regulations and guidance

           existing before the issuance of" the Jewell Order. Id.

              C. LEGAL BACKGRQUND

                  A series of federal statutes governs resolution of these motions.

                     1. National Environmental Policy Act

                 The National Environmental Policy Act ("NEPA") requires federal agencies

           to "take a hard look" at the "environmental consequences" of their decision-

           making. Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 350 (1989)

           (internal citations omitted). The statute "does not mandate particular results." Id.

           NEPA instead "prescribes the necessary process" that agencies must follow to

           identify and evaluate "adverse environmental effects of the proposed action." Id.

           Such effects may be direct, "indirect," or "cumulative." 40 C.F.R. § 1502.16.




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                 2. Mineral Leasing Act

                 The MLA governs the leasing of public land for coal production. The MLA

           authorizes the Secretary of the Interior ("Secretary") to divide lands that "have

           been classified for coal leasing into leasing tracts of such a size as [the Secretary]

           finds appropriate and in the public interest and which will permit the mining of

           coal." 30 U.S.C. § 201(a)(1). The MLA requires the Secretary, "in his discretion,

           upon the request of any qualified application or his own motion" to "offer such

           lands for leasing." Id. The MLA requires the Secretary to "award leases thereon by

           competitive bidding." Id. The MLA bars the Secretary from awarding a lease to a

           less than fair market value bid. Id. "No lease shall be held unless the lands

           containing the coal deposits have been included in a comprehensive land-use plan

           and such sale is compatible with such plan." 30 U.S.C. § 201(3)(A)(i).

                 3. Federal Land Policy and Management Act

                 The Federal Land Policy and Management Act ("FLPMA"), 43 U.S.C. §

           1701, et seq., dictates the framework under which BLM manages public lands. It is

           the policy of the United States, pursuant to FLPMA, that "the public lands be

           managed in a manner that will protect the quality of scientific, scenic, historical,

           ecological, environmental, air and atmospheric, water resource, and archeological

           values." 43 U.S.C. § 1701(a)(8). FLPMA further states that the policy of the




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           United States requires that the "United States receive fair market value of the use

           of the public lands and their resources." 43 U.S.C. § 17()1(a)(8).

                  BLM accomplishes this directive by developing, maintaining, and revising

           RMPs. 43 U.S.C. § 1712(a), 43 C.F.R. § 1601.0-5(n). RMPs "guide and control

           future management actions." 43 C.F.R. § 1601.0-2. RMPs establish "[1]and areas

           for limited, restricted or exclusive use" and determine "[a]11owable resource uses

           (either singly or in combination) and related levels of production or use to be

           maintained." 43 C.F.R. § 1601.0-5(n)(1)-(2).

                                              DISCUSSION

                  A court should grant summary judgment where the movant demonstrates

           that no genuine dispute exists "as to any material fact" and the movant is "entitled

           to judgment as a matter of law." Fed. R. Civ. P. 56(a). Summary judgment remains

           appropriate for resolving a challenge to a federal agency's actions when review

           will be based primarily on the administrative record. Pit River Tribe v. U.S. Forest

           Serv., 469 F.3d 768, 778 (9th Cir. 2006).

                 The Administrative Procedure Act ("APA") standard of review governs

           Plaintiffs' claims. W. Watersheds Project V. Kraayenbrink, 632 F.3d 472, 481, 496

           (9th Cir. 2011), Bennett v. Spear, 520 U.S. 154, 174 (1997). The APA instructs a

           reviewing court to "hold unlawful and set aside" agency action deemed "arbitrary,

           capricious, an abuse of discretion, or otherwise not in accordance with law." 5

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           U.S.C. § 706(2)(A). A rational connection must exist between the facts found and

           the conclusions made in support of the agency's action. Kraayenbrink, 632 F.3d at

           481. The Court reviews the Department's compliance with NEPA, the MLA, and

           FLPMA under the arbitrary and capricious standard pursuant to the APA. See

           Center for Biological Diversity V. Nat'l. Highway Tra]j9c Safety Admin., 538 F.3d

           1172, 1194 (9th Cir. 2008). Federal courts shall "compel agency action unlawfully

           withheld or unreasonably delayed." 5 U.S.C. § 706(1). Agency action "includes the

           whole or part of an agency rule, order, license, sanction, relief or the equivalent or

           denial thereof, or failure to act." 5 U.S.C. § 551(13). Courts have interpreted

           claims under 5 U.S.C. § 706(1) to compel "discrete agency action that [the agency]

           is required to take." Norton v. Southern Utah Wilderness Alliance (SUWA), 542

           U.S. 55, 65 (2004).

           I.    ARTICLE III STANDING

                 Defendants assert that Plaintiffs allege conjectural harm, rather than any

           imminent threat, and thereby lack standing to bring their claims. (Doc. 124 at 27.)

           Defendants assert that a series of four events must occur to establish imminent

           harm: (1) an operator applies to lease land or to modify a lease where Plaintiffs '

           members recreate, (2) a BLM office completes an environmental assessment

           ("EA") or EIS and determines the fair market value of the coal and approves the




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           lease modification; (3) a surface mining permit is issued; and (4) the mining plan is

           approved. Id. at 28.

                 Defendants argue that none of these events can be characterized as imminent

           or impending. Id. Defendants argue further that Plaintiffs lack standing due to

           broad-ranging nature of the alleged harm that cannot be traced to the challenged

           action. Id. Defendants further argue that Plaintiffs have failed to demonstrate

           injury-in-fact because BLM has approved no leasing decisions since Secretary

           Zinke lifted the moratorium. Id.

                 Article III standing requires a plaintiff, or in the case of an organization, one

           of its members, to demonstrate: (1) injury-in-fact that is "concrete and

           particularized" and either "actual or imminent" and not "conjectural or

           hypothetical," (2) a "causal connection" between the alleged injury and the

           conduct complained of, and (3) a likelihood that the injury will be redressed by a

           favorable decision." Defenders, 504 U.S. 555, 560-61 (1992), Summers v. Earth

           Island Inst., 555 U.S. 488, 493-94 (2009), Hunt v. Wash. State Apple Advert.

           Comm'n, 432 U.S. 333, 343 (1977).

                 As an initial matter, Defendants' argument that Plaintiffs lack standing to

           pursue their NEPA claims until after individual leases have been processed and

           coal has been leased and mined proves unavailing. (Doc. 124 at 28.) Plaintiffs

           allege that Federal Defendants' conduct in failing to comply with NEPA before

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           ending the coal-leasing moratorium has inflicted a procedural injury. Plaintiffs '

           alleged procedural injury stems from the risk that takes place "when governmental

           decisionmakers make up their minds without having before them an analysis of the

           likely effects of their decision on the environment." Citizens for Better Forestry v.

           U.S. Dep't of Agric., 341 F.3d 961, 971 (9th Cir. 2003). A programmatic analysis

           that may predetermine future decisionmaking "represents a concrete injury that

           plaintiffs must, at some point, have standing to challenge." Res. Ltd., Inc. v.

           Robertson, 35 F.3d 1300, 1303 (9th Cir. 1994). Plaintiffs do not need to wait until

           after coal has been leased and mining has been approved in order to challenge an

           alleged procedural injury. See Sierra Forest Legacy v. Sherman, 646 F.3d 1161,

           1179 (9th Cir. 2011).

              A. INJURY-IN-FACT

                  A plaintiff must show that the procedures at issue are designed to protect

           some "threatened concrete interest" to satisfy the injury-in-fact requirement.

           WildEarth Guardians V. U.S. Dep 't of Agric., 795 F.3d 1148, 1154 (9th Cir. 2015).

           Plaintiffs' Complaint establishes the injury-in-fact requirement of standing. To

           demonstrate a concrete interest, a plaintiff must show "a geographical nexus

           between the individual asserting the claim and the location suffering an

           environmental impact." Id.




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                     1. State Plaintiffs

                 State Plaintiffs consist of the states of Washington, California, New Mexico,

           and New York. Federal coal production occurs in New Mexico. AR-1550. Federal

           coal is transported via railways through California and Washington. Emissions of

           pollutants from power plants that burn federal coal inhabit New York's air. Coal

           production, transportation, and consumption affects adversely, in relevant part, air

           quality and water quality. AR-1584. The federal coal program, as of 2014, stands

           responsible for an estimated eleven percent of total United States greenhouse gas

           emissions. AR-1569. State Plaintiffs possess an interest in how the production,

           transportation, and/or consumption of coal affects the earth and air in their

           respective domains. See State of Go. v. Tenn. Copper Co., 206 U.S. 230, 237

           (1907). State Plaintiffs' interest proves concrete-the harms of which State

           Plaintiffs complain occur within each of the state's geographical boundaries. W

           Watersheds Project, 632 F.3d at 485.

                     2. Organizational Plaintiffs

                 Organizational Plaintiffs likewise possess a concrete interest. The Western

           Energy (Rosebud), Decker, and Spring Creek mines surround the Northern

           Cheyenne Reservation. (Doc. 117-6 at al 9.) Pending lease applications existed for

           the Decker and Spring Creek mines when the Jewell Order imposed a moratorium

           on new coal leasing. Id. at 91 12. Organizational Plaintiffs allege that coal mining at

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           the Decker and Spring Creek mines impacts the air and water quality on the

           reservation, destroys the habitats of sensitive species, and "destroys important

           cultural sites, including sites used for Cheyenne ceremonies." Id. at al 10.

           Organizational Plaintiffs allege that pollution from coal mining at the Decker and

           Spring Creek mines equally affects a member-rancher's use of the Tongue River

           for irrigation and other agricultural purposes. (Doc. 117-2 at al 4.)

                 Members further highlight that issuance of pending leases, that previously

           had been paused pursuant to the Jewell Order, will affect several members' use of

           areas in Montana, Wyoming, and Utah. (Docs. 117-1 at 91 14, 117-3 at q[ql 23-24,

           38-39, 117-4 at al 14, 117-5 at al 12.) The members attest that the issuance of

           pending coal leases will increase the noise, air pollution, and visual impacts of coal

           mining adjacent to the areas in which members use the land. (Docs. 117-1 at 91915-

           11, 14-15, 117-3    919132-39, 117-4 at 99 8-15, 117-5 at 99 3-10, 12.1. The

           Northern Cheyenne Tribe and Conservation Plaintiffs, through each of their

           members, allege an injury to its members' recreational and aesthetic interests. See

           Friends of the Earth, 528 U.S. at 183, Cottonwood Environmental Low Center,

           789 F.3d at 1079.

              B. CAUSAL CONNECTION AND REDRESSABILITY

                 To establish a causal connection, a plaintiff must establish a "more than

           attenuated" line of causation between the challenged action and the alleged harm.

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           Maya V. Centex Corp., 658 F.3d 1060, 1070 (9th Cir. 2011). "Once a plaintiff has

           established an injury in fact under NEPA the causation and redressability

           requirements are relaxed." W. Watersheds Project, 632 F.3d at 485. Plaintiffs must

           demonstrate "only that they have a procedural right that, if exercised, could protect

           their concrete interests." Id.

                  Plaintiffs have alleged a procedural right under NEPA. Plaintiffs allege that

           preparation of an EIS before ending the moratorium would require formal

           consultation with the Northern Cheyenne Tribe regarding coal-leasing impacts. See

           40 C.F.R. § 1501.7(a)(1). Plaintiffs assert that Federal Defendants deprived the

           Northern Cheyenne Tribe of its right to participate in the scoping process.

           Plaintiffs assert that Defendants' failure to comply with NEPA deprived Plaintiffs

           of a meaningful opportunity to influence the disposition of coal-lease applications.

           The NEPA process proves sufficient to redress the procedural injuries that

           Plaintiffs allege. See W Watersheds Project, 632 F.3d at 485. Plaintiffs have

           satisfied the causation and redressability requirements.

           II.    RIPENESS

                  Ripeness prevents the Court, "through avoidance of premature adjudication,

           from entangling [itself] in abstract disagreements over administrative policies, and

           also to protect the agencies from judicial interference until an administrative

           decision has been formalized and its effects felt in a concrete way by the

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           challenging parties." Abbott Laboratories V. Gardner, 387 U.S. 136, 148-49

           (1967). A party that possesses standing and asserts an alleged injury by an

           agency's failure to comply with NEPA "may complain of that failure at the time

           the failure takes place, for the claim can never get riper." Ohio Forestry Ass 'n, 523

           U.S. at 737.

                  The Court has determined that Plaintiffs have alleged a procedural injury

           related to Federal Defendants' failure to comply with the NEPA process in

           revoking the Jewell Order. Plaintiffs allege that the procedural injury occurred

           when Federal Defendants lifted the moratorium without preparing an EIS, or

           supplementing the PEIS. These events and the accompanying alleged procedural

           injury have occurred. Plaintiffs' challenge to the Zinke Order "may be their only

           opportunity to challenge [the coal-leasing program] on a nationwide, programmatic

           basis." Cal. ex rel. Lockyer v. U.S. Dept. of Agriculture, 575 F.3d 999 (9th Cir.

           2009). Plaintiffs' NEPA claims are ripe for review.

           111.   NEPA AND THE APA

                  Plaintiffs argue that Federal Defendants' decision to lift the moratorium

           constituted a major federal action that remains subject to NEPA review. (Docs. 116

           at 25, 118 at 24.) Plaintiffs argue further that Federal Defendants' decision not to

           prepare an EIS proves reviewable under the APA. (Docs. 129 at 16, 130 at 19.)

           The United States Supreme Court in SUWA, 542 U.S. 55, evaluated the same steps

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           at issue in this case: (1) whether NEPA imposed a duty to prepare an EIS, and (2)

           whether the agency's failure to prepare the EIS was actionable under the APA. 542

           U.S. at 72-73 (determining that "[b]efore addressing whether a NEPA-required

           duty is actionable under the APA, [the court] must decide whether NEPA creates

           an obligation in the first place.") Id. at 72. The Court will follow the United States

           Supreme Court's approach in SUWA. The Court will first determine whether

           NEPA imposed a duty upon Federal Defendants to prepare or supplement the PEIS

           before analyzing whether the action is reviewable under the APA.

              A. NEPA

                  NEPA serves as "our basic national charter for protection of the

           environment." N. Idaho Cmly. Action Network v. U.S. Dep 't of Transp., 545 F.3d

           1147, 1153 (9th Cir. 2008) (quoting Ctr. For Biological Diversity v. Nat'l Highway

           Tra]§9c Safely Admin., 538 F.3d 1172, 1185 (9th Cir. 2008)). "NEPA requires that

           federal agencies perform environmental analysis before taking 'any maj or Federal

           actions significantly affecting the quality of the human environment." Center for

           Biological Diversity v. Salazar, 706 F.3d 1085, 1094 (quoting 42 U.S.C. §

           4332(2>(c))-

                 The existence of a NEPA triggering event "depends on whether there is a

           new proposed maj or Federal action." Salazar, 706 F.3d at 1094. The threshold to

           trigger NEPA remains "relatively low." Lockyer, 575 F.3d at 1018. A NEPA

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           triggering event requires merely that a plaintiff "raise substantial questions whether

           a project may have a significant effect on the environment." Id. (quoting Blue

           Mins. Biodiversity Project v. Blackwood, 161 F.3d 1208, 1212 (9th Cir. 1998)).

                 NEPA does not always require an EIS to ensure that an agency has taken a

           "hard look" at potential environmental impacts. Lockyer, 575 F.3d at 1012. An

           agency may comply with NEPA through the preparation of the following

           documents and accompanying analysis: (1) an EIS, (2) a less extensive EA and a

           finding of no significant impact on the environment ("FONSI"), or (3) a

           categorical exclusion and finding that the action does not individually or

           cumulatively have a significant effect on the human environment. Id., 40 C.F.R. §

           1508.4.

                 Defendants argue that the Zinke Order constituted merely an agency policy

           to proceed with lease applications. (Docs. 124 at 35, 126 at 21.) Defendants assert

           that no NEPA triggering event occurred because no major federal action or final

           agency action existed. Id. Plaintiffs assert that NEPA required Federal Defendants

           to prepare a PEIS before lifting the moratorium. (Doc. 118 at 25.) Plaintiffs argue

           alternatively that NEPA required Federal Defendants to supplement the PEIS to

           address the new information related to the impacts of coal leasing since 1979. Id.

                     1. The 2017 Lifting of the Moratorium




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                  President Trump directed Secretary Zinke to "take all steps necessary and

           appropriate to amend or withdraw [the Jewell Order] ... and to lift any and all

           moratoria on Federal land coal leasing activities related to [the Jewell Order]." AR-

           15904. Secretary Zinke issued the Zinke Order to end the federal coal-leasing

           moratorium and the PEIS process on March 29, 2017. AR-00001-2. The Zinke

           Order directed BLM to "process coal lease applications and modifications

           expeditiously in accordance with regulations and guidance existing before the

           issuance of [the Jewell Order]." AR-00002. Federal Defendants determined that a

           NEPA analysis related to the lifting of the moratorium proved unnecessary. See

           AR-00013. Defendants maintain that the Zinke Order did not constitute a major

           federal action that triggered NEPA. (Doc. 124 at 39.)

                  Defendants assert that the analysis in Western Organization of Resource

           Councils (WORC) v. Zinke, 892 F.3d 1234 (D.C. Cir. 2018), proves dispositive.

           (Docs. 124 at 40, 126 at 16, 128 at 23.) WORC involved a similar NEPA challenge

           at issue in the instant case. The plaintiffs in WORC claimed that the 1979 PEIS

           issued by the Secretary of Interior had grown outdated. Id. at 1237. The plaintiffs

           asserted that NEPA obligated the Secretary of the Interior to revise and update the

           PEIS when its conclusions become stale. Id. The plaintiffs argued that NEPA

           mandated the Secretary of the Interior to supplement the PEIS to account for the

           impacts of coal combustion on greenhouse gases in the atmosphere. Id.

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                 The plaintiffs in WORC brought their cause of action in 2014. The district

           court determined that then-Secretary of the Interior Sally Jewell had not proposed

           any new action regarding the coal-leasing program. Id. (citing W. Org. ofRes.

           Councils v. Jewell, 124 F. Supp. 3d 7 (D.D.C. 2015). Secretary Jewell issued the

           Jewell Order during the pendency of the plaintiffs' appeal. The D.C. Circuit

           initially held the case in abeyance. WORC, 892 F.3d at 1240. The plaintiffs moved

           to rescind the order holding the appeal in abeyance after the issuance of the Zinke

           Order. Id. The D.C. Circuit lifted the stay and set a briefing schedule. Id. The D.C.

           Circuit limited its review, however, to the issue of whether the Interior Department

           possessed a duty to update the PEIS due to its reliance on outdated information.

           Id., at 1241.

                 The D.C. Circuit determined that "neither NEPA nor the [Interior]

           Department's own documents create a legal duty for the Secretary to update the ...

           PEIS." Id. at 1246-47. The D.C. Circuit reasoned that no major federal action

           could be identified regarding the plaintiffs challenge. Id. at 1243. The Interior

           Department's approval of the 1979 PEIS constituted the major federal action at

           issue in WORC. Id. The plaintiffs argument that the continued reliance on the

           outdated coal-leasing program constituted a maj or federal action proved

           unavailing. Id. No pending action existed beyond the coal-leasing programs




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           continued existence. Id. NEPA did not require the Interior Department to update

           the PEIS after the major federal action had been completed in 1979. Id. at 1245 .

                 The Jewell Order, and subsequent lifting of the moratorium through the

           Zinke Order, distinguish the D.C. Circuit's analysis in WORC. The D.C. Circuit

           did not address a challenge to the Zinke Order. The D.C. Circuit instead limited its

           analysis to determining whether the continued reliance on outdated information in

           the 1979 PEIS required the Interior Department to supplement the PEIS with new

           information. See WORC, 892 F.3d at 1246.

                 The circumstances of Plaintiffs' challenge to the Zinke Order differ from the

           circumstances that the D.C. Circuit analyzed and reviewed in WORC. Plaintiffs

           challenge the Zinke Order as the maj or federal action. The absence of any agency

           action beyond the Interior Department's continued reliance on the 1979 PEIS

           represented the fatal flaw in the plaintiffs argument in WORC. Id. The Zinke

           Order changed the status quo. The Zinke Order lifted the Jewell Order's

           moratorium and directed BLM to expedite coal leases. AR-00001. This action

           provides the agency action that proved missing from WORC.

                 Plaintiffs rely on Lockyer, 575 F.3d 999, to assert that the Zinke Order

           constituted a major federal action. Lockyer involved a nationwide plan directed by

           President Clinton to protect roadless areas in national forests. Id. at 1006. The

           Forest Service established the Roadless Area Conservation Rule ("Roadless

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           Rule"). Id. The Forest Service promulgated the Roadless Rule on January 5, 2001.

           Id. The Roadless Rule constituted a programmatic approach to roadless area

           management in the United States. Id. The Roadless Rule prohibited road

           construction, reconstruction, and timber harvest in roadless areas. Id. (citing 66

           Fed. Reg. 3244 (Jan. 12, 2001).

                   The Roadless Rule's effective date was March 13, 2001. Id. A change in

           presidential administration delayed the effective date. Id. The Bush administration

           began working on a new rule know as the "State Petitions Rule" to replace the

           Roadless Rule in July of 2001. Id. at 1007. The Forest Service issued the final

           State Petitions Rule in 2005 following a period of public comment. Id. (citing 70

           Fed. Reg. 25,654 (May 13, 2005);

                   The Forest Service explained that it had designated the State Petitions Rule

           for a categorical exclusion under NEPA. Lockyer, 575 F.3d at 1008 (citing 70 Fed.

           Reg. 25,654, 25,66())). The Forest Service reasoned that the State Petitions Rule

           was "merely procedural in nature and scope and, as such, has no direct, indirect, or

           cumulative effect on the environment." Lockyer, 575 F.3d at 1008. The Forest

           Service never fully implemented the Roadless Rule and it had been legally valid

           only for seven months before being replaced by the State Petitions Rule. Id. at

           1014.




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                 The Ninth Circuit analyzed whether the Forest Service's action in replacing

           the Roadless Rule with the State Petitions Rule required an environmental analysis

           under NEPA. The Forest Service's argument that the seven-month period that the

           Roadless Rule had been in effect was "insufficient to make any meaningful

           difference in forest planning" failed to persuade the Ninth Circuit. Id. (emphasis

           omitted). The Ninth Circuit reasoned that the Roadless Rule's seven-month

           effective period resulted in benefits to roadless areas and their ecosystems. Id. The

           Forest Service had implemented the State Petitions Rule for the "primary purpose"

           of "taking substantive environmental protections off the books." Id. at 1015. The

           repeal of the Roadless Rule's substantive protections could not be characterized as

           "merely procedural." Id. at 1018. The Ninth Circuit concluded that the plaintiffs

           had raised a substantial question as to whether the repeal of the Roadless Rule

           would have significant effect on the environment. Id.

                 The analysis in Lockyer applies to the replacement of the Jewell Order with

           the Zinke Order. Lockyer involved a programmatic nationwide plan to address

           roadless areas. Id. at 1006. The Jewell Order involved a nationwide programmatic

           plan to reevaluate the coal-leasing program. AR-00008. The Bush administration

           repealed the Roadless Rule after it had been in effect for seven months. Lockyer.

           575 F.3d at 1014. The Trump administration revoked the Jewell Order after the




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           coal-leasing moratorium had been in effect for nearly fifteen months and fourteen

           days. AR-00001-2.

                 The State Petitions Rule replaced the Roadless Rule. Lockyer, 575 F.3d at

           1014. A plan to "process coal lease applications and modifications expeditiously"

           replaced the moratorium and PEIS process. AR-00002. The State Petitions Rule

           served to lift environmental protections in Lockyer. 575 F.3d at 1015. The Zinke

           Order served to re-open public land to coal leasing and to expedite lease

           applications. AR-00002. The Ninth Circuit reasoned in Lockyer that the seven-

           month period of forest protection resulted in benefits to roadless areas and their

           ecosystems. Lockyer, 575 F.3d at 1015. The moratorium similarly resulted in

           increased protection for nearly fifteen months of approximately 65,000 acres of

           public land that were subject to pending lease applications. See AR-l5995-96.

                 One characteristic distinguishes Lockyer and the Zinke Order: the Forest

           Service in fact did initiate the NEPA process in relation to the State Petitions Rule

           at issue in Lockyer. The Ninth Circuit determined that the Forest Service's fault lay

           in designating the State Petitions Rule for a categorical exclusion from NEPA.

           Lockyer, 575 F.3d at 1018. Federal Defendants failed to initiate a single step of the

           NEPA process in relation to the Zinke Order. The process undertaken with regard

           to the Zinke Order failed to reach even the minimum level of environmental

           analysis performed in Lockyer.

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                 Plaintiffs have identified potential environmental harm that could result from

           lifting the moratorium. Plaintiffs allege that the Zinke Order removed constraints

           that provided beneficial effects on public lands and the environment. (Doc. 118 at

           27-28.) Plaintiffs allege that the current coal-leasing program remains outdated. Id.

           Plaintiffs allege that the moratorium provided an opportunity to examine the

           impacts of coal leasing on a programmatic basis. Id. Plaintiffs allege that the

           moratorium protected public lands of historical, cultural, spiritual, recreational, and

           vocational significance from development. (Doc. 1 at 7-8.) Plaintiffs argue that the

           Zinke Order immediately lifted those protections without any environmental

           review. Id.

                 Similar to the Forest Service's decision to repeal of the Roadless Rule as

           "merely procedural" in order to avoid environmental review, Federal Defendants in

           the present action circumvented any environmental analysis by characterizing the

           Zinke Order as a mere a policy shift and return to the status quo. Plaintiffs have

           raised a substantial question that the lifting of the moratorium could cause

           environmental impacts from expedited coal mining on public lands. See Lockyer,

           575 F.3d at 1012. Plaintiffs need not show at this point that any significant effect

           actually will occur. See Blackwood, 161 F.3d at 1212. NEPA requires only that

           Plaintiffs raise a substantial question as to whether the project may cause

           significant environmental impacts. Id. (citing Idaho Sporting Congress v. Thomas,

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           137 F.3d 1146, 1149 (9th Cir. 1998). Plaintiffs have demonstrated that the lifting

           of the moratorium meets the "relatively low" threshold standard for a NEPA

           triggering event. See Lockyer, 575 F.3d at 1018. The Zinke Order constitutes a

           maj or federal action sufficient to trigger NEPA.

              B. FINAL AGENCY ACTION

                 The Court next must determine whether a final agency action exists to be

           reviewed under the APA. SUWA, 542 U.S. 55 (2004). NEPA provides no private

           right of action and thus Plaintiffs' claims must be brought under the APA. Earth

           Island Inst. V. U.S. Forest Serv., 351 F.3d 1291, 1300 (9th Cir. 2003). The APA

           authorizes suit by a "person suffering legal wrong because of agency action, or

           adversely affected or aggrieved by agency action within the meaning of a relevant

           statute." 5 U.S.C. § 702. "Where no other statute provides a private right of action,

           the agency action complained of must be Wnal agency action."' SUWA, 542 U.S.

           55, 61-62 (quoting 5 U.S.C. § 704) (emphasis in original). "Agency action" refers

           to "the whole or part of an agency rule, order, license, sanction, relief, or the

           equivalent or denial thereof, or failure to act." 5 U.S.C. 55 l(l3).

                  Agency action proves final upon satisfaction of the following two

           conditions: (1) "the action must mark the 'consummation' of the agency's

           decisionmaking process ... it must not be of a merely tentative or interlocutory

           nature," and (2) "the action must be one by which 'rights or obligations have been

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           determined from which 'legal consequences will flow."' Bennett v. Spear, 520

           U.S. 154, 177-78 (1997) (citations omitted).

                 The Zinke Order meets the requirements for final agency action under

           Bennett. The Zinke Order explained that Secretary Zinke had revoked the Jewell

           Order "[b]ased upon the Department's review of [the Jewell Order], the scoping

           report for the [PEIS], and other information provided by the BLM[.]" AR-00001.

           Secretary Zinke relied on Federal Defendants' review in determining that halting

           the federal coal program did not serve the public interest. Id. Secretary Zinke

           further determined that the PEIS's completion proved unnecessary based upon

           Federal Defendants' review. Id. The decision to revoke the Jewell Order and

           expedite coal lease applications constitutes the consummation of Federal

           Defendants' decisionmaking on the moratorium and coal-leasing program. See

           Bennett, 520 U.S. at 177-78.

                 The Zinke Order additionally implicates legal consequences. The Jewell

           Order determined that over forty percent of coal production in the United States

           came from federal land. AR-00004. The Jewell Order provided a blanket

           moratorium on BLM administered coal development for the purpose of preparing a

           PEIS. AR-00003. The moratorium attempted to avoid the risk of "locking in for

           decades the future development of large quantities of coal under current rates and

           terms that the PEIS may ultimately determine to be less than optimal." Id. at 10.

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           The PEIS would evaluate concerns over outdated information within the coal-

           leasing program. Id. Plaintiffs have demonstrated that the moratorium provided

           protections on public lands for more than fourteen months.

                 The Zinke Order articulated its purpose as to "process coal lease applications

           and modifications expeditiously in accordance with regulations and guidance

           existing before the issuance of [the Jewell Order]." AR-00002. In other words, the

           Zinke Order served to lift the environmental protections that the Jewell Order had

           provided during the pendency of the preparation of a new PEIS. The legal

           consequences that flow from the Zinke Order are evident. with the Zinke Order's

           implementation, all BLM land became subject to lease applications with terms of

           twenty years. See AR-00010. The Zinke Order directed new lease applications to

           be "expedit[ed.]" Id. at 2. The PEIS process immediately stopped without full

           review of the concerns raised in the Jewell Order. The Zinke Order satisfies the

           legal consequences requirement under Bennett.

                 Federal Defendants further initiated a final agency action in their decision

           not to begin the NEPA process. Failure to act may constitute final agency action. 5

           U.S.C. § 706(1). A "decision not to prepare an EIS or consult NEPA can itself be

           final agency action." Forest Serv. Emps. for Envt'l Ethics V. U.S. Forest Serv., 397

           F. Supp. 2d 1241, 1252 (citing Hall v. Norton, 266 F.3d 969, 975 (9th Cir. 2001))

           (quotations omitted). Federal Defendants made a conscious decision not to initiate

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           the NEPA process. The record demonstrates that Federal Defendants rejected any

           NEPA review. AR-00001. Federal Defendants further reasoned that any

           environmental concerns raised by Plaintiffs could be addressed through BLM

           review outside the EIS process. AR-00014. Federal Defendants characterize the

           Zinke Order as a mere policy shift.

                 The Court has concluded that the Zinke Order constituted a major federal

           action. The Zinke Order constituted a NEPA triggering event. Federal Defendants '

           decision not to initiate the NEPA process pursuant to the Zinke Order satisfies the

           final agency action requirement. See Forest Serv. Emps., 397 F. Supp. 2d at 1252

           (citing Hall v. Norton, 266 F.3d at 975) (quotations omitted). The initiation of the

           NEPA process proves to be a "discrete agency action that it is required to take. 97




           SUWA, 542 U.S. at 64. Federal Defendants' decision not to initiate the NEPA

           process proves arbitrary and capricious.

           Iv.   WHETHER DEFENDANTS MUST PREPARE A PE1S

                 Plaintiffs request that the Court order Federal Defendants to complete the

           preparation of the PEIS that began under the Jewell Order. (Doc. 1 at 31.) Plaintiffs

           request alternatively that the Court order Federal Defendants to prepare a

           supplement to the PEIS. Id. NEPA represents a purely procedural statute. Lockyer,

           575 F.3d at 1012 (9th Cir. 2009). NEPA's purpose constitutes the intent to "protect

           the environment by fostering informed agency decision-making." Id. NEPA "does

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           not mandate particular results, but simply provides the necessary process to ensure

           that federal agencies take a hard look at the environmental consequences of their

           actions." High Sierra Hikers Ass 'n. V. Blackwell, 390 F.3d 630, 639 (9th Cir. 2004)

           (citing Neighbors of Cuddy Mtn. V. Alexander, 303 F.3d 1059, 1070 (9th Cir.

           2002)) (quotations omitted).

                 Federal courts cannot compel an agency to take specific actions. See

           Gardner V. U.S. Bureau of Land Mgmt., 638 F.3d 1217, 1221 (9th Cir. 2011)

           (citing Hells Canyon Pres. Council V. U.S. Forest Serv., 593 F.3d 923, 932 (9th

           Cir. 2010)). Federal courts only can compel an agency to act upon its legislative

           command. Id. The decision of whether an EIS proves necessary pursuant to the

           agency's action "is a manner of action left to the agency's discretion." Forest Serv.

           Emps., 397 F. Supp. 2d at 1254 (citing SUWA, 542 U.S. at 65).

                 Plaintiffs in Forest Serv. Emps. sought an order from the court to direct the

           Forest Service to prepare an EIS regarding its use of fire retardant to fight wildfires

           on Forest Service land. The court agreed with the plaintiffs that the Forest

           Service's use of fire retardant raised a substantial question as to the dumping of

           millions of gallons of fire retardant on national forests. Forest Serv. Emps., 397 F.

           Supp. 2d at 1254. The court declined, however, to order the Forest Service to

           prepare an EIS as opposed to an EA. Id. The court recognized that the decision of




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           whether an EIS proves necessary pursuant to the agency's act represents a "manner

           of action left to the agency's discretion[.]" Id. (citing SUWA, 542 U.S. at 65).

                 The Zinke Order triggered NEPA. Federal Defendants must comply with the

           requirements of NEPA. The Court cannot compel Federal Defendants at this time

           to prepare a PEIS, or supplemental PEIS, as Plaintiffs request. This matter remains

           left to the agency to determine in the first instance. See Gardner, 638 F.3d at 1217,

           Hells Canyon, 593 F.3d at 932, Forest Serv. Emps., 397 F. Supp. 2d at 1254.

                 As discussed previously, Federal Defendants may comply with their NEPA

           obligations in a manner of ways. 40 C.F.R. § 1508.4. Federal Defendants may

           determine that the preparation of an EA would satisfy their NEPA obligations. See

           Blue Mountains Biodiversity, 161 F.3d at 1212 (citing 40 C.F.R. § 1508.9). In the

           alternative, Federal Defendants may determine that the potential environmental

           impacts from the Zinke Order warrant the preparation of an EIS. See id. If Federal

           Defendants determine that an EIS would not be necessary, however, Federal

           Defendants must supply a "convincing statement of reasons" to explain why the

           Zinke Order's impacts would be insignificant. See id. (quoting Save the Yank, 840

           F.2d at 717). Federal Defendants have failed to take even the initial step of

           determining the extent of environmental analysis that the Zinke Order requires .

           The Court defers to Federal Defendants in the first instance to conduct its required




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           NEPA analysis. The Court stands in no position at this time to evaluate the

           sufficiency of that analysis. Federal Defendants must take this initial step.

           v.    PLAINTIFFS' REMAINING CLAIMS

                 Plaintiffs claim that the Zinke Order violated the Federal Government's trust

           obligation to the Northern Cheyenne Tribe. (Doc. 118 at 46.) Plaintiffs ground this

           claim in Federal Defendants' failure to prepare an EIS. Id. The Court has

           determined that the Zinke Order triggered the NEPA process. The Court also has

           determined that it lacks the authority to compel Federal Defendants to prepare an

           EIS at this point. Plaintiffs' claim based on the Federal Government's trust

           obligation proves contingent upon Federal Defendants' conclusions related to the

           NEPA review that the Court has ordered. The Court remains unable to evaluate

           this claim until Federal Defendants have completed their NEPA analysis.

                 Plaintiffs next assert that Federal Defendants failed to provide a reasoned

           explanation for replacing the Jewell Order with the Zinke Order. (Docs. 116 at 28

           & 130 at 33.) State Plaintiffs allege that the MLA and FLPMA mandated Federal

           Defendants to ensure that leasing proved to be in the "public interest." (Doc. 116 at

           28.) State Plaintiffs further assert that Federal Defendants failed to account for

           Secretary Jewell's preliminary findings that the public was not receiving fair

           market value from the sale of federal coal resources. Id. at 30.




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                 Federal Defendants grounded their reasoning for reversing course in their

           conclusion that no NEPA triggering event had occurred pursuant to the Zinke

           Order. Federal Defendants assert that the mere policy-shift prompted by the Zinke

           Order did not trigger an environmental analysis. The Court's determination that the

           Zinke Order constituted a NEPA triggering event further prevents the Court from

           reviewing these claims at this time. Plaintiffs grounded their Complaint related to

           FLPMA and the MLA in "[Federal] Defendants' [failure] to complete an

           environmental review." (Doc. 1 at 23-24.) The Court has ordered Federal

           Defendants to initiate the NEPA process. The Court cannot reach these claims until

           Federal Defendants have completed their environmental review.

                                             CONCLUSION

                 Plaintiffs have demonstrated that they possess standing to challenge the

           Zinke Order. Plaintiffs have further demonstrated that their claims are ripe for

           review. The Zinke Order constituted a maj or federal action triggering NEPA

           review. The Zinke Order further meets the requirements for final agency action

           under the APA. The Court lacks the authority to compel Federal Defendants to

           prepare a PEIS, or supplement to the PEIS, at this time. Plaintiffs' remaining

           claims prove contingent upon Federal Defendants' initiation of the NEPA process

           and subsequent conclusions.




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                                                  REMEDIES

                 Defendants assert that Plaintiffs fail to address the factors for permanent

           injunctive relief set forth in Monsanto Co. V. Geertson Seed Farms, 561 U.S. 139

           (2010). (Doc. 124 at 36.) Defendants request time to negotiate a proposed remedy

           briefing schedule and submit a joint proposal. Id. Permanent injunction is not an

           automatic remedy in a NEPA case. Monsanto, 561 U.S. at 157. An entry of a

           permanent in unction requires the Court to address the four equitable factors set

           forth in Monsanto.

                 Plaintiffs represent in their Complaint that BLM suspended pending lease

           applications during PEIS process. (Doc. 1 at     52.) Plaintiffs allege that a number

           of lease applications were pending in February of 2016 while the Jewell Order's

           moratorium was in effect. Id. Plaintiffs allege that the pending lease applications in

           2016 encompassed at least 1.86 billion tons of coal in nine states. Id. Plaintiffs

           contend that this quantity represents roughly the equivalent to a four or five-year

           supply of federal coal. Id. at   53.

                 The Court directs counsel for all parties to confer in good faith to attempt to

           reach agreement as to potential remedies. The Court directs the parties to submit a

           joint proposal no later than thirty days from today's date if the parties reach an

           agreement regarding remedies. The Court directs the parties to submit additional

           briefing concerning Monsanto factors and remedies if the parties are unable to

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           reach an agreement. This additional briefing and proposed remedies shall address

           the current status of coal leasing, including the leases cited by Plaintiffs in their

           Complaint that had been affected by the moratorium. This information could

           impact the balancing of the four equitable factors under the analysis in Monsanto.

                 This briefing shall consist of one brief for Plaintiffs not to exceed 7,500

           words. Federal Defendants shall be allowed one brief not to exceed 7,500 words.

           Intervenor Defendants shall be allowed collectively one brief not to exceed 5,000

           words. The word limit shall include everything from the caption to the certificate

           of service.

                                                  ORDER

                 It is hereby ORDERED that Plaintiffs' Motions for Summary Judgment

           (Docs. 97 & 99 in CV-17-42-GF-BMM, and Docs. 115 & 117 in CV-17-30-GF-

           BMM) are GRANTED IN PART and DENIED IN PART.

                 It is further ORDERED that Defendants' and Defendant-Intervenors' Cross-

           Motions for Summary Judgment (Docs. 105, 107, 109 in CV-17-42-GF-BMM, and

           Docs. 123, 125, 127 in CV-17-30-GF-BMM) are GRANTED IN PART and

           DENIED IN PART.

                 The parties shall meet and confer in good faith to attempt to reach an

           agreement as to remedies. The parties shall file a joint proposal regarding remedies

           within thirty days of today's date if the parties reach an agreement regarding

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           remedies. The parties shall submit additional briefing on the Monsanto factors and

           remedies no later than sixty days form today's date if the parties are unable to

           reach an agreement, in accordance with the above Order.

                 Entry of judgment will follow the imposition of a remedy in accordance with

           the above Order.




                 DATED this 19th day of April, 2018.




                                                  5"
                                                     Brian Morris                         "l=""1
                                                     United States District Court Iudge   I        a   -'II




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        Wildfires and climate change push low-elevation
        forests across a critical climate threshold for
 r tree regeneration
 4.
 5      Kimberley T. Davisa,1, Solomon z. Dobrowskib, Philip E. Higueraa, Zachary A. Holden', Thomas T. Veblend,
 VA     Monica T. Rotherd'°, Sean A. Parksf, Anna Salad, and Marco P. Marketah

 :I     aDepartment of Ecosystem and Conservation Sciences, University of Montana, Missoula, MT 59812, bDepartment of Forest Management, University of
        Montana, Missoula, MT 59812, 'US Forest Service Region 1, Missoula, MT 59807, dDepartment of Geography, University of Colorado, Boulder, CO 80309,
        eDepartment of Environmental Sciences, University of North Carolina, Wilmington, NC 28403, 'Aida Leopold Wilderness Research Institute, Rocky Mountain
        Research Station, US Forest Service, Missoula, MT 59801, Division of Biological Sciences, University of Montana, Missoula, MT 59812, and "Department of
        Geosciences, University of Montana, Missoula, MT 59812

        Edited by Christelle Hély, Ecole Pratique des Hautes Etudes, Montpellier, France, and accepted by Editorial Board Member Robert J. Sch oles January 31, 2019
        (received for review August 31, 2018)

        Climate change is increasing fire activity in the western United States,       juveniles of the same species (6, 14, 15). Disturbance-catalyzed change
        which has the potential to accelerate climate-induced shifts in vegetation     at lower treeline, where trees grow at the warm, dry margin of their
        communities. Wildfire can catalyze vegetation change by killing adult          climatic tolerances, may be one of the first visible signs of forest eco-
        trees that could otherwise persist in climate conditions no longer             systems adjusting to new climate conditions. Recent evidence suggests
        suitable for seedling establishment and survival. Recently documented           that wildfires may already be catalyzing vegetation shifts in forests
        declines in postfix conifer recruitment in the western United States may        across the western United States (16), with limited tree regeneration
        be an example of this phenomenon. However, the role of annual climate           following fires in recent decades (e.g., refs. 17-19). This is particularly
        variation and its interaction with long-term climate trends in driving          acute in low-elevation forests (17, 20-23), implicating climate change as
        these changes is poorly resolved. Here we examine the relationship              an important driver of regeneration failures. However, the annual cli-
        between annual climate and postfix tree regeneration of two domi-              mate conditions which limit tree regeneration are poorly resolved,
        nant, low-elevation conifers (ponderosa pine and Douglas-fir) using
                                                                                       and potential thresholds to regeneration have not been identified.
                                                                                       Understanding if recent reductions in postfix tree regeneration
        annually resolved establishment dates from 2,935 destructively sampled
                                                                                       signal an ecosystem transition (e.g., to a nonforested state) requires
        trees from 33 wildfires across four regions in the western United States.
                                                                                       a quantitative understanding of how seasonal to interannual varia-
        We show that regeneration had a nonlinear response to annual climate            tions in climate impact tree seedling germination and establishment.
        conditions, with distinct thresholds for recruitment based on vapor                Here we demonstrate that dry low-elevation Pinus ponderosa
        pressure deficit, soil moisture, and maximum surface temperature. At            (ponderosa pine) and Pseudotsuga menziesii (Douglas-fir) forests
        dry sites across our study region, seasonal to annual climate conditions        of the western United States have crossed a critical climate
        over the past 20 years have crossed these thresholds, such that con-            threshold for postfix tree regeneration. We focused on ponderosa
        ditions have become increasingly unsuitable for regeneration. High              pine and Douglas-fir because they are widespread ecologically and
        fire severity and low seed availability further reduced the probability
        of postfix regeneration. Together, our results demonstrate that                   Significance
        climate change combined with high severity fire is leading to increas-
        ingly fewer opportunities for seedlings to establish after wildfires and
                                                                                          Changes in climate and disturbance regimes may cause abrupt
        may lead to ecosystem transitions in low-elevation ponderosa pine
                                                                                          shifts in vegetation communities. Identifying climatic conditions
         and Douglas-fir forests across the western United States.
                                                                                          that can limit tree regeneration is important for understanding
                                                                                          when and where wildfires may catalyze such changes. This study
         ecosystem transition | climate change | wildfire | ponderosa pine |
                                                                                          quantified relationships between annual climate conditions and
         Douglas-fir
                                                                                          regeneration of Pinus ponderosa (ponderosa pine) and Pseudotuga
                                                                                          menziesii (Douglas-fir), two ecologically and economically important

         A   S climate and disturbance regimes change, abrupt transitions are
             increasingly recognized and predicted in ecological systems (1, 2).
        Abrupt transitions between different ecosystem states can occur when
                                                                                          conifer species in low-elevation forests of western North America.
                                                                                         ONe found that regeneration exhibited a threshold response to an-
                                                                                         |1ual climate conditions and the forests we sampled crossed these
        gradually changing environmental conditions cross critical thresholds            l:limate thresholds in the past 20 years, resulting in fewer le-
        beyond which small changes produce large ecosystem responses (1, 2).              truitment opportunities through time. In areas that have crossed
        Before reaching a critical threshold or "tipping point," gradual changes          climatic thresholds for regeneration, stand-replacing fires may result
        in environmental conditions may cause increased variance but do not               in abrupt ecosystem transitions to nonforest states.
        necessarily lead to distinct changes in ecosystem states (1, 3, 4). In
        stochastic environments, systems may oscillate between two states               Author contributions: K.T.D., S.Z.D., P.E.H., z.A.H., T.T.V., m.T.R., S.A.P., A.S., and M.P.M.
        before a transition (3, 5). For example, tree species that have climatic        designed research; K.T.D., S.Z.D., P.E.H., and M.T.R. performed research; Z.A.H. and
        thresholds for regeneration may experience episodic recruitment as             M.P.M. contributed new reagents/analytic tools, K.T.D. and Z.A.H. analyzed data,
                                                                                        K.T.D., S.Z.D., p.E.H., and Z.A.H. wrote the paper, and T.T.V. and M.T.R. contributed data.
        climate temporally varies between conditions that are suitable and
                                                                                       The authors declare no conflict of interest.
        unsuitable for regeneration (refs. 6 and 7, Fig. 1). Despite widespread
                                                                                        This article is a PNAS Direct Submission. C.H. is a guest editor invited by the Editorial Board.
        interest M understanding ecological thresholds M an era of rapid
        global change (8-10), quant      g abrupt climate-induced vegetation            Published under the PNAS license.
        shifts remains a substantial and important scientific challenge.                Data deposition: The data and code used in this study have been deposited in the Dryad
          Stand-replacing fires can catalyze vegetation shifts during periods           Data Repository, https:i'i'doi.orgi'10.5061Idryad.pc3f9d8.
        of directional climate change, accelerating changes that would                  1To whom correspondence should be addressed. Email: kimberley.davis@umontana.edu.
        otheWse take decades to centuries to play out (11-13). This is                  This article contains supporting information online at www.pnas.orgr'lookupJ'suppl»'doi:10.
        particularly true in forest ecosystems, where adult trees can live for          1073i'pnas.1815107116I-i'DCSupplemental.
        centuries and tolerate a broader range of climate conditions than

         www.pnas.org/cgi/doi/10.1073/pnas.1815107116                                                                                               PNAS Latest Articles \ 1 of 6



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            A                                                                                   for each site from 1980 to 2015, while holding nonclimatic factors
                                                                                                constant (Figs. 3F and 4F). We found abrupt declines in modeled
            2                                                                                   annual recruitment probability in the 1990s for both species and
            _Q                                                                                  across all regions, with the exception of Douglas-fir in California and
             cos                                                                                Colorado. The cumulative probability of postfix recruitment cal-
    r        c>os
            4G -»s)
                                                                                                culated on a 5- and 10-y basis also declined in the Southwest and
                                                                                                Northern Rockies for both species, and in Colorado and California
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                                                                                                for ponderosa pine (SI Appendix, Figs. $9 and $10). Change-point
                                                                                                detection analysis identified significant changes in modeled re-
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                                       aocouoosoca II nouns as
                                                                          Suitable climate
                                                                          for regeneration
                                                                                                cruitment probability in the early to mid-1990s (SI Appendbv, Table
                                                                                                $5). These declines in annual and cumulative recruitment proba-
                                                                                                bility correspond directly to years when mean climate conditions
                                                        Year                                    approached threshold values for recruitment (Figs. 3 and 4), making
            B                                                                                   it increasingly unlikely that future climate conditions will be favor-
             >.                                                                                 able (i.e., a cool or wet year) for subsequent regeneration pulses.
            4-1                                           A
            3CO                                                                                     Theory predicts that variance in state variables will increase as
                                                                                                critical transitions are approached (3, 4), and then decrease once
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              in                                                                                thresholds are crossed (ref. 2, Fig. 1). Consistent with this, in most
                                                                                                regions we found that the variability in the modeled annual re-
             2CO                                                                                cruitment probability increased initially and then declined over time,
              E                                                                                 once climate thresholds were crossed (Figs. 3E and 4E). There were
            T)                                                                                  two exceptions to this pattern, which highlight important complexities
            'a
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            CD
                                                                                   \            in how climate change may impact posture tree regeneration. First,
                                                                                                the annual recruitment probability of ponderosa pine M Colorado
                                                                                                varied little over time (Fig. 3E), because as mean VPD increased, so
                                                        Year                                    too did interannual variability in VPD, such that some years were still
            Fig. 1. Conceptual diagram depicting a simulated hypothetical annual climate        suitable for recruitment (Fig. 313). Increased variability in climate
            variable (e.g., mean summer temperature or vapor pressure deficit, solid line)      metrics was not seen in other regions. Second, the probability of
            and the corresponding expected changes to the frequency of years suitable for       Douglas-Er regeneration in California sites likewise varied little over
            regeneration (dots), as mean climate conditions increase and cross a threshold      time, reflecting little change in the mean and variability of the cli-
            for regeneration (dashed line) (A). When climate conditions are suitable for        mate predictors of Douglas-fir recruitment (Fig. 4 B and D). Across
            regeneration every year, other factors such as cone production may still cause      our study regions, we also observed higher variability in observed
            episodic establishment. As climatic thresholds are approached, the SD of cli-       recruitment at sites closer to the dry margins of tree distributions. By
            mate suitability for regeneration increases, shown here using a moving 10-y         analyzing the annual patterns of observed recruitment across sites, we
            window and summarized with a locally weighted polynomial regression
            smoothing (LOESS) (B). Once a critical threshold is crossed, variability declines
            again, as fewer years are suitable for regeneration.
                                                                                                A                                                             B           11
            economically important conifers in low-elevation forests of western
                                                                                                                                                              »_- 900-
            North America. We sampled across climate gradients in space and                           45 -
                                                                                                                                                              E
            time (1988-2015) using annually resolved establishment dates from
            2,935 trees that established after 33 wildfires M four regions across the
            western United States (Fig. 2) to (i) quantify the relationship between
            seasonal to annual climate and regeneration, (ii) identify critical cli-
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            mate thresholds for regeneration, and (iii) assess how climate suit-                                                                              E
            ability for posture regeneration has changed over recent decades. To                      35-                                                      3
                                                                                                                                                              cg, 500-
            isolate the effect of annual climate, we accounted for the effect of                                                                              oo

            other drivers of postfix regeneration, including fire severity and dis-
            tance to seed source. Our results demonstrate threshold responses of                        -1'25   -1'20      -1'15       -1'10   -1'05
            annual tree recruitment to vapor pressure deficit (VPD), surface                                                                                      300      .       .    .        .
                                                                                                                           L o ngi tude                                   CA      CO   NR       SW
            temperature, and soil moisture. Climate conditions in the low-
            elevation forests we sampled have repeatedly crossed these thresholds
            over the past 20 y, revealing a decline in the climate suitability for
                                                                                                                    Species        l   Ponderosa pine   I   Douglas-fir    Both


            posture tree regeneration across broad regions of the western United
                                                                                                t-.. 100
            States. These Endings imply that increased frequency of stand-                      .<§    75
            replacing fires could initiate abrupt ecosystem transitions in low-                 *E     50
            elevation ponderosa pine and Douglas-fir forests.                                   GJ
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            Results and Discussion                                                               CJ
                                                                                                 9                      Ncrihern Rockies                                  Souihwest
            Annual rates of tree regeneration exhibited strongly nonlinear re-                   G.)100
                                                                                                .2
            lationships with annual climate conditions, with distinct threshold                 3 75
                                                                                                3
            responses to summer VPD, soil moisture, and mazdmum surface                         E
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            temperatures (Figs. 3 and 4). Across the study region, seasonal to                  O
                                                                                                                                                                                                     I
            annual climate conditions from the early 1990s through 2015 have                                               2000            2030 .       1990 .            2000           2610
                                                                                                                                            Establish men year
            crossed these climate thresholds at the majority of sites (SI Appen-
            dzbc, Fig. $8), indicating conditions that are increasingly unsuitable              Fig. 2. Map of study site locations in the western United States (A), 30-y
            for tree regeneration, particularly for ponderosa pine. We assessed                 (1981-2010) mean climatic water deficit for sample sites within each region
            changes in the climate suitability for postfix regeneration by pro-                 (B), and cumulative recruitment following fires for each site (C). Overall,
            jecting our boosted regression tree models [mean area under the                     90 sites were sampled (see Sl Appendix, Tables $1 and $2 for details). Pon-
            curve (AUC) 0.8l; SI AppendiX, Table $4] with climate time series                   derosa pine (PIPO) and Douglas-fir (PSME) ranges are shown in blue in A (72).


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                                                          in 0.06-                                                                climate and modeled annual recruitment probability
                                                         .Q                                                                       for ponderosa pine. Partial dependency plots from a
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                                                             0.04-                                                                boosted regression tree model show the marginal
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         o       0.25 -                                      O                                                                    effect of the two most important climate variables
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                                                                         ..                 .               .                     on annual recruitment probability, after accounting
                 0.20                                    To
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                                                                   oooofoooo .s .O;.O                       .      .       .      for the average effects of all other variables in the
                    0.02    0.04   0.06     0.08                1980 1985 1990 1995 2000                    2005   2010    2015   model (A and C). Annual time series of climate vari-
                    Soil moist. driest month (vwc)
        E                                                                          Year                                           ables at each site averaged by region (B and D). Cli-
         3* 0.20 -                                       F                                                                CA      mate thresholds are identified with vertical (A and c)
                                                                                                                                  and horizontal (B and D) dashed lines. Dots below
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          CU                                             :
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         -Q                                                                                                                       the lines in B and D represent years when that spe-           o
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          L-                                              CU                                                                      cific climate variable was suitable for regeneration.         w
          Q-                                             -Q      0.5 -
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          Cv                                              Q.
                                                                                                                                  The influence of both climate variables on regeneration
          GJ                                             4-v     0.4 I                                                            are summarized by the modeled annual recruitment
          E  0.10-                                       C
         :                                               GJ
                                                                                                                                  probability (F), while holding constant time since fire
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          o                                              :       0.3 l                                                            (1 y), distance to seed source (50 m). and fire severity
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         l                                               O                                                                        (dNBR 412). Variability in annual recruitment probability
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                                                                                                                          u       (E) is shown as the SD of recruitment probability values
                                                                                                                                  from F, calculated in 10-y moving windows and plotted
                           1990      2000         2010              1980      1985   1990       1995 2000   2005   2010    2015   with a LOESS. The metric vwc indicates the ratio of
                                   Year                                                             Year                          water volume to soil volume.


        showed that sites with drier 30-y mean climate conditions exhibited                                 values, suggesting that ecotypic variation or local adaptation among
        more episodic recruitment than wetter sites (SI Appendix, Fig. $13;                                 populations in part influences how annual climate impacts germi-
        I = -2.9, df = 69, P = 0.005), highlighting the prevalence of episodic                              nation and suMval (36). However, M our models, geographic region
        recruitment at sites near climatic thresholds (24, 25).                                             had a negligible effect on annual recruitment probability and no
         Differences between the sensitivity of ponderosa pine and                                          strong interactions with annual climate variables. Thus, our results
        Douglas-fir to annual climate have important implications for                                       suggest that consistent threshold relationships with annual climate
        species-specific responses to climate change (26, 27). Both species                                 were identifiable across the entire range of both species.
        were sensitive to soil moisture; first-year conifer seedlings have                                     While annual climate was an important driver of postfix re-
        shallow root systems and frequently succumb to desiccation (28-31).                                 generation, our findings also highlight that the nature of a fire event
        However, Douglas-Hr regeneration was more strongly related to                                       strongly influences postfix regeneration. For example, the com-
        spring soil moisture, which has not declined in recent decades, than                                bined relative influence of annual climate variables on tree re-
        to soil moisture of the driest month, which has recently crossed                                    cruitment M our boosted regression tree (BRT) models was 24% for
        threshold values. This pattern explains the larger declines in annual                               ponderosa pine and 34% for Douglas-fir (SI Appendbc, Fig. $3),
        recruitment probability for ponderosa pine relative to Douglas-fir                                  while the relative influence of distance to seed source, which is
        (Figs. 3 and 4). Ponderosa pine was additionally sensitive to high                                  largely determined by Ere severity, was 32% for ponderosa pine and
        summer VPD, which leads to increased transpiration rates and in-                                    21% for Douglas-fir (SI Append1Lv, Fig. $3). The importance of seed
        creased plant water stress. VPD, which has increased over the past                                  tree availability in determining postfix regeneration has been
        several decades (ref. 32, Fig. 3), is recognized as an important factor                             demonstrated across forest types in the western United States (e.g.,
        determining tree mortality, growth rates, and seedling survival (31,                                refs. 17, 20, and 46), suggesting that increases in high severity burned
        33-36). VPD is predicted to increase in the future (32). Conse-                                     patch sizes (e.g., ref. 47) will significantly reduce tree regeneration.
        quently, the probability of ponderosa pine regeneration at low-                                     Beyond affecting seed availability, fire severity can also affect re-
        elevation sites will likely decline. Douglas-fir recruitment was sen-                               generation by altering microclimate (41, 42, 48) or soil properties
        sitive to high maximum surface temperatures, which kill seedlings by                                and biota (49). Furthermore, high severity fire is correlated with high
        damaging vascular tissue (37-39). The threshold response we ob-                                     postfix shrub dominance in some regions, which can limit ponder-
        served is consistent with previous experiments that show threshold                                  osa pine regeneration (19). Accordingly, we found that ponderosa
        mortality responses to soil surface temperatures at or near 55 °C (37,                              pine regeneration was lower at sites that experienced higher fire
        40). This mechanism of mortality is especially important in disturbed                               severity (SI Appendbc, Fig. $3). High shrub cover also corresponded
        areas where there is no remaining canopy cover to ameliorate high                                   with more episodic establishment of ponderosa pine (SI Appendix,
        maximum temperatures near the soil surface (41, 42). Intraspecific                                  Fig. $13, t = -3.2, df = 69, P = 0.002), with pronounced peaks of
        differences in climatic tolerances are also likely to exist (43-45). For                            regeneration immediately following Ere at sites with high shrub
        example, across the study area, ponderosa pine recniitment was                                      cover. Fire severity was much less influential for Douglas-fir re-
        more strongly related to site-specific VPD anomalies than raw VPD                                   generation (SI Appendix, Fig. $3). Overall, our results indicate that

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                          Max. surface temp. (QC)                  1980        1985    1990    1995 2000     2605    2010    2615
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                                              I           33 0.3 l                                                                    Fig. 4. Threshold response of recruitment to annual
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                                                          in                                                                          climate and modeled annual recruitment probability
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            GJ                                                                                                                        boosted regression tree model show the marginal
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            3 0.20 -                      r               on                                                                          effect of the two most important climate variables
                                     Ir       I           C                                                                           on annual recruitment probability, after accounting
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            Cr:                               I           U)                                  v                                       for the average effects of all other variables in the
                                              II                          buzz.....s z.si.zt...z.zi ..as                              model (A and cl. Annual time series of climate vari-
                              03      02     0.3                      1980     1985    1990    1995   2000   2005    2010    2015     ables at each site averaged by region (B and D). Cli-
                           Spring soil moist. (vwc)                                                 Year                              mate thresholds are identified with vertical (A and C)
            E                                             F                                                                           and horizontal (8 and D) dashed lines. Dots below
            >
            4-1                                                  0.35 -                                                     CA
                  0.03 -                                                                                                              the lines in B and D represent years when that spe-
            3m                                            r>,
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             O
             L-                                                                                                                       The influence of both climate variables on re-
             o-                                           -Q
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                                                                                                                                      recruitment probability (F), while holding constant
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                                                                                                                                      recruitment probability (E) is shown as the SD of
            `5                                     I
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                                                          cc                                                                          recruitment probability values from F, calculated
            w                                                                                                                         in 10-y moving windows and plotted with a LOESS.
                             1990      2000        2010                 1980    1985    1990    1995 2000    2005    2010    2015     The metric vwc indicates the ratio of water volume
                                     Year                                                           Year                              to soil volume.


            the impacts of annual climate conditions on tree regeneration are                                severity Ere (54), while decreases in summer precipitation (55) coupled
            strongly mediated by multiple biotic and biotic factors.                                         with changes in fuel aridity and timing of spring snowmelt, have led to
               While our results reveal clear relationships between annual cli-                              more area burned across the western United States in the past several
            mate and the probability of tree regeneration, they are constrained                                                    * r e
                                                                                                             decades (56, 57). The com ma on of more ea bume , potentially a                 -r
            by two limitations. First, our statistical models focus on climate                               high severity, with decreasing climate suitability for postfix re-
            conditions during the year of seedling germination. Theory and                                   generation could lead to rapid transitions from ponderosa pine and
            observations highlight that mortality during the year of germination                             Douglas-iir forests to nonforest vegetation. Our results highlight the
            is a key bottleneck affecting conifer demography (28, 30, 31, 39, 50).                           potential for ecological processes to exhibit rapid transitions, and we
            Our results are consistent with this perspective: climate during                                 expect that ire will increauuratau
                                                                                                                                          .             vegetation shifts at lo*
            the year of germination was a significant predictor of tree de-                                  treeline in the future. The nonlinear relationships between annual
            mography at sites sampled years to decades after germination.                                    climate and regeneration observed in this study are likely not unique to
            However, annual climate conditions in the years following germi-                                 these two species (e.g., ref. 30). Thus, the combination of hte and
            nation through the year of sampling, may also affect seedling sur-                               climate change may lead to abrupt ecosystem changes where other
            vival. Second, our statistical models did not account for cone or                                tree species exhibit similar threshold responses to climate.
            seed production, an important determinant of tree regeneration
            that also varies with annual climate conditions (51, 52). As years                               Materials and Methods
            with suitable conditions for regeneration become increasingly rare,                              Our study was designed to understand the relationship between annual climate
            the episodic nature of cone production will likely further limit re-                             conditions and posture tree regeneration in dry conifer forests dominated by
            generation, particularly if years with high cone production do not                               P. ponderosa (ponderosa pine) and/or P. menziesii (Douglas-fir). We used dendro-
            align with years with suitable climate for germination and survival.                             chronology to determine the germination year of trees established after 33 fires in
               Our results reveal an important pathway linking climate change                                90 sites across four regions in the western United States: the Northern Rockies (NR),
            and interannual climate variability to recently observed reductions                              Colorado Front Range (CO), Southwest (SW), and Northern California (CA) (Fig. 2).
            in posture tree regeneration. Our Endings suggest that many low-                                 Within each region, we sampled sites near the warm/dry limits of regional forest
            elevation mixed conifer forests in the western United States have al-                            extent, to bracket the climatic conditions suitable for recruitment; further, these
            ready crossed climatic thresholds beyond which the climate is unsuit-                            areas are where we would expect tree regeneration to be most sensitive to climate
            able for regeneration. Once climate exceeds climatic thresholds for                              change. We constructed a statistical model predicting the annual recruitment
            regeneration and fire results in adult mortality, sites that currently                           probability at each site as a function of biophysical variables. The model results
            experience episodic recruitment may lose local tree populations (6).                             provide insights into the nature of climatic and nonclimatic controls of postfix tree
            We sampled dry ponderosa pine and Douglas-Hr sites within each                                   regeneration, and through hindcasting, the model allowed us to assess how climate
            region, but as climate continues to get warmer and drier (32, 53), more                          suitability for tree regeneration has varied over the past several decades across our
            areas will cross climatic thresholds that limit conifer recruitment. In-                         study regions. The data and code used in this study are publicly available via the
            creasing frequency of extreme ire weather could lead to more high                                Dryad Data Repository: https#/doi.org/10.5061/dryad.pc3f9d8 (58).


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        Field Sampling. In each region, we selected sites that burned at moderate to              and other biophysical variables (67). Annual recruitment was modeled as a binomial
        high severity between 1988 and 2007 [based on Monitoring Trends in Burn                   process, with "success" defined by annual recruitment rates (no. juveniles ha-lyr-1)
        Severity (MTBS) data (59) and later field verified], had no postfix planting and          exceeding a region-specific threshold: the 25th percentile of annual recruitment
        had 30-y (1980-2009) mean climatic water deficits within the top (i.e., driest)           rates from among all years with recruitment for a given species in a given region.
        50th percentile for each species within each region (5l Appendix, Supplemental            This threshold accounts for varying forest density among regions (Sl Appendix,

 r      Methods). From a random set of sites that fit these criteria, we sampled a total
        of 19 sites in CA (from six fires), 10 in CO (from five fires), 40 in NR (from 18
                                                                                                  Table $1), and we use this value to represent the annual recruitment rate needed
                                                                                                  for successful "regeneration" at each site. We also conducted our analysis using a

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        fires), and 21 in SW (from four fires) (SlAppendix, Tables $1 and sz). Historically,
        forests in these regions experienced mixed severity fire regimes, with SW and
        some CA sites characterized by low-severity surface fire regimes (60-62).
                                                                                                  50th percentile threshold and juvenile presence/absence alone, which produced
                                                                                                  similar results to those reported in the main text (Sl Appendix, Figs. S4-S7).
                                                                                                      Predictors used for the BRT models included both static and dynamic, time-
 VA         In NR, SW, and CA, sampling occurred in 60-m long belt transects with
         variable width (2-40 m), with the goal of destructively sampling -30 trees per           varying variables. Static variables, specific to each site, included distance to seed

 :I      transect. All trees that established following fire in each transect were sampled,
         as all sampled trees were less than 25 y old, we use the term "juvenile"
                                                                                                  source and fire severity. Time-varying variables, specific to each year and site
                                                                                                  combination, included time since fire, mean summer VPD (calculated as a site-
        hereafter to refer to sampled individuals. We destructively sampled juveniles to          specific z score), maximum surface temperature, annual climatic water deficit
        obtain precise germination years, because field-based methods for estimating              (calculated as a site-specific z score), mean soil moisture of the driest month, and
        tree ages are not accurate with annual precision (63). If no juveniles were               mean spring soil moisture. We developed an initial BRT model using all of the above
        present at initial randomly identified sample points, site data were recorded             predictor variables, and then used the relative influence of each bioclimatic variable
        and the zero density was retained in the dataset, this occurred at 30% of sites.          to select the most influential moisture-related (i.e., deficit or soil moisture) and
        Where none of the preselected random sample points within a fire yielded at               energy-related (i.e., VPD or maximum surface temperature) variables, this resulted
        least 30 juveniles for sampling, new plots were located in areas with more
                                                                                                  in a final BRT model with five predictor variables: distance to seed source, fire
        regeneration. Thus, field sampling was designed to accurately reconstruct tree
                                                                                                  severity, time since fire, a moisture-related annual bioclimatic variable, and an
        age structures (which inherently requires trees to be present), not the proba-
                                                                                                  energy-related annual bioclimatic variable. We used R version 3.3.3 (68), the
        bility of juvenile presence/absence at each site.
            To destructively sample juveniles, soil was excavated and a segment of the            package "dismo" (69), and the function "gbm.step" to fit BRT models. To account
        stem from at least 10 cm below and 10 cm above the root-shoot boundary                    for lack of spatial independence in our observations, each fold in the k-fold cross-
        was removed. At three points along each transect, shrub cover was esti-                   validation used by gbm.step included data from one fire (70), resulting in 25 folds
        mated in 2 X 3 m plots. Distance to the nearest seed source (i.e., live re-               for the ponderosa pine model and 23 folds for the Douglas-fir model. We tested
                                                                                                                                                                                               >
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        productive tree) of each species was recorded from the center of the transect             predictive performance by leaving out each site, fitting a BRT model with the same           o
        with a laser range finder. Data collection in CO followed similar protocols,              settings as above, predicting the holdout site, and then calculating accuracy (de            u
                                                                                                                                                                                               w
        although not enough Douglas-fir juveniles were sampled to be included in                  fined as the proportion of years with correct prediction) and the AUC statistic.
        this analysis. Additionally, juveniles in CO were defined as trees <150 cm in                To examine how the climate suitability for recruitment has changed with shifts in
        height, which excluded three trees at two sites from sampling (25).                       annual climate over the past 35 y, we used the species-specific BRT models to
                                                                                                  hindcast annual recruitment probability at each site based on the site-specific annual
        Dendrochronology. To identify the germination year of juvenile trees with annual          climate time series (1981-2015, SlAppendb(,Fig. $8) and a constant distance to seed
        accuracy, sample stems were cut into 2.5-cm-long segments, the bottom of each
                                                                                                  source (50 m), time since fire (1 y), and dNBR value (412, the median across all sites).
        segment was progressively sanded with finer-grit sandpaper (UP to 600-1,500 grit;
                                                                                                  This median dNBR value loosely corresponds to the median observed fire-related
        ref. 64) to reveal ring boundaries. Tree rings on each segment were counted at
                                                                                                  tree mortality of 90%, such high mortality likely resulted from torching of indi-
        10-40>< with a Nikon SMZ stereomicroscope, and the segment with the most
        rings, which also corresponded with the first appearance of pith, was used to age         vidual trees, active crown fire, or smoldering at the base of trees, given the thick
        the sample (24, 25, 65). We recorded visual marker years, but the young age of            bark of both study species. A range of distanceto-seed-source and dNBR values
        the trees precluded more formal cross-dating methods. To test the precision of            were initially tested when hindcasting the models, while the mean annual re-
        our aging methods, 555 random samples were recounted by three technicians.                cruitment probability differed based on these initial values, the temporal patterns
        The mean (SD) difference in ring-count-based ages among the technicians was               were consistent among different initial values (Sl Appendix, Figs. $11 and $12).
        0.298 (0.461) y. If ring boundaries were indistinct or pith dates were otherwise          Thus, because distance to seed source, time since fire, and fire severity were held
        ambiguous, then the sample was not included in the final dataset. In total, we            constant, the modeled annual recruitment probability at each site is a measure of
        used 2,935 aged juveniles in our analyses (Sl Appendix, Table $1).                        climate suitability for recruitment in the first year after a hypothetical fire. Modeled
                                                                                                  annual recruitment probabilities for sites within each region were averaged to
        Climate and Biophysical Data. W e chose a suite of biophysical variables as               create a single time series for each region and species combination (Figs. 3F and4F).
         potential predictors of tree recruitment, based on their direct effects on seed          We characterized the temporal variability in the regional annual recruitment
         availability and plant-water relations impacting germination and survival. As            probability values by calculating the SD of recruitment probability in consecutive
         potential predictors of seed availability and site conditions suitable for               10-y windows (Figs. 3E and 4E). We identified significant shifts in the regional time
        germination, we used the MTBS-calculated fire severity value for the 30 x
                                                                                                  series of annual (year 1 postfix) and cumulative (years 1-5 or 1-10 postfix) (51
        30 m pixel including each site [differenced normalized burn ratio (dNBR)]
                                                                                                  Appendix, Supplemental Methods) recruitment probabilities using a changepoint
        and the field-measured distance to seed source.
           Bioclimatic variables included mean summer (June-August) VPD (in kilo-                 detection algorithm [Sup(F)] in the "strucchange" package in R (9, 71).
        pascals), maximum surface temperature (in Celsius), mean spring (March-
                                                                                                  ACKNOWLEDGMENTS. We thank L. Hankin, S. Pracht, E. Berglund, and
        May) soil moisture [volumetric water content (vwc), ratio of water volume to
                                                                                                  L. Crofutt for assistance with field and lab work, E. Burke and E. Heyerdahl
        soil volume], mean soil moisture of the driest month (vwc), and climatic water
                                                                                                  for helpful insights about counting tree rings, K. Kemp for sharing data and
        deficit (in millimeters). Bioclimatic variables were calculated from gridded
                                                                                                  information from sites in the Northern Rockies, and the many US Forest Service
        climate data from 1979 to 2015 (55) with a resolution of 250 m at daily or
                                                                                                  employees who assisted with obtaining permits and provided information
        subdaily timescales and then summarized to seasonal or annual values (51                  about local fires and management history. K.T.D., S.Z.D., and P.E.H. were
        Appendix, Supplemental Methods). Soil moisture and maximum land surface                   funded by the Joint Fire Science Program, project 16-1-01-15. K.T.D., S.Z.D., A.S.,
        temperature (LST) were modeled using the ECH20 ecohydrology model (66)                    and M.P.M. were also funded by National Science Foundation Grant BCS-
        following methods described by Simeone et al. (31). Soil moisture was char-               1461576. S.Z.D. received further support from the USDA National Institute of
        acterized at 0-10 cm, the depths reached by young conifer seedling roots.                 Food and Agriculture, Mclntire Stennis program, project 1012438. Support for
                                                                                                  Z.A.H. was provided by National Aeronautics and Space Administration Applied
        Data Analysis. We constructed BRT models for each species separately to predict           Sciences Grant NNH11ZDA001N-FIRES. T.T.V. and M.T.R. were funded by
         annual recruitment as a function of annual climate during the year of germination        National Science Foundation Grants BCS-1232997 and OISE-0966472.


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        A multivariate model of plant species richness in forested systems:
        old-growth montane forests with a long history of fire

        Daniel C. Laughlin and James B. Grace


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                                               forested systems: old-growth montane forests with a long history of fire. - Oikos ll4:
                                               60-70.


                                               Recently, efforts to develop multivariate models of plant species richness have been
                                               extended to include systems where trees play important roles as overstay elements
                                               mediating the influences of environment and disturbance on understory richness. We
                                               used structural equation modeling to examine the relationship of understory vascular
                                               plant species richness to understory abundance, forest structure, topographic slope, and
                                               surface fire history in lower montane forests on the North Rim of Grand Canyon
                                               National Park, USA based on data from eighty-two 0.1 ha plots. The questions of
                                               primary interest in this analysis were: (1) to what degree are influences of trees on
                                               understory richness mediated by effects on understory abundance? (2) To what degree
                                               are influences of fire history on richness mediated by effects on trees and/or understory
                                               abundance? (3) Can the influences of fire history on this system be related simply to
                                               time-since-fire or are there unique influences associated with long-term fire frequency?
                                               The results we obtained are consistent with the following inferences. First, it appears
                                               that pine trees had a strong inhibitory effect on the abundance of understory plants,
                                               which in turn led to lower understory species richness. Second, richness declined over
                                               time since the last fire. This pattern appears to result from several processes, including
                                               (l) a post-fire stimulation of germination, (2) a decline in understory abundance, and
                                               (3) an increase over time in pine abundance (which indirectly leads to reduced richness).
                                               Finally, once time-since-fire was statistically controlled, it was seen that areas with
                                               higher fire frequency have lower richness than expected, which appears to result from
                                               negative effects on understory abundance, possibly by depletions of soil nutrients from
                                               repeated surface fire. Overall, it appears that at large temporal and spatial scales,
                                               surface fire plays an important and complex role in structuring understory plant
                                               communities in old-growth montane forests. These results show how multivariate
                                               models of herbaceous richness can be expanded to apply to forested systems.

                                               D. C. Laughlin, Ecological Restoration Institute, Northern Arizona University, RO. Box
                                               15017, Flagstaff AZ 86011, USA (daniel.laugnlin@nau.edu). - J B. Grace, US.
                                               Geological Survey, National Wetlands Research Center, 700 Cajundome Boulevard,
                                               Lafayette, LA 70506, USA.



        A profusion of hypotheses exist concerning specific           the subject (Palmer 1994, Waide et al. 1999, Gross et al.
        factors that control plant species richness (reviewed by      2000, Mittlebach et al. 2001). Methods that allow for
        Grace 1999). A few of the most important factors              multivariate hypothesis development and testing, speci-
        include primary production and competitive exclusion,         fically structural equation modeling, have, in the past
        disturbance history, and the species pool. However, there     few years, inspired efforts to evaluate hypotheses about
        has been no resolution of the question of the relative        interacting networks of controlling factors (Grace and
        importance of each factor nor an adequate synthesis of        Pugesek 1997, Gough and Grace 1999, Weiher 2003).


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        Such methods depend on the use of theoretically-              moderate influences from fire history on understory
        specified models of plausible relationships and seek to       richness.
        determine which models, if any, are consistent or
        inconsistent with the multivariate relations in the data
        (Bollen 1989, Grace 2006). When acceptable models are
        obtained, the results have the potential to indicate the      Methods
        roles that different factors play in a system and the
        strengths of different pathways. Such models have             The study system
        provided evidence for a rich array of processes acting
                                                                      This study was conducted in old-growth montane
        to regulate species richness in herbaceous plant commu-       ponderosa pine (Pinus ponderosa P. & C. Lawson) forests
        nities. While only a limited number of such studies have      (at 2200-2350 m elevation) on the North Rim of Grand
        been conducted to date, the results thus far indicate         Canyon National Park (GCNP), USA. Interspersed
        strong influences of abiotic factors, disturbance history,    throughout the pine forest are clumps of Gambel oak
        colonization, and in productive communities, competi-         (Quercus gumbelii Nutt.), a deciduous species that
        tive interactions (Grace and Pugesek 1997, Gough and          resprouts following fire. Montane plant communities in
        Grace 1999, Grace and Jutila 1999, Grace et al. 2000).        the southwestern United States have evolved in an
           More recently, there has been an interest in expanding     environment that experienced low-intensity surface fires
        the range of factors considered in multivariate investiga-    every 220 years (Swetnam and Baisan 1996, Moore et
        tions of richness patterns. Grace and Guntenspergen           al. 1999). However, the vast majority of montane forests
        (1999) evaluated hypotheses about the residual influ-         in the western United States have been affected by
        ences of past disturbances (specifically, hurricanes and      commercial logging, by over-grazing from domestic
        tropical storms) in wetlands. Non-equilibrial processes,      livestock (Belsky and Blumenthal 1997), and by the
        such as fire, have been shown to exhibit both direct          exclusion of surface fires (Agee 1993). As a result, many
        (Weiher 2003) and indirect (Grace and Keeley 2006)            western montane landscapes have grown into overly
        effects on diversity. Disturbance can directly affect plant   dense forests of small trees with subsequent low unders-
        species composition through opening niches for fire-          tory productivity and diversity. In contrast, Grand
        tolerant species (Watson and Wardwell-Johnson 2004) and       Canyon National Park (GCNP) contains the largest
        can indirectly affect richness through direct effects on      never-harvested, minimally grazed, and naturally burned
        light availability and plant structure (Grace and Pugesek     (Full et al. 2003) forest ecosystem in Arizona. As a
        1997). In addition, landscape influences can affect post-     result, these relict sites are rare examples of western
        fire richness patterns in chapparal (Grace and Keeley         forest landscapes close to the historic range of natural
        2006). Hypotheses about the roles of historic, geo-           variability (Fule et al. 2002). As such, they offer a place
        graphic, regional, and local factors on patterns of           to consider how plant community structure is related to
        endemic richness have been considered by Harrison             abiotic and biotic factors under conditions of minimal
        et al. (2006) and exemplify the capacity of multivariate      anthropogenic disturbance.
        hypothesis testing to aid in the interpretation of complex      Laughlin et al. (2005) used model selection to
        intercorrelated relationships at multiple scales.             determine the best fitting multiple regression model to
          The variety of community types considered has also          explain variation in species richness in a broad span of
                                                                      montane forests. Understory abundance and species
        recently expanded. Weiher (2003) evaluated the multi-
                                                                      richness was negatively correlated with the number
        variate model developed by Grace and Pugesek (1997) in
                                                                      of years since the last surface fire (hereafter, 'time-
        oak savannas and concluded that the inclusion of trees        since-fire') and pine abundance (Laughlin et al. 2005).
        creates a new set of relationships to consider in models      Fire is known to affect forest structure (Agee 1993), and
        of richness. Further studies by Weiher et al. (2004) in       pine abundance is well known to negatively impact
        prairie containing scattered red cedar trees have pro-        understory production (Moore and Deiter 1992)
        vided additional support for the idea that trees can act to   through competition for light, water and soil nutrients
        both mediate and alter influences of abiotic factors on       (McLaughlin 1978, Riegel et al. 1995). However, multi-
        herbaceous richness. It would seem based on the limited       ple regression does not allow the researcher to interpret
        information currently available that the factors influen-     why predictor variables, such as pine abundance and
        cing understory richness in woodlands and forests             time-since-fire, were correlated (Grace and Bollen 2005).
        potentially include all those occurring in grasslands         It is likely that time-since-fire directly affects pine
        plus the moderating and interacting effects of trees.         abundance, which in turn directly affects understory
        In this study, we extend the range of communities             plant abundance, hence, in this study we use a structural
        considered using multivariate modeling to include old-        equation modeling approach to test a variety of theore-
        growth montane forests and we seek to evaluate multi-         tically-specified multivariate models having compound
        variate hypotheses that consider the ability of trees to      pathways.

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        Sampling methods                                                  I          "|
                                                                          I Abiotic
                                                                            gradients
        We sampled understory and overstay characteristics on                         I                        b                 r'         "sI
        eighty-two 0.1 ha plots. The plots were separated by at
        least 300 m and arranged on a grid across the landscape
                                                                                                               a             »   I Understory |
                                                                                                                                 I richness |
                                                                                                                                         __ I
        (i.e. plots were located at intersections of lines on a grid,                                   *'                       \ 1-
                                                                                                                                    uv
        see Fule et al. (2002) and Laughlin et al. (2005) for study         *- - - l - \        '-      '\         .\
                                                                                                                   " » -\
                                                                             .         I      I            I       I            I
        site figures). Plots were oriented uphill-downhill and            v Disturbance       I Overstory          I Understory |
        percent slope for each plot was determined using                   I history |
                                                                           \__ |- _ I
                                                                                       ,-->:I             , -->I
                                                                                              I abundance |
                                                                                                          I
                                                                                                                   I abundance |
                                                                                                                               I
        clinometer readings. Understory plant communities
        were sampled using belt and point intercept transects
                                                                                  I
                                                                                                                      7
        that were 50 m in length with points every 30 cm                Fig. 1. General conceptual (construct) model that expands on
        (Laughlin et al. 2005). Understory vegetation was               the model in Grace and Pugesek (1997, Fig. l) by including
                                                                        overstay abundance. Dashed rounded rectangles represent
        dominated by C3 graminoids and annual and perennial             general constructs and arrows denoted by 'a' and 'b' represent
        forbs, few shrubs were detected (Laughlin et al. 2005).         pathways of a priori interest. Thus, this diagram represents a set
        Species richness was determined as the number of                of alternative models, all of which contain the solid arrows, but
        vascular plant species below breast height that occurred        which differ in the inclusion of direct paths from a) disturbance
                                                                        history and b) abiotic gradients to understory richness.
        within the 0.1 ha plot. Percent foliar cover was calcu-
        lated by dividing the number of points containing a plant
                                                                        richness may respond to all four of the other system
        along the point intercept transect divided by the total
                                                                        properties. We recognize that it cannot be guaranteed
        number of points ( =332). Trees greater than 15 cm
                                                                        that the causal relations implied by these assumptions
        diameter at breast height (dbh) were measured on the
                                                                        fully represent all the processes operating in this system.
        entire plot and trees between 2.5 and 15 cm dbh were
        measured on one quarter-plot, all diameters and species
                                                                        Indeed, potentially important abiotic gradients, such as
        of trees were recorded (Fule et al. 2002).                      soil properties (which were not measured), are missing
           Previous studies of fire effects on understory vegeta-       from the model. Rather, through the analyses in this
        tion have noted potential confounding effects of time-          paper we seek to determine whether the relations in the
        since-fire and fire frequency, and have therefore held one      data are consistent with expectations from any of the
        variable constant to study the effects of the other (Fox        multivariate hypotheses considered (Bollen 1989).
        and Fox 1986) or have taken a multivariate approach               All the hypotheses represented by Fig. l seek to
        (Weiher et al. 2004, Watson and Wardwell-Johnson 2004).         determine if understory richness relates in some way to
        We estimated time-since-fire for each plot in the               disturbance (specifically, fire) history in this system.
        montane forests with two complimentary sources: fire            There is also interest in seeing what role gradients in
        perimeter maps and interpolation of fire scar data              topographic slope play in this system. Further, we have
        (Farris et al. 2004, Laughlin et al. 2005). We also             an interest in evaluating hypotheses about moderating or
        estimated fire frequency since 1880, which is the date          altering effects of trees and understory abundance on
        of region-wide fire exclusion corresponding to the arrival      understory richness. By 'moderating' we refer to the
        of Euroamericans (Fulé et al. 2003), by counting the            degree to which a presumed effect of fire history or
        number of fires that overlaid each plot. This method was        topographic slope on understory richness can be ex-
        quite conservative since we only included fires that            plained by an intervening effect on either forest overs-
        scarred at least 10% of the recording trees and fire            tory or understory abundance. For example, if
        maps derived from fire scars can underestimate fire size.       understory abundance completely moderates the effects
                                                                        of disturbance history and forest overstay on richness,
                                                                        all compound pathways would go through understory
                                                                        abundance and no other pathways would go directly to
        Multivariate hypotheses                                         richness. By 'altering' we refer to the situation where the
        The general hypotheses of interest in this paper are            presence of information about intervening variables (in
        presented in Fig. 1. This model represents an expansion         this case, overstay and understory abundance) alters
        of the one presented by Grace and Pugesek (1997) with           our view of the effects of an influencing factor (fire
        the inclusion of overstay abundance as an important             history or slope) on a response (understory richness).
        element. All of the hypotheses represented are based on         Both kinds of relations are of interest in models that
        what we believe to be a plausible set of assumptions that       imply a cascading chain of influences, as in Fig. l.
        include, (l) that current forest overstay abundance may            A number of initial expectations are represented in
        be influenced by past disturbance events and abiotic            Fig. l and are based on previous studies of this system
        gradients, (2) that the abundance of understory plants          (Crawford et al. 2001, Gildar et al. 2004, Laughlin et al.
        may be influenced by overstay abundance, disturbance            2004, 2005, Huisinga et al. in press). First, it is expected
        events, and abiotic gradients, and (3) that understory          that forest overstay density varies as a function of fire

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        history. The relations can be potentially complex de-              relationships. Figure 2 represents the a priori specific
        pending on the effects of fires on seedlings and saplings,         model evaluated. In this model, the abundance of
        the effects on canopy tree growth, and the absolute                Gambel oak was separated from the abundance of
        frequency of fires. Generally, fires in this system, though        ponderosa pine because of the potential unique
        frequent prior to 1880, occurred only 05 times per plot            effects each species may have on understory vegetation
        since 1880, and none were stand-replacing. This means              (Laughlin et al. 2005). In addition, two components of
        that relations of tree abundance to components of fire             fire history were represented separately, time-since-fire
        history (time-since-fire or fire frequency) might be either        and the frequency of fires during the past 118 years.
        positive or negative. Second, it is strongly expected that         Time-since-fire and fire frequency covary in the model
        low understory abundance will be associated with high              since plots that burned recently tended to have burned
        abundance of ponderosa pine, the dominant tree in this             frequently as well (Fule et al. 2003, Laughlin et al. 2005).
        system. Finally, it is expected that where conditions are          Because oak abundance varied with topographic slope,
        unfavorable for abundant understory growth, there will             this landscape feature was included in the specific model.
        be a low level of species richness due to a lack of                   The models in this paper were formulated using latent
        opportunities for establishment. It is also possible that          variables (in circles) and single indicators (observed
        richness is reduced somewhat where understory growth               variables represented by rectangles). Two possible in-
        is very high, though it is not clear whether understory            dicators were considered for both oak abundance and
        abundance in this system is sufficient to drive a loss of          pine abundance, total basal area (m2 ha-1) and tree
        species.                                                           density (trees ha1). Ponderosa pine, which was the
           What is less certain for this system is whether                 dominant canopy species in the great majority of plots,
        overstay and understory abundance completely moder-                showed much stronger relationships to all other variables
        ate effects of fire history. It is quite possible that there are
                                                                           when expressed as total basal area compared to when
        influences of forest overstay on richness that either
                                                                           expressed as tree density. This is understandable given
        intensify or ameliorate the influences of fire history. It is
        also possible that fire history has had influences on              the fact that these trees grow to a large size in low-
        understory richness that are unrelated to overstory or             density stands in these forests. Gambel oak, in contrast,
        understory abundance. The same questions can be asked              showed stronger relationships to other variables when
        about topographic slope. These less certain pathways,              expressed as tree density. This species is one that
        arrows denoted by the letters a and b, represent                   resprouts, often forming dense thickets, but which does
        alternative models of a priori interest. These alternatives        not often grow into stands of large trees in these forests.
        will be considered in both specific models (presented              Another reason for using oak density rather than oak
        later in the paper) representing relations among the               basal area as an indicator of oak abundance is because
        measured properties of the system and in general models            we have observed that understory plants can be abun-
        of the form in Fig. l.                                             dant beneath single large oaks, but not beneath dense
                                                                           oak thickets, in contrast, plant abundance is often low
                                                                           beneath single large pines and beneath dense pine
                                                                           thickets.
        Data analyses
        Prior to evaluations of multivariate hypotheses, bivariate
        examinations of relationships among variables were                      Slope
                                                                                                     abl.IIIdaIIC81
        examined. All relationships were considered for the
        presence of outliers, evidence of skewness or kurtosis,
        and nonlinear relations. A log transform of understory
        plant cover was used to linearize relations with richness,                                                                 Y Understory \
        all other variables were analyzed in their native scale.                                                                     richness


        Spatial autocorrelation in richness was also examined to
        determine whether there might be contagion in the data                                             v
        (Laughlin et al. 2005). Results found no evidence of                                                                Y
        autocorrelation, therefore, the data were analyzed as                  frequency Y           abundance Y
                                                                                                                             Understory\
                                                                                                                             abundance A
        independent samples without modeling proximity.

                                                                           Fig. 2. A priori 'indirect effects' (specific) structural equation
        Structural equation modeling                                       model representing hypothesized relations between species
                                                                           richness and fire history, slope, forest structure, and understory
        Two types of structural equation models were analyzed              abundance. Latent variables are represented by circles and the
                                                                           single-indicator observed variables are not shown here for
        in this study: 'specific' and 'general' models. 'Specific'         simplicity. Model structure follows from earlier work in grass-
        models were evaluated to give a detailed perspective of            lands and woodlands.

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          We considered whether estimates of indicator relia-            The second type of structural equation model exam-
        bility (repeatability) should be used to specify the degree   ined in this study was a 'general' model. These models
        of measurement error in the model. This was done              are of the form in Fig. l and include composite variables
        because appropriate assignments of measurement error          in which combinations of effects are aggregated so we
        can reduce bias in path coefficients (Bollen 1989, Grace      can address more general hypotheses. The effects of
        2006), and because we were fairly confident that some of      time-since-fire and fire frequency were combined into
        the indicators were not measured perfectly (and, there-       effects of disturbance. Also, the effects of oak and pine
        fore, without error). Indications of the degree of repeat-    were combined into an estimate of the effects of
        ability (reliability) were obtained by correlating readings   overstay abundance. Composite variable modeling
        taken in different years. Such readings provided an           was performed based on the principles in Heise (1972)
        underestimate of reliability because they incorporated        using the procedures developed by Grace and Bollen
        both measurement error and temporal variation. Still,         (described in Grace 2006, Ch. 6). These procedures use a
        reliabilities estimated in this way were generally high (up   two-stage approach in which models are estimated
        to 90%) Because only approximate measures of relia-           without composites in the first stage. In the second
                                                                      stage, composites are included with zero error variance
        bility could be obtained, conservative estimates of
                                                                      and with one incoming path fixed to a value of l so as to
        percent error were used in the analyses. Based on our
                                                                      set the scale for the composites.
        scientific judgement, experience, and available data, we
        assigned values of 10% error to the indicators of fire
        frequency and understory richness, 5% to understory
        abundance and time-since-fire, and 0% to pine abun-
        dance, oak abundance, and slope. The effects of relia-
                                                                      Results
        bility estimates on the stability of model results were       Understory richness was significantly correlated (P <
        explored by rerunning the final model using higher or         0.01) with all six of the observed variables in the model
        lower reliabilities. For comparison, runs were made using     (Fig. 3). Richness fit a curvilinear relation to total
        zero estimates for measurement error (equivalent to an        understory cover (Fig. 3a). Visual examination indicated
        observed variable model analysis) and using values            that richness leveled off when total cover was approxi-
        double those specified.                                       mately 50-60%. A clear drop in richness at the highest
          We used a competing models approach to compare              values of cover was not observed in these data, however.
        models of initial interest. The structural relationships      For the purposes of modeling a linear relation with
        (pathways involving latent variables) shown in Fig. 2         richness, a log transformation of cover yielded a linear
        describe one of the hypotheses of initial interest, which     graph and a correlation of 0.70. Richness declined
        we refer to as the 'indirect effects' hypothesis. In this     linearly with increasing pine basal area (Fig. 3b). Oak
        hypothesis, all effects of slope, fire, and trees on          density fit a second-order polynomial relation with
        understory richness can be explained by their effects         richness, with richness declining where oak density
        on understory abundance. The model included both              exceeded approximately 1500 trees ha-1 (Fig. 3c). Posi-
        first- and second-order polynomial terms for oak density      tive linear relations to richness were found for slope and
        to allow for nonlinear relations between this and other       fire frequency, and a negative linear relation to richness
                                                                      was found for time-since-fire (Fig. de). Correlations
        variables (initial examination of the data indicated that
                                                                      among all variables are given in Table l.
        the bivariate relation between oak density and both
                                                                         Analysis of specific structural equation models found
        richness and plant cover fit a second-order polynomial).
                                                                      that the indirect effects model, which includes only those
        Though included in the model, we do not illustrate these      paths shown in Fig. 2, was not consistent with the data
        non-linear relations in the final model for simplicity.       (x2 =2l.8, 9 df, P =0.0l, indicating significant differ-
           Alternative models to the one shown in Fig. 2 that         ences between model and data). The first alternative
        were investigated were those with direct paths to             model (developed from theoretical justifications) in-
        understory richness from variables other than unders-         cluded a direct path from time-since-fire to understory
        tory abundance. Analyses proceeded by comparing               richness and yielded a Chi-square of 8.80 (8 df, P =0.36).
        competing models using Chi-square difference tests,           The drop in Chi-square of 13.0 was highly significant
        without reference to modification indices. The best           (P <0.0l), indicating this model was more appropriate.
        model selected using this procedure was further exam-         The second alternative model included a direct path
        ined for indications of lack of fit using residual            from fire frequency to understory richness and yielded a
        covariances and modification indices, as well as by           Chi-square of 6.6 (7 df, P=0.47). This decline in chi-
        examining the significance of pathways. Analyses were         square was not significant, indicating this path should
        performed using the program Mplus (Muthen and                 not be included in the model. Inclusion of a direct path
        Muthén 2005) and normal theory maximum likelihood             from slope to understory richness likewise failed to
        estimation.                                                   improve model fit significantly. Thus, the first alternative

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        Fig. 3. Bivariate relations between         A 50                                              B 50 1
        richness and all other observed
                                                                       .4                                                .I a
                                                                                                                     I.r:_I,. •.21
        variables in the model. All relationships     40              Lu;                                   40
        were significant (P <0.0l).                 8                                                 8
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                                                       10                                                  10 .
                                                                                      I' = 0.70                                            r - -0.38
                                                         0 I                  I                  I           0   i    I         I   I    I     I   I
                                                           0                 50                 100              0   10        20 30 40 50 60
                                                                      Total cover, pct                                       Pine basal area


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                                                    830-
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                                                         10-                                             10-
                                                                                   r = 0.45                                                        I' = 0.31
                                                         0i            |         |          I                0i          I     I     I         I       I         I
                                                              0      1000      2000      3000                 0      10       20    30         40     50     60
                                                                  Oak density, trees/ha                                      Slope, percent


                                                    E 50                                              F 50       .                                           •
                                                    8
                                                      40
                                                    g 30
                                                                                                       so
                                                                                                          40
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                                                    .e: 20 •'I                                        'S 20
                                                    E
                                                         10                                                10
                                                                                  r - -0.66                                       I' = 0.44
                                                          0 I       I    I     I      I    I                 0 I     I    I    I     I     I
                                                            0      25 50     75 1 0 0 1 2 5                    0     1   2     3     4     5
                                                                   Time since lire, yrs                       Fire frequency, burns/100 yrs


        model was deemed the best of those initially considered.                  covariance structure implied by the model. The final
        Examination of residuals and modification indices did                     model explained the majority of total variance
        not reveal substantial discrepancies. However, signifi-                   in understory richness (R2 =0.64) and understory
        canoe tests for pathways revealed that the paths from the                 abundance (R2 =0.72), but explained less of the total
        fire variables to oak abundance were not significant,                     variance of oak abundance (R2 =0.2l) and pine abun-
        therefore, we decided to delete these from the final                      dance (R2 =0.22). Standardized path coefficients for this
        model. These deletions permitted estimates of separate                    model are shown in Fig. 4 and the prediction equations
        effects between oak abundance and pine abundance                          that include unstandardized coefficients are provided in
        (instead of a single net relationship) because the result-                Table 2.
        ing model could be 'identified' (i.e. unique estimates of                   The results of our sensitivity analyses showed that
        all parameters were possible).                                            model fit was not significantly affected by varying the
          The final model (Fig. 4) fit the data well (x2 = l l . 7 ,              amount of measurement error (Table 3). Both the model
        9 df, P =0.23), indicating that the covariance structure                  without measurement error and the model with double
        of the data did not significantly deviate from the                        the estimated measurement error fit the data. Also,

        Table 1. Correlations among observed variables. Significant correlations are in bold.
                             Rich    LogCov         PineBA           Oakden            Oakden2            Pctslope             Fire time              Firefreq
        Rich               1..0
        LogCov             0.67
                            .          1.0
        PineBA           -0.38
                            .        -0.58            1.0
        Oakden             0.29
                            .          0.44         -0.26              1.0
        Oakden2            0.14
                            .          0.29         -0.14              0.94              1.0
        Pctslope           0.31
                            .          0.39         -0.21              0.44              0.33               1.0
        Firetime         -0.66
                            .        -0.63           0.32            --0.25            -0.18              -0.17                  1.0
        Firefreq           0.44
                            .          0.23         -0.02              0.15              0.12             -0.06                -0.66                       1.0


        OIKOS 11411 (2006)                                                                                                                                           65



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                                                                                                                             Fig. 4. Specific model results (x2 =
                                                         I   Oakden
                                                                      I                                                      11.7, 9 df, P =0.23) with
                                                                                                                             standardized path coefficients. The
                                                                                                                             size of the arrow is proportional to
                                             0.42                                                                            the strength of the path.
         Pctslope I               Slope
                                                          abundance R2=0.21

                                                               ...          0.28
                                                                 ...
                                                      -0.091....:is
                                                                                                 R2=0.64
                      0.97   A
                                                                   ..               -0.38        Understory\      Rich
          Firetime
                                                                                                  richness I0.951        I
                                               ,0.62`                     -0.75
                         -0.72
                                                                                                    6.49
                                             0.44 I                                    Y
                                                                                        Understory
          Firefreq               frequency                abundance b                   abundance R2=0.72
                      0.95 `
                                               -0.31                  R2=0.22
                                                                                                0.97
                                                               V1.0

                                                         I   PineBA I                      LogCover |




        results supported retention of all the same pathways,                               of relationships (Fig. 5). The general model had a chi-
        thus, model structure was stable. As expected, the                                  square of 13.0 (10 df, P =0.23). The structure of this
        magnitude of certain pathways was found to be sensitive                             model fit with the findings for specific models, in that
        to variations in specified measurement error. Most                                  there was evidence for a direct path from disturbance
        responsive were the paths from time-since-fire to un-                               history to understory richness and no support for a
        derstory abundance and to pine abundance. The paths                                 direct path from overstay abundance.
        from fire frequency to pine abundance and to understory
        abundance were also moderately responsive. All other
        path coefficients were relatively unresponsive to varia-
        tions in measurement error.                                                         Discussion
           Indirect relations contribute to the so-called 'total
        effects', which represent the sum of direct and indirect                            Partitioning direct and indirect effects on community
        pathways (Table 4). Results indicate that for most                                  structure has advanced the understanding of patterns of
        variables, their relationships with understory richness                             diversity across landscapes. In old-growth montane
        were entirely indirect. The one exception was time-since-                           forests that are evolutionarily adapted to a surface fire
        fire, which contributed directly to the explanation of                              regime, the evidence from this analysis suggests that
        variation in understory richness. Even for time-since-fire,                         understory richness is influenced by direct and indirect
        though, the majority of its total effect on understory                              effects of fire history. Indirect effects of fire history on
        richness ( -0.84) was indirect ( -0.46), through relation-                          understory richness are apparently mediated through
        ships with pine and understory abundance.                                           direct effects on pine abundance and understory abun-
           The analysis of the general model in which some                                  dance. Therefore, over large temporal and spatial scales,
        effects were composited produced a broader perspective                              surface fire plays an important role in structuring
                                                                                            understory plant communities in old-growth montane
        Table 2. Prediction equations with unstandardized coefficients.                     forests.
                                                                                               Understory plant abundance was not found to be
        Prediction equations*                                                               unimodally related to understory richness in this study,
        RICH =25.66+28.52*ABUn -0.0731*FIRETIME                                             though a leveling off of richness did occur where plant
        ABUN =0.480 -0.003*PINE+0.00015*OAK -5.07€-8*                                       cover was high. This may indicate that competitive
          OAK2 -0.000244*FIRETIME -0.035*FIREFREQ                                           exclusion limits seedling establishment and persistence
        PINE =11.98+0.1715*FIRETIME+4.2*FIREFREQ                                            at high levels of understory plant abundance (Grime
        OAK = 153.546+18.526*SLOPE -4.71*PINE
                                                                                            1979).
        *Where, RICH =understory richness =number of species                                   The observation that understory richness was lower
        per 0.1 ha, ABUN =understory abundance =Ln(%cover/                                  where overstay abundance was higher can be explained
        100 +1), FIRETIME :time-since-fire =years since last burn,                          entirely by the fact that understory abundance was low
        PINE =pine abundance =ponderosa pine basal area per                                 where overstory abundance was high. Thus, we found no
        hectare, OAK =oak abundance =Gambel oak trees per hectare,
        OAK2 :square of OAK, FIREFREQ :number of fires since                                evidence of unique effects of forest structure on richness.
        1880/118 years, SLOPE =% slope                                                      This contrasts with Weiher's (2003) finding that tree

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        Table 3. Sensitivity analysis of model parameters and model fit with respect to changes in estimated measurement error.
                                                                                                      Measurement error
        Model pathways                                                             Zero          Used in model (Fig. 4)              Double
        Understory abundance to understory richness                                0.46                    0.49                       0.52
        Time-since-fire to understory richness                                   -036                    -0.38                      --0.42
        Oak abundance to understory abundance                                      0.28                    0.28                       0.27
        Pine abundance to understory abundance                                   -0.29                   -0.26                      -0.19
        Time-since-fire to understory abundance                                  -062                    -0.75                        1.0
        Fire frequency to understory abundance                                   ~-0.20                  -0.31                      -0.53
        Slope to oak abundance                                                     0.42                    0.42                       0.42
        Pine abundance to oak abundance                                          -0.09                   -0.09                      -0.10
        Oak abundance to pine abundance                                            ns                      ns                         ns
        Time-since-fire to pine abundance                                          0.51                    0.62                       0.80
        Fire frequency to pine abundance                                           0.33                    0.44                       0.61
        Time-since-fire with fire frequency                                      -0.72                   -0.72                      -0.72
        Model fit
          Chi-square                                                              14.0                    11.7                         9.8
          df                                                                       9                       9                           9
          P                                                                        0.12                    0.23                        0.37



        canopy had a direct effect on richness, yet virtually no          et al. 2004). However, understory abundance began to
        effect on herbaceous biomass. In this system, pine trees          decline as oak densities surpassed 1500 trees ha 1.
        intercept light (Naumburg and DeWa1d 1999), intercept             Therefore, the positive path (0.28) should be interpreted
        precipitation (McLaughlin 1978), produce abundant                 as showing that intermediate levels of oak are associated
        needle-fall, and can compete for soil nutrients, all of           with maximum understory abundance. This result clari-
        which can negatively impact herbaceous productivity.              fies the relationship found in Laughlin et al. (2005),
        Riegel et al. (1995) concluded that limiting resources            where pine-oak forests had much greater plant cover and
        such as light, water, and nutrients affected understory           slightly greater plant species richness than pure ponder-
        species composition in ponderosa pine forests based on            osa pine forests, and agrees with Weiher (2003) who
        individual species responses' to resource manipulation.           found weak positive effects on a variety of plant species
        It would seem that ponderosa pine has a strong influence          when oak canopy was moderate.
        on the understory plant community. Furthermore, our                 Time-since-fire appears to have a strong negative total
        evidence implies that pine abundance may have a slight            effect on understory richness (-0.84) in this system,
        negative effect on oak abundance, likely due to resource          with some of the influence mediated by positive influ-
        competition, but oak abundance had no detectable                  ences on overstay abundance, some mediated by
        reciprocal effect on pine abundance in this case.                 negative influences on understory abundance, and
           Oak abundance was positively related to topographic            some of the influence represented by a negative direct
        slope in this system. This result may be specific to North        path. Several different processes would seem to be
        Rim forests, as Gambel oak can readily grow on flat               operating here. The strong positive association between
        terrain in other pine forests in northern Arizona. Oak            time-since-fire and pine abundance exists because
        abundance was unimodally related to understory abun-              pine abundance increases during long, fire-free intervals
        dance (data not shown). Low to moderate densities of              ( >l00 years in some cases). Long-term absence of fire
        oak trees had a positive association with understory              allowed pine seedlings and saplings to develop into
        production, which may be mediated by oak litter, as oak                 9 - - 2 -s
        positively influences soil fertility (Klemmedson 1987,               II Abioiic I
        1991). Soil nutrient content, which was not measured in            11 gradients                                                 =0.64
                                                                                                                                          _ -s
                                                                           :l             I   .0.44                                            I
        this study, may have contributed to unexplained variance
                                                                            .                                                       Understory |
        in the model (Grace et al. 2000, Weiher 2003, Weiher              ..ns                                 -0.39_
                                                                                                                                     richness I
                                                                                                                                          __/
                                                                           ..                                              0.49_
        Table 4. Standardized direct, indirect, and total effects on       2 .. _ - I - `         .
        understory richness (ns refers to a nonsignificant effect).
        Factors                          Direct     Indirect     Total
                                                                            21
                                                                            GI Dislurbance
                                                                             I history |
                                                                              I
                                                                                          ->
                                                                                          I
                                                                                           I 0.44 I
                                                                                                           -
                                                                                                  I abundance |
                                                                                                  \           I
                                                                                                               ->
                                                                                                  I Oversiory I-0.43 :-Understo/`: 2
                                                                                                                       I abundance IN 1:0.71
                                                                                                                       \      __ I
        Understory abundance               0.49               0.49
        Oak abundance                               0.14      0.14
        Pine abundance                            -0.13     -0.13
        Time-since-fire                  -0.38    -0.46     -0.84         Fig. 5. General model results (X2=l3.0, 10 df, P=0.23) with
        Fire frequency                            -0.21     -0.21         standardized path coefficients. Constructs variously represent
        Slope                                       0.06 ns   0.06 ns     individual or collections of latent variables. The size of the
                                                                          arrow is proportional to the strength of the path.

        OIKOS 114:1 (2006)                                                                                                                     67



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        mature trees and thereby contribute to larger stand            association with pine abundance as an indication that
        volumes. In contrast, the strong negative direct path          multiple fires have a thinning effect on pine seedlings and
        from time-since-fire to understory abundance may               saplings, thereby allowing the old-growth pine trees to
        represent post-fire stimulation of herbaceous primary          grow larger faster and contribute to greater stand
        production, either through the release of nutrients into       volumes (Feeney et al. 1998). We interpret the negative
        the soil (Covington and Sackett 1992), or a reduction of       association of frequent fires with understory abundance
        built-up plant litter on the soil surface. Thus, forests       as an indication that multiple fires can harm understory
        without fire show a decline in understory abundance            production, possibly by depletion of soil N after
        above and beyond what can be explained simply by               repeated exposure to surface fire (Binkley et al. 1992,
        increases in pine abundance. These processes ultimately        Wright and Hart 1997). Because of the counterintuitive
        resulted in a loss of approximately one plant species per      nature of the results and the fact that fire frequency was
        0.1 ha per decade (Fig. 3) when fire is excluded from          very conservatively measured, we consider paths from
        these forests.                                                 fire frequency as tentative until later confirmed in
           The direct path from time-since-fire to understory          subsequent multivariate studies. However, these results
        richness implies an effect that is independent of overs-       exemplify the strength of structural equation modeling
        tory or understory abundance. We think it is possible          as a tool for analyzing complex relationships among
        that this represents post-fire stimulation of richness,        many variables, since traditional univariate techniques
        either by creating previously unavailable habitat, or by       could not have detected these residual effects (Grace and
        stimulating fire-tolerant and fire-dependent species. Low      Pugesek 1997, 1998). In other studies, herbaceous
        intensity fires can produce high amounts of small-scale        species richness has been found to be negatively related
        heterogeneity, since slight variability in fuel load and       to fire frequency in tallgrass prairie (Collins et al. 1995),
        moisture can determine whether an area will burn or not
                                                                       but positively related to fire frequency in loblolly pine
        (Huston 1994, Bond and van Wilgen 1996). This                  forests (Lewis and Harshbarger 1976, Waldrop et al.
        heterogeneity can potentially create opportunities for         1987). Based on the limited data available at present, it
        fire-tolerant species (Watson and Wardwell-Johnson
                                                                       appears that fire frequency may not have a consistent
        2004), allowing for the coexistence of numerous species.
                                                                       relationship to richness across systems.
        Heat and smoke from fires can also stimulate germina-
                                                                          General theories about disturbance and species diver-
        tion of understory species (Keeley 1991). For example,
                                                                       sity are well supported in surface fire-adapted montane
        germination of Penstemon barbarous, a native fork,
                                                                       forests. Moderate disturbance frequencies increase di-
        increased dramatically after exposure to smoke (Abella
        2005). This may be another important mechanism of              versity by reducing rates of competitive displacement,
        post-fire stimulation of plant richness that has been little   but high frequencies can reduce diversity through direct
        studied in this system. Furthermore, the increased             species loss. In montane systems, fire history is clearly a
        availability of light to the soil surface following a burn     strong influence on plant species richness, but the
        allows for the germination of annual species (Grime            structural equation model results suggests that there is
        1977, Gibson 1988). Pine forests that have not burned          a delicate balance between time-since-fire and fire
        for over 70 years had significantly fewer annual species       frequency and that some of these effects are mediated
        than forests that burned recently (Laughlin et al. 2005),      through overstory-understory interactions.
        and annual species responded positively to a low-                 These data and analyses also suggest that multivariate
        intensity fire on the North Rim of GCNP (Laughlin et           models of richness, such as those used to understand
        al. 2004).                                                     patterns in herbaceous communities (Grace and Pugesek
           The implied effects of fire frequency are perhaps the       1997, Gough and Grace 1999, Grace and Jutila 1999,
        most counterintuitive results in the model. The bivariate      Grace et al. 2000), can be expanded to incorporate the
        relationships between fire frequency and understory            mediating effects of the forest overstay (Fig. 5). It
        abundance and richness (Table l) were significant and          would seem that in general, forest overstories can,
        positive (r =0.23, 0.44, respectively). However, once          among other things, reduce understory abundance and
        time-since-fire was statistically controlled, model results    the importance of competition among herbaceous spe-
        implied that areas with more frequent fires have lower         cies in regulating richness. At the same time, while not
        richness than otherwise expected. In other words, these        found in this study, there are other cases where the
        results suggest that if we could hold time-since-fire          overstay has been found to have unique influences on
        constant for all plots, we would see that those plots          understory richness (Weiher 2003), which remain to be
        with high fire frequencies have comparatively low              explored fully. In this case, the overstay completely
        richness. This appears to result primarily from a positive     moderated the effects of abiotic gradients on understory
        association between frequent fires and pine abundance          abundance. Disturbance, on the other hand, had unique
        and negative association between frequent fires                influences on both understory abundance and richness,
        and understory abundance. We interpret the positive            representing cumulative effects of fire history.

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           This example contributes to a growing body of                     Full, R Z., Heinlein, T. A., Covington. W W et al. 2003.
        literature indicating that abiotic and biotic factors and               Assessing fire regimes on Grand Canyon landscapes with
                                                                                tire-scar and fire-record data. - In. J. Wildland Fire 12:
        their complex interactions are important in regulating                  129-145.
        spatial and temporal variation in plant species richness             Gibson, D. J. 1988. Regeneration and fluctuation of tallgrass
        across landscapes. Structural equation models, while                    prairie vegetation in response to burning frequency - Bull.
                                                                                Torrey Bot. Club 115: 1-12.
        often reflecting specific influences in each system stu-             Gildar, C. N., Fule, R Z. and Covington, W W 2004. Plant
        died, appear to be consistent with a general multivariate               community variability in ponderosa pine forest has
        model in which variations in disturbance, abiotic condi-                implications for reference conditions. - Nat. Areas J. 24:
        tions, overstay, and understory conditions combine to                   101-111.
                                                                             Gough, L. and Grace, J. B. 1999. Predicting effects of
        explain broad patterns of plant species richness. Further               environmental change on plant species density: experimental
        studies, including both a greater range of conditions and               evaluations in a coastal wetland. - Ecology 80: 882-
        those that seek to test model predictions, either experi-               890.
                                                                             Grace, J. B. 1999. The factors controlling species density in
        mentally or with additional observational data, should                  herbaceous plant communities: an assessment.        Persp.
        provide additional insight into the adequacy of this                    Plant Ecol. Evol. Syst. 2: 1-28.
        model to represent diversity regulation in fire-adapted              Grace, J. B. 2006. Structural equation modeling and the study of
        forest systems.                                                         natural systems. - Cambridge Univ. Press.
                                                                             Grace, J. B. and Pugesek, B. H. 1997. A structural equation
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                 Carbon Sequestration in Forests
                                              Addressing the Scale Question

            l Mark E. Harmon
                 Forests may have an important role to play in removing carbon dioxide from the atmosphere.       the atmosphere. The carbon sequestra-
                 However, the extent of their role depends not only on the area available but also the manage-    tion implications of afforestation and
                 ment system that is applied and whether it is based on sound scientific principles, including    reforestation projects are relatively
                 those of basic ecosystem science. One aspect of ecosystem science that generally has been        simple and have received a great deal
                 overlooked in forestry-related carbon projects is that of scale. By paying closer attention to   of attention (Sedjo et al. 1997). In
                 scale, seemingly contradictory statements concerning forest management and carbon                contrast, the role of more traditional
                 sequestration can be resolved, which can lead to the development of a viable carbon seques-      forestry practices for increasing carbon
                 tration policy.                                                                                  sequestration are less clear, with a great
                                                                                                                  deal of confusion about which prac-
                 Keywords: carbon sequestration, ecosystem management, policy, scale                              tices run counter to the goal of in-
                                                                                                                  creased carbon sequestration. 011 one
                                                                                                                  hand, many forestry professionals be-
                1 rests have the potential to store            However, before such a policy is gener-            lieve that young forests are optimum
                I a great deal more carbon than                ally accepted several major issues in-
                  they do. Exploiting this potential           volving forests need IO be reconciled.
            is one of several proposed strategies to              Not all forestry-related projects are           Above: 0ld-growth forests, such as Valley of
            temporarily slow the increase of atmos-            equally likely to sequester carbon;                the Giants in the Oregon Coast Range, store
            pheric carbon dioxide concentrations.              some may actually release carbon to                some of the greatest amounts of carbon.


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            for sequestering carbon because they          process resolution, are the scales used                 always include specifying a spatial,
            are growing faster than older forests.        by an observer. Although some argue                     temporal, and process level. A lesson
            Moreover, older forests have more             that scales are not natural phenomena,                  from ecosystem science over the past
            dead trees and decomposition, and             there is no debate about their utility.                 25 years is that when this is not done
            hence they should release more carbon         For example, forest growth is often                     (or when the dimensions of scale are
            than younger forests. Together these          best measured from year to year or in                   tacitly assumed), one can develop
            two observations suggest that replace-        some cases decade to decade rather                      seemingly irresolvable conflicts (Allen
            ment of older forests should enhance          than from one instant to the next, de-                  and Starr 1982; O'Neill et al. 1986).
            carbon sequestration. OD the other            spite the fact that trees actually grow                 This lesson will now be applied to the
            hand, many published, peer-reviewed           from one instant to the next. The same                  question of forest practices and carbon
            studies on this subject have concluded        is true for spatial extent. In theory we                sequestration.
            that the replacement of older forests         could measure the amount of carbon
            by younger ones will result in a net re-      stored in an infinitesimally small vol-                 What Is the Sequestration System?
            lease of carbon into the atmosphere           ume of soil, but we usually measure it                     An issue related to process resolu-
            (Cooper 1983; Harmon et al. 1990;             in a profile of 1 cubic meter or so, and                tion involves the definition of the for-
            Dewar 1991; Schulze et al. 2000). Be-         often average it over even larger ex-                   est carbon sequestration system. This
            fore a sensible policy on forest prac-        tents. We may also choose IO examine                    includes not only the parts, but also
            tices and carbon sequestration can be         processes at a level above the most fun-                the processes involved. Given that
            developed, we must understand the             damental ones, in part because there                    trees and forest products are the focus
            basis of these two contrasting views.         are SO many intermediate processes                      of forestry, it is only natural for the
               The interesting thing about this de-       that the propagation of errors becomes                  practicing forester to assume that
            bate, aside from its heated nature, is        potentially excessive.                                  these are the only relevant pools to
            the fact that there are elements of truth         Even though using scales has a clear                consider. In fact, for many reforesta-
            in both views. This is probably why           benefit, it also has a cost in the sense                tion projects these are the only pools
            each side views their argument as con-        that a measurement may only be rele-                    considered. However, they are only
            vincing. The resolution of these con-         vant at the scale at which it was taken.                part of the forest carbon sequestration
            trasting views lies in understanding the      That is, certain measurements and ob-                   system, and for a full accounting one
            scale (which, unfortunately, often is         servations may directly apply to                        must also include detritus and soil.
            not stated) the statements address. By        broader or coarser levels, while others                 The processes that need to be consid-
            specifying the scale issue specifically,      may not. To avoid this pitfall the                      ered include not only tree growth, but
            one can understand not only which             process of defining a problem should                    also photosynthesis and plant respira-
            statements are true versus false, but also
            the scale most relevant IO setting forest
            carbon sequestration policy.                    Carbon store
                                                            (masYg
                This article reviews the issue of scale
            and carbon sequestration in forests. It
            draws primarily from ecosystem sci-                                                  All dead trees                                                  "'=:
            ence, which is logical given that carbon
            sequestration is primarily an ecosystem
            process. The article reviews the concept
                                                                                                                                                        *1
            of scale, illustrates its use in resolving
            seemingly divergent views, and con-
            cludes by suggesting the scale that is
            most appropriate to the question of
            how forest management can be used to
            increase the sequestration of carbon
            from the atmosphere.

            What Is Scale?
                                                                      Dead tree
                                                                                                                                                     Li         Eli.
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               Although one can view the world                                       ...E-_
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            from the smallest increment of time or                                                        Years
            space or from the most elemental of
            processes, it is often helpful to view        Figure l. The loss of carbon from an individual tree versus the accumulation of carbon in a collection
            the world through larger "windows."           of trees. In this example, dead trees are being added to the ecosystem. Each dead tree loses carbon
            These windows that define (often arbi-        as it decomposes, however, as a collection (shown by the upper line) the dead trees can increase
            trarily) the spatial, temporal, and           carbon stores over time.



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                                                                                                                      jets, only trees and forest products are
              'C                                     -'1                                         I, l l l l l         considered, but it turns out this is a
                (0
                GJ
                >~                                                                                                    special case in which excluding the
                L-
                G)
                Q-                                                                                                    other pools will systematically underes-
                GJ                                                                                                    timate carbon sequestration rates. In
                (0
               4O-»
                G)                                                                                                    far more situations overestimation of
              .C
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                                                                                                                      sequestration occurs when certain
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                                                                                                                      pools are excluded, which has led to
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                                                                                  A biomass                           the notion of the minimum number of
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               o                                                                  Net primary production              pools that need to be considered for
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                                                                                                                      different types of projects.
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               GJ
               E                                                                                                      How Is Carbon Sequestered?
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              M
                                                                                                                         The traditional explanation of car-
              DC
                                                                                                                      bon dynamics in forests starts with
                                   | -   _   50                                                             200       photosynthesis and considers losses via
                                                    Time since disturbance (years)                                    respiration of the plants and the de-
                                                                                                                      composers. There is nothing inherently
                                                                                                           -In        wrong with this explanation, but it
                  ':m                                                                                                 leaves the distinct impression that any-
                  G)
                  >.                                                                                                  thing associated with decomposition
                -a>                                                                                        -as-
                D.
                G)                                                                                                    leads to a loss of carbon from the for-
                 a                                                                                                    est. This explanation also is used to
             .Et
             :up                                                                                                      support the conclusion that developing
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              6aC
              >                                                                                            is         younger, healthier forests should re-
                                                                                                                      move carbon faster than older, deca-
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              I)u                                                                                                     dent forests with high rates of mortal-
             Eom                                                                                                      ity and decomposition. However, be-
                    :
                   _g                                                         A biomass                               cause of scaling considerations this not
                   .Q
                    r.
                    m                                                        Net primary production                   necessarily true as the scale of an eco-
                    E                                                                                                 system.
                                                                                                                         At the scale of individual pools, the
                                                                                        13                      200   tendency is to focus on living plants as
                                                        Rotation length (years)                                       the only long-term store of carbon. As
                                                                                                                      stated above, the rationale is that be-
            Figure2. The theoreticaltrend in net primary production (NPP, or grossgrowth) and change in live          cause respiration represents a carbon
            biomass stores (A biomass, or net growth) for a forest system that has been disturbed by clearcut         loss, any pool that only has respiration
            timber harvest.                                                                                           without accompanying photosynthesis
                                                                                                                      cannot accumulate carbon. Although
            son, tree death and litter production,              the HLIX IO the atmosphere is usually                 this is true at the scale of an individual
            decomposition and the formation of                  not directly measured. Rather it is                   dead leaf or tree, pools such as detritus,
            stable organic matter in the forest                 solved by the difference of all the other             soil, and forest products can also store
            floor and soil (including charcoal),                terms. Therefore, by excluding some                   carbon over the long term.
            disturbances such as timber harvest                 pools it is possible to create a mislead-                The latter three pools cannot take
            and fire, as well as the manufacture,               ing impression of the impact of some                  carbon directly out of the atmosphere
            use, and disposal of forest products.               forest practices. For example, confining              via photosynthesis; they can, however,
            Substitution of fossil fuels may also be            the system to just trees inevitably leads             accumulate and permanently store car-
            considered in a forest sector analysis;             to the conclusion that young forests se-              bon if the inputs to these pools are
            however, this is often done at a level of           quester carbon faster than older forests.             maintained through time (Olson
            resolution larger than the forest sector            However, young forests are often asso-                1963). It is true, for example, that once
            per se, one that includes all carbon                ciated with large amounts of slash from               a tree dies it begins to decompose and
            processes such as fossil fuel use, ce-              the previous harvest, and when the de-                thus lose carbon. It is equally true,
            ment production, and others.                        composition of this material is consid-               however, that if trees die at a steady
               An important criterion to use in                 ered, it may turn out that the complete               rate, then as a collection the mass of
            defining the forest carbon system is to             system is actually losing carbon to the               carbon stored in the dead tree pool can
            create a "closed" system, or one in                 atmosphere even though the younger                    grow and thus store carbon 098. 1).
            which all carbon is accounted for and               trees are growing at a rapid rate. In                 Conversely, when analyzed at the indi-
            conserved. This is important because                some cases, such as afforestation pro-                vidual level it is clear that living plants

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            are not permanent stores-individuals
            and parts of those individuals are al-               140
            ways dying. They are replaced by other           'D
                                                              16
            individuals and parts that allow this             9.
                                                              _120
                                                              G)
            live pool to permanently store carbon.            D.
            The confusion concerning which pools              9
                                                          .,,..,100
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            can permanently store carbon is there-        2 2
            fore largely a confusion over scale, that     " a
                                                          S n
                                                          Q :
            is, between transience at the level of in-    No
            dividuals and permanence at the level         °s
                                                          _*En                                                                Primary
            of a collection of individuals.               »23
                                                             w
                                                             :                                                                Secondary
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            Influence of Temporal Scale                      r.
                                                             G)
               In comparing the rates of carbon              E,
            uptake of forests, one has to be careful                                   -
            about the time period being considered                      T             1 50                                                      a n-    200
            (i.e., the temporal scale). Let us take
            the statement that young forests re-
            move carbon from the atmosphere                 ':
                                                             zu
            faster than older forests. Consider the         q)
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            net rate that living plants remove car-          o.
            bon from the atmosphere-the rate of           w8
            net primary production, or NPP (this          98
                                                          S
                                                          W.:
            is equivalent to gross growth in forestry     C as
                                                           as D.
            terms). If one is considering the peri-        Q:
                                                          is
            odic NPP (i.e., the average value over a      5   a
                                                          '65 o
            specific interval), then it is true that      z U)o
            some young forests are more produc-               :o
                                                             4-
            tive than older forests. However, there         .9
                                                             .*=
                                                             a>
            are also periods when young forests are         E
                                                            `.,
            less productive than older forests.
                In the example shown in figure 2,
            the periodic NPP increases immedi-                                           50                   100                   150                 200
            ately after disturbance, reaches a peak,                                              Time since disturbance (years)
            and then declines. The reason for the
            increase is well known: Trees take time      Figure3. Temporalchanges in total carbon stores for primary versus secondary succession (in this
            to create the foliage, roots, and            case. a windthrow). For illustration purposes the time dynamics of all live and dead components is
            branches required to capture the light,      assumed to be equal for the two, although in primary succession the increase in stores is usually
            water, and nutrients required for maxi-      slower than in secondary succession.
            mum photosynthesis. Because no dis-
            turbed forest star ts with this level of     matter of where the carbon is allocated,             Uptake-Release Variations
            production infrastructure, it follows        not of ecosystem production per se.                     From much of the popular discus-
            logically that no young forest can start        If one considers the average produc-              sion of carbon sequestration one gets
            as the maximum. The reason for the           tion over the length of a rotation, then             the impression that forests can remove
            decline with age is less well known and      older forests may be just as productive              carbon from the atmosphere in perpe-
            is an active area of ecological research     as younger ones. This is because no for-             tuity Actually, this is not the case. To
            (Ryan et al. 1997). The decline is due       est can be X years old without having                understand the reason, one needs to
            in part to increases in the respiration      been X-1 years old. Foresters have ac-               examine the pattern of carbon accu-
            required to maintain the trees, but          knowledged this scaling effect when                  mulation during succession. Recall that
            other factors including hydrologic lim-      they use terms such as mean annual in-               there are two basic types of succession:
            itations and nutrient availability may       crement. The same temporal adjust-                   primary and secondary. In primary
            be involved. Regardless of the cause,        ment can be used to look at the mean                 succession the initial organic carbon
            NPP does not decline to zero in old          NPP or carbon sequestration over the                 stores of all forms are essentially zero.
            forests. Therefore, there are many old       rotation. This indicates young forests               As plants grow they add carbon not
            forests just as productive as some           can be less productive than older for-               only in their live parts, but also as lit-
            young forests. Perhaps they are not as       ests both in terms of NPP and the net                ter, detritus, and soil Q'Zg. 3). Given
            productive in terms of net biomass or        accumulation of carbon in live biomass               enough time, the ability of the ecosys-
            volume accumulation, but this is a           098. 28).                                            tem to accumulate additional carbon


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                                                                                                                      of loss starts the succession. As the
                                                                                                                      legacy carbon decreases and the ability
                    C
                           114
                                                Lanni*                                                                of the vegetation to photosynthesize


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                                                                                                                      increases, the ecosystem comes to a
                     GJ
                     Q.                                                                                               temporary balance. This is followed by
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              mm                                                                                                      a period of net uptake as growth of the
              a>'5
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             on L-V8
                    .: l                                                                                              live pools exceeds decomposition
              3 CL.
                     G)                                                                                         at    losses. With enough time, however, the
             .Q C
                    8                                                                                                 amount of production of the live parts
             3LJ as
                 O  1                                                                                                 is offset by losses via decomposition.
              Ou-
             |- o U I                                                                                                 This final balance is never exactly
                     U)
                     g
                                                                                   Windthrow                          achieved. For one thing, periodic vari-
                     2 1
                     o
                     4
                                                                                   50-year timber harvest
                                                                                                                      ations in fine-scale disturbances (e.g.,
                     4-1
                     G)                                                            Windthrow landscape mean
                    5,                                                                                                individual tree death) and climate vari-
                                         * It
                                           in                                      Harvest landscape mean
                                                                                                      _               ables cause this balance to shift slightly
                                                     ' F l          -it    In     - Leno           -250-1     ,400-   from time to time. Furthermore, long-
                                                                                                                      term trends in these controlling factors
                    ':"
                     (0
                     GJ
                                                     'i-                  ._ . 4 I                            'n-     may cause the ecosystem to seek a new
                                                                                                                      balance. However, the idea that ifvari-
                     >,
                     L-
                     G)
                     Q-
                                                                                                                      ation in these "driving" variables ceased
             on
                 9                                                                                                    the ecosystem would come to a balance
             G) 8
             L- O
             2 G)                                                                                                     is still theoretically valid.
             on .C
             C ET                                                                                                         Let us now revisit the statement that
                                                                                                                      young forests remove more carbon
              QUO    Q -

              i n    C


              8
             -Oc 3
                     8
                                                                                                                      from the atmosphere than older for-
             4_» O

             an "5
             Z      i n
                      C
                                                                                    Vindthrow                 jin.    ests. For primary succession and sec-
                                                                                                                      ondary successions with little carbon
                      O
                     4-v
                                                                                   50-year timber harvest
                      o                                                                                               legacy, that statement is true for the pe-
                    45
                    G)                  -:l'l   .1   llll                                                             riodic net carbon accumulation of the
                    E ,
                                 -                          gulp'                                                     forest ecosystem as long as the forest is
                                                                                      200           250         300   not too young to have developed its
                                                                          Years                                       production infrastructure. The state-
                                                                                                                      ment is definitely not true for sec-
            Figure4. Temporal changes in mass and net carbon sequestration rates for two different disturbance        ondary successions that leave a sub-
            regimes: complete windthrow with a return interval of 300 years and timber harvest with a mean            stantial carbon legacy In fact, because
            rotation of 50 years. For the timber harvest regime it was assumed that65 percent of the live             of this legacy, many young forests lose
            biomass was harvested (i.e., the entire bole) and that harvest vas all converted to forest products       far more carbon than old-growth for-
            with an average lifespan of 50 years. The horizontal lines in A indicate the mean landscape store of      ests when viewed on a periodic basis.
            carbon for the two disturbance regimes. When averaged over the 300-year period, the net change            Although old forests have a substantial
            in carbon stores for both disturbance regimes is zero, indicating both systems are balanced with          amount of dead and dying material,
            regard to carbon sequestration at the landscape scale. The difference in the two disturbance regimes      these losses are roughly offset by the
            at the landscape scale is therefore one of stores, not net change. The arrow on A indicates the           production of this material. Ironically,
            potential net change in stores caused by moving from one disturbance regime to another.                   it is the very production of all that dead
                                                                                                                      and dying material that prevents the
            theoretically approaches zero because                         carbon (Bormann and Likens 1979).           older forest ecosystem from being a net
            the rate that new material can be added                       This legacy of carbon begins to decom-      carbon source to the atmosphere.
            is equal to the rate it is lost through                       pose, and in most cases this loss ex-
            mortality and ultimately decomposi-                           ceeds that of the growth of the estab-      Storage with Disturbances
            tion or consumption by fire. This rela-                       lishing vegetation Q9g. 3). Of course,         Given the temporal patterns pre-
            tively straightforward temporal pattern                       in some cases growth can exceed de-         sented in figure 4, we can imagine
            has been documented in much of the                            composition losses even early during        viewing the forest carbon system at
            classic literature on succession (Qlson                       secondary succession, most notably          the scale of one location ( _- stand over
            1958).                                                        old-Held succession. This is because of     a long time period. Over time we
               The temporal pattern for secondary                         the extensive loss of soil and detritus     would see that carbon is removed
            succession is far more complex, in part                       carbon associated with the cultivation      from or added to the atmosphere de-
            because the disturbance that initiates                        of some crops. However, succession          pending on the time since the last dis-
            the succession also leaves carbon be-                         after forest disturbance usually leaves     turbance. It would therefore appear at
            hind in the form of detritus and soil                         enough residual material that a period      the stand scale that when forests are

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            disturbed (and they all eventually are)      the landscape will store less carbon and      level that many seemingly contradic-
            carbon is not stored permanently.            hence add carbon to the atmosphere.           tory behaviors are resolved. Although
            However, viewing at a larger spatial         This is the reason that the conversion        assessments of "leakage" effects will re-
            extent, one in which many age classes        of older forests to younger forests re-       quire one to move beyond the land-
            are present, would reveal that al-           leases carbon to the atmosphere- -in-         scape level to see if changes in one
            though some stands are releasing car-        creasing the frequency of disturbance         landscape have unintended negative
            bon, others are removing it and still        to create a young forest system leads to      consequences on another, an assess-
            others may be in a balance.                  a loss of carbon at the landscape scale.      ment at the landscape level will usually
               To assess the net carbon sequestra-       Third, landscapes may release or re-          reveal whether a policy has the poten-
            tion implications at the landscape           move carbon if the underlying factors         tial to increase or decrease the carbon
            scale, one needs to average the net car-     controlling NPR growth, mortality,            stores of forests.
            bon sequestration of all the stands in       and decomposition change. For exam-
            that landscape. It follows that if all       ple, increasing atmospheric carbon            Literature Cited
            forests in a landscape are eventually        dioxide may increase NPR which will           ALLEN, TEH., and T.B. STARR. 1982. Hierarc/ry: Perspec-
                                                                                                          tives ofecologicizl complexity. Chicago: University of
            disturbed, then all landscapes must          in turn increase the store of live trees,        Chicago Press.
            have areas that are increasing in car-       detritus, soils, and forest products de-      BORMANN, F.H., and G.E. LIKENS. 1979. Fizttern and
            bon stores while others are decreasing.      rived from that landscape.                      process in II forested ecosystem. New York: Springer-
            Furthermore, if the disturbance pro-             Although the balance between the             Verlag.
                                                                                                       COOPER, CF. 1983. Carbon storage in managed forests.
            cess is constant through time, creating      second and third set of processes cur-
                                                                                                          Ciznudiizn journal 0fForest Reseizre/J 13(1 ):155-66.
            a constant age structure, then each          rently is a matter of scientific debate, it   DE\X/AR, R.C. 1991. Analyrical model of carbon storage
            landscape is in balance not only in          is probably safe to conclude that the            in trees, soils and wood products of managed forests.
            terms of age structure but also in           changes in land-use-related disturbance         Tree Physiology 8(3):239-58.
                                                                                                       HARMON, M.E., WK. FERRELL, and ].F. FRANKLIN.
            terms of carbon stores, despite the fact     have dominated until recently and that
                                                                                                         1990. Effects on carbon storage of conversion of
            that individual stands are being dis-        future landscape dynamics will be               old-growrh to young forests. Science 247:699-702.
            turbed. This new landscape-level be-         dominated by a combination of the             OLSON, J.S. 1958. Rates of succession and soil changes
            havior of the system is analogous to         two. It is also probably safe to conclude       on southern Lake Michigan sand dunes. Botiznieizl
                                                                                                         Gazette 119(3):125-70.
            the previous argument about carbon           that the projected increases in NPP as-
                                                                                                              . 1963. Energy storage and the balance of pro-
            sequestration in an individual tree          sociated with increases in carbon diox-         ducers and decomposers in ecological systems. Ecology
            versus a collection of trees.                ide concentrations and increased tem-           44(2):322-31.
               Now let us again revisit the state-       peratures are far too small to com-           O'Ne1LL, RM, D.L. DEANGELIS, D.L. W ADE, and
            ment that young forest systems remove        pletely offset the losses associated with        T.F.H. ALLEN. 1986. A hierarchical concept ofecosys-
                                                                                                          tems. Princeron, NJ: Princeron University Press.
            more carbon than older forest systems.       conversion of older forests to younger        RYAN, M.G., D. B1NKLeY, andJ.H. Fown1~;s. 1997. Age-
            This statement is actually false at the      forests.                                         related decline in forest productivity: Fatterns and
            landscape scale if we are talking about                                                       process.Advances in Ecological Research 27:213-62.
            relatively constant disturbance regimes      Searching for the "Correct" Scale             SCHULZE, E.-D., C. W 1RTH, and M. HE1MANN. 2000.
                                                                                                          Managing forests after Kyoto. Science28922058-2059.
            098. 4) because, given a large enough           Que conclusion from the preceding          SEDJO, R.A., R.N. SAMPSON, and ]. \W1SN1EWSK1. 1997.
            area and enough time, both systems           discussion is that there is no single cor-       Economies ofeizrkon sequestration in forestry. New York:
            will be in balance with the atmosphere.      rect scale to assess the effect of forestry      CRC Fress.
               There are three possible reasons that     practices on carbon sequestration. To
            carbon sequestration as the landscape        judge the effectiveness of practice it is
            scale is not in balance. First, no distur-   best to examine it over a range of
            bance regime is perfectly constant in        scales. The mechanisms explaining a
            terms of frequency and severity For ex-      behavior often lie at a finer level of res-   Mark E. Harmon (mor/e./9¢zrmon@orst.
            ample, in some years more area is dis-       olution, whereas the consequences of a        edu) is Ric/Jizriison Professor in Forest
            turbed than in other years, which            behavior are generally found at a             Science, Department of Forest Science,
            causes the landscape to release carbon       broader level of resolution. Another          Oregon Stizte University Corvallis, OR
            to the atmosphere in some years and          general conclusion is that just because       97331-5752.
            remove it in others. Second, and more        a behavior occurs at a finer scale (i.e.,
            importantly, when there is a shift from      shorter time, smaller space, more fun-
            one disturbance regime to another, the       damental process) does not mean this
            landscape-level stores adjust to a differ-   behavior translates directly into a
            ent balance. If the disturbance regime       broader level of scale. This is because
            becomes less severe or less frequent,        other processes may alter or limit that
            then the landscape will store more car-      behavior. Despite these caveats the
            bon and hence remove carbon from             long-term, landscape scale is a particu-
            the atmosphere. If the disturbance be-       larly useful one to examine forest car-
            comes more severe or the mean interval       bon policy Policies are likely to be car-
            between disturbances decreases, then         ried out at this scale, and it is at this

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                                                               RESEARCH ARTICLE


                                                               Are High-Severity Fires Burning at Much
                                                               Higher Rates Recently than Historically in
                                                               Dry-Forest Landscapes of the Western USA?
                                                               William L. Baker*

                                                               Program in Ecology/Department of Geography, Dept. 3371, 1000 E. University Ave., University of Wyoming,
                                                               Laramie, Wyoming, United States of America

                                                               * bakerwl @uwyo.edu


                                                               Abstract
                                                               Dry forests at low elevations in temperate-zone mountains are commonly hypothesized to
                                                               be at risk of exceptional rates of severe fire from climatic change and land-use effects. Their
                                                               setting is fire-prone, they have been altered by land-uses, and fire severity may be increas-
         OPEN ACCESS
                                                               ing. However, where fires were excluded, increased fire could also be hypothesized as
     Citation: Baker WL (2015) Are High-Severity Fires
                                                               restorative of historical fire. These competing hypotheses are not well tested, as reference
     Burning at Much Higher Rates Recently than
     Historically in Dry-Forest Landscapes of the Western      data prior to widespread land-use expansion were insufficient. Moreover, fire-climate pro-
     USA? PLoS ONE 10(9): e0136147. doi:10.1371/               jections were lacking for these forests. Here, I used new reference data and records of high-
                                                               severity fire from 1984-2012 across all dry forests (25.5 million ha) of the western USA to
     Editor: Christopher Carcaillet, Ecole Pratique des        test these hypotheses. I also approximated projected effects of climatic change on high-
     Hautes Etudes. FRANCE                                     severity fire in dry forests by applying existing projections. This analysis showed the rate of
     Received: January 8, 2015                                 recent high-severity fire in dry forests is within the range of historical rates, or is too low,
     Accepted:July31, 2015                                     overall across dry forests and individually in 42 of 43 analysis regions. Significant upward
                                                               trends were lacking overall from 1984-2012 for area burned and fraction burned at high
     Published: September 9, 2015
                                                               severity. Upward trends in area burned at high severity were found in only 4 of 43 analysis
     Copyright: ©2015 William L. Baker. This is an open
                                                               regions. Projections for A.D. 2046-2065 showed high-severity fire would generally be still
     access article distributed under the terms of the
     Creative Commons Attribution License, which permits       operating at, or have been restored to historical rates, although high projections suggest
     unrestricted use, distribution, and reproduction in any   high-severity fire rotations that are too short could ensue in 6 of 43 regions. Programs to
     medium, provided the original author and source are
                                                               generally reduce fire severity in dry forests are not supported and have significant adverse
                                                               ecological impacts, including reducing habitat for native species dependent on early-suc-
     Data Availability Statement: All data used in the
                                                               cessional burned patches and decreasing landscape heterogeneity that confers resilience
     paper are available from publically accessible
                                                               to climatic change. Some adverse ecological effects of high-severity fires are concerns.
     sources. The Biophysical settings map is from
     Landfire, http:llwww.landfire.gov. The map of Bailey's    Managers and communities can improve our ability to live with high-severity fire in dry
     ecoregions is available from the U.S. Forest Service,     forests.
     http://www.fs.fed.uslrm/ecoregions/products. The fire
     data are available from the Monitoring Trends in Burn
     Severity Program, http:llwvwv.mtbs.gov.

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           PLOS n ONE                                                                                  Recent High-Severity Fire Rates in Dry Forests



                                             Introduction
                                             Wildfires have increased since the 1980s in some parts of the world [1], including parts of the
                                             western USA [2-5], but are recent and projected rates of severe fire, that kill most trees, well
                                             above historical rates and a threat to forest landscapes? Some dry forests of the temperate zone,
                                             which are prone to wildfires, are thought to be experiencing exceptionally high rates or sizes of
                                             severe fire relative to historical fires [6]. Earlier springs, warmer temperatures, decreased pre-
                                             cipitation, and increased drought consistent with global warming, are contributing to increased
                                             fire since the 1980s over substantial area [2, 4]. Increased severe fire in dry forests is also attrib-
                                             uted to past land-uses (e.g., logging, livestock grazing), that led to unnatural fuel buildup [7].
                                             However, analysis of fire responses to warming and drying and land-use legacies across multi-
                                             ple regions shows effects can be heterogeneous and even divergent [8-9].
                                                 Moreover, upward trends alone do not indicate whether recent rates of severe wildfires are
                                             below, near, or above historical rates. The first hypothesis, stated above, is that tire has already
                                             reached unprecedented rates in dry forests. An alternative hypothesis is that fires were reduced
                                             over the last 1-2 centuries by intentional fire suppression and indirect effects of land uses (e.g.,
                                             reduction in fine fuels that facilitate fire spread). Thus, increased fire now could be restorative
                                             of the rate component of the historical fire process, which is commonly considered an essential
                                             part of restoring western dry forests [10]. Managers are allowing more wildfires to burn under
                                             controlled conditions to restore fire across dry-forest landscapes [11]. If wildfire is operating
                                             within, or being restored to its historical range of variability, then many aspects of the ecology
                                             of affected forest landscapes will likely also be functioning as they did historically [12]. How-
                                             ever, there are some ecological responses to high-severity fire (e.g., post-fire tree recruitment)
                                             that could be hampered by increasing drought and rising temperatures [13]. Whether upward-
                                             trending high-severity fire is hypothesized to be restorative of the rate component of the histor-
                                             ical fire process or leading to too much high-severity fire depends on the frame of reference
                                             and how rates compare. Here I use new evidence from dry forests in the western USA to test
                                             these competing hypotheses. I also approximate rates of future severe fire in these dry forests.



                                             Background on the hypotheses and projected future fire
                                             Support for the hypothesis that rates of recent high-severity fire are exceptionally high relative
                                             to historical rates comes in part from recent trends in high-severity fire, traditionally defined as
                                             severe fire that kills 75% or more of the basal area in a forest stand [14]. A statistically signifi-
                                             cant upward trend in area burned at high severity was found over the last few decades in the
                                             southern Rockies, on the Colorado Plateau, and in mountainous parts of central and southern
                                             Arizona and New Mexico, but not in the northern Rockies or Pacific Northwest [3-4] or in
                                             Yosemite National Park in California [15]. Fraction of fire that burned at high severity also
                                             increased significantly in the southern Rockies, but not elsewhere [3]. These studies, however,
                                             were not specific to dry forests.
                                                 In dry forests, a statistically significant upward trend in area burned at high severity was not
                                             found in the Eastern Cascades of Oregon and Washington, but was in the Klamath province
                                             [14]. Upward trends in area burned at high severity and fraction burned at high severity were
                                             initially found for dry forests of the Sierra Nevada, Modoc Plateau, and Southern Cascades [16]
                                             and for fraction burned at high severity in northwestern California [5]. Analysis with a more
                                             complete dataset for the Sierra Nevada found no trend in area burned or fraction burned at
                                             high severity [17]. No significant upward trend was found in fraction burned at high severity in
                                             dry provinces in the Pacific Northwest [14]. However, these studies did not generally aim to
                                             resolve whether trends have led to historically unprecedented high-severity fire.



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                                                       Studies over longer periods appear to support the restorative hypothesis, but do not address
                                                    fire severity, and have incomplete evidence. Area-burned data for the 11 western states qualita-
                                                    tively suggest the 1980s increase could be restorative and a return to the higher rates of burning
                                                    of the 1910s-1930s [18]. Estimates ofpre-1900 area burned, derived using an assumption that
                                                    composite fire intervals from tree-ring fire histories are equal to fire rotation, suggest so much
                                                    historical fire that recent trends would definitely be restorative, as almost an order of magni-
                                                    tude more fire would be needed to match historical area burned [19-20]. However, the
                                                    assumption that composite fire intervals represent fire rotation is not supported [21]. Charcoal
                                                    data over the last 3,000 years suggest fire closely tracked climate until a peak in the middle-
                                                    1800s, when a fire deficit began, which may link to landscape fragmentation and tire suppres-
                                                    sion, but data for the last few decades are unfortunately unresolved in these records [22].
                                                        Reconstructions of historical fire with the needed rate estimates for severe fire are rare. The
                                                    key rate parameter is the fire rotation, the expected time for high-severity fire to burn an area
                                                    equal to a study area of interest [21]. Most early tree-ring studies assumed severe fire was rare
                                                    in dry forests, and did not study it [23]. Some recent tree-ring studies reconstructed fire severity
                                                    and found evidence of historical high-severity fire in dry forests [24], but did not estimate fire
                                                    rotations. Historical high-severity fire is also documented in dry forests by early maps, photo-
                                                    graphs, and records [25], but these, too, have not been used to estimate fire rotations. Data
                                                    from early aerial-photographic research [26] have been used [27]. Recently, we used new meth-
                                                    ods, based on survey data from the U.S. General Land Office (GLO), to reconstruct historical
                                                    fire severity and fire rotation in dry forests across large land areas [28]. These data sources [28-
                                                    30] show high-severity fire occurred historically in all studied dry-forest landscapes, and rates
                                                    of high-severity fire were modest to low, with fire rotations of centuries (Table 1). These rates
                                                    for high-severity fire are corroborated by sedimentary charcoal records [31-38], which

     Table 1. Reconstructions of fire rotation (FR) for high-severity fire in historical dry forests of the western USA, with corroborating evidence from
     sedimentary charcoal studies.

     Author(s)                           Location                                    Me\h0d1                  High-severity FR (years) and severe fire-episode
                                                                                                              intervals2

     DRY PINE FORESTS
     Baker [29]                          E. Cascades, E Oregon                       GLO tree data            705
     DRY MIXED-CONIFER FORESTS
     Baker [30]                          W. Sierra Nevada Mts., W California         GLO tree data and line   281-354
                                                                                     data
     Long et al. [31]                    E. Cascades, E Oregon                       Charcoal in sediment     3332
                                                                                     deposits
     Odion et al. [27]                   N. Sierra Nevada Mts., W California         Early historical         488
     Baker [29]                          E. Cascades, E Oregon                       GLO tree data            496
     Fitch [32]                          Jemez Mts., N New Mexico                    Charcoal in sediment     500? (400-667)2'4
                                                                                     deposits
     COMBINED DRY PINE AND MIXED-CONIFER FOFKESTS
     Pierce and Meyer, [33] and Pierce   Central Idaho                               Charcoal in sediment     (154-286)2'5
     etal., [34]                                                                     deposits
      Williams and Baker, [28]           Black Mesa, N Arizona                       GLO tree data            217
     Jenkins et al., [35]                Mogollon Plateau, N Arizona                 Charcoal in sediment     250 (200-400)2
                                                                                     deposits
      Williams and Baker, [28]           Front Range, E Colorado                     GLO tree data            271
     Odion et al., [27]                  E Cascades, E Washington                    Aerial photos            379--505
     Baker, [29]                         E Cascades, E Oregon                        GLO tree data            435
     Bigio, [36]                         San Juan Mts., SW Colorado                  Charcoal in sediment     > 471 (> 667)2~6
                                                                                     deposits
                                                                                                                                                  (Continued)




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     Table 1. (Continued)

     Author(s)                               Location                                    Method1                     High-severity FR (years) and severe fire-
                                                                                                                     episode intervals2
     Colombaroli and Gavin, [37]             Siskiyou Mts, SW Oregon                      Charcoal in sediment       500 (142>2
                                                                                          deposits
     Frechette and Meyer, [38]               Sacramento Mts., SE New Mexico               Charcoal in sediment       500 (667)2,7
                                                                                          deposits
     Williams and Baker, [28]                Mogollon Plateau and Black Mesa, N           GLO tree data             522
                                             Arizona combined
      Williams and Baker, [28]               Mogollon Plateau, N Arizona                  GLO tree data             828
      Williams and Baker, [28]               Blue Mts., NE Oregon                         GLO tree data             849

     Studies are arranged by length of the fire rotation. Estimates from GLO data, FIA data, and early aerial photographs are shown in bold italics to
     emphasize their higher precision, while corroborative, less certain estimates from charcoal records are shown in regular type. The range of estimates in
     bold is used as the reference in this study.
     1 Methods for reconstruction included using charcoal data from sediment, using early aerial photographs or historical records, using the GLO tree data and
     a calibrated model [28]. I did not use the GLO line data's direct records of entry and exit in burned areas, as these records represent moderate- to high-
     severity fires, not exclusively high-severity fires [40].
     2 These are intervals between severe fire episodes evident in alluvial deposits, that could approximate high-severity fire rotations, but are uncertain since
     area burned is not known and fire severity is more approximately reconstructed than with other methods. I considered data for the last 500 years from
     each paleo-environmental study, but also included in parentheses the interval between episodes in the last 2000 years, where this is available.
     3 These authors indicate that it is difficult to determine fire severity from their methods, and only identify the recent fire frequency as 3 per 1000 years, but
     they indicate that the documented fire episodes were followed by up to 100 years of recovery, which does suggest severe fires, although this is my
     interpretation.
     4 Fitch [32] suggested that low-severity fire dominated from 870 cal yr BP, but explains the possibility, but uncertainty, of a severe fire around 400 cal yr
     BP (p, 40), thus I include this single event, with a question mark, for the 500-year estimate. More certain is evidence of 3-5 severe fires in the last 2000
     years (p, 42), but those all preceded 870 cal yr BP.
     5 These authors were not focused on counting the number of fire-episodes over the last 2000 years, thus I roughly estimated this from Fig 5B in Pierce
     and Meyer [33] as between 7-13, as there are 7 broad peaks in this figure, but they also report 9 major debris flows between about 950 and 1150 AD,
     thus the total could reach as many as 13. No severe fires occurred in the last 500 years.
     6 This author provided data on the number of watersheds, out of six sampled, that burned in high-severity events [36]. I used these data to approximate a
     high-severity fire rotation using the standard formula: period of observation /fraction of area burned. Thus, for the last 550 years, a total of 7 watersheds
     burned, thus the fire rotation is 550 / (7/6) = 471 years. And for the last 2000 years, a total of 18 watersheds burned, thus a fire rotation of 667 years.
     However, Bigio indicates that sample locations may be high in a watershed, thus it is not known that the whole watershed burned. This leaves these
     estimates as minima, which I have indicated by using ">" before the estimate.
     7 These authors identify periods of severe-fire activity after c. 1800 cal, yr BP, a peak in 800-500 cal yr BP, and at least one large, severe fire in the last
     400 years, thus perhaps 3 episodes in the last 2000 years and one in the last 500 years. However, this is my approximation from their data, as they do not
     report recurrence intervals for severe fire.

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                                                        document episodes of high-severity fire at similar rates (Table 1). The charcoal data are from
                                                        debris-flow sediments mobilized after heavy precipitation on severe burns.
                                                            These sources show evidence of historical high-severity fire across a wide spectrum ofbio-
                                                        physical settings in dry-forest landscapes, but high-severity fire may have been favored in
                                                        particular settings, allowing for at least temporary persistence of some dry forests with only
                                                        low-moderate severity fire [e.g., 28]. Recent high-severity fire in the western USA, not spe-
                                                        cific to dry forests, often shows preference for higher elevations, steeper topography, and
                                                        northerly-facing aspects [39]. Similar topographic effects occurred historically in dry forests,
                                                        but with only modest influence, as higher-severity fires (rnixed- and high-severity fire)
                                                        spanned diverse biophysical settings across 624,000 ha of historical dry forests in the




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                                             Colorado Front Range [40]. Similarly, extensive reconstructions (303,000 ha) of historical
                                             dry forests in the Pacific Northwest suggest open, old-growth forests with low- to moderate-
                                             severity fire were favored at lower elevations, on shallower slopes, and on more southerly-
                                             facing aspects, but even in these settings "were perhaps ephemeral in nature, lasting one or
                                             more centuries at a location, and then switching concordant with regional climate forcing to
                                             non-equilibrium states" [26]. Further research is needed about spatial variation in high-
                                             severity fire in historical dry forests.
                                                Area burned by wildfire is expected to increase with global warming, adding to unprece-
                                             dented rates of severe fire, or, alternatively, enhancing restoration of the historical fire pro-
                                             cess. Global projections showed annual area burned at any severity may reach about 2.8
                                             times current area burned in some regions by A.D. 2100, depending on emissions scenario,
                                             but large areas of fire declines may also occur [8]. In the western United States, McKenzie
                                             et al. [41] projected, using one climate model, that by A.D. 2100, ratios of future to recent
                                             area burned could range from < 1.0 in California and Nevada up to about 1.4-2.5 in Arizona,
                                             Colorado, Idaho, Montana, and Oregon, about 3 in Washington and Wyoming, and near 5
                                             in New Mexico and Utah. The most recent projections for the western United States used a
                                             large ensemble of climate models and a moderate emissions scenario to project fire in A.D.
                                             2046-2065 [42]. They projected ratios of future-to-recent area burned of 1.63-2.24 in the
                                             Southwest, 1.71-2.69 in Rocky Mountain Forests, 1.62-2.00 in the Eastern Rocky Moun-
                                             tains/Great Plains, 1.56 times in the Nevada Mountains/Semi-desert, and 1.24 times in a Cal-
                                             ifornia Coastal Shrub aggregated ecoregion [42]. Models did not agree well for the Pacific
                                             Northwest, but ratios were 1.42-2.54. Ranges represent outcomes from two modeling
                                             approaches.


                                             Methods
                                             Dry forests
                                             Dry forests are the primary mid-elevation forests of the western USA that include dry pine for-
                                             ests and dry mixed-conifer forests. These are roughly sequentially arrayed along an elevation
                                             and moisture gradient extending from just above semi-arid woodlands (e.g., piNion-juniper) to
                                             just below moist mixed-conifer forests that typically occur near the ecotone with subalpine for-
                                             ests [43]. To define the geographical location and extent of historical dry forests, I used Bio-
                                             physical Settings (BpS) maps from Landfire [44], a government program to map vegetation,
                                             fuels, and related data about fire across the United States [45]. The BpS maps have 30-m resolu-
                                             tion pixels from Landsat satellite data, and use biophysical variables to predict vegetation,
                                             defined by NatureServe Ecological Systems [46] before widespread expansion of EuroAmerican
                                             land uses. BpS maps may avoid the problem of a phantom trend in fire from using maps ofveg-
                                             etation after the beginning of a trend analysis period [17]. This is a concern I will revisit in the
                                             discussion. However, the BpS maps have accuracy, as do other Landsat-derived maps, of only
                                             about 64-67% for Ecological Systems in forests [47]. A test in Utah found generally lower, but
                                             some higher accuracies [48].
                                                I thus used only two categories, not detailed Ecological Systems, for analysis: dry pine forests
                                             and dry mixed-conifer forests (Table 2). Dry pine forests cover 12.6 million ha (Fig l, Table 3)
                                             and include nine Ecological Systems (Table 2). Although Pious ponderosa often dominates, dry
                                             pine forests also include Pious jejIZreyi forests, which in places intermix with, and are similar to
                                             P. ponderosa forests, and Madrean pine-oak forests with a diversity of pines. Dry mixed-conifer
                                             forests cover 12.9 million ha (Fig 2, Table 4) and include eight Ecological Systems (Table 2).
                                             They have the pines with associated firs (Ables, Pseudotsuga). I omitted minor types that did
                                             not fit these categories. Total analysis area is about 25.5 million ha.



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                                             Table 2. Two categories of vegetation used in the analysis and their constituent Landfire biophysical
                                             settings and Ecological Systems.

                                             Landfire Biophysical               Ecological System
                                             Code
                                             Dry Pine Forests
                                             10310                              California Montane Jeffrey Pine-(Ponderosa Pine) Woodland
                                             10600                              East Cascades Oak-Ponderosa Pine Forest and Woodland
                                             10240                              Madrean Lower Montane Pine-Oak Forest and Woodland
                                             10300                              Mediterranean California Lower Montane Black Oak-Conifer Forest &
                                                                                Woodland
                                             11650                              Northern Rocky Mountain Foothill Conifer Wooded Steppe
                                             10530-10532                        Northern Rocky Mountain Ponderosa Pine Woodland and Savanna
                                             10790-10792                        Northwestern Great Plains-Black Hills Ponderosa Pine Woodland and
                                                                                Savanna
                                             11170-11172                       Southern Rocky Mountain Ponderosa Pine Savanna
                                             10540-10542                       Southern Rocky Mountain Ponderosa Pine Woodland
                                             Dry Mixed-Conifer Forests
                                             10210                             Klamath-Siskiyou Lower Montane Serpentine Mixed Conifer Woodland
                                             10260                             Madrean Upper Montane Conifer-Oak Forest and Woodland
                                             10270                              Mediterranean California Dry-Mesic Mixed Conifer Forest and Woodland
                                             10450                              Northern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest
                                             10451                              Northern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest-
                                                                                Ponderosa
                                             10452                              Northern Rocky Mountain Diy-Mesic Montane Mixed Conifer Forest-Larch
                                             10453                              Northern Rocky Mountain Dry-Mesic Montane Mixed Conifer Forest-Grand fir
                                             10510                             Southern Rocky Mountain Diy-Mesic Montane Mixed Conifer Forest &
                                                                               Woodland
                                             doi:10.1371/journaI.pone.0136147.t002



                                             Analysis regions and data on high-severity fire
                                             I modified Bailey's Ecoregions [49-50] to analyze geographical variation across dry forests. I
                                             clipped the Ecoregion map to the eleven western states, plus the Black Hills, which together
                                             contained 20 provinces and 80 sections. Provinces are based on vegetation types and finer sec-
                                             tions are based on terrain [49]. I combined adjacent sections, with similar physiographic set-
                                             ting, to create "analysis regions" that are generally each > 250,000 ha (Figs I and 2), so they
                                             would be several times larger than expected maximum fire sizes. I could not always achieve
                                             this, as a similar adjoining section was not always available. I did this separately for dry pine
                                             forests and dry mixed-conifer forests, as their contiguous areas > 250,000 ha were not
                                             congruent.
                                                Area-burned data are from the Monitoring Trends in Burn Severity (MTBS) program [51],
                                             a government program that compares Landsat satellite data before and after fires, supple-
                                             mented by plot data, to classify and map burn severity [52]. Although fire severity may be spe-
                                             cies-dependent [21], MTBS uses a standard protocol, based on pre-fire and post-tire satellite
                                             data and both the differenced normalized burn ratio (dNBR) and a relativized version of this
                                             ratio (RdNBR), to define fire-severity classes in relation to canopy tree mortality [52]. Burn
                                             severity is mapped as background data (not part of the fire), non-mappable areas (e.g., due to
                                             clouds), increased vegetation response or greenness not likely to indicate fire, plus four burn-
                                             severity classes: 1 = unburned to low severity, 2 = low severity, 3 = moderate severity, 4 = high
                                             severity. Here, I focused on class 4, but used classes 1-3 to analyze fraction of high-severity tire.
                                             I used MTBS data for actual area burned, not just burn perimeters, as perimeters contain




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                                                                                       Legend
                                                                                       I              | Analysis Regions
                                                                                                       Dry Pine Forests




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      Fig 1. Dry pine analysis regions and dry pine forest area.
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     Table 3. Dry pine forests, high-severity fire rotations (FR), trends, and differences between recent or projected high-severity fire rotation and the
     range of historical high-severity fire rotations.

                                                                      Trend in area          Trend in      Recent          Low Projection          High Projection
                                                                         burned              fraction      (1984-2012)     (2046-2065)             (2046-2065)
                                                                                             burned

      Analysis       Dry pine         High-         High-         z         pi           z        p1       Difference      Fire3   Difference      Fire3   Difference
      region         area (ha)        severity      severity                                               & Trend2                & Trend                 & Trend
                                      area (ha)     FR (years)
      1              299,559           9,166        948            1.804    0.1509       0.254    0.5177 Too long-N        1.71    In range-N      2.69    In range-N
      2              428,511           11,618       1 ,070         2.010    0.1112       1.585    0.1791 Too long-N        1.56    In range-N
      3              414,399           3,838        3,131          1.145    0.2520       -0.338   0.5077 Too long-N        1.56    Too long-N
      4              774,589           12,328       1 ,822         0.282    0.5109       -0.830   0.8350 Too long-N        1.71    Too long-N      2.69    In range-N
      5              986,479           16,779       1 ,705         2.013    0.1116       0.772    0.4005 Too long-N        1.42    Too long-N      2.54    In range-N
      6              446,322          6,591         1 ,964         2.123    0.1069       -0.117   0.6322   Too long-N      1.63    Too long-N      2.24    Too long-N
      7              465,262           25,365       532            1.182    0.2520       1.626    0.1760   In range-N      1.71    In range-N      2.69    Too short-N
      8              355,088           4,494        2,292          0.528    0.4537       0.654    0.4240 Too long-n        1.42    Too long-N      2.54    Too long-N
      9              418,756           6,655        1 ,825         1.747    0.1600       0.677    0.4240 Too long-N        1.42    Too long-N      2.54    In range-N
      10             968,322           59,773       470            0.807    0.3932       0.094    0.5833 In range-N        1.42    In range-N      2.54    Too short-N
                                                                                     l
      11             463,235           9,834        1 ,366         2.594    0.0550       1.667    0.1690 Too long-N        1.71    In range-N      2.69    In range-N
                                                                                     l
      12             392,914           23,394       487            2.687    0.0503       0.021    0.5931 In range-N        1.63    In range-N      2.24    In range-N
      13             208,323           10,965       551            0.676    0.7962       -1.042   0.8810 In range-N        1.56    In range-N
      14             749,365           36,485       596            2.987    0.0411 *     1.981    0.11 16 In range-Y       1.62    In range-Y      2.00    In range-Y
     15              95,560           0                                                                   Too long-N
     16              451 ,768          7,216        1,816          2.332    0.0800       0.542    0.4537 Too long-N        1.71    Too long-N      2.69    In range-N
     17              349,208           3,405        2,974          1.163    0.2520       -0.417   0.7469 Too long-N        1.42    Too long-N      2.54    Too long-N
     18              223,819           4,519        1,436          3.300    0.0220 *     0.762    0.4005 Too long-Y        1.63    Too long-y      2.24    In range-y
     19              330,118           4,299        2,227          1 .523   0.1817       -0.677   0.7962 Too long-N        1.56    Too long-N
     20              460,167           9,440        1,414          2.425    0.0704       1.420    0.2133 Too long-N        1.62    Too long-N      2.00    In range-N
     21              1 ,101 ,877       2,124        15,043         1 .424   0.2118       -0.613   0.7962 Too long-N        1.63    Too long-N      2.24    Too long-N
     22              469,395          6,021         2,261          1 .321 0.2269         1 .336   0,2269 Too long-N        1.62    Too long-N      2.00    Too long-N
     23              1,855,620         78,455       686           3.264     0.0220 *     1 .294   0.2269 In range-Y        1.63    In range-Y      2.24    In range-Y
                                                                                     l
     TOtal4          12,603,579 _349,959          _1 ,045         2.682     0.0503       0.319    0.5077 Toolong-N___ 1.595        In range-N _ 2 .4 1 4   In range-N

     Analysis regions are in Fig 1. All burn areas are corrected for missing small fires by dividing initial estimates by 0.95.
                                                                                                                           l
     1 Trends significant at a < 0.05 are starred (*), trends that are close to significant (p < 0.06) have a dark square ( ). The p-values are from the Mann-
     Kendall trend test after the Benjamin-Hochberg correction for n = 88 trend tests.
      2 Differences between recent or projected high-severity fire rotations and the range of historical high-severity fire rotations are categorized as: (1) In range,
      if recent or projected high-severity fire rotation was within the range of available historical estimates, (2) too short, if recent or projected high-severity fire
      rotation was outside and shorter than the range of historical estimates, and (3) too long, if recent or projected high-severity fire rotation was outside and
      longer than the range of historical estimates. "Y" indicates there was a significant upward trend in area burned at high severity, and "N" indicates there
      was not.
      3 The ratio of future area burned to recent area burned from the low and high projections by Yue et al. [42]
      4 The total excludes 105,077 ha of dry pine forests not in the 23 analysis regions and not included in the analysis
      5 This is the mean across the regions for which there is a projection

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                                                          substantial unburned area [53]. I used MTBS national "burn-severity mosaics," which are just
                                                          maps of all fires in a particular year (30 m resolution), as it was infeasible to process data for
                                                          individual fires across 25.5 million ha. The dataset is defined by the April 16, 2014 MTBS data
                                                          release, which provides full coverage of the 29 years from 1984-2012. Fires are nearly all




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                                                                                             Legend
                                                                                            1-1Analysis Regions
                                                                                                    Dry Mixed-Conifer Forests




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      Fig 2. Dry mixed-conifer analysis regions and dry mixed-conifer forest area.

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      Table 4. Dry mixed-conifer forests, high-severity fire rotations (FR), trends, and differences between recent or projected high-severity fire rotation
      and the range of historical high-severity fire rotations.

                                                                     Trend in area           Trend in      Recent       Low Projection      High Projection
                                                                        burned               fraction      (1984-       (2046-2065)         (2046-2065)
                                                                                             burned        2012)

      Analysis     Dry mixed          High-          High-          z       p1           z        p1
                                                                                                           Threat &     Fire3   Threat &    Firm3     Threat &
      region       conifer area       severity       severity FR                                           Trend2               Trend                 Trend
                   (ha)               area (ha)      (yrs)
      1             389,489           11,287         1 ,001         2.087   0.1112       -0.665   0.7962   Too long-N   1.71    In range-   2.69      In range-
                                                                                                                                N                     N
     2              341 ,577          9,593          1 ,033         0.324   0.5077       0.025    0.5931   Too long-N   1.62    In range-   2.00      In range-
                                                                                                                                N                     N
      3             1 ,258,666        7,130          5,119          2.002   0.1112       -0.050   0.6184   Too long-N   1.71    Too long-   2.69      Too long-
                                                                                                                                N                     N
      4            423,653            23,451         524            1.580   0.1791       -1.136   0.8891   Inrange-N    1.71    In range-   2.69      Too
                                                                                                                                N                     short-N
      5             1,510,344         31,397         1 ,395         0.302   0.5093       -1.169   0.8891   Toolong-N    1.71    In range-   2.69      In range-
                                                                                                                                N                     N
                                                                                     l
      6             374,905           9,802          1,109          2.664   0.0503       0.415    0.4890   Too long-N   1.56    In range-
                                                                                                                                N
      7            298,545            40,867         212            1.144   0.2520       1 .369   0.2200   Too short-   1 .24   Too
                                                                                                           N                    short-N
      8            478,717            8,334          1 ,666         0.667   0.4240       0.688    0.4240   Too long-N   1.56    Too long-
                                                                                                                                N
      9            799,591            49,730         467            2.201   0.0948       -0.257   0.6869   In range-N   1.42    In range-   2.54      Too
                                                                                                                                N                     short-n
      10            845,686           11,313         2,168          0.446   0.4811       -0.109   0.6322   Too long-N   1.71    Too long-   2.69      In range-
                                                                                                                                N                     N
      11           430,935            6,246          2,001          0.638   0.4240       -0.573   0.7962   Too long-N   1.56    Too long-
                                                                                                                                N
      12            909,493           70,987         372            0.844   0.3807       1 .205   0.2508   In range-N   1.71    In range-   2.56      Too
                                                                                                                                N                     short-N
      13           1,204,586          48,025         727            1.678   0.1690       0.374    0.5025   In range-N   1 .42   In range-   2.54      In range-
                                                                                                                                N                     N
      14            373,118           22,132         489            2.210   0.0948       0.090    0.5833   In range-N   1.71    In range-   2.69      Too
                                                                                                                                N                     short-N
      15           419,845            17,881         681            0.629   0.4240       1 .552   0.1817   In range-N   1.42    In range-   2.54      In range-
                                                                                                                                N                     N
      16           1,356,500          4,974          7,909          0.191 0.5931         -1.713   0.9570   Toolong-N    1.71    Too long-   2.69      Too long-
                                                                                                                                N                     N
      17           420,709            14,228         858            1.276   0.2302       0.600    0.4306   Too long-N   1.42    In range-   2.54      In range-
                                                                                                                                N                     N
      18            509,264           15,943         926            2.878   0.0440*      1.006    0.3070   Too long-y   1.71    In range-   2.69      In range-
                                                                                                                                Y                     Y
      19           270,897            9,328          842            1.538   0.1817       1 .664   0.1690   In range-N   1 .42   In range-   2.54      In range-
                                                                                                                                N                     N
      20           302,471            14,823         592            2.515   0.0587       1.304    0.2269   In range-N   1 .63   In range-   2.24      In range-
                                                                                                                                N                     N
                                                                                                                                                    (Continued )




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     Table 4. (Continued)

                                                                          Trend in area           Trend in       Recent         Low Projection        High Projection
                                                                             burned               fraction       (1984-         (2046-2065)           (2046-2065)
                                                                                                  burned         2012)

     Analysis        Dry mixed               High-        High-          z        p1          z        P1
                                                                                                                 Threat &       Fire3    Threat &     Fire3   Threat &
     region          conifer area            severity     severity FR                                            Trend2                  Trend                Trend
                     (ha)                    area (ha)    (yrs)
     Total4          12,918,991              427,471      875            1 .895   0.1276      0.506    0.4564    In range-N     1.585    In range-    2.565   In range-
                                                                                                                                         N                    N

     Analysis regions are in Fig 2. All burn areas are corrected for missing small fires by dividing initial estimates by 0.95.
     1 Trends significant at of < 0.05 are starred (*), trends that are close to significant (p < 0.06) have a dark square ')
                                                                                                                           ( . The p-values are from the Mann-
     Kendall trend test after the Benjamin-Hochberg correction for n = 88 trend tests.
     2 Differences between recent or projected high-severity fire rotation and the range of historical high-severity fire rotations are categorized as: (1) In range,
     if recent or projected high-severity fire rotation was within the range of available historical estimates, (2) Too short, if recent or projected high-severity fire
     rotation was outside and shorter than the range of historical estimates, and (3) Too long, if recent or projected high-severity fire rotation was outside and
     longer than the range of historical estimates. "Y" indicates there was a significant upward trend in area burned at high severity, and "N" indicates there
     was not.
     3 The ratio of future area burned to recent area burned from the low and high projections by Yue et al. [42]
     4 The total excludes 68,530 ha of dry mixed-conifer forests not in the 20 analysis regions and not included in the analysis
     5 This is the mean across the regions for which there is a projection

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                                                         wildfires, only about 2% prescribed fires, few of which likely burned at high severity. MTBS
                                                         data cover fires greater than about 405 ha, which MTBS suggests account for about 95% of
                                                         total burned area [51]. I divided initial area-burned totals by 0.95 to roughly correct for missing
                                                         fires < 405 ha in area.
                                                             I completed GIS analyses in ArcGIS 10.2, where I projected all maps to NAD 1983, Albers
                                                         Conic Equal Area Projection, if they did not have this projection, and to rasters with 30-m res-
                                                         olution pixels. I first intersected the map of the two categories of forests with the map of analy-
                                                         sis regions. Then, I calculated the area of each analysis region in each category. Next, I used the
                                                         area of each category in each region individually as a "mask," which restricts all analysis and
                                                         area reporting to the mask area. Finally, I extracted each year's MTBS map of area burned
                                                         within that category, and reported area burned at high severity.



                                                         Statistical analysis
                                                         I used the Mann-Kendall non-parametric statistic, widely used to analyze trend in non-normal
                                                         time-series data [54], to test the null hypothesis of no upward trend (a one-tailed test) in area
                                                         burned at high severity and fraction of total area burned that burned at high severity in each
                                                         analysis region, based on a = 0.05. However, there are 88 trend tests, and the probability of
                                                         finding at least one to be significant by chance is high, thus the tests must be corrected to avoid
                                                         false positives from multiple tests. The false positive is that a trend is found that did not exist,
                                                         and the false negative is that a trend is not found that did exist. Bonferroni correction reduces
                                                         false positives, but increases false negatives, thus I used Benjamin-Hochberg correction, with
                                                         the p.adjust program in R, to control false positives for the 88 trend tests and also control false
                                                         negatives [55]. Unlike Bonferroni correction, which adjusts alpha, this method corrects the p-
                                                         value for the chosen alpha. Prior to completing the trend analyses I tested the null hypothesis
                                                         of no temporal autocorrelation (of = 0.05), for up to 7-year lags, in the 29-year time series for



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                                             each of the 88 cases using Minitab 16.0. None of the series had significant autocorrelation after
                                             Benjarnini-Hochberg correction of p-values from the Ljung-Box Q test statistic.
                                                I did two other tests to gain further understanding of fraction burned at high severity. First,
                                             I compared, using two one-sample t-tests, recent mean fraction of high-severity fire to mean
                                             fractions of high severity from GLO and early aerial-photo reconstructions (Table 1), which
                                             showed the percentage of each historical landscape with evidence of low-, mixed- and high-
                                             severity fire evident in the late-1800s from fires that burned in the preceding 100-140 years
                                             [28]. These tested whether the recent fraction of high-severity fire was historically unprece-
                                             dented, was near, or was deficient relative to historical fractions. For dry pine, there is one esti-
                                             mate each from eastern Oregon [29], the Mogollon Plateau [28] and the Coconino Plateau
                                             [56], which are mostly dry pine. For dry mixed conifer, there is one from eastern Oregon [29],
                                             two from the western Sierra Nevada [30], three from Colorado, Arizona, and Oregon [28], and
                                             one from eastern Washington [26]. These have some limited dry pine. I also compared, using a
                                             two-sample t-test, recent mean fractions of total area burned that burned at high severity,
                                             across the 29-year period, between dry pine and dry mixed-conifer forests. This clarified
                                             whether more high-severity tire was occurring recently in dry mixed-conifer than dry pine
                                             forests.


                                             Comparing fire rotations in recent and historical periods
                                             To calculate recent high-severity fire rotation for each analysis region, I summed area burned
                                             at high severity across the 29 years for each forest type in each region. I used the formula for
                                             fire rotation [21]: Period of analysis / fraction of analysis region burned. Fraction of area
                                             burned is area burned (ha) at high severity in the category and region over the 29-year period /
                                             total area in the category in the analysis region (Tables 3 and 4).
                                                 To evaluate recent rates of high-severity fire relative to historical rates, I compared recent
                                             high-severity fire rotations to historical rotations. I compiled reconstructions of historical
                                             high-severity fire rotations in dry forests in the study area (Table 1). These provided insuffi-
                                             cient data for region-by-region comparison across the study area. Thus, as a first approxima-
                                             tion, I used the range of available estimates from GLO data, FIA data, and aerial photographs,
                                             which is 217-849 years (Table 1), as the standard to compare with recent rates in each region.
                                             Estimates from charcoal in sediments are provided only as corroborative evidence for historical
                                             rates (Table 1). Charcoal study sites may not be random samples, but likely were selected with-
                                             out bias.
                                                 I did not include studies of tire severity from early timber inventories [57-62] in Table I,
                                             because these inventories have too many limitations. First, timber inventories were done in
                                             areas unrepresentative of larger landscapes [58], primarily where timber sales were likely [63]
                                             and inventory tree data are unrepresentative even within these inventory areas. This is because
                                             tree data were usually only recorded for merchantable forests that typically had large trees at
                                             low density associated with low-severity fires; data were often not recorded for younger, denser
                                             forests or recovering burned areas within an overall inventory area [62, 63]. For example,
                                             about 70% of one inventory area had no recorded tree data [58]. Recent authors [57-61] did
                                             not adjust estimates for these unsampled areas, although adjustments were standard inventory
                                             protocol before 1917 [63]. These published data [57-61] thus do not provide valid statistical
                                             samples of even the overall inventory area, much less the larger surrounding landscape. Second,
                                             inventories typically included written records of fire severity for the section within which
                                             inventory transects occurred [62], including reports of severe fires, but these key records were
                                             not used in past studies [57-61]. When these fire-severity records were found and included in
                                             a new study, abundant high-severity fire was found, with estimated high-severity fire rotations



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                                             congruent with earlier GLO reconstructions over larger areas [62]. Finally, by 1910, understory
                                             fuels and small trees had been reduced by livestock grazing, early miners and herders had set
                                             fires, and logging and other human disturbances had altered forests [64]. Thus, data from early
                                             timber inventories [57-61] are not valid samples of historical forests and studies that omit or
                                             lack records of high-severity fire [57-61] do not provide valid estimates of rates and patterns of
                                             high-severity fire.
                                                 GLO-based reconstructions of fire severity, the main historical source of rates of high-sever-
                                             ity fire (Table 1), have been calibrated, validated, and corroborated [27-29, 40, 56, 65], but
                                             some critiques missed this testing. Full et al. [66] suggested structure-based models we used to
                                             reconstruct tire severity were not validated or corroborated. However, they missed our meth-
                                             ods section that explains how we calibrated and validated our models with tree-ring recon-
                                             structions [28] and they missed a summary of evidence corroborating our findings with
                                             independent reconstructions and multiple lines of evidence [28, 65]. We added further corrob-
                                             oration of our reconstructions in our reply [65], subsequent studies [29-30, 40, 56], and here
                                             (Table 1). Another example of missing our testing is from Maxwell et al. [67] and Collins et al.
                                             [58], who said our fire-severity reconstructions used data from bearing trees selected by survey-
                                             ors in a biased manner. Neither set of authors cited our study of surveyor bias and error, done
                                             specifically in the dry forests where our GLO reconstructions were done, in which we found
                                             low levels of bias and error [68]. Finally, several recent studies, using the early timber invento-
                                             ries, discussed above, in areas partially overlapping or near our GLO-reconstruction areas,
                                             found low tree densities and little or no high-severity fire, and suggested this shows that our
                                             GLO reconstructions were in error [57-61]. However, as discussed above, it is timber-inven-
                                             tory studies that omitted fire-severity records [57-61], and that were not validated or corrobo-
                                             rated, that likely are in error.
                                                 Using the best available data on historical rates of high-severity fire, which included esti-
                                             mates from GLO reconstructions, analysis of early aerial photography, and FIA data (Table 1),
                                             I classified recent high-severity fire rotations, relative to the range of historical fire rotations,
                                             which is 217-849 years (Table 1). The classes are: (1) within range, if the recent high-severity
                                             fire rotation was within the historical range, (2) too short, if the recent high-severity fire rota-
                                             tion was outside and shorter than the historical range, and (3) too long, if the recent high-
                                             severity fire rotation was outside and longer than the historical range.
                                                 To evaluate future projected increases in high-severity fire, I compared projected high-
                                             severity fire rotations to the historical high-severity fire rotations estimated by GLO, aerial
                                             photo, and FIA data, and classified the outcomes as above (e.g., too long). To estimate future
                                             high-severity tire rotations, I separately applied both the low and high regional projections of
                                             Yue et al. [42] reported in the introduction. I used the Yue et al. projections, as others do not
                                             report expected changes in area burned or do not provide detail for the western United States
                                             (e.g., [69-71]). To use Yue et al. by region, I divided recent high-severity fire rotations by the
                                             projected ratio of future area burned to recent area burned at any severity after cross-walldng
                                             ecoregions in Yue et al. with my analysis regions. I show later there was no statistically signifi-
                                             cant upward trend in fraction of fire that burned at high severity recently, thus I assumed
                                             future fire will not have an increased fraction of high-severity fire.


                                              Results
                                              Recent versus historical fire rotations
                                              High-severity fire rotations from 1984-2012 were within the historical range or were too long,
                                              relative to historical high-severity fire rotations, overall across the western USA in both dry
                                              pine and mixed-conifer forests and individually in 41 of 42 analysis regions (Fig 3, Tables 3



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                                                                  Difference and Trend                                                                Difference and Trend
     (a) Recent (1984-2012)                                                                (b) Recent (1984-2012)
     Dry Pine Forests                                                                      Dry Mixed-Conifer Forests
                                                                       | In range, trend                                                                  | In range, trend




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     Fig 3. Differences between recent (A.D. 1984-2012) high-severity fire rotation and historical range of high-severity fire rotations, recent trends,
     and recent fire rotations for high-severity fire in (a) dry pine forests and (b) dry mixed-conifer forests by analysis region. High-severity fire rotation
     (years), from Tables 3 and 4, is printed over each region, and represents the expected time to burn, at high severity, an area equal to the region. Colors
     correspond with data in Table 3 for dry pine and Table 4 for dry mixed conifer forests. Differences are: (1) "In range," if recent high-severity fire rotation was
     within the range of historical estimates, (2) "Too short," if outside and shorter than historical estimates, and (3) "Too long," if outside and longer than historical
     estimates. "Trend" indicates that a statistically significant upward trend in area burned at high severity was found in a region, and "No trend" indicates one
     was not found, with data shown in Tables 3 and 4. Regions that lacked a statistically significant upward trend in area burned at high severity (Tables 3, 4)
     have lighter shading. Several Bailey sections were merged or split to create the analysis regions.
     doi:10.1371ljoumal.pone.0136147.g003


                                                       and 4). Fire rotation was not calculated in Region 15 in dry pine, as no high-severity fire
                                                       occurred (Table 3). Overall, recent high-severity fire rotations of 1,045 years in dry pine and
                                                       875 years in dry mixed-conifer forests were a little too long, relative to the range of historical
                                                       fire rotations of 217-849 years, meaning too little recent high-severity fire relative to historical
                                                       high-severity fire (Tables 1, 3 and 4). In dry pine forests, recent high-severity fire rotations
                                                       were within the range of historical fire rotations in 6 of 22 regions and were too long, meaning
                                                       a deficiency of high-severity fire, in 16 of 22 regions (Fig 3A, Table 3). In dry mixed-conifer for-
                                                       ests, recent high-severity tire rotations were within the range of historical rotations in 8 of 20
                                                       regions, were too long in 11 of 20 regions, but too short, producing too much high-severity fire
                                                       relative to historical fire, in one region in southern California (Fig 3B, Table 4).




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     Fig 4. Trends between 1984-2012 in area burned at high severity (bottom) and fraction burned at high severity (top). Results are shown for both dry
     pine and dry mixed conifer forests.
     doi:10.1371ljoumal.pone.0136147.g004


                                                           Recent trends
                                                           Statistically significant upward trends were lacing overall for area burned at high severity
                                                           from 1984-2012 in both dry pine (z = 2.682, p = 0.0503) and in dry mixed-conifer forests
                                                           (z = 1.895, p = 0.1276). The dry-pine trend was very close to significant. Across analysis
                                                           regions, statistically significant upward trends in area burned were found in only 3 of 23 dry
                                                           pine regions (Fig 3A, Table 3) andl of 20 dry mixed-conifer regions (Fig 3B, Table 4) in parts
                                                           of the Southwest and Rocky Mountains. Two regions were close to significant in dry pine and
                                                           two in dry mixed conifer, also in the Southwest and Rocky Mountains (Tables 3 and 4). Inter-
                                                           annual fluctuations in area burned closely matched in dry pine and mixed-conifer forests
                                                           (r = 0.856, p < 0.001), and area burned was concentrated in known major fire years (A.D.
                                                           1994, 1996, 2000, 2002, 2006-2007, 2011-2012), particularly since A.D. 2000 (Fig 4) .
                                                               Statistically significant upward trends were also lacking overall for fraction of high-severity
                                                           fire from 1984-2012 in both dry pine (z = 0.319,P = 0.508) and in dry mixed conifer forests
                                                           (z = 0.506, P = 0.456) (Fig 4, Tables 3 and 4). Statistically significant upward trends in fraction
                                                           burned at high severity were also lacing in all 23 dry-pine regions and all 20 dry mixed-conifer




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         (a) Low Projection                                                         (b) Low Projection                                       Difference and Trend
         to A.D. 2046-2065                                                          to A.D. 2046-2065
         Dry Pine Forests                                                           Dry Mixed-Conifer Forests




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     Fig 5. Low projection (to A.D. 2046-2065) of differences relative to the historical range of high-severity fire rotations, given 1984-2012 trends, and
     projected fire rotations for high-severity fire in (a) dry pine forests and (b) dry mixed-conifer forests by analysis region. See Fig 3 for an explanation
     of figure contents.
     doi:10.1371ljoumaI.pone.01:36147.g005




                                                   regions (Tables 3 and 4). Interannual fluctuations in fraction burned at high severity also sig-
                                                   nificantly matched in dry pine and mixed-conifer forests, but not as closely (r = 0.520,
                                                   p = 0.004) as for area burned (Fig 4). Fraction burned at high severity was higher in major fire
                                                   years, as was area burned, but not more so since A.D. 2000 (Fig 4).
                                                       For dry pine, the recent mean fraction of high-severity fire for the whole study area (0.117)
                                                   was not significantly (a = 0.05) different from the mean (0.111) of historical reconstructions (t
                                                   (2) = -0.15, p = 0.897). However, for dry mixed conifer, the recent mean fraction for the whole
                                                   study area (0.194) was significantly lower than the mean (0.356) of the seven reconstructions (t
                                                   (6) = 6.18, p = 0.001). Thus, these comparisons suggest that the recent mean fraction ofhigh-
                                                   severity fire is not unprecedented, but instead congruent with historical mean fraction of high-
                                                   severity fire in dry pine and too low relative to historical mean fraction of high-severity fire in
                                                   dry mixed conifer.
                                                       A t-test showed a significant difference, in mean fraction of high-severity fire across the 29
                                                   years in the analysis period (Fig 4), between dry pine (Mean = 0.117, s.d. = 0.063) and mixed-




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                                             conifer forests (Mean = 0.194, s.d. = 0.070); t (55) = -4.51,P < 0.001. This shows that a higher
                                             fraction of high -severity fire (1.66 times) occurred recently in mixed conifer as in pine.


                                             Projections
                                             Low projections [42] in dry-pine regions for 2046-2065 would be restorative of the high-sever-
                                             ity fire process or provide ongoing maintenance of high-severity fire at historical rates, with no
                                             region having a fire rotation too short relative to historical high-severity fire rotations (Fig 5A,
                                             Table 3). Of 22 dry-pine regions (region 15 excluded since no high-severity fire recently), 13
                                             that had high-severity fire rotations that were too long up to 2012 still had rotations too long
                                             by 2046-2065, but were closer to historical high-severity rotations, thus partially restored,
                                             while 3 of the 22 regions changed from too long to within range, indicating restoration ofhigh-
                                             severity fire to historical rates. The remaining six regions that were within range by 2012 stayed
                                             in this category, thus had ongoing maintenance of high-severity fire at historical rates.
                                                 Low projections in dry mixed-conifer regions would also be restorative or provide ongoing
                                             maintenance of high-severity fire at historical rates, except in one region (Fig 5B, Table 4). Five
                                             of 20 dry mixed-conifer regions with high-severity fire rotations that were too long up to 2012
                                             would still have fire rotations too long, but would be closer to historical rates, thus would have
                                             high-severity fire rates partially restored. Six of 20 mixed-conifer regions with high-severity fire
                                             rotations that were too long up to 2012 would change to within range, indicating restoration of
                                             high-severity fire to historical rates. Eight of 20 mixed-conifer regions with high-severity fire
                                             rates within range in 2012 would remain within range, indicating maintenance of high-severity
                                             fire at historical rates. One region, however, that already had a too short high-severity fire rota-
                                             tion by2012, was projected to have an even shorter high-severity fire rotation.
                                                 High projections in dry-pine regions still would be predominantly restorative of high-severity
                                             fire or provide ongoing maintenance of high-severity fire at historical rates in 15 regions, but two
                                             regions would have high-severity fire rotations too short, relative to historical high-severity fire
                                             rotations (Fig 6A, Table 3). High projections in dry mixed-conifer regions would also be pre-
                                             dominantly restorative of historical high-severity fire rates or provide ongoing maintenance of
                                             high-severity fire at historical rates in 12 regions, but four regions would have fire rotations too
                                             short relative to historical high-severity fire rotations (Fig 6B, Table 4). High projections are
                                             missing for four of 22 pine regions and four of 20 mixed-conifer regions (Fig 6, Tables 3 and 4),
                                             because fire-climate relationships were not found that allowed projections [42] .


                                             Discussion
                                             Comparison of recent and historical high-severity fire rotations shows that high-severity fire is
                                             not occurring in dry forests at rates that are exceptionally high relative to the range of historical
                                             rates. Recent high-severity fire instead is deficient (too long) overall across dry pine and dry
                                             mixed-conifer forests relative to historical rates. Recent high-severity fire rotations are quite
                                             long, averaging 1,045 years in dry pine and 875 years in dry mixed conifer, more than ample
                                             time for forests to recover and reach very old age before the next high-severity fire. High-sever-
                                             ity fire rotations in dry forests are also within the historical range or are too long relative to his-
                                             torical fire rotations in all but one of 43 regions of the western USA up to A.D. 2012. Absence
                                             of significant overall recent upward trends in area burned and in fraction burned at high sever-
                                             ity also suggests high-severity fire is not significantly increasing or becoming more severe. The
                                             trend is quite close to significance for area burned in dry pine forests, which I discuss below.
                                             These findings do not support the hypothesis that high-severity tire is occurring at exception-
                                             ally high rates in dry forests or is generally increasing or becoming more severe [6-7].



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                                                                                                                                                Difference and Tend
      (a) High Projection                                                            (b) High Projection
      to A.D. 2046-2065                                                              to A.D. 2046-2065
      Dry Pine Forests                                                               Dry Mixed-Conifer Forests




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     Fig 6. High projection (to A.D. 2046-2065) of differences relative to the historical range of high-severity fire rotations, given 1984-2012 trends, and
     projected fire rotations for high-severity fire in (a) dry pine forests and (b) dry mixed-conifer forests by analysis region. Several analysis regions are
     omitted, because the high projections by Yue etal. [42] were not possible for those areas. See Fig 3 for an explanation of figure contents.
     doi:10.1371/joumal.pone.0136147.g006




                                                         The location of the few regions (4 of 43) with a statistically significant upward trend in area
                                                     burned at high severity over the 1984-2012 period, in parts of the Southwest and Rocky Moun-
                                                     tains, is consistent with previous studies in broader forest types [3-4]. This consistency sug-
                                                     gests stronger climatic than fuel influences [2-4]. A strong climatic role in upward trends is
                                                     also supported by the high correlation of interannual fluctuations in area burned at high sever-
                                                     ity between dry pine and dry mixed conifer and by concentration of area burned at high sever-
                                                     ity in major tire years. However, part of the explanation of trends in these particular regions
                                                     and the nearly significant trend overall in dry pine forests may not be climate, but human-set
                                                     fires. Two of the dry pine regions with statistically significant upward trends, in central Arizona
                                                     (Fig 3A), experienced very large human-set fires, the 2002 Rodeo-Chediski fire and the 2011
                                                     Wallow fire. In contrast, the upward trend in dry pine forests in eastern Montana is likely not
                                                     related to human-set fires, but instead to three exceptional lightning-ignited fires (Ash Creek,
                                                     Rosebud Creek, Chalky) in 2012 as well as earlier natural fires. Disentangling the contributions




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                                             of human-set fires and climatic change to trends is beyond the scope of this study, but is
                                             needed.
                                                 Projections to 2046-2065 suggest high-severity fire would be predominantly restorative of
                                             the high-severity fire process or provide ongoing maintenance of high-severity fire at historical
                                             rates, except in a few regions. Low projections indicate tire rotations too short only in one
                                             region of 42 total, and that region already had a fire rotation too short by2012. Thus, dry for-
                                             ests generally have the capacity to absorb up to 1.71 times as much high-severity fire (the maxi-
                                             mum increase in the low projections), beyond what was occurring up to 2012, without
                                             exceeding historical rates. The six regions, under the high projections, that would have fire
                                             rotations too short by 2046-2065, would not be able to absorb 2.54-2.69 times as much high-
                                             severity tire as in 1984-2012, but 19 other regions that received this level of increase were not
                                             pushed beyond historical rates. This suggests most dry-forest landscapes have the capacity to
                                             absorb substantial increased high-severity fire, but if high-severity fire increases above about 2
                                             1/2 to 3 times as much as in 1984-2012, that capacity will begin to be reached. Thus, it may be
                                             at least several decades before dry-forest landscapes may generally begin to be affected by
                                             exceptional high-severity tire rates because of projected climatic change. Projections based on
                                             Yue et al. [42] could also be tempered by lack of actual trend in regions up to 2012, which is
                                             35-46% of the duration from 1984 to 2046-2065. Perhaps the projection will not fully emerge
                                             and the high projections, with the greatest increase in future fire, may be less concerning. Of
                                             course, lack of recent trend does not clearly mean the Yue et al. [42] projections will not even-
                                             tually occur.
                                                 If high-severity tire rotations that are too short do begin to appear, entire landscapes will
                                             not be affected at once, but instead effects will be lagged and heterogeneous, likely requiring
                                             centuries after onset to fully affect dry-forest landscapes. Long delays occur because fire effects
                                             accrue over time from separate ignition and spread events. If a historical fire rotation of 400
                                             years experiences a doubling of annual area burned, and the new rotation is 200 years, then on
                                             average it will be 200 years before landscapes are fully affected by this change [72]. Lagged
                                             responses of landscapes, to changes in fire, affect both increased fire that is restorative or that
                                             leads to too-short tire rotations. The heterogeneity and lagged effects of fire contrast with those
                                             of droughts and insect outbreaks, which can alter large land areas nearly synchronously with-
                                             out the long delays inherent with fire. This is supported by a study that showed that major pro-
                                             jected changes in vegetation in western North America with global warming occur mainly
                                             from direct climate effects (e.g., drought), with < 1% from wildfire [73].


                                             Limitations
                                             These trend analyses and fire rotations have some inherent limitations. The Landfire Biophysi-
                                             cal Settings maps aim to predict historical vegetation predating the trend analyses, but could
                                             still exclude non-forested area that was burned in dry forests at high-severity early in the 1984-
                                             2012 period, leading to false upward trends [17]. Fully reliable trend analysis across large land
                                             areas requires a nationally consistent and detailed vegetation map based on imagery that pre-
                                             dates MTBS data coverage in 1984. Because I cannot definitely exclude a possible false upward
                                             trend, the four significant upward trends, and other trends close to significant, are particularly
                                             clouded by this uncertainty.
                                                 The MTBS program has provided a remarkable dataset, but 29 years is still a limitation. Esti-
                                             mated fire rotations are hundreds of years, and nearly a full fire rotation of data is needed to
                                             accurately estimate the rotation [72]. Trends over the 29-year period hinge on the timing and
                                             magnitude of only a few major fire peaks (Fig 4). Thus, estimated rotations are valid for the
                                             29-year period, but subject to change as more data accrue. Data from 25.7 million ha temper



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                                              this concern, but fire can be synchronized over large land areas by teleconnections with
                                              periods > 29 years [74], thus 29 years are also insufficient from the standpoint of potential cli-
                                              mate cycles. Also, high-severity fire rotations may not be homogeneous across landscapes;
                                              high-severity fire could be favored in certain biophysical settings and dis-favored in others
                                              (e.g., 5, 39). Thus, recent fire-rotation estimates in this study represent averages for analysis
                                              regions that warrant use with caution in smaller subareas of these regions.
                                                  MTBS data, which are for fires generally > 400 ha in area, may or may not contain 95% of
                                              total burned area, as estimated by the MTBS program. One estimate for part of the Sierra
                                              Nevada was 92.8% [17]. If the actual percentage was not 95%, then fire rotations could be
                                              somewhat too low or too high. Some caution is thus warranted from this standpoint in the use
                                              of estimates, although this concern is buffered by the use of a large historical range for
                                              comparison.
                                                  The GLO-based reconstructions may be one of the few available ways to reconstruct histori-
                                              cal severe fires in the spatially extensive manner that is needed to provide data about fire rota-
                                              tion, patch size, and other attributes. These reconstructions are calibrated, validated, and
                                              corroborated [27-29, 40, 56, 65], but would benefit from additional calibration and validation
                                              to improve the linkage of forest structure with fire severity and to help estimate the precision of
                                              estimates of fire rotation. Precision is not known very well, except that there is calibration and
                                              validation with tree-ring reconstructions, there is corroboration by early historical records and
                                              maps, and there is congruence between the findings of GLO-based, aerial-photo-based, and
                                              pale-fire based methods (Table 1). GLO-based methods are typically based on 100-140 year
                                              periods before the surveys, thus less than a full historical fire rotation. These methods also can-
                                              not provide fine detail about high-severity fire patterns, since they are based on data pooled
                                              across 259-1,036-ha areas. It would be beneficial to combine GLO-based methods with tree-
                                              ring reconstructions and compare pale-fire and GLO-based reconstructions in the same
                                              areas. More landscape-scale fire history is needed and may lead to further refinements in
                                              understanding of rates and patterns of historical high-severity fire.
                                                  The projections are first approximations. The Yue et al. [42] projections are not specific to
                                              dry forests or high-severity fires, are not based on dynamic vegetation models, and use only a
                                              moderate emissions scenario. Potential vegetation changes may be large [73], particularly for
                                              P. ponderosa in the Rocky Mountains and Southwest [75]. Although the projections here may
                                              appear simplistic, the Yue et al. projections are sophisticated. It is just that their direct transfer
                                              here to dry forests provides only first approximations and context for thinking about future
                                              fire in dry forests until projections specific to dry forests appear. The projections also assume
                                              similar continuing fire management and no non-linear responses. For example, a landscape
                                              trap [76] could arise if high-severity fire created more fire-prone landscapes that then burn
                                              increasingly at high severity, possibly increasing area burned at high severity beyond
                                              projections.


                                              Management issues
                                              The evidence presented here shows that efforts to generally lower fire severity in dry forests for
                                              ecological restoration are not supported. Reducing fire severity in dry forests is a goal of the
                                              2003 Healthy Forests Restoration Act (HFRA), the Collaborative Forest Landscape Restoration
                                              Program (CFLRP) of the 2009 Omnibus Public Land Management Act, and other government
                                              policies and programs. These laws, policies, and programs were developed before sufficient
                                              quantitative analysis of rates of recent high-severity fire was available, and with very limited
                                              information about rates of historical high-severity fire. Historical evidence, now available from
                                              multiple sources across large land areas (Table 1), combined with comprehensive recent fire-



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                                             severity data, together show that high-severity fire is generally operating at or below historical
                                             rates. Thus, reducing fire-severity is fire suppression rather than restoration, as was commonly
                                             thought before these new data and analysis were available. Fire suppression is incompatible
                                             with laws and programs that mandate or encourage restoration of historical fire regimes and
                                             forest structure (e.g., Collaborative Forest Landscape Restoration Program).
                                                 In dry forests, suppressing high-severity fire that is operating at or below historical rates
                                             also has adverse ecological impacts. These adverse impacts include: (1) declining and poten-
                                             tially threatened native animals dependent on severely burned patches [77-78], (2) loss of bio-
                                             logically diverse early-successional habitat [79-80], reduction in fire-stimulated native shrubs
                                             and trees that were historically abundant [30, 64], and simplification of the landscape heteroge-
                                             neity that is key to landscape resilience to future climate-change effects [81]. High-severity
                                             fires, for example, produce patches of younger forest that are less vulnerable to mortality in
                                             insect outbreaks and droughts [82]. Removing or reducing small trees in dry forests to reduce
                                             fire severity may significantly reduce the resilience of these forests to insect outbreaks and
                                             droughts by reducing advance recruitment that enables recovery [82].
                                                 Some potentially important ecological concerns have been expressed about high-severity
                                             tires even though these fires are not generally occurring at exceptional rates. First, many scien-
                                             tists worry that the size of high-severity fire patches in dry forests is currently exceptional rela-
                                             tive to historical patch sizes, possibly hampering post-fire tree recruitment and other processes
                                             (e.g., 6). However, large comparisons of historical and modern patch sizes in dry forests, from
                                             GLO-based reconstructions in the Colorado Front Range [40] and western Sierra [30] show
                                             that high-severity patch sizes in both historical and modern tires ranged up to 8,000-9,400 ha,
                                             and recent and historical patch-size distributions had only minor differences.
                                                 Second, increasing drought and higher temperatures can alter the ecological effects of high-
                                             severity fires and modify recovery processes after these fires. Higher temperatures and drought
                                             stress may increase tree mortality after fire, effectively increasing fire severity, independent of
                                             tire intensity [83], although here I show that these forests have the capacity to absorb some
                                             increased fire severity. Historical and recent high-severity tire rotations are generally long
                                             enough to allow post-fire tree recruitment and natural recovery of dry forests between fires, but
                                             recruitment that may have historically been poor and episodic [84], could possibly worsen
                                             because of increased drought and high temperatures, so that forests have more difficulty recov-
                                             ering after fires [85].
                                                 Finally, local analysis might uncover ecologically valuable sites where high-severity fire has
                                             recently occurred at apparently exceptional rates [86-87], even though it is not in the larger
                                             region. For example, in the Big Oak Flats area of Yosemite National Park, tree-ring [87] and
                                             GLO reconstructions [30] both showed low- to mixed-severity fire occurred historically, with
                                             no high-severity fire over the preceding few hundred years, and reconstructions also agreed on
                                             low historical tree densities [30], yet the 2013 Rim Fire burned 24% of tree-ring plots at high
                                             severity [87]. Harris and Taylor viewed the 24% high-severity component of the Rim fire in Big
                                             Oak Flats as historically anomalous due to buildup of fuel from fire exclusion [87]. However,
                                             high-severity fire is fully expected after more than 400 years of predorninantly low- to mixed-
                                             severity fire, given the historical high-severity fire rotation of412 years reconstructed for south-
                                             ern Sierran mixed conifer [30]. High-severity fires in dry forests with moderate to long histori-
                                             cal rotations are always locally surprising, occurring suddenly after centuries of stability [14].
                                             Other studies have suggested old dry forests with long periods of low-severity fire are expected
                                             to suddenly burn at high severity [26]. Better evidence of concern in the Sierran mixed conifer
                                             forest is the recent high-severity fire rotation of 212 years in the analysis region (Fig 3B), but
                                             this region is dominated by more coastal forests where human-set fires may explain this fire
                                             rotation. A study specifically in the lower montane of the western Sierra found a recent fire



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                                             rotation of461 years [17], somewhat longer than the 412 year historical rotation, suggesting
                                             high-severity fire is not occurring at historically unprecedented rates, but needs updating to
                                             include the 2013 Rim fire and other recent fires. Regional scales, not the Big Oak Flat scale, are
                                             the scales that are essential to detect significant departures from historical rates of high-severity
                                             fires [14]. Nonetheless, high local ecological values, such as special species [86] could trump
                                             regional trends and warrant specific local management actions.
                                                 High-severity fires are infrequent powerful events, not unlike volcanic eruptions, tornadoes,
                                             or large floods that are almost beyond control or management. Yet, the ecological importance
                                             of large, infrequent, and often severe natural disturbances in structuring historical landscapes
                                             and maintaining their biological diversity is well established (e.g., [21, 77-80, 88-89] ). Increas-
                                             ing appreciation of the role of large, seemingly destructive floods in maintaining the geornor-
                                             phology and habitat diversity of rivers, suggests people may decide to accept and even restore
                                             infrequent large, severe natural disturbances in ecosystems for ecological reasons [90]. The best
                                             approach for high-severity fire is likely through wieland fire use [11], which is now wildland
                                             fire for resource benefit, managed by professional fire personnel, with restoration and mainte-
                                             nance of high-severity fire within historical rates and patterns as a goal. Land managers and
                                             the public can reduce fire risk near housing, infrastructure, and valuable resources to maximize
                                             area available for wildland fire use across adjoining lands. Communities can also facilitate wild-
                                             land fire use by adopting growth boundaries to limit community expansion into dry forests
                                             and by rearranging land uses to favor fire-resistant land uses on their outskirts [2 l ] .
                                                 Recent rates of high-severity fire, although they are not generally exceeding historical rates,
                                             are leading to some intense fires burning into communities and damaging infrastructure. Pro-
                                             jected increases in severe fire from climate change shown here could become even more serious
                                             for people. Fortunately, the inherently lagged response of landscapes to changes in fire does
                                             typically allow some time to prepare further. Based on the findings of this study, the public
                                             should be informed that infrequent high-severity fires in dry forests are not a consequence of
                                             poor forest management over the last century that can be fixed. Dry forests were historically
                                             renewed, and will continue to be renewed, by sudden, dramatic, high-intensity tires after centu-
                                             ries of stability and lower-intensity fires. Living in or near dry forests is inherently very danger-
                                             ous, not unlike living beside a volcano or on a fault line with earthquakes. The people-fire
                                             problem is complex [21, 91-92] , but if expansion of housing and infrastructure into dangerous
                                             dry forests [21, 93] were redirected into safer settings, both people and nature would benefit.

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                                             Author Contributions
                                             Conceived and designed the experiments: WLB. Performed the experiments: WLB. Analyzed
                                             the data: WLB. Wrote the paper: WLB.

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      See the Forest Service response to this document, it is located in the Black Ram Project File document,
      20211221DocFS_RspToHollowayPhotos0025.pdf. This document is located in the Public Involvement folder
      in the Black Ram Project File.




       Author: Lisa Osborn 5/10/2022


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               To: Kirsten Kaiser, Three Rivers District Ranger, Kootenai National Forest
               Chad Benson, Supervisor, Kootenai National Forest

               From: John Matthew Holloway

               Re: New information for the Black Ram Project to be included in the Black Ram Project
               file regarding gates, berms, and road closures in the Three Rivers Ranger District of the
               Kootenai National Forest.

               Date: November 12, 2021



               Pursuant to 28 U.S.C. §1746, I, John Matthew Holloway, declare under penalty of
               perjury that the following is true and correct.

               1. I am over 18 years of age and competent to provide this declaration. Please include this
               information as a legal submission in the Black Ram Project file.

               2. On September 30, 2021, and October 1, 2021, I surveyed the Three Rivers Ranger
               District of the Kootenai National Forest, including the Black Ram Project area,
               examining road closures for effectiveness at preventing motorized use. I used the current
               USFS Motor Vehicle Use Maps (MVUM) provided by the Three Rivers Ranger District
               of the Kootenai National Forest, which displays National Forest System routes including
               roads, trails, and areas designated open to motorized use. If the route or area is not shown
               on the MVUM, the route or area is closed to motor vehicles .
               https://www.fs.usda.gov/Intemet/FSE_DOCUMENTS/fseprd674582.pdf




               3. I examined road closure berms in the Three Rivers District of the Kootenai National
               Forest, including the area in the proposed Black Ram Project, on September 30, 2021,
               and October 1, 2021, and documented the following ineffective berms:

               a. Road-#276         N48°56' 16.932" W115°43'38.670
               Large opening around left side of berm. See photos 276-A 276-D.

               b. Road #276A          N48°56'10.056" W115°41'19.326"
               Light trail around right side of berm. See photos 276A-A - 276A-E.

               c. Road #747           N48°58'15" W115°50'18"
               Established trail around right side of berm. See photos 747-A - 747-E.


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                d. Road #748          N48°54'09" W115°50'43"
                Opening and light path around the right side of berm. See photos 748-A - 748-D.

                e. Road #757          N48°59'33.3" W115°41'7.878"
                Opening and light path around left side of first berm. See phetes 757-A - 757-D.

                f. Road #3101         N48°52'52.638" W115°39'54.282"
                Light path around right side of berm. See photos 3101-A - 3101-C.

                g. Road #3380         N48°57'18" W115°54'50"
                Opening and light path around left side of berm. See photos 3380-A - 3380-E.

                h. Road #5839         N48°56'17" W115°40'10"
                Opening and light path around left side of berm. See photos 5839-A - 5839-B.

                i. Road #5846         N48°56'16.506" W115°43'41.520"
                Opening and established path around right side of berm. See photos 5846-A - 5846-D.

                j~ Road #5852        N48°53'13.674" W115°44'52.080"
                Large opening around left side of berm. See photos 5852-A - 5852-B .

                k. Road #5858         N48°51'8.304" W115°45'14.562"
                Light path around right side of berm. See photos 5858-A - 5858-D.

               1. Road #5860         N48°56'4.428" W115°46'24.444"
               Opening and established path around right side of berm. See photos 5860-A - 5860-D.

                m. Road #5886A        N48°50'42.216" W115°44' 19.278"
                Light path around right side of berm. See photos 5886A-A - 5886-A-C.

                n. Road #5886E        N48°50'23.982" W115°41'47.994"
                Opening around left side of berm. See photos 5886-E-A - 5886-E-C.

                o. Road #5930         N48°47'44.172" W115°40'56.010"
                 Opening around left side of first berm and right side of second berm. See photos 5930-A
                - 5930-D.




                4. I examined gated road closures in the Three Rivers District of the Kootenai National
                Forest, including the area in the proposed Black Ram Project, on September 30, 2021,
                and October 1, 2021, and I documented the following ineffective gated road closures:

                a. Road #523          N48°58'20" W115°50'24"

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               Opening around left and right sides of gate. See photos 523-A - 523-D.

               b. Road #595          N48°49'0.102" W115°45'12.108"
               Openings around left and right sides of gate. See photos 595-A - 595-E.

               c. Road #902          N48°46'37.698" W115°48'4.614"
               Opening around left side of gate. See photos 902-A - 902-D.

               d. Road #5821          N48°57' 10" W115°32'57"
               Left of brushy hole, opening with tire tracks. See photos 5821-A - 5821-D.

               e. Road #5835         N48°57'21" W115°37'57"
               Opening and light path around left side of gate. See photos 5835-A - 5835-B.

               f. Road #5841         N48°59'37.572" W115°41'11.916"
               Opening and light path around left side of gate. See photos 5841-A - 5841-B.

               g. Road #5856         N48°53' 13.482" W1 15°44'52.020"
               Large opening and path around right side of gate. Small opening and path around left side
               of gate. See photos 5856-A - 5856-F.

               h. Road #5857        N48°56'9.252" W115°47'11.766"
               Opening and path around left side of gate. See photos 5857-A - 5857-C.

               i. Road #5873         N48°55'31.164" W115°40'20.196"
               Opening around left side and right sides of gate. See photos 5873-A - 5873-C.

               j~ Road #5874         N48°51'17.604" W115°46'14.268"
               Opening around left side and right sides of gate. See photos 5874-A - 5874-C.

               k. Road #5894         N48°58'46" W115°50'11"
               Opening around left side and right sides of gate. Light path around right side of gate. See
               photos 5894-A - 5894-D.

              1. Road #5919        N48°54'44" W115°50'22"
              Opening around right side of gate. See photos 5919-A - 5919-C .

               m. Road #6084        N48°48'39" W115°41'57"
               Gate broken from hinges and totally removed. Automobile tracks present beyond the
               gate. See photos 6084-A - 6084-K.

               n. Road #6134 (south entrance)        N48°51'42.612" W115°46'57.984"
               Opening around left side and right side of gate. Signage for new gate, but no new gate.
               See photos 6134-South-A - 6134-South-E.

               0. Road #6134 (north entrance)        N48°53'52.560" W115°48'36.570"

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                Opening around right side of gate. See photos 6134-North-A - 6134-North-E.

                p. Road #6708         N48°51'28.836" W115°46'48.528"
                Opening around left side of gate. See photos 5874-A - 5874-C.

                q. Road #6715         N48°48'56.508" W115°51'24.486"
                Opening around right side of gate. See photos 6715-A - 6715-C .




                5. I examined road closures in the Three Rivers District of the Kootenai National Forest,
                including the area in the proposed Black Ram Project, on September 30, 2021, and
                October 1, 2021, and documented the following lack of berms and/or gates:

                a. Road #338K        N48°57'26" W115°50'34"
                No gate or berm. See photos 338K-A - 338K-D.

                b. Road #338N        N48°56'56" W115°54'53"
                No gate or berm. See photos 338K-A - 338N-E.

                c. Road #338P        N48°57'48" W115°54'46"
                No gate or berm. See photos 338P-A - 338P-D.

                d. Road #338R        N48°57' 19" W115°54'46"
                No gate or berm. See photos 338R-A - 338R-C.

                e. Road #757A        N48°57'23.034" W115°39'31.632"
                No gate or berm. See photos 757A-A - 757A-B .

                f. Road #902A        N48°48'50.892" W115°49' 10.596"
                No gate or berm. See photos 902A-A - 902A-C.

                g. Road #5857 Offshoot       N48°55'48.630" W115°44' 11.922"
                No gate or berm. Offshoot road. See photos 5857-A - 5857-C.

                h. Road #5886 Offshoot       N48°50' 19.872" W115°42'42.786"
                No gate or berm. Offshoot road goes several hundred yards to what appears to be an
                undesignated camping area. See photos 5886-A - 5886-C.

                i. Road #5892 Offshoot A    N48°50'34.356" W115°42'47.934"
                No gate or berm. Offshoot road. See photos 5892-A-A - 5892-A-D.

                j~ Road #5892 Offshoot B     N48°51' 1.200" W115°43' 1.410"
                No gate or berm. Offshoot road. See photos 5892-B-A.

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                k. Road #5895        N48°58'43" W115°50'43"
                No gate or berm. See photos 5895-A - 5895-C.

                1. Road #14125       N48°53'32.478" W115°48'32.802"
                No gate or berm. See photos 14125-A - 14125-C.

                m. Road #14126       N48°59'3.594" W115°40'41.370"
                No gate or berm. See photos 14126-A - 14126-C.




                6. I examined road closures in the Three Rivers District of the Kootenai National Forest,
                including the area in the proposed Black Ram Project, en September 30, 2021, and
                October 1, 2021, and documented the following berms and gates :

                a. Road #2355        N48°49'22.740" W115°48'48.180"
                See photos 2355-A - 2355-B.

                b. Road #5856A     N48°52'1.014" W115°44'51.684"
                See photos 5856A-A - 5856-A-D.

                c. Road #5856C      N48°52'25.242" W115°44'38.016"
                See photos 5856C-A - 5856C-B.

                d. Road #5857C      N48°55'59.106" W115°44'41.142"
                See photos 5857C-A - 5857C-C.

                e. Road #5857G      N48°55'42.900" W115°43'33.732"
                See photos 5857G-A - 5857G-C.

                f. Road #588613     N48°50'41.466" W115°44' 12.018"
                See photos 5886B-A - 5886B-D.

                g. Road #5886C      N48°50'48.090" W115°44'49.740"
                See photos 5886C-A - 5886C-C.

                h. Road #902A         N48°48'11.190" W115°48'42.858"
                See photos 9028. (incorrectly written as 9028 in photo.)

                i. Road #14118       N48°50'22.926" W115°45'35.598"
                See photos 14118-A - 14118-C.




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                                                                                                                                                                                                                             Holloway Photo Comparisons With Monitoring

     Comparison of Holloway photographs with those from the Kootenai National Forest Closure Monitoring
     Mr. Holloway submitted several folders with photographs of road closure devices, and several old, unknown routes that maybe used by ATVs. Sites identified in column one, with an dentification number of three, four, or five, are those in which he claims to
     have documented ineffective closure devices, either gates or berms. Our corresponding photograph(s) showing the image from our closure monitoring surveys are in the column labeled 'KNF photograph' It appears that all of Mr. Holloways photographs were
     taken from the vantage point of the adjacent open road. In some instances, this provides a sufficient view of the restriction device. However, in the KNF photographs, the restrictions are absolutely evident.

     Table 1. Comparison of photographs submitted by Mr. Holloway with those from the Kootenai National Forest Closure Monitoring program, 2021 .

        Holloway     NFSR ID          Holloway photographs                                                                                                                                  KNF photograph               Closure         Closure       KNF comment
         site ID                                                                                                                                                                                                        monitor-ing      status
                                                                                                                                                                                                                          date
                                                                                                                                                                                                                                   llllllllllllll
       3a            276                                                                                                                                                                                                20210728       Functional      None




       3b            276A                                                                                                                                                                                                              Functional      None




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             olloway     NFSR ID              Holloway photographs                                                                 KNF photograph    Closure        Closure    KNF comment
             site ID                                                                                                                                monitor-ing      status
                                                                                                                                                      date




        3c               747                                                                                                                        20210822      Functional   None




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                                                                                              Hollowav Photo Comparisons With Monitoring




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                                                                                                                                                                         Holloway Photo Comparisons With Monitoring
          Holloway   NFSR ID    Holloway photographs                                                                 KNF photograph                                  Closure         Closure       KNF comment
           site ID                                                                                                                                                  monitor-ing       status
                                                                                                                                                                      date
      3h             5839                                                                                                                                           20210728;     Uncertainl      Possible
                                                                                                                                                                    20210921      functional      motorized use;
                                                                                                                                                                                                  functional.
                                                                                                                                                                                                  Barrier was
                                                                                                                                                                                                  improved in
                                                                                                                                                                                                  202 I




      3i             5846                                                                                                                                           20211130      Functional      No picture
                                                                                                                                                                                                  taken, on
                                                                                                                                                                                                  personal time.




      3              5852                                                                                                                      8                    20211202      Functional       None




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                                                                                                                                           Holloway Photo Comparisons With Monitoring
       Holloway   NFSR ID       Holloway photographs                                                                 KNF photograph    Closure         Closure       KNF comment
        site ID                                                                                                                       monitor-ing       status
                                                                                                                                        date
      3m          5886A                                                                                                               20210728      Functional       None




      3n          5886E                                                                                                               20210922      Functional      None




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                                                                              9-ER-2189
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                                                                                                                                           Holloway Photo Comparisons With Monitoring
       Holloway    NFSR ID      Holloway photographs                                                                 KNF photograph    Closure         Closure       KNF comment
        site ID                                                                                                                       monitor-ing       status
                                                                                                                                        date
           _   I         - |                                                                                                                                                           l
      4b           595                                                                                                                20210820      Functional      Not in Black
                                                                                                                                                                    Ram project area




      4c           902                                                                                                                20210820      Functional      Not in Black
                                                                                                                                                                    Ram project area




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                                                                              9-ER-2191
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          -Iolloway      NFSR ID              Holloway photographs                                                                 KNF photograph    Closure        Closure    KNF comment
            site ID                                                                                                                                 monitor-ing      status
                                                                                                                                                      date
        4d               5821                                                                                                                       202 I 0728;   Functional   Not in Black
                                                                                                                                                    20210921                   Ram project area




        4e               5835                                                                                                                       20210728      Functional   None




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                                                                                                                                                                                          FS-044673
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                                                                                              Hollowav Photo Comparisons With Monitoring




                                                          11

                                                       9-ER-2193
                                                                                                                                   FS-044674
(181 of 248), Page 181 of 248                                        Case: 23-2882, 03/22/2024, DktEntry: 30.10, Page 181 of 248

      .Resource Report for Title of Project
          1oIIoway       NFSR ID              Holloway photographs                                                                 KNF photograph    Closure        Closure    KNF comment
           site ID                                                                                                                                  monitor-ing      status
                                                                                                                                                      date
                                _
        4h               5857                                                                                                                       20210922      Functional   Garver LO gate,
                                                                                                                                                                               not applicable to
                                                                                                                                                                               BMU metrics




        4i               5873                                                                                                                       20210922      Functional   None




                                                                                                 12
                                                                                            9-ER-2194
                                                                                                                                                                                           FS-044675
(182 of 248), Page 182 of 248                          Case: 23-2882, 03/22/2024, DktEntry: 30.10, Page 182 of 248




      4
          Holloway
           site ID
                     NFSR ID



                     5874
                                Holloway photographs

                                                       I.- .-                                                        KNF photograph
                                                                                                                                           Holloway Photo Comparisons With Monitoring
                                                                                                                                       Closure
                                                                                                                                      monitor-ing
                                                                                                                                        date
                                                                                                                                      20210802
                                                                                                                                                       Closure
                                                                                                                                                        status

                                                                                                                                                    Functional
                                                                                                                                                                     KNF comment



                                                                                                                                                                     None




      4k             5894                                                                                                             20210802      Functional       None




      41             5919                                                                                                             20210803      Functional       None




                                                                                 13
                                                                              9-ER-2195
                                                                                                                                                                                FS-044676
(183 of 248), Page 183 of 248                                        Case: 23-2882, 03/22/2024, DktEntry: 30.10, Page 183 of 248

      .Resource Reporl for Title of Project
          -Iolloway      NFSR ID              Holloway photographs                                                                           KNF photograph                 Closure         Closure        KNF comment
            site ID                                                                                                                                                        monitor-ing       status
                                                                                                                                                                             date
        4m               6084                                                                                                                                              202] I 0041   Not functional:   Not in Black
                                                                                                                                                                           20211020      Functional        Ram project
                                                                                                                                                                           (repaired)    (repaired)        area. Repaired
                                                                                                                                                                                                           2021 1020




                                                                                                                                   Photograph unavailable at the moment.




                                                                                                 14
                                                                                            9-ER-2196
                                                                                                                                                                                                                      FS-044677
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       Holloway
        site ID
                  I   NFSR ID   Holloway photographs                                                                 KNF photograph
                                                                                                                                           Hollowa
                                                                                                                                      _ Closure _
                                                                                                                                       monitor-ing
                                                                                                                                                       Closure
                                                                                                                                                        status
                                                                                                                                                                  KNF comment I
                                                                                                                                                                                   I




                                                                                                                                      20210802       Functional   South access
                                                                                                                                                                  point off NFSR




      40
                                                                                                                        9             20210802       Functional   North access
                                                                                                                                                                  point off NFSR




                                                                                 15

                                                                              9-ER-2197
                                                                                                                                                                              FS-044678
(185 of 248), Page 185 of 248                                        Case: 23-2882, 03/22/2024, DktEntry: 30.10, Page 185 of 248

      .Resource Reporl for Title of Project
              olloway    NFSR ID              Holloway photographs                                                                 KNF photograph    Closure        Closure    KNF comment
              site ID                                                                                                                               monitor-ing      status
                                                                                                                                                      date




        4p               6708                                                                                                                       20210802      Functional   None




        441              6715                                                                                                                       20210820      Functional   None




                                                                                                 16
                                                                                            9-ER-2198
                                                                                                                                                                                      FS-044679
                                                                                                                                                                                       |
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                                                                                                                                             Holloway Photo Comparisons With Monitoring
       Holloway    NFSR ID        Holloway photographs                                                                 KNF photograph    Closure         Closure       KNF comment
        site ID                                                                                                                         monitor-ing       status
                                                                                                                                          date
           _   I          -   |                                                                                                                                                         l
      5a           338K                                                                                                                 20210802      Functional       None




      5b           338N                                                                                                                 20210802      Functional      This is also
                                                                                                                                                                      identified as
                                                                                                                                                                      NFSR 5914A




                                                                                   17

                                                                                9-ER-2199
                                                                                                                                                                                      FS-044680
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      .Resource Report for Title of Project
             olloway     NFSR ID              Holloway photographs                                                                 KNF photograph    Closure        Closure    KNF commerce
             site ID                                                                                                                                monitor-ing      status
                                                                                                                                                      date
        5c               338P                                                                                                                       20210802      Functional   Note KNF
                                                                                                                                                                               picture clearly
                                                                                                                                                                               shows
                                                                                                                                                                               impassable
                                                                                                                                                                               vegetation,
                                                                                                                                                                               which also hides
                                                                                                                                                                               a berm. Mr.
                                                                                                                                                                               Holloway'
                                                                                                                                                                               photograph is
                                                                                                                                                                               taken from
                                                                                                                                                                               NFSR 338.




        5d               338R                                                                                                                       20210802      Functional   NFSR 3389
                                                                                                                                                                               (called 338R in
                                                                                                                                                                               the past). Note
                                                                                                                                                                               KNF picture
                                                                                                                                                                               clearly shows a
                                                                                                                                                                               berm.




        Se               757A                                                                                                                       20210922      Functional   None




                                                                                                18
                                                                                            9-ER-2200
                                                                                                                                                                                          FS-044681
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                                                                                                                                           Holloway Photo Comparisons With Monitoring
       Holloway   NFSR ID       Holloway photographs                                                                 KNF photograph    Closure         Closure
        site ID                                                                                                                       monitor-ing       status
                                                                                                                                        date
      5f          902A                                                                                                                20210820      Functional




      58          5857                                                                                                                20210728:     Functional
                                                                                                                                      20210805




                                                                                 19

                                                                              9-ER-2201
(189 of 248), Page 189 of 248                                        Case: 23-2882, 03/22/2024, DktEntry: 30.10, Page 189 of 248

      .Resource Report for Title of Project
             olloway     NFSR ID              Holloway photographs                                                                          KNF photograph    Closure         Closure        KNF comment
             site ID                                                                                                                                         monitor-ing       status
                                                                                                                                                               date




        5h               5886                                                                                                      No photograph             Not           Functional        NFSR 5890
                                                                                                                                                             applicable                      (Gun Club
                                                                                                                                                                                             Road) is
                                                                                                                                                                                             considered open
                                                                                                                                                                                             for monitoring
                                                                                                                                                                                             and BMU
                                                                                                                                                                                             metrics




        5i               5892                                                                                                                                20211202      Not applicable.   At 0.3 mile: not
                                                                                                                                                                           May be an         passable by
                                                                                                                                                                           undetermined,     reasonable,
                                                                                                                                                                           old route.        prudent user,
                                                                                                                                                                           Challenging to    shows possible
                                                                                                                                                                           functionally      off-route ATV
                                                                                                                                                                           prevent off       use. At 0.9 mile:
                                                                                                                                                                           route travel      not passable by
                                                                                                                                                                           due to            reasonable,
                                                                                                                                                                           naturally flat,   prudent user.At
                                                                                                                                                                           open terrain.     2.4 mile:
                                                                                                                                                                                             impassable
                                                                                                                                                                                             (brush).
                                                                                                                                                                                             Holloway
                                                                                                                                                                                             photograph of
                                                                                                                                                                                             tire tracks
                                                                                                                                                                                             appear to be
                                                                                                                                                                                             those of a
                                                                                                                                                                                             vehhicle that
                                                                                                                                                                                             may have turned
                                                                                                                                                                                             around at that
                                                                                                                                                                                             location. but did
                                                                                                                                                                                             not travel off
                                                                                                                                                                                             route.




                                                                                                 20
                                                                                            9-ER-2202
                                                                                                                                                                                                         FS-044683
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                                                                                                                                          Holloway Photo Comparisons With Monitoring
          Holloway   NFSR ID    Holloway photographs                                                                 KNF photograph    Closure        Closure       KNF comment
           site ID                                                                                                                    monitor-ing      status
                                                                                                                                        date

      5              5892                                                                                                             20211202      Functional     Brushed in and
                                                                                                                                                                   narrow old
                                                                                                                                                                   jammer road.
                                                                                                                                                                   Impassable to
                                                                                                                                                                   prudent driver in
                                                                                                                                                                   current
                                                                                                                                                                   condition. and
                                                                                                                                                                   would take
                                                                                                                                                                   extensive
                                                                                                                                                                   unauthorized tre
                                                                                                                                                                   cutting to access
                                                                                                                                                                   this
                                                                                                                                                                   approximately
                                                                                                                                                                   250m long
                                                                                                                                                                   prism. No
                                                                                                                                                                   evidence of use.




      5k             5895                                                                                                             20210802      Functional     Vegetation
                                                                                                                                                                   prevents passage
                                                                                                                                                                   and is not
                                                                                                                                                                   obvious from the
                                                                                                                                                                   open road
                                                                                                                                                                   location from
                                                                                                                                                                   which the
                                                                                                                                                                   Holloway
                                                                                                                                                                   photograph was
                                                                                                                                                                   taken.




      51             14125                                                                                                            20210802      Functional     Vegetation
                                                                                                                                                                   prevents passage
                                                                                                                                                                   and is not
                                                                                                                                                                   obvious from the
                                                                                                                                                                   open road
                                                                                                                                                                   location from
                                                                                                                                                                   which the
                                                                                                                                                                   Holloway
                                                                                                                                                                   photograph was
                                                                                                                                                                   taken .




                                                                                 21

                                                                              9-ER-2203
                                                                                                                                                                                 FS-044684
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      .Resource Report for Title of Project
         Holloway        NFSR ID              Holloway photographs                                                                 KNF photograph    Closure        Closure    KNF comment
          site ID                                                                                                                                   monitor-ing      status
                                                                                                                                                      date
        5m               14126                                                                                                                      20210922      Functional   At about 150
                                                                                                                                                                               meters,
                                                                                                                                                                               vegetation (and
                                                                                                                                                                               gate) prevent
                                                                                                                                                                               passage Not
                                                                                                                                                                               obvious from the
                                                                                                                                                                               open road
                                                                                                                                                                               location from
                                                                                                                                                                               which the
                                                                                                                                                                               Holloway
                                                                                                                                                                               photograph was
                                                                                                                                                                               taken.




        6a               2335                                                                                                                       20210820      Functional   Not in Black
                                                                                                                                                                               Ram project area




        6b               5856A                                                                                                                      20210923      Functional   None




                                                                                                22
                                                                                            9-ER-2204
                                                                                                                                                                                          FS-044685
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                                                                                                                                           Holloway Photo Comparisons With Monitoring
       Holloway   NFSR ID       Holloway photographs                                                                 KNF photograph    Closure         Closure       KNF comment
        site ID                                                                                                                       monitor-ing       status
                                                                                                                                        date
      6c          5856C                                                                                                               20210923      Functional       None




      6d          5857C                                                                                                               20210922      Functional       None




      6e          5857G                                                                                                               20210922      Functional       None




                                                                                 23
                                                                              9-ER-2205
                                                                                                                                                                                FS-044686
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      .Resource Reporl for Title of Project
             olloway     NFSR ID              Holloway photographs                                                                 KNF photograph    Closure        Closure    KNF comment
             site ID                                                                                                                                monitor-ing      status
                                                                                                                                                      date
        Not indicated    5859                                                                                                                       20210922      Functional   None
        in letter




        6f               5886B                                                                                                                      20210922      Functional   None




        68               5886C                                                                                                                      20210922      Functional   None




                                                                                                 24
                                                                                            9-ER-2206
                                                                                                                                                                                      FS-044687
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                                                                                                                                           Holloway Photo Comparisons With Monitoring
       Holloway   NFSR ID       Holloway photographs                                                                 KNF photograph    Closure         Closure       KNF comment
        site ID                                                                                                                       monitor-ing       status
                                                                                                                                        date
      6h          902B                                                                                                                20210820      Functional      In the letter this
                                                                                                                                                                    was identified as
                                                                                                                                                                    902A. Not in
                                                                                                                                                                    Black Ram
                                                                                                                                                                    project area.




      6i          14118                                                                                                               20210922      Functional       None




                                                                                 25

                                                                              9-ER-2207
                                                                                                                                                                                   FS-044688
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            Ronni M. Flannery (MT Bar No. 5890)
            LAW OFFICE OF RONNI M. FLANNERY
            936 South 2nd Street, West
            Missoula, MT 59801
            (406) 214-5700
            rflannery@bresnan.net

            Edward B. Zukoski (Admitted Pro I-Iac Vice)
            CENTER FOR BIOLOGICAL DIVERSITY
            1536 Wynkoop Street, Suite 421
            Denver, CO 80202
            (303) 641-3149
            tzukoski@biologicaldiversityorg

            Andrea Zaccardi (Admitted Pro Hac Vice)
            CENTER FOR BIOLOGICAL DIVERSITY
            P.O. BOX 469
            Victor, ID 83455
            (303) 854-7748
            azaccardi@biologicaldiversityorg

            Counsel for PlaintS'

            Marla Fox (Admitted Pro Hac Vice)
            WILDEARTH GUARDIAN s
            P.O. BOX 13086
            Portland, OR 97213
            (651) 434-7737
            mfox@wildearthguardians.org

            Counsel for Plaint" WildEarth Guardians

                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MONTANA
                                    MISSOULA DIVISION




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             CENTER FOR BIOLOGICAL
             DIVERSITY, YAAK VALLEY FOREST
             COUNCIL, and WILDEARTH                      Case No. 9:22-cv-00114-DWM
             GUARDIANS,
                      Plaintiffs,

             vs.
                                                         FIRST AMENDED
             UNITED STATES FOREST SERVICE;               COMPLAINT FOR
             LEANNE MARTEN, in her official              DECLARATORY AND
             capacity as Regional Forester for the       INJUNCTIVE RELIEF
             Northern Region of the U.S. Forest
             Service, CHAD BENSON, in his official
             capacity as Supervisor of the Kootenai
             National Forest, UNITED STATES FISH
             AND WILDLIFE SERVICE, DEB
             HAALAND, in her official capacity as
             Secretary of the U.S. Department of the
             Interior, MARTHA WILLIAMS, in her
             official capacity as Director of the U.S.
             Fish and Wildlife Service, and ADAM
             ZERRENNER, in his official capacity as
             Field Supervisor for the U.S. Fish and
             Wildlife Service's Montana Ecological
             Services Office,
                      Federal Defendants.




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            Yaak area is in decline not increasing as the 2022 Biological Opinion alleges.

            Third, the agency improperly ignored the impacts on reproductive female grizzly

            bears in the area to reach its conclusion that the Project will not jeopardize grizzly

            bears. For these reasons, the 2022 Biological Opinion and Incidental Take

            Statement are arbitrary and capricious and violate requirements of the ESA.

                  10.    Because the Forest Service's approval of the Black Ram Project and

            the Fish and Wildlife Service's 2022 Biological Opinion in connection with the

            Project violate federal law, this Court should vacate the Forest Service's approval,

            vacate the 2022 Biological Opinion, and en oin logging activities and construction

            or re-constmction of roads in connection with the Project.

                  11.    The Forest Service approved the Project on June 21, 2022. The Forest

            Service stated in its media release that no harvest will occur until calendar year

            2023 and only after additional core habitat is secured for grizzly bears. Other

            activities authorized by the decision have already begun.

                                      JURISDICTION AND VENUE

                  12.    This Court has jurisdiction over this action pursuant to 28 U.S.C.

            §§ 1331 (federal question jurisdiction), 1346 (United States as a defendant),

            5 U.S.C. §§ 701-706 (Administrative Procedure Act's judicial review provisions),

            and 16 U.S.C. §§ 1540(c), (g)(1)(C) (action arising under the ESA and citizen suit


                                                       5
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            provision). This Court may order relief pursuant to 28 U.S.C. § 2201 (declaratory

            judgment) and § 2202 (further relief), and 5 U.S.C. §§ 702 and 706.

                  13.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because:

            plaintiff Yaak Valley Forest Council is based in Lincoln County, Montana, the

            lands at issue in this suit are located in Lincoln County, Montana, Federal

            Defendant Kootenai National Forest is located in Lincoln County, Montana, the

            office of Federal Defendant Chad Benson is located in Lincoln County, Montana,

            and a substantial part of the events giving rise to Plaintiffs' legal claims occurred

            in Lincoln County, Montana. See 28 U.S.C. § 1391(e)(1), D. Mont. L.R. 1.2(<:)(5),

            3.2(b).

                  14.    Plaintiffs provided Defendants with 60 days' written notice of

            Plaintiffs' intent to sue on June 30, 2022 and on September 23, 2022, as required

            by 16 U.S.C. § 1540(8)(2)(C).

                                                  PARTIES

                  15.    Plaintiff CENTER FOR BIOLOGICAL DIVERSITY (the Center) is a

            non-profit environmental organization dedicated to the preservation, protection,

            and restoration of biodiversity, native species, and ecosystems. The Center is

            headquartered in Tucson, Arizona, with offices in a number of states, including

            Montana. The Center uses science, policy, and law to advocate for the conservation


                                                       6
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                  117. By only assessing impacts against the entirety of the grizzly bear

            population in the Cabinet-Yaak Ecosystem while ignoring impacts to the small

            disjunct population of grizzly bears residing in the Yaak, Fish and Wildlife

            Service's analysis superficially underestimates the impacts that the Black Ram

            Project could have on the Yaak Valley grizzly bear population.

                  118. Even without these crucial analyses, however, Fish and Wildlife

            Service concludes that the Black Ram Project will not jeopardize grizzly bears.

                                     F_IRST CAUSE OF ACQON
                            (NEPA & APA Violations: Failure to Take a Hard Look)
                  119. The allegations in all preceding paragraphs are incorporated herein by

            reference.

                  120. NEPA and its implementing regulations require federal agencies,

            including the Forest Service, to take a "hard look" at the environmental

            consequences of proposed actions and the reasonable alternatives that would avoid

            or minimize such impacts or enhance the quality of the human environment. See

            42 U.S.C. § 4332(2)(C)(i), 40 C.F.R. Parts 1502 and 1508 (1978). Agencies must

            take a hard look at the direct, indirect, and cumulative impacts of a proposed

            agency action and all alternatives in an EA. 40 C.F.R. §§ 1508.7, 1508.8 (1978).

            The information presented in the EA must be of high quality and include "accurate




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            scientific analysis, and disclose that information and analysis, and its limitations, to

            the public. 40 C.F.R. § 1500.1(b)-(0) (1978).

                  121. NEPA also requires environmental analysis to disclose existing

            conditions in the project area to provide a baseline against which the impacts of

            alternative courses of action can be compared. Id.

                  122. The Forest Service failed to take the required "hard look" to consider

            and disclose the Black Ram Project's direct, indirect, and cumulative impacts,

            including impacts to the imperiled grizzly bear and impacts to-and from-climate

            change.

                  123. For example, the Forest Service failed to disclose baseline conditions

            of grizzly bears in the pro ect area, including, inter alia, basing the agency's

            analysis on the grizzly bear population in the combined Cabinet-Yaak ecosystem,

            when the Yaak ecosystem population is effectively isolated from the Cabinet

            ecosystem population. Given that the tiny population in both the Yaak and

            Cabinet-Yaak are SO small that they are subject to extirpation with the loss of even

            one or two reproducing females, or harm to their reproductive success, the Forest

            Service was required to consider the risk of permanently harming the recovery of

            grizzly bears in the Yaak Valley.




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                  124. Further, the Forest Service failed to take a hard look at the cumulative

            impacts of the Black Ram Proj ect together with other projects likely to impact

            grizzlies in the area. For example, the Forest Service inappropriately limited its

            cumulative impacts analysis to impacts within the Black Ram Project area, despite

            the fact that: (1) grizzlies have large home ranges and so bears there will likely

            travel in and out of the project area, and SO actions beyond the project area may

            cumulatively impact bears, and (2) actions in Canada, which is directly adj scent to

            the project area and part of the Yaak ecosystem, are likely to impact grizzlies in the

            Yaak ecosystem together with the Black Ram Project.

                  125. Regarding actions near and adj scent to the Black Ram Project area,

            and that will impact grizzly bears and other values within and beyond that project

            area, the Forest Service also inappropriately omitted from its cumulative impacts

            analysis two logging projects (the Knotty Pine Proj ect and the Lower Yaak

            Project), and improperly discounted the cumulative impacts from the Bucldrorn

            Project. These three projects, together with the Black Ram Proj ect, impact a

            contiguous landscape of 240,000 acres of the Kootenai National Forest in the

            Cabinet-Yaak grizzly bear recovery zone .

                  126. The Buckhorn Project area abuts the southern boundary of the Black

            Ram Project area. Buckhorn approved the removal of more than 15 million board


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            feet of commercial timber, and project implementation is ongoing. The Knotty

            Pine Project area is located adj scent to and south of the Buckhorn Proj ect, and is

            less than 10 miles south of the southern boundary of the Black Ram Project.

            Knotty Pine involves more than 5,000 acres of logging, including 2,900 acres of

            commercial logging. The Forest Service is currently implementing Knotty Pine.

            Conservation groups have challenged Knotty Pine in litigation before this court.

            See Center for Biological Diversity V. Forest Service (D. Montana 22-CV-91-

            DLC-KLD). The Lower Yaak Project area abuts the south end of the Knotty Pine

            Project and is about 12 miles south of the southern boundary of the Black Ram

            Project area. Implementation of the Lower Yaak Proj ect is ongoing, and involves

            road construction and removal of 38 million board feet of commercial timber.

            Together with the Black Ram Proj ect, these three ongoing projects are likely to

            cumulatively impact grizzly bears and a variety of other values.

                  127. Climate impacts are among the impacts NEPA requires agencies to

            consider and disclose. See, e.g., Center for Biological Diversity V. NHTSA, 538

            F.3d 1172 (9th Cir. 2008), Mont. Envtl. Info. Ctr. V. United States Office of

            Surface Mining, 274 F. Supp. 3d 1074 (D. Mont. 2017) (vacating and setting aside

            mine plan modification in part due to agency's failure to quantify coal mine

            climate pollution).


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                  128. The Black Ram EA fails to disclose adequately the climate change

            impacts of the Black Ram Project. Specifically, the Final EA fails to disclose the

            impacts of the proposed action alternatives on carbon storage compared to the no

            action alternative. Further, the EA fails to disclose the climate pollution impacts of

            project implementation - the use of fossil fuel engines to build roads, cut trees, and

            remove and transport cut logs to mills - compared to the no action alternative. The

            EA thus failed to take a "hard look" at the Black Ram Project's climate pollution

            impacts, in violation of NEPA.

                  129. The Forest Service's failure to take the required "hard look" at the

            Project's direct, indirect, and cumulative impacts and the agency's failure to

            accurately disclose the baseline conditions violates NEPA. By relying on the

            defective EA and Finding oflNo Significant Impact for its decision, the Forest

            Service's action is arbitrary, capricious, an abuse of discretion, or otherwise not in

            accordance with law, which has substantially prejudiced Plaintiffs and accordingly

            must be held unlawful and set aside. 5 U.S.C. § 706(2)(A).

                               SECOND CAUSE OF ACTION
                 (NEPA & APA Violations: Failure to Prepare an Environmental Impact
                                            Statement)
                  130. The allegations in all preceding paragraphs are incorporated herein by

            reference.


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                  131. NEPA requires federal agencies to prepare a full environmental

            impact statement (EIS) before undertaking "major Federal actions significantly

            affecting the quality of the human environment." 42 U.S.C. § 4332(2)(C). The

            Ninth Circuit has held that "that an EIS must be prepared if 'substantial questions

            are raised as to whether a project ... may cause significant degradation to some

            human environmental factor."' Idaho Sporting Cong. V. Thomas, 137 F.3d 1146,

            1149-50 (9th Cir. 1998) (citations omitted) (emphasis original).

                  132. In evaluating whether to prepare an EIS, agencies address whether

            impacts may be "significant" by considering the "context" and "intensity" of a

            proposal's impact. 40 C.F.R. § 1508.27 (1978). Determining "intensity" requires

            the evaluation of numerous "significance" factors, including: (a) the "unique

            characteristics of the geographic area," including Wild and Scenic Rivers, (b) the

            degree to which the effects on the quality of the human environment are likely to

            be highly controversial, (c) the "degree to which the possible effects on the human

            environment are highly uncertain or involve unique or unknown risks,"

            (d) "[w]hether the action is related to other actions with individually insignificant

            but cumulatively significant impacts," (e) "[t]he degree to which the action may

            adversely affect an endangered or threatened species," and (f) whether the action




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            threatens a violation of Federal, State, or local law or requirements imposed for the

            protection of the environment. 40 C.F.R. § 1508.27(b) (1978).

                  133. To avoid preparing an EIS, an agency must set forth a "convincing

            statement of reasons" explaining why the action will have no significant

            environmental impact. 40 C.F.R. § 1508. 13 (1978). If the agency's action may be

            environmentally significant according to any of the criteria, the agency must

            prepare an EIS.

                  134. The Forest Service failed to prepare an EIS to analyze the Project's

            impacts, despite the fact that, among other things: (1) the Black Ram Proj ect may

            significantly harm unique characteristics of the area, including lands eligible for

            wild and scenic river designation, inventoried roadless areas, the Pacific Northwest

            National Scenic Trail, threatened and endangered species (including the grizzly

            bear), and their habitat, old growth and mature forest stands, (2) the Black Ram

            Project's effects on the environment are highly uncertain because the impacts the

            project seeks to forestall (beetle infestation and wildfire) may never occur, (3)

            logging mature and old growth forest that is already properly functioning habitat in

            an attempt to maintain or improve resilience to drought, insect and disease

            outbreaks, and wildfire is highly controversial and involves a high degree of

            scientific uncertainty, (4) the Black Ram Project, when combined with past and


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            reasonably foreseeable future neighboring timber sales may result in cumulatively

            significant impacts on the environment, (5) the Black Ram Project will adversely

            affect the grizzly bear, a threatened species, and (6) the Black Ram Proj ect is

            inconsistent with the Kootenai's Forest Plan components imposed for the

            protection of the environment, threatening a violation of NFMA.

                  135. The Forest Service's Finding of No Significant Impact and its failure

            to complete an EIS, despite the fact that the Black Ram Proj ect may significantly

            affect the quality of the environment, violates NEPA and is arbitrary, capricious,

            an abuse of discretion, or otherwise not in accordance with law. 5 U.S.C.

            § 706(2)(A).

                                THIRD CAUSE OF ACTION
              (NFMA & APA Violations: Project is Inconsistent with Kootenai Forest Plan)
                  136. The allegations in all preceding paragraphs are incorporated herein by

            reference.

                  137. NFMA requires the Forest Service to ensure that its site-specific

            actions comply with the requirements of the governing Forest Plan. 16 U.S.C.

            § l604(i). The Kootenai Forest Plan includes plan components for timber

            harvesting and vegetation management. It also contains management-area plan

            components, including components specific to river segments identified for

            inclusion as part of the Wild and Scenic Rivers System.

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                  138. The Forest Service failed to ensure the Black Ram Proj ect complies

            with the Kootenai Forest Plan's desired conditions, standards, and guidelines, in

            violation of NFMA, including the following failures:

                         a. Authorizing timber harvest in eligible wild river segments, as

                            prohibited by Forest Plan standard MA2-STD-TBR-01 .

                        b. Authorizing logging within 579 acres of old growth stands and 0.8

                            miles of new road construction through old growth forest, contrary

                            to Forest Plan standard FW-STD-VEG-01 .

                  139. By failing to ensure compliance with the Kootenai Forest Plan, the

            Forest's action approving the Black Ram Proj ect through the EA and Finding of

            No Significant Impact and Decision Notice is arbitrary, capricious, an abuse of

            discretion, and not in accordance with the law, which has substantially prejudiced

            Plaintiffs, and accordingly must be held unlawful and set aside. 5 U.S.C. § 706(2).

                                   FOURTH CAUSE OF ACTIO_N
            (ESA Violation: Failure to Use the Best Available Science and Accurate Baseline)
                  140. During consultation, Fish and Wildlife Service must review all

            relevant information available, and in doing so must evaluate the current status and

            environmental baseline of the listed species. 16 U.S.C. § l536(b)(3)(A), 50 C.F.R.

            §§ 402.14(8)(1), (2).




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                  141. Further, in analyzing impacts from a pro ect on listed species in a

            biological opinion, the ESA requires that Fish and Wildlife Service utilize the "best

            scientific and commercial data available." 16 U.S.C. § 1536(a)(2), 50 C.F.R.

            § 402.14(d).

                  142. In the Black Ram Biological Opinion, Fish and Wildlife Service used

            an estimated population of 60 grizzly bears in the Cabinet-Yaak Ecosystem to

            assess impacts from the Project. See 2022 Biological Opinion at 9 (citing Kasworm

            et al. (2021)). This 60 population estimate relies upon a 2. 1% growth rate to the

            midpoint of the population range estimate reported in Kendall et al. (2016) (in

            which the authors reported a 2012 population estimate of 48-50 bears). This 2. 1%

            growth rate is seriously flawed because it excludes survival and morality data for

            adult and sub-adult males, management-trapped bears, and augmentation bears.

            See Kasworm et al. (2021) at 10-12 (calculating the population growth rate based

            on adult and subadult female survival, yearling and cub survival, age at first

            parturition, reproductive rate, and maximum age of reproduction). By excluding

            survival and mortality rates for segments of the bear population that are likely to

            suffer the highest mortality rates, Fish and Wildlife Service relied on a flawed

            growth rate that is likely to cause an inflated population estimate. Thus, the




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            population estimate of 60 bears is not only outdated but is also based upon flawed

            assumptions that do not reflect the best available science.

                  143. Fish and Wildlife Service also ignores recent information from 2018-

            2020 indicating a likely declining population in the Cabinet-Yaak Ecosystem

                  144. Even while relying on an inflated population estimate, Fish and

            Wildlife Service acknowledges that there is a 33 percent probability that the

            population is decreasing. Despite this recognition, Fish and Wildlife Service uses

            the 60 grizzly bear estimate that is derived from a 2. 1% growth rate from 2012

            numbers to assess impacts from the Project.

                  145. Also, despite its own data showing there is a 33 percent probability

            that the Cabinet-Yaak Ecosystem grizzly bear population is decreasing, Fish and

            Wildlife Service relies upon the unsupported assumption that the population trend

            is increasing in its no-jeopardy determination.

                  146. Because Fish and Wildlife Service ignores flaws in the methodology

            used to derive the population estimate and ignores new data showing that the

            grizzly bear population in the Cabinet-Yaak is likely decreasing, Fish and Wildlife

            Service has failed to use the best available science and has not produced an

            accurate baseline against which to assess the Project's impacts, in violation of the




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            ESA. See 16 U.S.C. § 1536(a)(2)§ id. § 1536(b)(3)(A); 50 C.F.R. §§ 402.14((1)8 id.
            §§ 402.14(8)(1), (2).

                                  FIFTH CAUSE OF ACTION
                    (ESA and APA Violation: Failure to Consider an Important Factor)

                  147. The best available science shows that grizzly bears in the Yaak Valley

            and grizzly bears in the Cabinet-Mountains are completely isolated from each other

            with no genetic exchange, and thus they function as two disjunct populations.

                  148. The Black Ram Project area lies only within the Yaak Valley portion

            of the Cabinet-Yaak Recovery Zone and thus will disproportionately impact

            grizzly bears in the Yaak.

                  149. Fish and Wildlife Service never analyzes the lack of connectivity

            between grizzly bears in the Yaak and grizzly bears in the Cabinets, and how the

            Project is likely to disproportionately impact grizzly bears in the Yaak.

                  150. Fish and Wildlife Service only looked at impacts of the Proj ect on the

            entire population of grizzly bears in the Cabinet-Yaak Recovery Zone, never

            considering the impacts on the small and isolated population of grizzly bears in the

            Yaak Valley.

                  151. Fish and Wildlife Service never analyzed whether the Black Ram

            Project could lead to or increase the chances of extirpation of grizzly bears in the

            Yaak Valley.

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                  152. Fish and Wildlife Service never analyzed what a significant reduction

            of grizzly bears in the Yaak Valley could mean for recovery of grizzly bears in the

            Cabinet-Yaak Recovery Zone as a whole.

                  153. Because Fish and Wildlife Service failed to acknowledge the

            disproportionate impacts that the Black Ram Project will have on the isolated Yaak

            Valley population, or analyze what that could mean for the future of this small

            grizzly bear population, Fish and Wildlife Service has entirely failed to consider an

            important aspect of the problem, rendering the Biological Opinion arbitrary and

            capricious and contrary to law. 5 U.S.C. § 706(2)(A), State Farm, 463 U.S. at 43 .

                                     SIXTH CAUSE OF ACTION
                (ESA Violation: Fish and Wildlife Service Fails to Support Its No-Jeopardy
                                                Finding)

                  154. Section 7 of the ESA requires each federal agency, in consultation

            with a federal wildlife agency, (Fish and Wildlife Service for the grizzly bear), to

            insure that any proposed action is not likely to jeopardize the continued existence

            of a listed species, or result in the destruction or adverse modification of critical

            habitat. 16 U.S.C. § 1536(a)(2). To "jeopardize the continued existence of" means

            "to engage in an action that reasonably would be expected, directly or indirectly, to

            reduce appreciably the likelihood of both survival and recovery of a listed species




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            in the wild by reducing the reproduction, numbers, or distribution of that species.

            50 C.F.R. § 402.02.

                  155. The Ninth Circuit has made clear that a species may be jeopardized

            even "if there is no appreciable reduction of survival odds" because "a species can

            often cling to survival even when recovery is far out of reach." Nat'l Wildlife

            Fed'n V. Nat'l Marine Fisheries Serv., 524 F.3d 917, 931 (9th Cir. 2008),

            superseded by statute on other grounds, as stated in Sovereign Inupiat for a Living

            Arctic v. Bureau of Land Mgmt., 21-CR-20290, 2021 U.s. Dist. LEXIS 1555471              9




            at *75 (D. Alaska Aug. 18, 2021). Thus, Fish and Wildlife Service "must analyze

            effects on recovery as well as effects on survival." Id. at 932.

                  156. Under the ESA, "[r]ecovery means improvement in the status of listed

            species to the point at which listing is no longer appropriate under the criteria set

            out in section 4(a)(1) of the Act." 50 C.F.R. § 402.02. Moreover, the regulations

            make clear that "reducing the reproduction" of a species may constitute

            jeopardizing the survival or recovery of that species. Id.

                  157. As Fish and Wildlife Service recognizes in the Biological Opinion,

            "[p]ursuant to Service policy, when an action impairs or precludes the capacity of a

            recovery unit from providing both the survival and recovery function assigned to it,

            that action may represent jeopardy to the species (U.S. Fish and Wildlife Service


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            memo, March 6, 2006)." 2022 Biological Opinion at 7. Thus, an agency action that

            negatively impacts the survival or recovery or grizzly bears in the Cabinet-Yaak

            Recovery Zone may be sufficient to lead to a positive jeopardy finding, even if the

            action does not cause jeopardy across the grizzly bear's entire range in the lower

            48 States.

                  158. There are currently two known reproducing females that use the

            action area. Fish and Wildlife Service noted that during project implementation,

            administrative use limits on restricted roads will increase Open Motorized Route

            Density and Total Motorized Route Density, and "female grizzly bears are

            expected to experience significant effects to feeding, breeding, or sheltering." 2022

            Biological Opinion at 51. Further, Fish and Wildlife Service acknowledged that

            female grizzly bears may be displaced as a consequence of the Project and that

            reproductive success for females may be negatively affected for at least 3-5 bear

            years, potentially affecting reproductive cycles for adult female grizzly bears. Id. at

            52-53.

                  159. These impacts are of especially significant import for grizzly bears

            because they have one of the slowest reproductive rates among terrestrial

            mammals, as a result of a late age of first reproduction, small average litter sizes,




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            and a long inter-birth interval. Given these factors it may take a female grizzly bear

            ten or more years to replace herself in a population.

                  160. In the Cabinet-Yaak Recovery Zone, several recovery goals set in the

            1993 Recovery Plan have not been met including criterial related to occupancy and

            reproduction by female grizzly bears. Thus, the impact to 1-2 reproductive cycles

            for at least two currently reproductive adult females using the project area could

            seriously impair meeting recovery goals.

                  161. Despite this information, Fish and Wildlife Service arbitrarily

            concluded that because impacts will be temporary, the Black Ram Proj ect will not

            reduce the reproduction of grizzly bears in the recover zone, and therefore, the

            Project will not lead to jeopardy. See id. at 55 ("Because the Black Ram Project

            will not reduce the reproduction, numbers, or distribution of grizzly bears

            throughout the [Cabinet-Yaak Ecosystem] population as well as other grizzly bear

            populations in the lower 48, we conclude that the level of adverse effects is not

            reasonably expected to reduce appreciably the likelihood of both the survival and

            recovery of the listed entity of grizzly bears as a whole."). In reaching this

            conclusion, not only did Fish and Wildlife Service gloss over the impacts on

            reproductive females in the project area, but Fish and Wildlife Service ignored its

            own policy that requires the agency to determine whether pro ect impacts would


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            impact the survival and recovery of grizzly bears in the Cabinet-Yaak Recovery

            Zone alone, not just "the listed entity of grizzly bears as a whole."

                  162. Fish and Wildlife Service failed to rationally determine, based on a

            consideration of all relevant factors, whether the Black Ram Proj ect will jeopardize

            the survival of the grizzly bear population in the Cabinet-Yaak Recovery Zone. See

            Ctr. for Biological Diversity V. BLM, 698 F.3d 1101, 1121 (9th Cir. 2012). By

            applying the incorrect standard to reach its jeopardy conclusion in failing to

            consider the survival and recovery impacts to the grizzly bear population in the

            Cabinet-Yaak Recovery Zone and by ignoring how impacts to reproductivity will

            impair recovery in this recovery zone, Fish and Wildlife Service reached a

            jeopardy conclusion that is arbitrary and capricious, in violation of the ESA and

            APA. 16 U.S.C. § 1536(3)(2), 5 U.S.C. § 706(2)(A).

                  163. Moreover, as described more fully above, Fish and Wildlife Service

            failed to rely on the best available science and data in its jeopardy analysis, relying

            on the unsupported conclusion that the Cabinet-Yaak grizzly bear population is

            increasing. The difference between an increasing population trend, decreasing

            population trend, or stagnant level is a key and relevant factor to Fish and Wildlife

            Service's no-j eopardy determination. Because Fish and Wildlife Service failed to

            consider the best available science in analyzing the Cabinet-Yaak grizzly bear


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            population trend, Fish and Wildlife Service's no-j eopardy determination is

            arbitrary. The facts found do not rationally support Fish and Wildlife Service's

            conclusion. 16 U.S.C. § 1536(3)(2), 5 U.S.C. § 706(2)(A),_50 C.F.R. § 402.14((1),

                                SEVENTH CAUSE OF ACTION
               (ESA and APA Violation: The Forest Service May Not Lawfully Rely on the
                                    Flawed Biological Opinion)

                  164. The Forest Service cannot rely on a faulty biological opinion to fulfill

            its substantive Section 7 duties to insure it does not jeopardize the continued

            existence of a listed species. See Defs. of Wildlife V. Envtl. Plot. Agency, 420 F.3d

            946, 976 (9th Cir. 2005) (rev'd on other grounds, Nat'l Ass'n of Home Builders V.

            Defs. oflWildlife, 551 U.S. 664 (2007)), Resources Ltd. Inc. V. Robertson, 35 F.3d

            1300, 1304 (9th Cir. 1994) ("Consulting with the Fish and Wildlife Service alone

            does not satisfy an agency's duty under the Endangered Species Act."). The Forest

            Service violates the ESA if it approves or implements an action in reliance on a

            legally flawed biological opinion or fails in its approval or implementation

            decision "to discuss information that would undercut the [biological] opinion's

            conclusion." Ctr. for Biological Diversity V. BLM, 698 F.3d at 1127-28, accord

            WildEarth Guardians V. Steele, 545 F.Supp.3d 855, 880 (D. Mont. 2021).

                  165. Because the 2022 Biological Opinion was arbitrary and unlawful for

            the reasons stated above, the Forest Service's reliance on this inadequate


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            Biological Opinion in authorizing the Black Ram Project was likewise unlawful.

            See Ctr. for Biological Diversity V. BLM, 698 F.3d at 1127-28.

                  166. The Black Ram Project Decision Notice and Finding of No

            Significant Impact relying on the unlawful Biological Opinion are therefore

            arbitrary, capricious, and not in accordance with law and should be set aside

            pursuant to the ESA and APA. 16 U.S.C. § 1540(g), 5 U.S.C. § 706(2).

                                         PRAYER FOR RELIEF

                  Plaintiffs respectfully request that this Court enter judgment in their favor

            and against Defendants and provide the following relief:

                  1.    Declare that Defendants U.S. Forest Service, Regional Forester

            Marten in her official capacity, and Forest Supervisor Chad Benson in his official

            capacity violated NEPA, regulations implementing NEPA, NFMA, the ESA, and

            the APA in approving the Black Ram Project,

                  2.     Declare that Defendants U.S. Fish and Wildlife Service, Secretary

            Deb Haaland in her official capacity, Director Martha Williams in her official

            capacity, and Supervisor Adam Zerrenner in his official capacity violated the ESA

            and APA in approving the Black Ram Biological Opinion,

                  3.     Declare unlawful, set aside, and vacate the Defendant U.S. Fish and

            Wildlife Service's Biological Opinion,


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            Kris A. McLean
            Tyson A. McLean
            Kris A. McLean Law Fimi, PLLC
            2315 McDonald Ave., Suite 106
            Missoula, MT 5980 l
            kris@krismcleanlaw.com
            tyson@krismcleanlaw.com
            Julie Weis
             HAGLUND KELLEY LLP
            2177 SW Broadway
            Portland, OR 97201
            jweis@hk-law.com
            (Motion for admission pro lac vice pending)

            Attorneys for Proposed Dgféndant-Intervenor
            Kootenai Tribe ofldaho


                           IN THE UNITED STATES DISTRICT COURT
                               FUR THE DISTRICT OF MONTANA
                                    MISSOULA DIVISION


             CENTER FOR BIOLOGICAL                       Case No: 9:22-cv-00114-DWM
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                                                         DECLARATION OF SCOTT
                   vs.                                   SOULTS

             U.S. FOREST SERVICE, et al.,
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              KOOTENAI TRIBE OF IDAHO,
                                Proposed Defendant-
                                Intewenor.
              DECLARATION OF SCOTT SOULTS                                   'I I :""*
                                                                         HAGLUND KELLEY LLP I
                                                                       I ATTORNEYS AT LAW I
                                                                       1l      .
                                                                          PORTLAND,
                                                                                          l*
                                                                           2 l 77 SW Broadway
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                  I, Scott Soults, being swam, declare as follows:

                  1.    I am the Fish and Wildlife Department Wildlife Division Manager for

            the Kootenai Tribe of Idaho (the Kootenai Tribe or the Tribe). I make this

            declaration based on personal knowledge and in support of the Tribe's motion to

            intervene in this lawsuit challenging the Forest Service's Black Ram Project (the

            Project) on the Kootenai National Forest (the Forest). I am over the age of 18, and

            if called as a witness would testify competently as follows.

                  2.    I am a wildlife biologist who holds a Bachelors of Science degree in

            wildlife biology (with a minor in botany and zoology) from the University of

            Montana, obtained in 1991. From 1995-97, I also studied raptor biology at Boise

            State University and undertook post-graduate course work. Prior to that (1985), I

            obtained an associate's degree in business administration from Scott Community

            College.

                  3.     I have been working as a wildlife biologist in various capacities since

            1989, when started working on northern spotted owl issues with the Forest

            Service on the Mt. Hood National Forest. Until 1993, I worked with the Forest

            Service on interdisciplinary teams in timber sale planning and with the

            Washington, D.C. Spotted Owl Supplemental Environmental Impact Statement


             Page 1 n DECLARATION OF SCOTT SOULTS
                                                                           HAGLUND KELLEY LLP
                                                                            ATTORNEYS AT LAW
                                                                              2177 SW Broadway
                                                                                            l
                                                                            PORTLAND, OR 9720




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            Team based in the Region 6 regional office. Among other responsibilities, I

            planned, organized and implemented a regional spotted owl surveying and

            monitoring program on 150,000 acres of wilderness.

                   4.     From 1993-96, I became certified as an Environmental Site Assessor

            and worked for a private environmental consulting company where, among other

            things, I completed Phase I and Phase II Environmental Site Assessments. From

            1996-97, I ran my own private consulting company where I conducted biological

            and environmental assessments and offered wetland delineations, Idaho threatened

            and endangered species consultations and various evaluations, among other tasks.

                   5.     From 1997-99, I was employed with the United States Department of

            Agriculture Natural Resources Conservation Service (NRCS) in Missouri where I

            provided wildlife habitat program assistance to not only the NRCS but also to the

             Missouri Department of Conservation, Missouri Department of Natural Resources,

             landowners and other entities, including the U.S. Fish and Wildlife Service (FWS).

             My responsibilities included quail, pheasant, rabbit and turkey habitat

             enhancements, agricultural production methods and economics for conservation

            practices related to the State of Missouri NRCS open lands program on the

             restoration of 1.1 million acres of public and private lands.


              Page 2    DECLARATION OF SCOTT SOULTS
                                                                             HAGLUND KELLEY LLP
                                                                              ATTORNEYS AT LAW
                                                                                2177 SW Broadway
                                                                              PORTLAND, OR 9720 l




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                   6.    I joined the Kootenai Tribal Fish and Wildlife Department in 1999

            and have been here ever since. Originally, my job responsibilities focused on

            developing a wildlife program to enhance Tribal subsistence gathering and hunting

            opportunities, increasing hydroelectric mitigation participation, and recovering,

            protecting and managing sustainable native wildlife populations and habitats. In

            many respects, those job responsibilities were interrelated due to the operational

            impacts of Libby Dam, which became fully operational in 1975.

                   7.    Libby Dam, located on the Kootenai River, was built for hydroelectric

             power production, flood control and recreation. Its operations altered historic flow

            patterns in the lower Kootenai River, caused a loss in biological productivity and

            dewatered previously inundated riparian areas, among other detrimental

            environmental impacts. Prior to Libby Dam's construction, the floodplains had

             been highly productive and functional wetlands that supported Tribal hunMg,

             fishing and gathering. Species like Kootenai River white sturgeon and burbot were

             primary food sources for the Kootenai people, who also fished and hunted for

             kokanee, westslope cutthroat trout, deer, elk and moose, all of which were

             supported by the Kootenai River in one way or another.




              Page 3 -. DECLARATION OF SCOTT SOULTS
                                                                           HAGLUND KELLEY LLP
                                                                            ATTORNEYS AT LAW
                                                                             2177 SW Broadway
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                   8.    I continue to do mitigation work for the Tribe as a wildlife biologist,

            and the Tribe has hired two more biologists and two wildlife technicians to help

            with this important effort. We currently are preparing to build a conservation

            nursery to grow native plants historically associated with floodplain and riparian

            habitats for use in our restoration efforts.

                   9.    As the Kootenai Tribe's Wildlife Division Manager, I oversee the

            policy and programmatic aspects of Tribal wildlife and related habitat issues. I

            also provide subject matter and policy development briefings to the Kootenai

            Tribal Council on a regular basis and provide representation on Tribal policy

            positions in multiple regional and local forums involving stakeholders from the

            state, county, Kootenai Valley Resource Initiative, FWS, Forest Service and other

            entities.

                   10.   The Kootenai Valley Resource Initiative (KVRI) formed in 2001 at

            the urging of the Tribe, whose belief in collaborative approaches and coImnunity

            involvement led it to approach the City of Bonners Ferry and Boundary County,

            Idaho about forming an organization that would foster citizen participation in

            protecting and restoring natural resources in the Kootenai River Valley. KVRI

            membership includes the Tribe, local governments, federal and state agencies,


             Page 4 DECLARATION OF SCOTT SOULTS
                                                                           HAGLUND KELLEY LLP
                                                                            ATTORNEYS AT LAW
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            environmental advocacy groups, representatives of business and industry, and

            private citizens and landowners. KVRI subcommittees focus on different natural

            resource areas - the Forestry Subcommittee focuses on addressing forest issues

            using a landscape approach, for example, whereas the Grizzly Bear Subcommittee

            focuses on educating community members about grizzly bear management,

            recovery, the prevention of human/bear conflict, bear attractants and related

            matters.

                   11.   The Tribe and its KVR1 partners engage in real, hands-on efforts

            aimed at promoting a more holistic, ecosystem-oriented approach to restoring

            healthy ecosystem functions for the benefit of natural resources. For example, the

            Tribe and its KVRI partners are active proponents of forest restoration work on the

            Idaho Panhandle National Forest, including through the Collaborative Forest

            Landscape Restoration Program, which was established by Congress in 2009 to

            "encourage the collaborative, science-based ecosystem restoration of priority forest

            landscapes." 16 U.S.C. §7301. The Tribe also participated actively in the most

             recent Forest Plan revision process for both the Kootenai and Idaho Panhandle

            National Forests - I personally participated in the ecological review process for the

            Forest Plans.



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                                                                            ATTORNEYS AT LAW
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                   12.   As the Kootenai Tribe's Wildlife Division Manager, I work closely

            with Gary Aitken, Jr., the Tribal Council Vice-Chairman who is responsible for

            Tribal Council oversight of natural resource matters. He also serves as the Tribe's

            official representative OI] the Interagency Grizzly Bear Committee's (IGBC)

            Selkirk/Cabinet-Yaak Subcommittee and has tasked me with attending

            Subcommittee meetings as his delegate.

                   13.   After the grizzly bear was listed under the Endangered Species Act in

            1975 as a threatened species, FWS developed a recovery plan that identified six

            recovery ecosystems, including the Selkirk and Cabinet-Yaak ecosystems. The

             GBC's Selkirk/Cabinet-Yaak Subcommittee is responsible for overseeing those

            two ecosystems - the Subcommittee's detailed role is available at this link:

            https ://igbconline.org/committees/selkirk/#1628200502176-fc1 d4348-7ae7. The

            Selkirk/Cabinet-Yaak Subcommittee meets two times per year, and I report back to

            the Vice-Chairman on whether the Subcommittee is following Tribal desires and

             needs with respect to the bear. Tribes originally were not represented on the IGBC

            Subcommittees but pushed for and obtained representation because of the Tribal

             importance of the species.




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                                                                          HAGLUND KELLEY LLP
                                                                           A7TORNEYS AT LAW
                                                                             2177 SW Broadway
                                                                           PORTLAND, OR 9720 l




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                   14.    One thing I am advocating for on the Subcommittee is for FWS to

            help fund a pemfianent Northern Idaho conflict biologist for the bears. Conflicts

            between humans and bears may end poorly for the bear but often can be avoided.

            This past summer, for example, two grizzly bears were lolled for management

            purposes (i.e., assessed as habituated after bears repeatedly lolled/fed on livestock)

            in the Kootenai River Valley. I believe humans and bears could better coexist if

             we further educated the community on the benefits of doing such things as

            reducing bear attractants and improving security measures by installing electric

            fences.

                   15.    To follow the Kootenai Tribe's holistic approach to natural resources

             conservation and restoration, Itry to understand dmc Tribe's historical uses of

             natural resources as bestI can (much of the Tribe's sacred history cannot be shared

             with non-Kootenai like myself). Through my conversations with Tribal elders,

             many of whom have passed, I have learned much about the relationship between

             natural resources restoration and Tribal needs. Tribal elders have taught me that

             the Forest looks wrong, not like it looked when they were young and the Forest

             was healthy and resilient. Historically, the Kootenai people actively managed the

             forest landscape, including through the use of fire, to meet Tribal and natural


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                                                                            HAGLUND KELLEY LLP
                                                                             ATTORNEYS AT LAW
                                                                              2177 SW Broadway
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            resource needs based on traditional knowledge. But under federal management,

            fire was restricted on the forest landscape, which decreased forest resiliency to

            disturbance and resulted in an unhealthy forest ecosystem that today endangers

            Kootenai resources.

                   16.    I am familiar with the Black Ram Project area because I have and will

            continue to recreate in the area. My property in Moyie Springs, Idaho is located to

            the southwest of the Project area, and adjacent to the northwest comer of Montana.

            The Project area encompasses a diverse landscape within time Northwestern

            Montana Forest Region. The forests within the Project area include those where

             the mountain range climate is cool temperate with some inland maritime influence,

             along with forested habitats that are lower elevation and characterized by dry forest

             types. The management of high elevation, moist forested habitat where the fire

             return interval historically was on the order of hundreds of years differs from that

             of warm/dry forested habitat where fire was an integral part of the landscape and

             kept ladder fuels in check. Forest Service professionals apply this knowledge and

             employ landscape/biological assessments, habitat typing characteristics and site-

             specific silvicultural prescriptions to each treatment unit.




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                                                                            HAGLUND KELLEY LLP
                                                                             ATTORNEYS AT LAW
                                                                               2177 SW Broadway
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                  17.    From a professional perspective, because the Black Ram Project is in

            Kootenai Territory and involves Kootenai resources, the Tribe engaged with the

            Forest Service both at the staff level and through government-to-government

            consultation during Project development. Tribal staff like myself meet regularly

            with Forest Service specialists to discuss land management projects and the

            Kootenai Tribe's perspective on those projects. Once or twice a year, Tribal

            Council meets with the Forest Supervisor in government-to-govemment

            consultation.

                  18.    On Black Ram, Tribal staff (including myself) met with the Forest

            Service, beginning during pre-scoping and continuing through Project development

            and approval, to discuss potential impacts on cultural resources, hunting,

            recreation, huckleberries, aquatic resources, old-growtdn management, fire

            management, ungulate winter range, and grizzly bears, among other things. From

            the outset, I was pleased to see that the Forest Service was proposing a significant

            number of acres for fuels reduction and a significant number of miles for road

            storage - the Project Decision Notice allows for 3,581 acres of fuels treatment with

            timber harvest and 7,553 acres of fuels treatment without timber harvest, for a total

            of more than 11,000 acres of fuels treatments, along with the storage of 32 miles of


             Page 9 ._ DECLARATION OF SCOTT SOULTS
                                                                           HAGLUND KELLEY LLP
                                                                            ATTORNEYS AT LAW
                                                                              2177 SW Broadway
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            roads, plus the decommissioning of about 23 miles of roads. These activities

            continue to be based on sound professional review and will be beneficial to the

            forest ecosystem and Kootenai resources.

                  19.    Regarding the grizzly bear itself since the Project is located in two

            Bear Management Units, Bear Management Unit 14 (Northwest Peaks) and Bear

            Management Unit 15 (Garver), we talked with the Forest Service about potential

            proposed action and alternatives impacts and related activities on the bear and

            ways to avoid such impacts. Grizzly bear core areas on the Forest are those

            portions of a bear management unit greater than 500 meters from a motorized

            route. The Forest Plan requires that projects either insure no net loss of core or

            provide for in-kind replacement of core habitat. The Project will do the latter - the

            in-kind replacement of core habitat would maintain the existing core 'm the

            Northwest Peaks Bear Management Unit and slightly exceeds the Forest Plan

            requirement for a 1:1 in-ldnd exchange in the Garver Bear Management Unit. In

            addition, approximately 34 miles of Kootenai National Forest roads will be stored

            for in-kind replacement of Core lost by road-related Project activities. (The

            August 2022 Biological Opinion for the Project states that both Bear Management

            Units will have slightly more core habitat compared with the existing condition,


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                                                                            HAGLUND KELLEY LLP
                                                                             ATTORNEYS AT LAW
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            but conservatively states that core habitat within each will basically remain

            constant.) Ultimately, the Tribe determined the Forest Service's approach was

            reasonable and appropriate with respect to the Kootenai National Forest Plan and

            this species of Tribal importance.

                   20.   We took our own hard look at other potential issues, and continue to

            do so. The Tribe was pleased with the combined aces of ecosystem burning and

            other land management activities that should help move the Forest towards desired

            tree species, age, composition and habitat function, and reduce the risk of high

            intensity wildfire both inside of and outside of wildland urban interface areas. By

            reducing the risk of high intensity wildfire, desirable fire behavior can be returned

            to the Forest. We ultimately concluded the Project was consistent with the Tribe's

            holistic and proactive approach towards ecosystem-based land management within

            Kootenai Territory, which is not founded on excluding humans from the landscape.

            The Tribe has always interacted with the forest landscape and views the exclusion

            of htunans as an impediment to forest restoration. The Tribe also understands that

             the Project area is not managed for the benefit of any one species exclusively but

             rather is managed to meet the habitat needs of diverse species of importance to the

            Tribe, including moose, deer and elk, just to name a few.


              Page 11 - DECLARATION OF SCOTT SOULTS
                                                                            HAGLUND KELLEY LLP
                                                                             ATTORNEYS AT LAW
                                                                               2177 SW Broadway
                                                                             PORTLAND, OR 97201




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                  21.    I mentioned above that the Tribe continues to take a hard look at the

            Project. We are aware that some people continue to criticize the Project publicly,

            and when they do, we assess their comments on our own. For example, when Wild

            Heritage criticized the proposed treatments in the Project's Unit 72, we took our

            own hard look at their comments. Wild Heritage seemed not to know that in

            response to comments from the Yaak Valley Forest Council and Kootenai Forest

            Stakeholders Coalition, the Forest Service interdisciplinary team modified Unit 72

            by dividing it into three separate units and adding more leave areas. Wild

            Heritage's comments also were based on zero data - to our lmowledge, no data

            was measured, recorded or documented, with the comments based solely on

            observations/eye-estimations, which was frustrating since old growth habitat types,

            structural characteristics and metrics were clearly defined by Green (et al.) in 1992.

            Green, P., J. Joy, D. Simcek, W. Hahn, A. Zack, and B. Naurnann. 1992. Old-

            growth forest types of the Northern Region. Report R-1 SES 4/92. The absence of

            GPS information on stated observations makes it difficult (or impossible) to know

            where in Black Ram the observations were made, which is particularly troubling

            since the Forest Service interdisciplinary team redrew the Unit 72 boundaries in

            response to public comment.


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                                                                           HAGLUND KELLEY LLP
                                                                            ATTORNEYS AT LAW
                                                                             2177 SW Broadway
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                  22.    Finally, this case implicates the Forest Service's Access Amendments,

            adopted via the agency's Record of Decision for Forest Plan Amendments for

            Motorized Access Management within the Selkirk and Cabinet-Yaak Grizzly Bear

            Recovery Zones. The decision amended the Forest Plans for the Kootenai, Lolo,

            and Idaho Panhandle National Forests to better control motorized access in grizzly

            bear habitat for the benefit of the bear. Later-adopted Forest Plans, like the 2015

            Kootenai National Forest Plan, incorporated the Access Amendments directly.

            The Kootenai Tribe believes the Grizzly Bear Access Amendments reasonably

            balance the need to protect natural resources with the need for human access to

            National Forests for ecological restoration and exercise of Treaty and religious

            rights. I and others in the Tribal Fish and Wildlife Department worked extensively

            on the Grizzly Bear Access Amendments, and I believe die process and the end

            results were sound for both human and non-human species on the Forest. We

            continue to study and learn from grizzly bear distribution and movements, suitable

            bear seasonal habitat data and DNA hair corral/mb-tree surveys. I hope we can

            continue to do so going forward without disruption for the benefit of the Kootenai

            Tribe and Kootenai resources that are at the heart of the Tribe's existence and

            culture.


              Page 13 .- DECLARATION OF SCOTT SOULTS
                                                                           HAGLUND KELLEY LLP
                                                                            ATTORNEYS AT LAW
                                                                              2177 SW Broadway
                                                                            PORTLAND, OR 9720 I




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                      I declare under penalty of perjury that the foregoing is true and correct

             to the best of my knowledge.

                      Dated this   n, today of October, 20


                                                    Scott Soults




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                                     CERTIFICATE OF SERVICE

                  I hereby certify that on the  day of October, 2022, I served a true and
            correct copy of the foregoing document, via CM/ECF on:

            Clerk of U.S. District Court

            Ronni M. Flannery
            LAW OFFICE OF RONNI M. FLANNERY
            936 South 2nd Street, West
            Missoula, MT 59801
            rfllannery@bresnan.net

            Andrea Zaccardi
            CENTER FOR BIOLOGICAL DIVERSITY
            PO Box 469
            Victor, MT 83455
            azaccardi@biologicaldiversitv.or,q

            Edward B. Zukoski
            CENTER FOR BIOLOGICAL DIVERSITY
            1536 Wynkoop Steet, Suite 421
            Denver, CO 80202
            tzukosld@biologicaldiversitv.org

            Marla Fox
            WILDEARTH GUARDIANS .-- PORTLAND
            P.O. Box 13086
            Portland, OR 97213
            mfox@wildea.rth2uardians.or,q

            Sara K. McMillan
            WILDEARTH GUARDIANS _. MISSOULA
            117 W. Broadway
            P.O. Box 7516
            Missoula, MT 59801
            smcmillan@wi1dea1th2uardians.org

             CERTIFICATE OF SERVICE
                                                                        HAGLUND KELLEY LLP
                                                                         ATTORNEYS AT LAW
                                                                           2177 SW Broadway
                                                                         PORTLAND, OR 97201




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            Attorneys for Plaintiff Center for Biological Diversity, Yaak Valley Forest
            Couneil and WildEarth Guardians

            Erika Furlong
            U.S. DEPARTMENT OF JUSTICE -
            E.N.R.D. WILDLIFE & MARINE SECTION
            150 M Street NE
            Washington, DC 20002
            erika.furlon2@usdoi.gov

            Hayley A. Carpenter
            U.S. DEPARTMENT OF IUSTICE
            E.N.R.D .
            150 M Street NE
            Washington, DC 20002
            havley.carpenter@usdoi.2ov

            Attorneys for Defendants

                                                  By:    /s/ Kris A. McLean




             CERTIFICATE OF SERVICE
                                                                         HAGLUND KELLEY LLP
                                                                          ATTORNEYS AT LAW
                                                                           2177 SW Broadway
                                                                          PORTLAND, OR 9720 l




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            Kris A. McLean
            Tyson A. McLean
            Kris A. McLean Law Firm, PLLC
            2315 McDonald Ave., Suite 106
            Missoula, MT 5980 l
            kris@krismcleanlaw.com
            tyson@k1°ismcleanlaw.com
            Julie Weis
             HAGLUND KELLEY LLP
            2] 77 SW Broadway
            Portland, OR 9720]
            weis@hk-law.com
            (Motion for admission pro he vice pending)

            Attorneysjbr Proposed Defendant-Interverzor
            Koo tena i Tribe ofldaho


                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MONTANA
                                    MISSOULA DIVISION


              CENTER FOR BIOLOGICAL                                Case No: 9:22-cv-00114-DWM
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                   vs.                                             AITKEN, JR.

              U.S. FOREST SERVICE, et al.,
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                                Defendants.
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              KOOTENAI TRIBE OF IDAHO,
                                 Proposed Defendant-
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              DECLARATION OF GARY AITKEN, JR.
                                                                                   HAGLUND KELLEY LLP
                                                                                    ATTORNEYS AT LAW
                                                                                  I* 2177 SW Broadway
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                   I, Gary Aitken, Jr., being sworn, declare as follows:

                   1.     I am a citizen of the Kootenai Tribe of Idaho (the Kootenai Tribe or

            Tribe) and the Vice-Chairman of the Kootenai Tribal Council. I make this

             declaration based on personal knowledge and in support of the Tribe's motion to

             intervene on the side of federal defendants in this lawsuit challenging the Forest

             Service's Black Ram Project (the Project) OII the Kootenai National Forest (the

             Forest). I am over the age of 18, and if called as a witness would testify

             competently as follows.

                   2.     The Kootenai Tribe of Idaho is a federally recognized sovereign

             nation that has existed since time immemorial. The Tribe is governed by a nine-

             person Tribal Council that includes six Tribal Council members, a Chairperson and

             two alternates. I am a third generation Tribal Council member and am currently

             serving my filth term on Tribal Council.    have served as Tribal Council Chairman

             on two prior occasions.

                   3.     The Kootenai Tribe is headquartered near the town of Bonners Ferry

             in Idaho's Kootenai River Valley. The Kootenai (Ktunaxa) Nation as a whole

             consists of seven modem bands, two in the United States (the Kootenai Tribe and

             the Confederated Salish and Kootenai Tribes of the Flathead Reservation) and five


              Page 1 - DECLARATION OF GARY AITKEN, JR.
                                                                            HAGLUND KELLEY LLP
                                                                             ATTORNEYS AT LAW
                                                                               2177 SW Broadway
                                                                             PORTLAND, OR 9720 l




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            in Canada. These bands have inhabited portions of Idaho, Montana, Washington,

            British Columbia and Alberta since time immemorial and are divided into Lower

            and Upper Kootenai groups. The Tribe belongs to the Lower Kootenai group,

             which historically inhabited the area along the Kootenai River from above

            Kootenai Falls in present-day Montana to Kootenay Lake in present-day British

            Columbia. The Kootenai Tribe possesses federally reserved fishing, hunting and

            gathering rights within Kootenai Territory, as reserved in the Treaty of Hellgate of

             1855.

                     4.   Kootenai Tribe elders pass down the history of the beginning of time,

             which tells that the Kootenai people were created by Quilxka Nupika (Kwilqa

            Nupika in the Ktunaxa language), the Supreme Being, and placed on earth to keep

             the Creator-Spirit's Covenant, which is to guard and keep the land forever. The

             Kootenai people have never lost sight of their original purpose as guardians of the

             land.

                     5.   Because I have extensive knowledge of natural resource issues of

             importance to the Tribe, the Kootenai Tribal Council assigned me the

             responsibility to provide Council oversight of natural resource matters like Black

             Ram. I come by this lmowledge naturally, both because I spend a lot of time in the


              Page 2 DECLARATION OF GARY AITKEN, JR.
                                                                           HAGLUND KELLEY LLP
                                                                            ATTORNEYS AT LAW
                                                                              2177 SW Broadway
                                                                            PORTLAND, OR 9720 l




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            woods and because my father was the Tribe's first Kootenai River white sturgeon

            hatchery manager - the conservation hatchery became a big part of my life starting

            when I was only around 10 years old.

                   6.     In 1989, the Kootenai Tribe became involved in the study of the

             declining Kootenai River white sturgeon, a species of great cultural and religious

             importance to the Tribe. My father assisted M opening the Tribe's sturgeon

             hatchery and then operated it from 1991 to 1994 with a goal of preserving the

            genetic variability of the declining sturgeon population while steps were being

             taken to restore suitable habitat conditions in the Kootenai River ecosystem. I

             worked in the hatchery as an employee of the Kootenai Tribe's Fish and Wildlife

             Department from about 2002 to 2008, first on biomonitoring, then on aquaculture.

             The Kootenai River white sturgeon was listed as an endangered species in 1994,

             but our efforts continue - the white sturgeon does not reach spawning maturity

             until the age of about 30 years, so the Tribe is hopeful its efforts will help restore

             this important species.

                   7.     I also serve as the official representative of the Tribe on the

             Interagency Grizzly Bear Committee's Selkirk/Cabinet-Yaak subcommittee. The

             Tribe's Fish and Wildlife Department Wildlife Division Manager Scott Soults,


              Page 3 .- DECLARATION OF GARY AITKEN, JR.
                                                                              HAGLUND KELLEY LLP
                                                                               ATTORNEYS AT LAW
                                                                                 2177 SW Broadway
                                                                               PORTLAND, OR 9720 I




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            who is an alternate member of the Selkirk/Cabinet-Yaak Subcommittee, often

            attends the Subcommittee meetings as my delegate. The Tribe's participation on

            the Selkirk/Cabinet-Yaak Subcommittee helps us ensure that the needs of the

            grizzly bear, another Ktunaxa resource of important to the Tribe, are being taken

            care of until the bear can take care of itself

                   8.     The Forest's Black Ram Project is located in Kootenai Territory,

            squarely within the Tribe's primary area of responsibility. The Tribe therefore

            engaged in government-to-government consultation with the Forest Service

            regarding the Project. The Kootenai Tribe works closely and collaboratively with

             the Forest Service on land management projects within Kootenai Territory with a

            goal of protecting the National Forest System lands within our Ten'itory. Doing so

             is essential to fulfilling our Covenant with the Creator to keep and guard the land

             forever.

                   9.     Because the Black Ram Project is located in an area of importance to

             die Tribe for exercise of its reserved rights and religious practice, we met with the

             Forest Service during pre-scoping to discuss potential Project impacts on cultural

             resources, hunting, recreation, huckleberries, aquatic resources, old-growth

             management, fire management, ungulate winter range, and grizzly bears, among


              Page 4 .- DECLARATION OF GARY AITKEN, JR.
                                                                             HAGLUND KELLEY LLP
                                                                              ATTORNEYS AT LAW
                                                                                2177 SW Broadway
                                                                              PORTLAND, OR 9720 l




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            other things. The Tribe was particularly pleased to see the Forest Service

            recognizing the ill effects of historical fire suppression and proposing steps to

            restore forest resiliency in the Project area. Additional government-to-govemment

            meetings with the Forest Service followed, with our goal being to make sure the

            Forest Service had done its due diligence and developed a sound land management

             project that will help and not harm Ktunaxa resources.

                   10.    Ultimately, the Kootenai Tribe supported Black Ram Project

             implementation because it is consistent with the Tribe's holistic and proactive

             approach towards land management within Kootenai Ten*itory. The Tribe's

             approach to forest management is and always has been - since before contact -

             based on stewardship and active management of the land. We do not believe in a

             hands-off approach nor support excluding humans from the Forest, which we

             believe impedes restoration efforts.

                   11.    In March 2021, the Tribe learned that a man named Rick Bass, who is

             affiliated with plaintiff Yaak Valley Forest Council, had published a guest opinion

             in Native News Online stating that the Forest Service had not complied with its

             tnlbal consultation obligation for the Black Ram Project. In response, the Tribe

             sent a letter to the Editor of Native News Online explaill'mg that the Tribe had been


              Page 5 DECLARATION OF GARY AITKEN, JR.
                                                                            I-IAGLUND KELLEY LLP
                                                                              ATTORNEYS AT LAW
                                                                                2177 SW Broadway
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            consulted on the Project and that Mr. Bass had no business spealdng on on' behalf

            A copy of the letter is attached as Exhibit A.

                   12.    Additional misinformation about the Black Ram Project followed,

            causing the Tribe in October 2021 to send a letter to the Council on Environmental

            Quality (CEQ) stating that we were aware certain entities were lobbying CEQ to

            terminate the Project and expressing

                   our frustration that one of the tactics they have used as part of their
                   lobbying is to claim the Forest Service has not consulted with
                   Indigenous Nations. Those individuals and nongovernmental
                   organizations do not represent Indigenous Nations and should not
                   speak on behalf of Indigenous Nations. Shame on them for attempting
                   to do so.

             Exhibit B.

                   13.    The Kootenai Tribe is a strong and active sovereign that focuses its

             energies and determination on remaining true to its creation story by keeping the

             Creator-Spirit's Covenant to guard and keep the land forever. The Tribe believes

             that by following this fundamental law, the land in turn will provide for the Tribe.

             We know that over the years, National Forest System lands within Ktunaxa

             Territory were subjected to misguided land management that removed fire from the

             landscape and decreased forest resiliency. The result was an unhealthy forest

             ecosystem, decreased game and endangerment of Kootenai Treaty resources, all to

              Page 6 - DECLARATION OF GARY AITKEN, JR.
                                                                            HAGLUND KELLEY LLP
                                                                             ATTORNEYS AT LAW
                                                                               2177 SW Broadway
                                                                             PORTLAND, OR 9720 l




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            the detriment of Tribal members. The Tribe is committed to restoring the forests in

            Ktunaxa Territory and believes the Black Ram Project is a step in the right

            direction. The Tribe continues to support the Black Ram Project because it is

            protective of Ktunaxa resources and will further the restoration of Ktunaxa

            Territory forests.

                   14.   This case implicates the Forest Service's Access Amendments, which

            were adopted via the agency's Record of Decision for Forest Plan Amendments for

            Motorized Access Management within the Selldrk and Cabinet-Yaak Grizzly Bear

            Recovery Zones. The decision amended the Forest Plans for the Kootenai, Lolo,

            and Idaho Panhandle National Forests to better control motorized access in grizzly

            bear habitat for the benefit of the bear. Later-adopted Forest Plans, like the 2015

            Kootenai National Forest Plan, incorporated the Access Amendments directly.

            The Kootenai Tribe believes the Grizzly Bear Access Amendments reasonably

             balance the need to protect natural resources with the need for human access to

            National Forests for ecological restoration and exercise of Treaty and religious

             rights. The Kootenai people's use of the Forest is not an affront to natural

             resources - Ktunaxa resources are part of us, and we should have that freedom.




              Page 7 - DECLARATION OF GARY AITKEN, JR.
                                                                            HAGLUND KELLEY LLP
                                                                             ATTORNEYS AT LAW
                                                                              2177 SW Broadway
                                                                             PORTLAND, OR 9720 I




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            The Tribe thus desires to preserve the carefully struck balance embodied in the

            Access Amendments.

                   15.   Finally, the federal defendants do not (and I believe cannot)

            adequately represent the Kootenai Tribe in this litigation, even though the Tribe

            and the federal defendants both support the Project. The Tribe is a sovereign

             nation whose interests cannot be represented by another sovereign. The Tribe

            engages with the Forest Service on a government-to-government basis. sovereign

            to sovereign. The Forest Service defendants do not represent the non-overlapping

            interests of the Kootenai people.

                   I declare under penalty of perjury that the foregoing is true and correct
             to the best of my knowledge.

                   Dated this /q ¢L day of October, 2022.



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                                                 Kootenai Tribe of Idaho
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                                                               |" 100 Circle Drive 1 .
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                                                                   Fax (208) 267-2960        \
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            To the Editor, Native News Online:

            The Kootenai Tribe of Idaho would like to set the record straight in response to the opinion piece
            "Ancient Forest on Ancestral Land Poses Biden's Biggest Test Yet on Indigenous Rights,
            Climate Change and the Environment" published on March 27, 2021 .

            Mr. Bass is not Indigenous, does not represent Indigenous interests, and has no business
            speaking on our behalf.

            The Black Ram Project is located in Kootenai Territory.

            The Kootenai Tribe has not only been consulted on the Black Ram Project numerous times, the
            Tribe agrees with the purpose, need and goals of the Project and has worked closely with the
            Kootenai National Forest to restore forests in Ktunaxa Territory to healthy, resilient ecosystems.
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         1 Gary At<en, Jr.
           Chairman 144°




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                                                 Kootenai Tribe of Idaho
                                                                     P.O. Box 1269
                                                                    100 Circle Drive
                                                                 Bonners Ferry, ID 83805
                                                                   Ph# (208) 267-3519
                                                                   Fax (208) 267-2960

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            08 October 202 l

            Ms. Stephenne S. Harding                             Mr. Matt Lee-Ashley
            Senior Director for Lands                            Chief of Staff
            White House Council on Environmental Quality         Council on Environmental Quality
            Executive Office of the President                    Executive Office of the President
            Stephenne.S.Hai'ding@ceq.eop.gov                     Matthew.G.Lee-Ashlev@ceq.eop.gov

                   Re: Black Ram Project: Ktunaxa Territory, Kootenai National Forest

            Dear Senior Director Harding and Chief of Staff Lee-Ashley:

            Kootenai (Klunaxa) Tribe elders pass down the history of the beginning of lime. which tells that
            the Klunaxa people were created by Quilxka Nupika, the Supreme Being, and placed on earth to
            keep the Creator-Spirifs Covenant - to guard and keep the land forever. The Kootenai have
            never lost sight of their original purpose as guardians of the land.

            The Kootenai Tribe and the United States Forest Service enjoy an exceptionally close working
            relationship and collaborate often on issues of common concern to protect the National Forest
            System lands within Ktunaxa Territory. which includes the Idaho Fanhandle and Kootenai
            National Forests. Management of the National Forests within the Territory is important to fulfill
            our Covenant with the Creator.

            The Black Ram Project ("Project") is located in Ktunaxa Territory and includes traditional use
            areas, sacred sites, and areas where Kootenai citizens exercise Treaty-reserved hunting, fishing
            and gathering rights. The area is critical to the culture and religion of the Kootenai Tribe and
            greater Ktunaxa Nation.

            Forest management over the last century through fire suppression policies, overharvest and other
            policies has led to Forests in poor health, including the Project area. The Kootenai Tribal Council
            heeds the words of its elders, who say the forests in the Territory do not look like they are
            supposed to look based on Ktunaxa oral histories, and the forests do not support the Territory
            and the Ktunaxa in the manner they should. The Covenant must be honored to make the forests
            healthy once again.




                                                                                                   Exhibit B
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           Black Ram Project
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            The Kootenai Tribe. the Three Rivers Ranger District and the Kootenai National Forest have
            been in continuous government-to-government consultation since before scoping on the Project.
            The Tribe agreed and continues to agree with the Projecl's purpose and need, which are
            consistent with the Tribe's mandates under the Covenant.

            The Tribe provided extensive and critical comments to the District and Forest during scoping and
            early iterations of the environmental assessment. The Tribe, District and Forest worked together
            to address the Tribe's concerns. The recent biological opinion issued by the U.S. Fish and
            Wildlife Service also contains a number of mitigation measures that improve the Project.

            Based on the extensive government-to-governrnent discussions, Ktunaxa traditional knowledge
            and western science from our Fish and Wildlife Department and the Forest Service, the Tribe
            fully supports the Project and asks that the White House and Council on Environmental Quality
            allow the Project to move forward. Doing so will not only allow the Forest Service to filltill its
            federal responsibilities, it will allow the Tribe to continue to fulfill its Covenant and its
            collaborative work toward restoring forest health in the Territory.

            The Tribe is aware certain individuals and nongovernmental organizations have lobbied you and
            the Council on Environmental Quality to terminate the Project. We cannot express enough our
            l`rustration that one of the tactics they have used as part of their lobbying is to claim the Forest
            Selvice has not consulted with Indigenous Nations. Those individuals and nongovernmental
            organizations do not represent Indigenous Nations and should not speak on behalf of Indigenous
            Nations. Shame on them for attempting to do so.

            The Tribe appreciates your listening to the message of this letter. We would be very happy to
            meet government-to-government with your agency on this important Project. Please contact
            Attorney General William Barquin at wbarquUUalkoolenai.org to an°ange such a meeting.

            Sincerely yours

                  -
                            WM
            Jenni r P rter
            Chairperson

            cc:       The Hon. Shelly Bryant, Chairwoman. Confederated Salisli & Kootenai Tribes
                      (constituent government of the Ktunaxa Nation)
                      Mr. Vernon Finley, Director, Kootenai Culture Committee, CSKT




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                                     CERTIFICATE OF SERVICE

                  I hereby certify that on the    day of October, 2022, I served a true and
            correct copy of the foregoing document, via CM/ECF on:

            Clerk of U.S. District Court

            Ronni M. Flannery
            LAW OFFICE OF RONNI M. FLANNERY
            936 South 2nd Street, West
            Missoula, MT 59801
            rflannery@bresnan.net

            Andrea Zaccardi
            CENTER FOR BIOLOGICAL DIVERSITY
            PO Box 469
            Victor, MT 83455
            azaccardi@biolo,qicaldiversitv.org

            Edward B. Zukoski
            CENTER FOR BIOLOGICAL DIVERSITY
            1536 Wynkoop Steet, Suite 421
            Denver, CO 80202
            tzukoski@biologicaldiversitv.org

            Marla Fox
            WILDEARTH GUARDIANS PORTLAND
            P.O. Box 13086
            Portland, OR 97213
            mfox@wildearthguardians.org

            Sara K. McMillan
            WILDEARTH GUARDIANS -. MISSOULA
            117 W. Broadway
            P.O. Box 7516
            Missoula, MT 59801
            smcmillan@wildearth,quardians.org

             CERTIFICATE OF SERVICE
                                                                         HAGLUND KELLEY LLP
                                                                          ATTORNEYS AT LAW
                                                                            2177 SW Broadway
                                                                          PORTLAND, OR 9720 I




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            Attorneys for Plaint;§§ Center for Biological Diversity, Yaak Valley Forest
            Council and WildEarth Guardians

            Erika Furlong
            U.S. DEPARTMENT OF JUSTICE -.
            E.N.R.D. WILDLIFE & MARINE SECTION
            150 M Street NE
            Washington, DC 20002
            erika.furlong@usdoi.gov

            Hayley A. Carpenter
            U.S. DEPARTMENT OF JUSTICE -
            E.N.R.D.
            150 M Street nE
            Washington, DC 20002
            haylev.carpenter@usdoj.gov

            Attorneys for Defendants

                                                  By:    /s/ Kris A. McLean




             CERTIFICATE OF SERVICE
                                                                         HAGLUND KELLEY LLP
                                                                          ATTORNEYS AT LAW
                                                                            2177 SW Broadway
                                                                          PORTLAND, OR 9720 I




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